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  8
                             UNITED STATES DISTRICT COURT
  9
                          SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
      KYLE YAMAMOTO; PWGG, L.P.
 12                                                       Hon. Judge M. James Lorenz and
      (d.b.a. POWAY WEAPONS AND GEAR
                                                          Magistrate Judge Allison H. Goddard
 13   and PWG RANGE); NORTH COUNTY
      SHOOTING CENTER, INC.; BEEBE
 14                                                       DECLARATION OF DAVID T.
      FAMILY ARMS AND MUNITIONS
      LLC (d.b.a. BFAM and BEEBE FAMILY                   HARDY IN SUPPORT OF
 15
      ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
 16                                                       PRELIMINARY INJUNCTION
      POLICY COALITION, INC.;
      FIREARMS POLICY FOUNDATION;                         (Part 3 of 4)
 17
      THE CAL GUN RIGHTS FOUNDATION
 18
      (formerly, THE CALGUNS                              Complaint Filed: July 1, 2019
 19   FOUNDATION); and SECOND                             Amended Complaint Filed: July 30, 2019
      AMENDMENT FOUNDATION
 20
                                 Plaintiffs,
                                                          Date: November 18, 2019
 21   v.
                                                          Time: 9:00 a.m.
 22   XAVIER BECERRA, in his official                     Courtroom: Dept. 5B
      capacity as Attorney General of the
 23
      State of California, et al.,
 24                                  Defendants
 25

 26

 27

 28
                     DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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            FROM THE BEQYEST OF

        CHARLES SUMNER
                 CLASS OF 1810


        SENATOR FROM MASSACHUSETTS

            FOil BOOKS llBLATINO TO
            POLITICS ANl> FINE ARTS




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                                  THE



             STATUTES AT LARGE


                                    OP




                SOIJTH UA.ROLINA.;



EDITED, UNDER AUTHORITY OF THE LEGISLATURE,



                                    UY




                     . DAVID J. McCORD.




                             VOLUME EIGHTH,



CONl',UNIN0 Tlli: .\CTS BEL.\TINO TO CoKl'OBATIONS AND TIIE MILITIA,.




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                             COLUMUIA, S. C.
                     PlllN'fED BY A, 8, JOIINSTON.
                                  1840,




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         ACTS RELATING TO THE MILITIA.'



AN ACT TO O11GANIZE THE MILITIA THROUGHOUT THE S·rATE of Sol/TH No. 1682.
        CAROLINA, IN OONFORMITY WITH THE AOT OF CONGRESS,

   WHEREAS, it is necessary to organize the militia of this Stnto, in ·
conformity with the Act of Congress, in that case made and provided :
   I. Be it tlurejore enacted by the Honornblo the Senate nnd House of Re. !!lot• divided
presentatives, now met and sitting in General Assembly, and by the au· into ,tivi•lona
thority of the same, That from and immediately after the passing of this uud brigade~.
Act, the whole of this State shall be divided into two divisions, and to each
division there shall be a major-general; one of which divisions shall com-
prehend the districts of Charleston, Georgetown, Beaufort, Cheraw, Cam.
den, and Orangeburg, except the Dutch Fork, between Saluda and Broad
rivers; and the other shall comprehend and incluile the districts of Ninety·
six, including the Dutch Fork between Saluda and Broad rivers, Washing.
ton nnd Pinckney; and in the first division there shall be five brigades; one
for Charleston district, except Colleton county regiment; one for Beaufort
and Orangeburg, including Colleton county regiment; one for George.
 town ; and one for Cheraws, and one for Camden district. In the second divi.
sion there shall be four brigades, one for Abbeville and Edgefield counties,
one for Laurens and Newberry counties, including the Dutch Fork, one
for Washington district, nnd one for Pinckney district. And that as soon
as the Governor or Commander.in·chief of this State shall be informed of
the organization and nrrangemunt of the militia regiments of this State, ·
agreeable to the provisions made by this Act, ho be, and is hereby, au tho.
rized and required to issue hie proclamntion, notifying the same, from and
immediately after which the militia commissions of all such personR as
shall not be ro·clected and confirmed in tho rank and grndo they may hold
 under the laws of this Stnte, 9hnll be vacated; but that every person who
shall be re-elected nnd confirmed in such commission ns he holds in the mi.
litia of this State, shall retain such commission, and tnke rank from the date
thereof,
    II. Ana be itfurther enacted by the authority aforesaid, That the Legis.
)ature, on tho first organization of the militia of this State, under this Act, Mnjor,gene,
shall choose, by ballot, the major.gonemls, brigadier generals, and adjutant. rnl,, &c.
general ; which adjutant.general shall be of the mnk of lieutenant·colonel.




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  ....,...,,._
  .              III, And he it farther rnacled by the authority aforesaid, That as soon
~i~~~~·~t~ ,~~ ns tho several brigadier-generals nre notified by the Goveror of their olec.
gim•nlB, Lot,   tion, they shall proceed to divide their respective brigades into regiments;
~~!~"!.:i:~.    and that after ~hey have m_ado such division, tl_iey shall nppoi~t. five fit nod
      P         proper persons 10 each regiment, whose duty It shall he to d1v1de the res·
                pective regiments into battalions and companies, as nearly as conveniently
                may be, conformably to the Act of Congress,
                   IV. And be itjurtl,er e.nacted by the authority aforesaid, That as soon as
 Liouten,nt•co- the respective regiments, battalions and companies, are mnrked off and de.
 ~:~,:~~ \,~0 signaled, the brigadier-general of each district, respectively, shall direct a
 elecled.       regimental muster, as well of those men liable to do duty in time of alarm
                ns at common musters, to be held (giving at least fifteen days notice there·
                of,) at the most central part of the regimental district, for the electio11 of a
                lieutenant.colonel and two majors, and shall appoint proper persons to open
                and hold a poll from the hours of nine o'clock in the morning to five o'clock
                in the afternoon, for the election of the said officers, respectively; and
                that the persons having the greatest number of votes for lieutenant-colonel
                shall be commissioned as lieutenant.colonels, and tho persons having the
                greatest number of votes ns majors shall be commissioned as majors, of the
                respective regiments and battallions; and tlmt tho said brigadier-general
                shall Rppoint proper persons in each company, who shall, within five days
                after the said el11ction of field officers, hold an electio11 for a captain, lieu-
                tenant and ensign, in each company, i11 manner aforesaid; and tho persons
                having the greatest number of votes in each company, shall be commission.
                ed as officers thereof, or retain their former commissions, as the case mar
                be, according to the grade to which they shall be severally elected. Pro111-
                ded, alway,, nevertkeleaa, that wherever there shall be any company of ar-
                tillery, cavalry or infantry, associated, uniformed and in commission,
                which, on the twentieth day of June next, shall consist of at leRSt forty
                effective rank and file, it shall he lawful for such company to meet and
                vote for their officers; and the persons duly elected by a majority of votes,
                shall retain their commissions, or be commissioned by the Governor, as the
                case may he, lo such grades as they shall he, respectively, elected to, And
                that all other officers of the Charleston regiment, as well field as battalion
                officers, shall be elected by the regiment al large; and no person shall be
                considered as elected, who shall not have I\ majority of tho votes of the
                persons voting, Provided, alao, that the men composing the uniform com.
                panies shall not be entitled to vote for the captains, lieutenants and ensigns
                of the other companies, to be elected by virtue of this Act.
                   V, And be i,e .further enacted bv the authority aforeaaid, That in case
 Coole•ted      of any contested election, the validity of the same, (in the electiorl of field
 election,,     officers,) shall be referred to the brigadier-general of the brigade, who shall
                call to his assistance two field officers of some other regiments of his bri-
                gade ; and in the election of captains, lieutenants and ensigns, shall be re-
                ferred to the field officers of the regiment to which they belong ; and all
                elections of officers, made in pursuance of this Act, shall be returned, on
                oath, by the managers, to tho Governor,
                   VI. And be it fortl,er enacl.ed by the authority aforesaid, That if anv
 ·How .10 pro- person who shall he elected a brigadinr.general, by virtue of this Act, shall
 oned where tho be without the limits of the State, it she 11 bo the duty of the major-general
~;:g~:rJ;~·~ii  of the divisio? to do and _perform the d_uti~ ~njoined on l~e l'aid brigadier•
.of the State, general; and Ill case of his sickness or mab1hty toalle11d, 1t shall be lawful
                for the Governor or Commander·in·chief for the time being to commission,




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under his hand and seal, some fit and proper person to execute the dutieb
i,nposcd by this Act, so far as regards the division of the brigades and elec-
tion of officers.
   VII. And b, it furth,r enact,d by the authority aforesaid, That all the
officers who shall be appointed by virtue of this Act, shall reside within All officm 10
their respective commands, and on their remo,·al therefrom their commis- ,.,i_Je wi1hin
sions shall be vacated; provided, that the restrictions, as to residence, shall u,c,d com
not extend to the officer• of the Charleston regiment or regiments, but that m•n '·
a residence within the ·city shall be sufficient. That the mnjor-geoerals
shall have the right to appoint their reepective nids-de-camp, and that the
brigadier-generals shall hnve the right to appoint their respective aids-de-
camp, who shall have the rank of captnm; and they shall nlso have the
right to appoint their respective brigade-inspectors, who shall be approved of
by the major-general of the division; that the regimental staff shall be ap.
pointed by.the lieuteonnt-colonels, respectively, and be approved of by the
brigadier; nod that all officers so to be nominated and appointed, ns afore-
said, shall be commissioned by the Governor, who shnll be authorized lo
appoint nil other officers; fnd that in case of vacancy by death, resigna.
tion, or otherwise, the brigadiers shall rise in their respective divisions, the
lieutenant-colonels commnndnnt in their resper.tive brigades, the majors in
their respective regiments, the captains in their respective battalions, and
the subalterns in their respective companies, by seniority of commission.
   VIII. And be it further enacted by the authority aforesaid; Thal each
brigade-inspector shall receive for his pay fifty pounds per annum, exclu·
sive of the pny he may be entitled lo receive when called into actual ser•
vice.
   IX. Anti be it furlktr enacted by the authority nforesnid, Thal all ser·
geante and corporals shall be appointed by the captains of the different Companie,,
companies; and thnt ench and every company, created by virtue of this ~~~~:·.~f
Act, shall hnve a pince of rendezvous, at which they shall, respectively,
                                                                                     ::t
assemble once in every two months, except in Charleston, Georgetown nod
Camden, where they shall assemble once a month, by companies, for the
purpose of training, disciplining and improving in martial exercise, and shall
not be kept nt the place of exercise more than one day at a lime; and
 that each battalion shall be obliged lo rendezvous in like manner for the
same purpose, not oftener than twice a year, either in bnttnlion or regi-
ment, io such place ae the brigadier shall think proper, and shall not be
kept nt the place of exercise more than one day nt a time.
   X. And be it furth er enacted by the authoritv aforesaid, Thal every cap·
lai n or commanding officer of a company shall· also enrol every citizen who ~~:d: ':"i»
shall, from time to time, arrive at the age of eighteen years, or come lo age of 18.
reside wilbin his beat, emd without delay notify such e nrolment to .
such citizen so enrolled, by some non.commissioned officer of the com·
paoy, who shn,11 be a competent wilnese to prove such notice ; that 11111
disputes that may happen with respect to lhe age or ability of e,ny per-
son to bear nrms, shall be determined by lhe captain or commanding officer
of lhf' company, witb e, ri-ght of appenl by the person who may conceive
himself aggrieved, or by any other person belonging lo the company, to
the lieuteoant·colonel or co:nmandin~ officer of the regiment.
   XI. And be ilfurtlttr enacted by the authority aforesaid, That the Com-
mander-in-chief for the time being may, in case of invasion or other emer.
gency, when he shall judge it necessary, order oat any proportion of the
militia of the State, to march to any part thereof, and continue as long a9




                                                                            EXHIBIT 13
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Mrchin out he ,may think it nccessi_iry; and likewise mar, in consequence _of a~ appli•
or th• ~tnt• in Callon from the executive of any of the United States, on an invasion, or
case, or emer-an apprehension of an invasion, of such Stnte, at bis di!!Crelion, order any
genoy.             numher of the militia, not exceeding one third part thereof, to such State;
                 prQvid,.,l, thnt they ~c not compelled to continue on duty out of this State
                   more than two months at any one time; thut whilst in actual scrl'icc, in
                   consequence of boing 80 called out, they shall receive the same pay and
                   ration8 1 and be subject to tho same rules and regulations, as tho troops of
                   the Umtet.l States of America. Proi,i,led, thnt upon any transgression or
                  ollencc of a militia man, whether officer or private, against the rules and
                   r<:g1ilations of lho fet.leral army, the cause shnll ho trict.l and determined by
                  a court martial of the mililin of thia Sta to; and that it shall bo in the power
                  of tho G"vernor 1 or, in case of his absence, of tho commanding officer of
                   the militia of this Slate, lo milignte, suspend or pnrdou, any punishment to
                   which any militia man be sentenced by a general court marli11l.
                      XII. And hr, itfurtlwr enacted by the authority aforesaid, That it shall
!~.~~·••      1
         or •·and rliay be lawful to and for any major-general, or brigadier-general, or
      •           commanding officer of a brigade, or lieutenant.colonel commandant, or
                  commanding officer of a regiment, when and as often as any invasion may
                  happen, to order out the militia under their rcspecl1ve command•, for the
                  defence of this Slate, giving notice of such invasion, and every circum•
                  stance attending the same, as early as possiMo, to their immediate com.
                  manding officer, by whom such information 8hall be transmitted· to the Go.
                  vernor or Commander·in·chiof, by express, the expense of which shall be
                  immediately paid. And that in cases of insurrection,' the commanding
                  officer of tho regiment or battalion within the limits of which any such in·
                 surrection mny happen, shall immediately assemble his regiment or battal-
                  ion under arms, and ·-having transmitted information thereof to the corn.
                  m11nding officer of tbe brigade, and to the major-general of tho dil-ision,
                 and to the Governor or Commanrler.io-chief, shall proceed to take such
                 measures to suppress such insurrection as to any three of the judges or jus-
                 tices of the county or district in which such insurrection shall happen, shall
                 appear most proper and effectual ; anrl if any person be wounded or dis-
                 abled while in nctunl service in opposing any invasion or iosurrcnction, or
                 in suppressing the same, he shall be taken cnro of and provided for at the
                 public expense, without regard to the rank such person may hold.
                     XU[. And wl,erca.r, it is proper to ascertain the compensation which
Pa;y or militia, shall be allowed to the militia when Ibey may heronftcr be called out into
                 actual service, by order of tl)e executive auth.ority of this State, Be it
                furllter er,actcd by the authority aforesaid, That in future, whoo the militia
                 of this State, or any part thereof, shall he called out into service within this
                 Slate, by the authority of the lnws thereof, each commissioned officer shall
                 be entilled to and shall receive the same pay nod rations as are allowed to
                 the officers of the same rank of the federal army by the laws of the Uoi-
                -ted States; that the pay of a sergeant, drum.major, and fife·major, in lieu
                 of all other demands, shall he eight dollars per month; and the pay of a
                 corporal, bugler, trumpeter, drummer and fifer, in lieu of all other demands,
                 shall be seven dollars per month ; and the pay of a private, in lieu of all
                 other demands, shall be six dollars and a half per month, besides rations; to
                 be provided for in the tax bill of the year in which the service shall be per•
                 formed,
                     XIV. And be it furtlter enacted by tho authority aforesaid, That the




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 brigade inspectore 1 whenever required by the brigadier.general of tho bri• R          b
 gade, shall make a return of the militia to which he belongs, to the said m::/:,'."" 10 •
 brigadier• general ; and the brigadier.general shall I whenever required by
 the major·general of tho division to which he belongs, make a return of the
 militia of their respective brigades, lo the said major·gonoral ; and the ma.
jor.generals shall, whenever required by tho Governor or Commander.in•
 chief, make a return of the militia of their respective divisions, to the said
 Governor or Commander·in·chief.
    XV . .A.ml be it further enacted by the authority aforesaid,· 'rbnt every
 master or o/hcr person, who hath the power over' go~crnmon\ or command       Z~! ·~rt':.:!i·
                                                                                 1
                                                                                  ~.
 of, any white apprentice or man servant, shall, at his or their own proper muatero,
 costs and charges, furnish and provide every such apprentice or man ser.
 Vant liable to do militia duty, during his servitude, with the arms and ac·
 coutrements directed by the aforesaid Act of Congre,is ; and every master
 or other pernon, ns aforesaid, shall constantly keep such ntms and accoutre.
 ments, n• aforesaid, for e,·ery such apprentice or servant, and shall compel
 him or them, so completely armed and accoutred as aforesaid, to attend nil
 musters, trainings and exercises directed by this Act; and in case such ap.
 prentice or servant shRII not appear, or his arms and accoutrements shall
 be found deficient, the master or other person, as aforesaid, having the go.
,vernment of such apprentice or servant, shall, on default made in any of
 the premises, be subject to the same forfeitures and penalties as are inflicted
 on other persons made liable by this Act to appear and bear arms at exer.
 cises, musters and trainings. Provided, alway,, 1hnt if any such servant,
 as aforesaid, who shall be duly furnished and provided as i~ before directed,
 and shall be sent to muster, by the master or other person under whose go.
 vcrnment such serv11nt shall be, shall, of his own accord, and contrary to
 the' will, and without the consent of tho master, or such other person as
aforesaid, neglect to appear at any muster, training or exercise appointed
 by this Act, tho master or other person under whose government such ser.
vnnt may be, shall be liable lo the penalties by this Act inflicted for the de·
 fault of such sorvant ; and every such servant so offending shall be obliged
 to serve hts master two weeks for every penalty so paid by his said master
 or other person; and ir any person shall embezzle, sell ol' make away with
 the arms so to be provided for him, he shall be linble to make his master;
or other person under whose government ho may be, full satisfaction.
    XVI. And be itfurlher enacted by the authority aforesaid, 'J'hat no civil
officer whatsoever shall, on any pretence, execute any process, (unless for No civll pro•
treason, felony or ?reach of the peace,) on any pers~n whatsoever, at a~y     ~~::ro:::x..
muster, or other time when such person shall be obliged to bear arms,· m person aitefd.
putsuance of the directions of this Act, nor in going lo or returning from in« muo1ora,
any muster or place of rendezvous, or within twenty,four hours after such
person shall be discharged from appearing in the regiment, company or
ttoop 1 to which he shall belong, under the penalty of five pounds sterling;
and the service of any such process shall be void, to all intents and purpo-
ses whatsoever; and all arms and acco.utrements which, by this Act, are
required to be provided, also the troop horse of each trooper, duly entered
nnd registered with the captain of the troop, so long as said trooper shall
continue in the troop, shall not be liable to be seized, destrained or taken
in execution for any cause, matter or thing whatsoever. And in case any
person shall sei1.e; levy or destrain upon any such arms, accoufrements or
horse, every such person shall forfeit the sum of ten pounds, sterling mo.
ney, to be recovered in any court of record in this State,
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F'      fi            XVII. And he itfurtlter ~acted by the authority aforesaid, That every
0 .'1~~<li;g ';;:~ lieutenant-colonel who shall wilfully neglect to turn out at a regimental
                 0•
1er,,          muster, shall be fined in a sum not exceeding Ion pounds, and also a sum
               not exceeding five per cent. on tho amount of his Inst general tax; and
               that every major who shall wilfully neglect to turn out at a regimental or
               battalion muster, shnll be fined in n sum not exceeding eight pounds, and
               also a sum not exceeding five per cent. on the amount of his 11181 general
               tax ; that every captain who shall wilfully neglect to turn out at a regimen.
               tal or battnlion muster, shall be fined in a sum not excCl'ding 8ix pounds,
               anrl nlso n sum not exceeding five per cent. on the amount of his Inst ge.
               ncrnl tax ; that every subaltern officer who shall wilfully neglect to turn
               out at a regimental or battalion muster, shnll be fined in a sum not exceed.
               ing four pounds, and also a sum not exceeding five per cent. on the omouol
               of his Inst genernl tnx ; and that every non.commis.sioned officer and pri.
               vnte, who shnll wilfully neglect to turn out at a regimental or battalion
               muster, shall be fined in a sum not exceeding fourteen shilling~, and also a
               mun not exceeding five per cent. on the amount of his last general tax;
               that every captain who shall wilfully neglect to turn out nt an ordinary
               muster, shall be fined in a sum not exceeding thirty shillings, and aL•o a
               sum not exceeding two and one half per cent. on the amount of bi, 11181
               general tax ; that every subaltern officer who shall wilfully neglect to turn
               out al an ordinary muster, shall bo fined in any sum not exceeding one
               pound, and also a sum not exceeding two and one half per cent. on tbe
               amount of his ln&t general tnx ; ond thd every non.commissioned officer
               11.nd private, who shall wilfully neglect to turn out at an ordinary muster,
               shall be fined in any sum not exceeding seven shillings, and also a sum nol
               CXCijuding two and one half per cent. on the amount of his last general
               tax.                                              ·
                   XVIII. And he ii furtl,er enacted, by the authority aforesaid, That e,ery
Fine, for di,- non.commissioned officer and private, who shall neglect or refuse to obey
obed,onco,     the order of his superior officer, while under arms, shall forfeit a sum not
               exceeding one pound for every such offence; and if any such non..commis.
               sioned officer or private, enrolled to serve in either of the companies of ar,
               tillery, infantry or cavalry, shall refuse or neglect to perform such military
               duty or exercise as he shall be required lo perform, or shall depart from his
               colors or 11uard, without the perrnission of his superior officer, as aforesaid,
               he shall forfeit a sum not exceeding one pound ; and for the non-payment
               thereof tho offender shall be committed, by warrant from the captain or
               commanding officer of the troop or company then present, to which euch
               offender doth belong, or under whooe command he may bo, to the next gaol,
               there to be confined until the fines as aforesaid, together with the gaoler's
               fees, arc paid; and the respective sheriffs of the city and respective drs-
               tricts and counties of this State, are hereby empowered and required lo re,
               ceive the body or bodies of such offender or offenders as shall be brought to
               thPm by virtue of a warrant or warrants under the hand and seal of such
               officer, aa aforesaid, and him or them to keep in safe custody until such
               fines as are mentioned in such warrant, together with the gaoler's fees, as
               aforesaid, shall be paid; and the sheriffs and gaolers, respectively, shall be
               allowed the same fees as are allowed in other en.sos. Provided, a/,.ray,,
               that the persons so confined shall, at tho end of five days, or any shorter
               time for which they may have been committed, be released, on their s11·ear,
               ing that they are unable to pay the fines and fees hcreinbeforo directed to
               be paid.




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                        Act, relating to the Militia,                                    A. ll, 1794,
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   ' XIX. And be itfurther enactell by the authority aforesaid, That the mili. , .
   tary uniform of this Slate shall bo as (ollows, that is to say; general offi.       Po;~t•ry
                                                                                        uni•
   cers, dark blue co,tls with buff' colored facings, linings, collars and cuff's,  '
   gold epaulets and yellow buttons, with buff' colored under.clothes; regimen.
   tal officers of infantry, dark blue coals, with such colored linings, fncing11,
   collars and cufl'H, eraulets and buttons, as shall be determined on hy the
   mnjor.general of each division.
      XX, And be it.further enacted by the authority aforesaid, 1'hat all fineM
   which shall be imposed in any regiment, corps, compuny or troop, shall bo •\r~mprintion
   paid into the hands of the pay·master, or person acting as such, of such O 0 ••·
   regiment, corps, company or troop, and be paid and appropriated, by war-
   rant under the hnnds of a major part of the field officers, or commanding
   officer of the corps, or captain or commanding officer of tho company or
  troop, es the case may be, for the purposes of providing colors, drums, bu.
  gles, fifes and trumpets, for their respective battalions, corps, companies
  and troops, nnd carrying expresses relative to mililnry matters, and for the
  purchasing and providing arms and accoutrements for such of the men of
  the respective bnllnlions, corps, companies and troops, es are or shall be
  unable lo furnish and pro,·ide themselves therewith; and that it shall be
  the duty of the pay.master, or p,irson acting ns such, of each respective
  battalion, corps, company or troop, once in every year, to render nn ac·
  count to the brigadier, or tho officer commanding the brigade, of all his re.
  ceipts and expendit'ures in pursuance of this Act.
      XXI. Ana he ie f11r11,er enacted by the authority aforesaid, 'rhnt every A       d
  free white mnn of this Stnte, liable to hear arms in any of the regiments, 0 ;:i;.~"00 ~~-
  corps, companies or troops in thiM State, who shall appear at any regimen.
  tal or battalion musters, or at any company muster, ordered in pursuance
  of this Act, not provider!, accoutred and nrmed, according to the Act of
  Congres~, entitled "An Act more effectually to provide for the nntionnl de·
  fence, by establishing nn uniform militia throui:hout the United States,"
  passed the :!4th October, 1791, shall forfeit and pay, for each and every
  such offence, a sum not exceeding five shillings, or the sum of two shillings
  and four pence, for each article of arms or accoutrements required by the
  last mentioned Act; that nil fines shall be inflicted on non•commissioned
  officers and privates by the judgment of the majority of the commissioned
  officers of the company in which the ofl'endor is enrolled ; that n major·
  general shnll be tried by R mnjor-genernl to preside, and four brigadier.go· Courin mnrtiul.
  nernls; but if the ntkndance of a major-general cannot conveniently be
  procured, then hy five brigadier.generals; and, in such case, the eldest of
  such brigadiers to pr~sido ; that a brigadier-general shall be tried by one or
  more brigadier·gcnornl~, and four field officers; that II lieutennnt-colonol
  shall be tried by· an officer not under the tank of a lieut~nant.colonel, nnd
  four field officers; that a major shall be tried by an officer not under tho
. rank of a field officer, nnd four officers not under the rank of captain ;
  that a captain 'shall ho tried by an officer not under the rank of n field offi·
  cer, and by four officers not under the rank of captain; and a lieutenant
  or ensign shnll be triecl by an officer not under the rank of a field officer,
  nnd four other commssioned officers; that all non-commissioned officers
 and privates be tried hy not less than three commissioned officers. Ench
  member of a court martini is hereby enjoined to take the following oath or
 affirmation;
     "I do swear, (or affirm, as the case may be,) that I will not divulge the




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                                                                              c.)
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                                                                                        EXHIBIT 13
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               sentence of tho court, until the same shall be npsroved of or disapproved;
 Qath,
               neither will I, upon nny account I or at any time whatsoever, disclose or
               discover the vote or opinion ot' nny pnrticulnr member of the court m11rtial,
               unless required to give evidence thereof by a court of justice, in a due
               course of low. So help mo God."
                   And any member of the court is authorized to tender the above Qlltb lo
               the other members. The Governor or Commander.in.chief shall appoint
               courts mnrtial on generaJ officers ; the major.generals shall appoint division
               courts martini in their respective divisions; the brigadier.generals shall
               nppoint brigade courts martial in their respective brigades; the lieutenant.
               colonels shall appoint regimental courts martial in their respective regi·
               mcnts; and the mnjors lmttalion courts martini in their respective battal·
               ions; and no !lenience of a court martini shall be put in force without the
               same be npprovod hy the officers appointing the same, or by the command·
               ing officers, respectively, for the time being.
                    XXU. And be it further enacted by tho authority nfornsaid, That if the
Court of •n•   conduct of nny officer shall be represented to the Governor or Commander.
quiry.         in.chief, er to either the major.general of the division, brigndier·general
                of the brig11do, or commnnding officer of tho detachment, to be so unmili·
                tory and unbecoming nn officer, ns to des~rve being cashiered, it shall
                be lawful for the G,,vernor or Commnnder·in-chiof, major-general of
                the division, brigadior·gonctnl of the brigade, or command,ng officer
                cf the detachment, as tho case may be, to order a court of enquiry;
                and if, on such court of enquiry, it shall appear that there is foundation
                for the chnrgo, to have a court martini held, wlro shall make such or-
                der in the business as they shall think consistent with military rule.
                Providc,l, nr1,ert/1clcss, that such court of enquiry shall never consist of
                less than three officers, one of whom, at least, to be of the rank of the
                 person accused,
                    XXIII, Antl be il further enacttd by the authority aforesaid, That per-
 Person• ex     sons of the following professions and descriptions shall be excused from llli•
 empt,
                litia duty, except in times of invasion or alarm, to wit; the lieutcnaut·go-
                 vernor for the time being; the members of both branches of the Legisla-
                ture, und their officers; the judges, commissioners, registers and clerk• of
                the several superior conrtH of luw and equity, and county courts; the
                  commissioners of the trr-osury and their clerks ; the secretary of this Slate,
                 and his deputies; the attorney·gcncral; tho three circuit solicitors; the sur.
                 veyor-genernl and hi~ deputy ,,residing either in Charleston or Columbia;
                 the ordinaries and registers ol' the several districts; the sherifl!< and gaol,
                 keepers in the several counties and districts ; all continental ollicers who
                 were deranged, or who served to the one.I of the war; all regular clergymen of
                 any sect or denomination; nil person~ holding auy office or commission un,
                 der the United Stutes; ull acting magistrate•; nil regular lm,d practising
                 physicinns and sur!(eons; nil school-masters who shnll have under thl'ir tu.
                 ition not Jess than til'tcen scholars; nil studi,nts at school or at coll<•gc; tbn
                 intendant and wardens of Charleston and Camden, their treasurer,, and
                ,the oOicers of their courts; nil branch pilots for the several ports ; one while
                 man to each estnhlished ferry or toll·hridge ; one white mnn to each water
                 grist-mill, wind-mill, fulling.mill or oil·mill; three white men le, ench forge,
                 and five to each furnace erected or to be erected at any iron mine or mines
                 in this Slate, who slmll constnnlly work and reside at the same; and all
                 persons under the age of eighteen, and above the age of forty.five years;
                 and .1/.11 militia .o,tlicers who bavc held their commissions for scvcn year~.



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                                                                                     EXHIBIT 13
                                                                                       0220
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                         OF SOUTH CAROLINA,                                                 493
                      Acu relating to tlie Militia,                                 A, r>.1794.
                                                                                   .__...,._,
    XXIV, W7iereru, a doubt has arisen, whether aliens and other trnnsient .
                                                                                 ~!
perllOns who hnve residod, or may reside, in this Stale for a considerable 1;~;.~:0
length of time, and enjoy the benefit nnd advantage resulting from the or. lialilo to do
                                                                                           ~r:•·
ganization of the militia of this State, are liable to perform militia duty, duty,
And toherea,, it is but just and reasonable that those whose property is se.
cured by the care and watchfulness of the community in which they resiue,
should contribute to its protection: Be it enacted by the authority afore9uid,
That all free while aliens or transient persona, above the age of eighteen
and under the age of forty-five years, who hove resided, or hereafter shall
or may reside, in this State, for the term of six months, shall immcdiatuly
thereafter be, nod are hereby declared to be, subject and liable to do and per·
form all patrol and militia duly which shall or may be required by the com•
manding officer of tho bent or district in which such alien or transient per.
son sholi reside, and be suhject to all pains and penalties inflicted by this Act;
any law, usnge or custom to the contrary thereof, in any wise, notwithstand·
ing. Prooided, always, That nothing contained in this Act shall be con-
strued to extend or eflect in any way or manner the natural born citizen of
any State or potentate who shall be actually engaged in war with the Uni.
 ted States, or to compel such alien or transient person to serve on patrol or
 militia duty out of the particular district of the regiment to which he shall
or may be attached, nor to natural born and bona fide French citizons,
(not being citizens of the United States,) who are, by treaty, exempt from
all personal service.
    XXV. Anil be it .further tmacted by the authority aforesaid, That if the
 Governor or Commondcr.in.chief for the time being, receive advice from Milltin tobe
 any person or persons in authority in this Slat.e, or other credible person orcolled o,ut in
 persons in foreign parts, or if he shall receive any information, upon oath,~~~ ofmva•
 from any credible person or persons within this State, that any foreign ene.       •
 my or armed force, intend suddenly to inv11de the State, or if any don.
 gerous insurrection or rebellion be actually raised within this State, which
 cannot be suppressed by one single company, the Governor or Commander.
 m-chief for the time being may raise and a99emble such and as many of
 the divisions, brigades, battallions, regiments, troops and companies, by
 this Act directed to be formed, as he shall think sufficient and able to sup.
 preSB and repel such invasion, rebellion or insurrection, as mny happen;
 and for the more effectual execution thereof, he may make and publish, or
 cause to be mode and published, an alnrm, throughout the whole State, by
 firing six guns, two nt a time, at three minutes distance; or by sending
 orders nod expresses to the general officers, field officers, and other officers
  of the militia, to raise their several and respective divisions, brigades, regi-
 ments, troops and companies, or such part ot' them as shall be ordered and
 directed lo march and rendezvous at such proper times and plnces within
 the State, as the Governor or Commandor.in.chief for the time being,
 shall think fit; and tho said alarms shall be carried on throughout the whole
 State, by all the commissioned officers of the militia, by firing three small
 arms at convenient intervals, from pince to place, and by speedily raising
  their several corps, and taking nil other p~oper and eflectual measures to
 give notice of the motion of the enemy, and forwarding with the utmost
 expedition oil necessary information to the Governor or Commander-in.
 chief, and by pulling in execution nil such orders as they shall receive
 from their surerior officers.
    XX VJ. J!nd be it further enacted by the authority aforesaid, That on




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                                                                                 EXHIBIT 13
                                                                                   0221
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494                                      STATUTES AT LARGE
  A,0, 1791,                           Acta relating to the Militia.
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Alnrm to bo        sight of nn enemy, or on information of an enemy nppearipg, or mischief
mode with          done by nn enemy, from any white man of credit, who bath seen the same,
em11II nrina,      of the credit of which informer, the officer to which information is given,
                   slmll be a judge, an alarm shall be made by any commissioned officer, by
                   firing three smnll arms; and every alarm shall be carried on by all persons
                   hearing or having knowledge of tho same, by firing the email arms dis-
                   tinctly, as usual; and· tho said officer who fired the alarm shall assemble
                   the corps of which ho is an officer, by bent of drum, or by ordering them
                   to warn their next neighbors, or otherwise, till the corps can be got togetb.
                   er; and tho commanding officer of said corps shall, with all convenient
                   speed, despatch two oxpresseB, one to the Governor or Commander-in.
                   chief, and the other to the next field officer of the regiment to which the
                   said corps belongs, with an account of the cause of the alarm so made;
                   upon which notice, the said field officer shall despatch two ex(ll'esses with
                   nn account of the some, one to the Brigadier of the brigade, and the other
                   to the lllajor-general of the division ; the field officer who shall receive the
                   information as afores11id, shall have power to assemble any number of men
                   of the bnttnlion or regiment, as tho case may be, to which be belongs, to
                   march to the assistance of any of the inhabitants of the State who are in
                   danger.
                      XXVII. And be it further enacted by the authority aforesaid, That if
J'enoltv for ne- any pcr•on li~ble to bear arms shall, in time of such alarm? neglect or F?·
gl•eii,iitio give fuse to use Ins utmost endeavors to convey and commumcate the satd•
lnformolion of alarm or notice of the enemy's approach, every suoh person shall forfeit
~~·.i !\;~';;:;~
      1           and pay a sum not exceeding fifty pounds sterling; and in case any ouch
                  person, after he hath notice of an alarm, does not forthwith repair, com-
                  pletely armed and accoutred as aforesaid, with all convenient speed, to the
                  place iv here the regiment, troop or company, to which he shall belong, shall
                  be appointed to rendezvous, every such person shall forfeit a sum not ex,
                  cecding twenty pounds sterling money; and in cnso the company or troop
                  to which such person shall belong, shall actually engage and light with the
                  enemy, before such person shall appear in the said regiment, troop or com.
                  pany, in every such case, the person not appearing as aforesaid, shall
                  forfeit a sum not exceeding forty pounds Bterling money.
Olli                  XXVIII. And he itji,rt!ter enacted by tho authority aforesaid, That
•.,~,~~·.~~y""· every commissioned oOicer in the militia bas power, when occasion shall
n11mborof1helrrequire, lo n..ssemble, arm and raise, any number of men belonging to their
corpo.            respective corps; and if need be, to give notice and call to their aid the
                  officers and men of any adjacent corps, to disperse, suppress, kill, destroy,
                  apprehend, take or subdue, any pirate, sea rover, Indian, or other enemy,
                  who shall, in a hostile manner, hurt, or attempt to hurt, any of the iobabi.
                  tan ts of this Slate, in their person or persons ; or any number of slaves
                  who shall be met together, or who shall be lurking in any suspected place
                  where they may do mischief; or who shall have absented themselves from
                 the service of their owners; and in case any person liable to bear arms,
                 shall, on such occasion, neglect or refuse to appear, upon notice given, by
                 any commissioned officer of the troop or corps to which such person he.
                  longs, or appearing, shall not attend and obey the said officer, he shall, for
                 every such neglect or refusal, forfeit the sum of two pounds sterling.
                     XXIX. And be it furtlter enacted by the authority aforesaid, That in
                 times of invasion or insurrection, when it shall be found necessary to
                 rnarch the several regiments, troops or companies, or any of them, out of




                                                                                       EXHIBIT 13
                                                                                         0222
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                          OF SOUT~ CAROLINA.                                                     495
                       Ac/6 relating to the Militia,                                   A, 0,1794
                                                                                      .__,,,._,
their proP?r pa_rishes, counties or districts, ~ne. fourth part n_t least,. of every ti ""of in•
company ID this Stnte, shall stay and remam ID the respective parisho" and vn,i,~   111
                                                                                            port of
divisions to which they belong, and shall be formed into patrols, under tho 1110 militlo 10
command of such officer as the commissioned officers of the companies "'
shall direct and appoint, under whose command, respectively, they shall guur • om 8 '
                                                                                        "l"
                                                                                       111
                                                                                            ~~
continue, until the rest of the company shall return to their habitations,
and shall be discharged from bearing arms; an~ the patrol so formed shall
be obliged to be on constant duty, and to ride and patrol, and guard the
plantations, and keep the slaves within their several parishes nod divisions
m good order, and shall pince proper guards, wutcheY,nnd centinels, at
proper and convenient places, to give notice of danger, or for the more
speedy conveying advice and intelligence to the Governor or Commander.
in.chief, or any army raised and assembled by his command ; nnd in case
any person or persons obliged to serve in such patrols, shall refuse or neg-
lect to ride patrol, or to watch, stand centinel, or to keep guard, or shall
refuse to obey the lawful commands of any person appointed to command
such patrol, every person so offending sholl forfeit any sum not exceeding
fifteen pounds sterhng money.
   XXX. And he itfurtker enacted by tho authority aforesaid, That in times Manner of••·
of invasion, rebellion, or insurrection, when any person shall receive ordersoer1nining
                                                                                       ;r
to march out of their parish I county I district or division, the captain, or '\111 t•n who
other commanding officer, who shall be present, shall cause tho names of~1:!ir
all tho persons who are entered, enlisted and enrolled in the muster roll of
                                                                                            p~~r:,;••,
such company, officers excepted, to be written down on small scrolls of
paper, which shall ho folded up and put into a hat, and shall be shaken to.
gether, and the clerk or sergeant of the said company shall draw out of tho
hat the names of 60 many persons as will not exceed three fourth parts
of the so.id company; and the persons whose names shall be so drawn, shall
be obliged to march according to such orders as shall be given by the Gov.
ernor or Commander.in.ch'ief, and the rest whose names· shall be left in the
bat, shall stay in their respective parishes and divisions, and shall do the
duty of the patrol, as before directed; but no officer of any company sholl
be excused from marching with the company for which he is appointed, un.
less by particular orders from the Governor or Commander-in·chief; and,
in that case, such officer so directed to stay shall be commanding officer
of that part of the company left for the patrol duty. If any person whose
name is drawn, as aforesaid, and Is thereby obliged to march out of his
perish or division, can provide an ahlo bodied man, (to be approved by the
majority of the officers of tho company to which such person belongs,)
completely armed and furnished, according to the directions of this Act,
every such person shall be permitted and at liberty so to do; and upon pro·
ducing and sending out such able bodied man in bis stead, be shall 1,o ex.
cused from going out or marching in person; hut, nevertheless, he shall be
obliged to do patrol duty in hie district; and in case of disobedience, ne.
gloct or refusal to ride in such patrol, he shall be liable to all the pains,
penalties and forfeitures inflicted by this Act,
   XX.XI. And he it fflacted hy the authority aforesaid, That in time of an A              &
alann, occasioned by any insurrection, rebellion or invasion, all field ofli·       bol,:;p,es~~d.q
                                                                                                1
cers, and captains of every company, are empowered, by themselves or
their warrants to any inferior officer or soldier, to impress any arms, am,
munition, provisions, horses, wagons, carts, hoate, canoes, pettiaugers and
vessels, with their furniture, or whatever other thing they shall want
or have need of, _for the service of this State. Provided, all such things




                                                                                      EXHIBIT 13
                                                                                        0223
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  A, D.1704,                         Act, relating to lhd Militia.
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                 so impressed be by the said officecs brought before three or more indifferent
                 persons, b~ing freeholders, to be appraised and valued, before they be dia.
                 posed of for the public service ; and such valuation and appraisement be-
                 ing mudo, the officer shall give a receipt for the enme, if he conveniently
                 can; and the officer io to cause his clerk lo enter tho same in n book, to be
                 kept for that purpose ; and the snid appraisers shall ascertain any loss or
                 damage thnt may happen to the things so impressed, or allow a competent
                 hire for the same when returned to the owner, as the case shall require,
                 and shall give such appraiscmcnt, under their hands, to the owner, dirocted
                 to the public treasurers, who are to lay the same before the Legislature,
                 And the commanding offic·er or captain of each company, after such alarm
                 H;mll be over, and before such company shall be discharged, is to order 90
                 many men as he shall think fit, to carry the several thing~ by him impress·
                 ed to the several owners, who, upon re-delivery of the same, shall give a
                 receirt, The otllcer is likewise emrowered to draw on the public tren1ury
                 for so much money as he shall think the carriage of the said several things
                 deserves,
                    XXXII. And be it .further enar.trd by the authority aforesaid, That the
Tbimre im•       commanding officer or commander of oach company, shall lodge in some
tir~!lsed to be convenient and secure place, for tho public use, all tho provision~ and am-
kept an l\O•     munition impressed by him, or by virtue of his warmnt, that shall remain
count of,
                 unexponded after an alarm, and must keep a particular account thereof.
                    XXXIII. And be it further e11acted by tho authority aforesaid, Tbnt all
••ree pmonaoffree negroes and Indians, (nations of Indians in amity with the State ex.
color, &o,       copied,) Moors, mulattoes and mestizoes, between the ages of eighteen
                 and forty.five, shall bo obliged to servo in the said mihtia as fatigue,rneo
                 and pioneers, in the several regimental beats in which they reside; and up·
                 on neglect or refusnl to attend when summoned on duty, they, and every
                 one of them, shall be liable to the like penalties and forfeitures as privates
                 in the same regiment or company arc made liable by law.
                    XXXIV, And be itfurtlter enacted by the authority aforesaid, That tho
M•mhel'!I of     officers and privates in any company of artillery, infantry or cavalry, raised
uni(orru com• and uniformed in any militia regiment of this State, by permission of his
pe.nit,,11,
                 Excellency the Governor, or any lieutenont·colonel or commanding officer
                 of any regiment, or to be hereafter raised, shall be, respectively, liable to
                 all the fines and forfeitures imposed by law on the officers or private• in
                 any regimental 'or company beat; and that when any person now actually
                 enrolled, or that shall hereafter be enrolled, in any such company, shall be
                 desirous to quit the same, he shall be obliged to give at least thirty day•
                 notice of such intention; end shall be obliged, also, to enrol himself in the
                 company beat in which he resides, or in acme other company of artillery,
                 infantry or cavalry, of the regiment to which he belongs, and produce a
                 certificate thereof from the captain or officer commanding such beat or
                 company, before he shall be permitted to leave the uni~orm company or
                 corps to which he belonged, or be excueed from duty therein.
                    XXXV, And whereas, the safety of tho city of Charleston requires tho
Companie a       calling forth, at certai11 times and seasons, one or more companies of the
may be oum• militia of the said city: Re it therefore e11actcd by the authority aforesaid,
n,on,d to        That it shall and may be lawful for the Governor or Commander-in.chief
:"8&~ft~:;1n     for the time being, or the major.general of the division, or brigadier of the
               · brigade, in which Charleston is comprehended, or the commanding officer
                 of the Charleston regiment for the time being, to call forth, when nece8SII•
                 ry, such and so many companies, or detachments of companies, to mount




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                                                                                    EXHIBIT 13
                                                                                      0224
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                        Acta ralating to the Militia.                                           A.D,1791.
                                                                                                ~

 guard in the said city, ns to thorn shall, respectively, appear necessary and
 proper. Provi<led, that no guard shall be obliged to continue on duty, ot
 any one time, except in case of octuol olorm, more \hon twenty.four hours
 on one guard; and every person duly summoned to turn out on any such
guard, who shall not obey, or who shall leave his guard, or otherwise mis-
 behave, shall be liable to pay the same fines and for'fe1tures os such person
would be obliged to pay for default of duty by non.ottendancf.' or misbeha.
 viour ot any battalion or regimental muster, by virtue of this Act.
   XXXVI. And be it further enacted by the authority aforesaid, That every
commissi~ned officer who, at t~e original organization of the m11itia, agree. offi~ere to b,n
nble to this Act, shall be appotnted in pursuance of the same, and accepts ~~f"'¾'~d with
his commission, shall be furnished, at tho expense of this State, with a 18 0 '
copy of this low, the Act of Conwcss to provide for tho notional defence
and establishing an uniform militia throughout the United States, Baron
Steuben's military discipline, and the articles of war, oil bound together in
a small and convenient pocket volume; and that the senior major.general,
elected in pursuance of this Act, is hereby authorized and empowered to
contract for procuring the same on the best and cheapest terms,
   XXXVII. And be itfurtl,er enacted by the authority aforesaid, That if
any person or persons whosoever shall be sued, impleoded, molested or
prooecuted, for any matter, cause or thing done or executed, or caused to thl,
                                                                                               ~~;o:1~:rd
                                                                                                  Act,
be done or executed, by virtue of or in pursuance of this Act, and all and
every person or persons who shall or may, by tho command, or in aid or
assistance, of any person who shall do or execute, or cause to be done or
executed, any matter or thing by virtue of or in pursuance of the direction
of this Act, shall and may plead the general issue, and give this Act and
the special matter in evidence ; and in case the plaintiff shall suffer o dis-
continuance, enter o Mli proaequi, suffer o non.suit, or if a verdict or judg.
ment shall pass against him, he shall pay to every defendant that shall be
acquitted, or for whom judgment shall pass, his full double costs of suit.
   XXXVIII. A11d be it fur/lier enacted by the authority aforesaid, That nil Former militia
lows heretofore enacted in this State, respecting the militia, shall be, and lnw• rep..lcd,
the some ore hereby, repealed, except such lows or ports of lows as respect
the Charleston bottnlion of artillery.
  In the Bon•te Houee, thi, tenth day of Mny, in tho year of our Lord one thousand ooven
       hundred and ninety-rour, and in tho eighteenth yoor   or the lndependonoo of tho Uni,
       ted States of America,
             DAVID RAMSAY, President qfthe Senate.
             JACOB READ, Speaker qf the House qf Representativea ..

                   V~L. VIII.-63.




                                                                                               EXHIBIT 13
                                                                                                 0225
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498                                     .STATUTES A'i LA.Kuti
 A, D,179(.                          .A.ct, r,lating to l}te ll'Iiluia.
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 l'IQ, 1602, AN ADDITIONAL ACT TO THE Ao·r ENTITLED " AN ACT TO ORGANIZE
                THB MILITIA THROUGHOUT THE STATE OF SoUTII CAROLINA, IN COll•
                .FORM.ITJ.' WITII THE AoT OF CoNGRESs,"

                    WHEREAS, the law of Congress, entitled "An Act more·· effectually
 ·Preambl~.    to provide for the national defence, by establishing an uniform militia
                throughout the United States," directs that each division, brigade and regi.
               ,nent, in each State, shall be numbered at the formation thereof, and a re·
                cord made of such numbers, in the adjutant.general's office, in the Stale;
               and when in the field, or in service in the State, each division, brigade and
                regiment shall, respectively, take rank according to their numbers, reckon•
               .ing the first or lowest number highest in rank, And whereat, it is necee.
               sary to fix the rank of officers who were elected to the same grade by the
                Legislature at their last session, or by the people since that period:
                    1. Be it ther'!}ore enaclrd by the Honorable the Senate and House of Re.
Rank of divi- presentatives, now met and sitting in General Assembly, and by the au•
sinns and brl- thority of the same, That the rank of the divisions, brigades and regiments,
gndei 10db:;••·shall be determined by lot, in the following manner, that is to say: that a
,i;_i•m• Y joint committee of both houses shull forthwith cause the words Eastern
                Division, and the words Western Division, to be, respectively, written on
                two pieces of paper, which shall be folded up and put into a hat, and they
                shall then cause a child, under ten years of age, to draw out, in their pre-
                sence, one of the said lots, and that which shall be so drawn sholl be the
                first division of this State, and the remaining lot sholl be the second divi-
                sion; and if the eastern division shall bo the first drawn, then the bri•
                gades and regiments in that division shall have the lowest numbers and
                highest rank, and the brigades and regiments in the western division the
                highest numbers and lowest rank ; and if the western di vision be first
                drawn, then the brigades and regiments in that division shall have the low-
                est numbers and highest rank, and the brigades and regiments in the east•
                ern division, the highest numbers and lowest rank. That then the committee
                shall cause the numbers of the brigades in each division to be determined
                in a similar manner, by lot, that 1s lo say : if the eastern division shall be the
                first drawn, they shall cause the words Charleston brigade, Georgetown
                brigade, Cheraw brigade, Camden Brigade, and Beaufort and Orangeburg
                brigade, to be written on five lots, and to be folded qp and put into a hat,
                and they shall then cause a child, under ten years of age, to draw, in their
                presence, fhe said lots, one by one, from the hat, and the brigade first
                drawn shall be oumbore,d the first brigade, tho brigade second drawn shall
                 be numbered the second brigade, the brigade third drawn shn.11 be numbered
                 the third brigade, the brigade fourth drawn shall be numbered the fourth
                 brigade, and the brigade fifth drawn shall be numbered the fifth brigade;
                 and then they shall cause the words Edgefield and Abbeville brigade, Lnu.
                 rens and Newberry brigade, Washington brigade, and Pinckney brigade, to
                 be written on fmJr lots, and the same shall bo folded up and put into a hat,
                and they shall then cause a child, under ten years of age, to draw, in their
                 presence, the lots, one by one, from the hat, and the brigade first drawn
                shnll be numbered the sixth bngnde, the brigade second drawn shall be num.
                 tiered the seventh brigade, the brigade third drawn shall be numbered the
                eighth brigade, and the brigade fourth drawn aball be numbered the ninth
                 brignde. And if the western division shall be first·drawn, they shall cause
                 the words ~dgel,iel!l and 4bbeville brigade, Laurens and Newberry brigade,




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                                                                                      EXHIBIT 13
                                                                                        0226
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                         OF SOUTH CAROLINA.                                            499
                       Act, relating to the Militia,                            A,D, l79f.
                                                                                ~

 Washington brigade 1 and Pinckney brigade, to be written u1>0n four lots,
 which shall be folded up and put into a hat, and they shall then cause a
 child, under ten years of ag11, to draw, in thoir presence, the lots, one by
 one, from tho hut; and the brigade first drawn shall be numbered the first
 brigade, the brigade second drawn shall be numbered the second bri·
 gndc, the brigade third drawn shall be numbered the third brigade, and the
brigade fourth drawn shall be numbered the fourth brigade; and then they-
shall cause the words Charleston brigade, Georgetown brigade, Cheraw br1.:
g11de, Camden brigade, and Beaufort and Orangeburg brigade, to be writ·
 ten on five lots, and the same shall be folded up and put into a hat,· and
they shall then cause a child, under ten years of ago, to draw, in their pre.:
S-Once, tho lot•, one by one, from tho hut, and the brigade first drawn
shall be numbered the fifth brigade, tho brigade seconJ drawn shall be
numbered the sixth brigade, the brigade third drawn shall be numbered
 the seventh brigade, the brigade fourth drawn shull be numbered the eighth
 brigade, and the brigade fifth drawn shall be numbered the ninth brigade.
That then the committee shall, in like manner, by lots drawn in their pre-·
sence, proceed to number the regiments, taking care eo to conduct the
drawing that the lowest number of the respective regiments be given lo
the lowest number of the respective brigades, and that the brigades highest
in number have tho regiments highest in number; and that the rank of bat.
talions, in their respective regiments, bfl always determined by the eeniori··
ty of their respective majors.
    II. And be it furtl,er macted by the authority aforesaid I That all the
officers wbo were elected by the Legislaturo, at their last session, or by Rank of ,,.gi-
t he people since, shall take rank in the following manner, that is lo say: mental officers

of date and commission in thnt division, shall take rank of all the officers
                                                                              :~~:J": ·r
if the eastern division shall he the first drawn, all the officers of equal grade  0

                                                                                   Y '
                                                                                       O
                                                                                        t

of similar grade and date of commission in the western divisiol'l ; and if
tbe western shall be the first drawn, all the officers of equal grade and date
of commission in that division, shall take rank of all the officers of similar
grade and date of commission in the eastern division; and all the officers
of equal grade and date of commission, of the brigades lowest in number,
shall take rank of all the officers of equal grad A and date of commission in
the brigades higher in number, in the division to which it belongs; and all
the officers of equal grade and date of commission, in the regiments low·
est in number, shall take rank of all the officers of equal grade and date of
commission in the regiments highest in number, in their respective brigades.
And all the officers of equnl grade and date of commission in their respec.
tive regiments, shall determine their rank in their regiment by lot, drawn
in the presence of the lioutenant·colonel or commanding officer of the re~
giment ; or where the lieutenant-colonel is dead, and the rank has not
been determined between the majors, in the presence of some person to be
appointed by tho brigadier-general, or in his absence by the major.general,
P·rovided, alway,, that nothing in this Act shall be construed to extend to
deprive officers who have been elected to the S11me grade they held before,
from retaining and laking rank agreeably to their old commissions, or to
determine the rank of officers in any regiment, where they have already
drawn for it,
   III. Anti be it.farther enacted by the authority aforeBllid, That when the
commission of ensign is vacant in any company, the men liable to do duty Enolgn• how
in that company, as well in time of alarm as at common musters, shall to bo ete~ted,
elect, by ballot, a lit person to fill the vacancy; and tbe lieutenant-colonel




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                                                                                EXHIBIT 13
                                                                                  0227
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500                                     S'fATUTES AT LARGE
  A,D,17D4,                          Act.I relating to tlw Militia.
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                 or commanding officer shall order such election, giving notice on one mus-
                 ter day, in writing, which shall be publicly declared and made known to
                 the company by tho officer commanding the same, and shall be fixed up in
                 some public place upon the muster ground, that the election will be held at
                 the ensuing muster; and the captain or commanding officer of the compa-
                 ny shall manage the election.
                    IV. And be it.farther enacted by the authority aforesaid, That if any
Sc:r~Pnnts ro• person liable to do duty at common musters shall be appo1nted a sergeant,
ru~ing to do     and refuse to do duty as such, he shall be fined in a sum of four pounds;
duty lo IHl
tinca.           but no person shall be obliged to act ns sergeant more than one year at 11
                 time,
                    V. And l,e it furtl1er enacted by tho authority aforesaid, That the Go-
~overnor, mo· vernor, tho major-generals and brigadier.generals, respectively, as occaaion
i;;;rb~ii."Jior• may require, shall be authorized to appoint one or two extra aids.de.comp,
guncral,.        who shall not he entitled to any other rank or pay than what they are enti.
                 tied to in the line,
                     VI, And be it further enacted by tho authority aforesaid, That each
;."h~d:,~:,'.1
              ' commanding officer of a corps, when on duty or parade, shall have full
taincd,          power and authority to ascertain and fix certain necessary limits and
                 bounds to their respective parades and places of exercise, (no road in which
                 people usually travel, or more than one half the width of any street, to be
                 included,) within !which no spectator shall have a right to enter, without
                 liberty from tho said commanding officer; and in cnso any person shall so
                 intrude within the lines of tho parade or place of exercise, after beio~ once
                 forbidden, he shall be liable to be confined under guard during the time of
                 exnrcise, al the discretion of the commanding officer.
Fin••, how to       VII. And he it further enacted by the authority aforesaid, That every
bo recovered, fine imposed by this Act, or the Act entitled "An Act to organize the mili-
                 tia throughout the State of South Carolina, in conformity with the Art of
                 Congress," or by any future Act, shall be recovered in the following man.
                 ner, that is to say : the officer who presided at the court martial whea any
                 such fine or fines shall be imposed, (excepting fines incurred for misconduct
                 while under arms, which shall be recovered as is directed by said Ac~)
                 shall issue his warrant, under his hand and seal, directed to some sergeant
                 belonging to the brignde, regiment, battalion, company or troop to which
                 the oflimder, nccording to his rank, may immediately belong, or for mot
                 of such sergeant, to such other person as may be appointed by the com.
                 manding officer of the regiment, and slmll mention therein the amount of
                 the fine or forfeiture, or fines or forfeitures incurred, and for what default
                 or misconduct, and by what court-martial tho same was or were imposed,
                 and shall thereby command such sergeant or other person to take the body
                 of the defaulter or offender to the nearest gaol, there to be confined until
                 such fine or forfeiture, or fines or forfeitures, together with the gaoler's and
                 sergeant's fees, shall be paid ; and every such sergeant or other person shall
                 be obliged to execute such warrant, according to the tenor or purport there.
                 of; and all district sheriffs and gaolers, county sheriffs and gaolers, and
                 city sheriffs and gaolers, in this State, are hereby empowered and required
                 to receive the body of any such defaulter or offender, who may be brought
               . to. either of them under any such warrant, and to keep him in oofe Clllltody
                 until the amount specified in the warrant, together with the gaoler's and
                 sergeant's foes, shall he paid; and the shetiflli and gaolers shall be allowed
                 the same fees in such cases as are allowed in other cases of commitments,




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                                                                                    EXHIBIT 13
                                                                                      0228
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                            OF SOUTH C4,ROLINA.                                                          501
                          .A.eta relating to tl1e Militia,                                       A,n,1704,
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nnd the sorgennt shnll be allowed the snme fees ns constables hnve for ser-
ving summonses, and for commitments for the same amount, or for levying
an execution for the same amount. PrQvUed, always, that the person so
committed shall, at the end ofa certain time, to be computed at tho rnto of
one day for every three shillings and six pence he may be condemned to pny,
be released, upon swearing that he is unable to pay the amount for which
be may be committed, and the fees bereinbefore directed to be paid ; and
provided, also, that no person shall be taken up on any such warrant or
execution, if he will immediately pay the amount he is liable for, and the
fees due, or produce to the officer sufficient property of his own to satisfy
the same, which, if ho shall produce, the officer shall take and dispose of
at public sale, in the same manner as constables make their sales under
execution; and after paying tho fine or fines due, and the foes thnt have
accrued, ho shall return tho surplus, if any there be, of the proceeds of the
sale, to the said defaulter or offender,
   VIII. And be itfurtker enacted by the authority aforesaid, That every Olli
officer in the militia shall, within six months after tho ratification of this nu
Act, or after be shnll be elected or appointed, tnke the following onth or
                                                                                                  ::rh. t I k
                                                                                                        O a fl


affirmntion, before Romo justice of the pence, who shall certify the same
on the ho.ck of bis commission: "I, A B, do solemnly swear, (or affirm, as
the case may be,) that I will support and maintain, to the utmost of my
ability, the laws nnd constitution of this State and of the United Stales."
And every officer neglecting so to do shall vacate his commission,
   In the Senate Houao, 1he nin<'toenth day of December, in tho yr.ar of our Lord one thou•
        1Jand eoven hundred nnd ninoty•four, and in the nlnotet!nth yonr of the l111lopondonee
        of tho Uniled Stntoe of Amerio•,
              DAVID RAMSAY, President ef tke Senate.
              JACOB READ, Speaker eftke HOU3e of R.epmcntativca,




AN ADDITIONAL ACT To THE AcT ENTITLED                          "AN AoT TO ORGANIZE               No. 1622,
  TJIE    MILITIA      THROUGHOUT        THE    STATE      OP SOUTH             CAROLINA,   IN
  CONFORMITY WITH THE ACT OF CONGRESS i" AND FOR OTHER l'URPOSES
  TIIEREIN MENTIONED,

    l. Be it enacted by tho Honorable the Senate and Hou~e of RepreRenta.
lives, now m.et and sitting in General Assembly, and by the authority of, tho F!eld olljcere tu
 same, That m all cases where any of tho regiments, or any of tho bo.ttnhons g,ho rehe~,
 end companies belonging to any of the regiments, of this State, shall or:,.~;:,~:""'
 may be aggrieved and injured, by the division or divisions made by the i~j,_ir~d by
different commissioners appointed by the several Brigadier Generals, for the J,v,eion,
,purpose of dividing the regiments belonging to their respective brigades
 into battalions and companies, pursuant to the Militia Act of this State,
 passed on the tenth day of May, seventeen hundred and ninety.four, the
 regiments, or any of the battalions or companies belonging to the said
 regiments, so aggrieved or injured, shall make their application for redress
 lo the Brigadier General of the brigade to which the snid regiment or
 regiments belong, who shall appoint two field officers of the brigade, who
 a.re not involved in the dispute or interested in the decision of the same,



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                                                                                                  EXHIBIT 13
                                                                                                    0229
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502                                       STATUTES AT LARGE
  A,D, 1795,                            Acu relating to the Militia.
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                    who are hereby empowered and directed, should it appear to them fit and
                    expedient, to make, direct and order, any arrangement or division of the
                    said regiments, or any of the battallions or companies belonging thereto, as
                    to them shull appear to the advantage of the same; provid,·d, lwu,e,,cr,
                    that such arrangement or division be, as nearly as conveniently may be, in
                    conformity to tho Act of Congress, passed on the eighth day of .\lay,
                    seventeen hundred nnd ninety.two.                                             •
                       II. And be it further enacted by the authority aforesaid, That in all
In ca,n of con-cases of contestad elections for field oflicers, where either of tho candidates
t••ed • 1•0 • 1 think thomselves aggrieved by tho determination of tho brigadier general
                1O
b~~:i~:\~~ca        or field officers who have decided or shall decide on the election, such
                    candidate may appenl from such decision to the major general of the divi,
                   sion to which he belongs, and the said major general, together with a
                    board of general and field officers, to be appointed by the said major geoo-
                    ral, and to consist of tho said major General and not less than one hriga-
                   dier general and three field officers, shall examine into the merits of tho
                   said election, and shall decide thereon; and such decision shall be final and
                   conclusive, and the person in whose favor they decide shall be commie.
                    sioned by the Governor.                                                     ·
     .                 III. And wl,erea,, many of the officers in the militia have, through io-
Milili• officer, ndvertcnce, neglected to take the oath or affirmation prescribed by the Act,
f~~~~r   ,. ~ fur- passed OU tho nineteenth day or December, seventeen hundred and nincty-
         1
 q~allr;. 0 tr-four :-Be it furlher enacted by tho authority aforesaid, That a further
                    hme of six months be allowed them to take the said oath or affirmation
                    before some justice of tho peace, who shall certify the same on the back
                   of his commission; and every officer who shall neglect so to do, within the
                    time above limited, shall vacate his commission; but provided he takes the
                   said oath within the said time, he shall retain his commission; any thing
                   in the said Act contained to the contrary thereof in any wise notwith-
                   standing.
                       IV. And wherea,, it has been represented to the Legislature, that the
Snl•ry of Ad• duty of the adjutant general is very laborious, and attended with conside-
julunt General, rable expense, Be it tl,erefure enacte1l by tho authority aforesaid, That tho
                   salarr of the said officer shall be, in future, one thousand dollars per annum;
                  provided, he shall attend the different regimental reviews throughout the
                   State, once in every year.
                       V. And wherea1, !tis of great importance to thi~ country; that encour.
Pereona em.
                   agement    should be given to the company for ope~mg the Santee Canal.
ployed RI the Be it therefore enacted by the authority aforesaid, That the overseers, toll-
Snntee Cnnnl, receivers, lock-keepers, and white laborers, employed or to be employed by
exempt from
tnilitia duty,     the said company, be exempt from doing militia duty at any time hereafter,
                   except in times of alarm.
                       VI. And be it fortlwr enacted by the authority aforesaid, That so much
  Duralloo. of this Act as relates to the office, salary, and duties of the adjutant gene,
                   ral, shall continue in force for and during the term of three years, and from
                   thence to the end of the next session of the Legislature thereafter, and no
                   longer,
                In the Senate House, the nineteenth day or Decoruber, in the year of our Lord ~ne thou.
                     send seven hundred and nioely-five, and in the tw•nlleth year of tho lndepeadeace fA
                     the United States of America.

                        DAVID RAM~AY, Pmident 1/1 the Senate.
                        R.OBT, BARNWELL, Speak~r 1/1 the Hou,e qf luprue11iatiru,




                                                                                            EXHIBIT 13
                                                                                              0230
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                         OF SOUTH, CAROLINA.                                                       503
                         Actll relating w the Mili.tia.                                     A,D.1796,
                                                                                            ~

AN ACT TO PROLONO' THE TIHE FOR CERTAIN OFFICERS OF THE MILITIA No.1667,
       TO TAKE THE OATH OR AFFIRMATION PRESCRIBED BY LAW,

   WHEREAS, many officers of the militia have, through inadvertence,
neglected to take the oath or affirmation prescribed by the Act entitled
An lidditional Act to the Act entitled An Act to organize the Militia
throughout the State of South Carolina, passed on the nineteenth day of
December, in the year of our Lord one thousand seven hundred and nine.
ty-four, in conformity with the Act of Congress,
   I. Be it therefore enacted, by the Honorable the Senate and House of
Representatives, now met and sitting in General Assembly, and b.y the
authority of the same, That a further time of six months be allowed 'the
said officers to take the said oath or affirmation before some justice of the
pence, who shall certify the same on the back of their commissions; and
that the snid officers thus taking the said oath or affirmation, shall be still
qualified to hold their said cllmmissions ; any thing in the aforesaid Act,
pns8ed the nineteenth day of December, in tho year of our Lord one thou-
sand scv_en hundred null ninety.four, to the contrary hereof notwithstand.
ing. Provided, nevertheless, that if the said officers do not within the said
time take the said oath or affirmation, at the expiration of the same their
commissions shall be vacated.
   II. And be i.t enacted by the authority aforesaid, That any officer or
officers taking the oath or affirmation within the time abovementioned, shall
receive commissions of the same date, and shall be entitled to the same
grade, as if he or they had taken the said oath or affirmation when first
elected.
     Io the Senato Hou,e, the twentieth day of December, in the year of our Lord one
        thousnnd .. ,on hundred and ninety-six, and In the twonty,firet yeor of the Ind~,
        pendence of the United 1:.hntea of America.
           DAVID RAMSAY, President ef the Senate.
           ROBT. BARNWELL, Speaker efthe H=e ef Rcpreae11tativea.




AN ACT CONCERNING THE CAVALRY AND ARTILLERY OF THIS STATEj No. 1662,
               AND FOR OTHER l'URPOSES THEREIN JIIENT[ONED

   I. Be it enacted by the Honorahle the Senate and House of Representn.
tives,'11ow met and sitting in General Assembly, and by the authority of
the same, That the cavalry of this State shall be arranged into squadrons Covalry of the
and regiments, as follows :-the several troops now raised, and hereafter to State arranged
be raised, in the brigade number one, (No. l.) shall form one regiment; in 3qua,)rono
the several troops now raised, or hereafter to 'be raised, in the brigade an rogunents.
number two, (No. 2.) shall form one regiment; the several troops now
raised, and hereafter to be raised, in the brigade number three, (No. 3.)
ehall form one regiment; the several troops now raised, and hereafter to be
raised, in the brigade number four, (No. 4.) shall form one regiment; tho




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                                                                                            EXHIBIT 13
                                                                                              0231
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 00<1                                       STATUTES AT LARGE
    .A,D, 1797,                          Act.r relating to eke Militia .
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                        several troops now raised, and hereafter to be rai~d, in the brigade number
                        five, (No. 5,) shall form one regiment; the several troops now raised, and
                        hereafter to ho raised, in the brigade number six, (No, 6.) shall form one
                     , regiment or squadron; the several troops now raised, and hereafter to be
                        raised, in the brigade number seven, (No, 7.) shall form one regiment;
                        the severnl troops now raised, and hereafter to be raised, in the brigade
                        number eight, (No. 8.) shall form one regiment; the several troops now
                        raised, and hereafter to be raised, in the brigade number nine, (No. 9.)
                       shall form one regiment or squadron. Provided, that no regiment shall
                        consist of more than six troops, nor less than four, nor each troop of more
                        than sixty.four, ra.nk and file.
                           II. And be itfurtlt&r enacted by the authority aforesaid, That the briga,
    nrigndie,. to dier genera.I of each of the aforesaid brigades shall be, and he is hereby,
        '°f
    fill u11           authorized and empowered, whenever the regiment of horse in his brigade
    :;;: 111• of orae, is not complete, to fill up the same, if he shall see fit, by authorizing proper
         '             persons to raise the necessary number of troops; and also, by empowering
                       tho captains of the respective troops in his regiment to enrol men who
                       are not obliged to do mihlia duty, but who would be willing to enrol them,
                       solves in such troops, and to turn out with them, properly uniformed and
                       accoutred, when called into actual service; and the said brigadiers shall
                       distribute the troops in their respective regimen ls into squadrons.
                           III. And be it further enacted by the authority aforesaid, That to each
    Each ,qundron of the aforesaid •quadrons there shall be one major; and each of the afore,
    lo haven m•· mentioned regiments shall be commanded by one lieutenant·colonel; and
  Jor,                 the Governor and Commander-in-chief shall be, and ho is hereby, authorized
                       lo commission, in common form, the eldest captain of horse in each bri,
                       gade, as lieutenant.colonel in each brigade, and tho second and third in
                       seniority I ns majors of tho first and second squadrons, in each regiment, re.
                       spoctively; and if any case should occur in which the captains's commis-
                      sions bear oven date, the preference shall ho decided by lot, in presence of
                       the brigade major, who shall make a return thereof to the adjutant-general;
                      ,and the rank or the several lieutenant colonels shall also be determined by
                       lot, to be drawn in the following mannet· :-the adjutant general shall wrtlo
                      -the names of the respective regiments on slips of paper, and having inwr.
                       mixed thorn well, shall, in presence of the Governor .or Commander.in-chief,
                      draw forth their names, singly ; and each of the aforesaid lieutenant
                      colonels shall take rank in the order in which his name is drawn; and the
                      adjutant general shall make out two lists of the said officers, according lo
                      their respective ranks, and transmit one of the said lists to the secretary's
                      office in Charleston I and the other to the secretary's office in Columbia,
                      there to ho recorded. Provided, that nothing herein contained shall be so
                      construed as to give rise to any captain or commander of a troop, who bas
                      neglected, for six months previous to tho passing of this Act, to muster bis
                      troop,
                          IV. And be it furtlier enacted by the authority aforesaid, That all those
  'l'e,.one for- of the militia who have heretofore enrolled themselves in any troop or
  f'"~Y•inrollod,company
    0
                                  of cavalry, may remain with their troop or company; and that
'          m• '       hereafter all volunteers for the corps of cavalry shall be limited to tboir
                      respective brigades, except otherwise ordered by tho Commander-in-chief,
                          V. And be it. farther enacted, That whenever any of the cavalry, or
   Hor... 10 ho any part thereof, shall be called into the actual service of this State, it shall
 -~J~prolse~.,        b,e the duty of the brigadier-inspector to call to his nssistance two of the
                     Jrceholders of the county where each horseman may reside, who, together




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                                                                                         EXHIBIT 13
                                                                                           0232
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                        .Acta relating to the ll'Iilitia.                               >..1>. t191 •
                                                                                       ....,......,,..
with the llllid brigade inspector, shall, on oath, appraise the horse of ea.ch
 horseman, immediately bet'ore the time of going into such service, and en.
 tcr such appraisement in a book, lo be kept for that purpoee; and the said
cavalry shall receive tho sa:ne indomnification, and no other, for loss of
 horses or otherwise, under the same regulations and restrictions, as are or
may be established, in like cases, in the militia in the service of the Uuited
States, by the laws thereof, for the time being.
    VI. Aitd he it furt!,er e,,acled, That the cavalry shall meet in troop, at Troop, to
least six times in each year, and at such places a.a tho commanding otlicer meet.
of each troop shall direct ..
    VII. And he it enacte1l, That the brigadier in each brigade be, and he is u ·r,         1
                                                                                              d
hereby, authorized to direct the mode of uniform for the cavalrr of hisJi:i;W.:e~'
brigade; and the acljutant general shall prescribe the form of discipline to
be used and adopted by them.                                             .
    VIU, And he it further enactetl, That the company of artillery attached
to the twenty-eighth regiment, the company attached to the twenty-ninth             R•fii'"""'l
regiment, and the company nllnched to the thirtiath regiment of infantry,           !:i'.
                                                                                    •ry orm•
shall form one battalion; and tho said battalion, together with the Charles-
ton battalion of artillery, snail form one regiment.
    IX. Aitd be it further enacted, That the said regiment of artillery shall
be commanded by n lieutermut-colonel ; and each of the said battalions, by Hnw to ho
11. major; and the Governor or Commander-in-chief sh1i.ll be, nnd he is officered,
hereby, authorized to commission, in common form, the first officer in rank
in the said regiment, us lieutenant-colonel thereof; and the second and
third in seniority, as mttjors of tho battalions, who shall take rank accord.
ing to tho dates of their commissions.
    X. And he it furllier enw:tetl, That throughout the other parts of the Other a tillery
State, the cnptains of artillery shall be attached to the battalions in which to remal: aa
they reside, respectively; and rise in the same, with the other officers, bofore,
according to the dates of their commissions.
    XI. Antl he it further t1111cted, That tho said lieutenant-colonel of
cavalry, and lieutenant-colonel of nrtillery, shall take rank and promotion ~fficek, h,'t
together with nnd in the same manner as the other lieutenant-colonels of            J,!~"
                                                                                       an
this State. Prqvi,l,,,l, nevertluless, that no officer to be appointed by virtue
of this Act shall take rank nnd precedent over any officer of infantry of
the militia of this State', of the same grade, except by seniority of com.
mission,
    XII. And he it furtlt11r enacle<l, Thnt the officers and men of the ca val.   .
ry and artillery, throughout this State, shall be subject to the same laws, 8       g~\~,!~;,
                                                                                      1
                                                                                        :~ 1.,
rules and orders, as tho oflicors and men of the infantry of this State, are                    •'
or shall be subject to. Provided always, neverthelesa, that nothing con.
tained in this Act shall be construed to affect the rights and privileges of
the ancient battalion of artillery i,n Charleston, as secured to them by their
charter I or by any other law or regulation.
    XIII. Antl be ii, enactt-d by the authority aforesaid, That the three
companies of artillery in brigadier.general Winn's brigade shall also form ~rtillt{,~ I~
one battalion; and tho eldest captain in the sa,id battalion shall be com- br~~•d•.'"" •
missioned major thereof.
    XIV. And he it ~nacted by the authority aferesaid, That the officeu .                .
commanding in the ditforent company beats i11 the town of Georgetown,               8!~:~~
                                                                                         1
                                                                                         ,~
                                                                                        0 11
be, and tbe same are hereby, authorized to bold their respective commie-                      ·
lions, although. not resident in the beats aforesaid; providsil, that the said
residence be in his battalion.
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                                                                                            EXHIBIT 13
                                                                                              0233
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  A, II, 1797,                           Acu relating to the Militia.
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Wnrrnnte for       XV. And wheretU, it has been inconvenient, and sometimes oppressive,
fine,, &c,      to issue wnrrnnts, in the first instance, against the body of defaulters, and
                other persons subjected to tho floes by the militia law :-for remedy
                whereof, Be it enacted by the authority aforesaid, That the Officer to
                whom the power is given of issuing warrants against the body of defaulters,
                and other persons liable to fines, ~hall, in the first instance, issue hio war.
                rant against tho goods nnd chattels of such person; nnd the sergeant or
                other person to whom such warrant shall be directed, is hereby authorized
                nod required to eeize the property of the person against whom the wnr.
                rant shall be issued, and sell the snme, after having advertised it in some
                public pince in the r~gimcntal or company district to which the said person
                mny belong, nt lenst live days previous to the sale; nnd if tho person to
                whom the said warrant shall be directed, shall make a return that be
                cannot find any goods and chattels to be levied on, then the officer who
                issued tho first warrant is hereby authorized and required to issue a war-
                rant against the body of the person, in lieu of that which was issued against
                his goods and chattels.
                   XVI. And be it furtlm- 1mactea by tho authority aforesaid, That tho
Governor tu     Governor nod Commander-in.chief for the time being, be, and he is here.
~·;.:;~u~~i~~.. by, authorized to issue blank commissions to tho lieutenant-colonels of the
                respective regiments; and the lieutonant.colonels of the respective regi.
                men ls sh nil, from time to time, as vacancies may occur in their said
                re~imenls, 611 up and issue commissions, and make return thereof to the
                brigadier.
                   XVII. Ana be it further enactea by the authority aforesaid, That the
Turn in~ out or mili tin of Charleston and Georgetown shall be, and they are hereby,
the militi•,    exempted from turning out on company parade, oftener than once in
                every two months; and the commanding officer in each regiment through.
                out the State, shall be authorized, if he see fit, to exempt his men from
                turning out on parade in the months of July, August and September;
                provided, they turn out not less than six times in the year.
                 In lho Senate House, tho sixteenth dny of December, in the yeo.r of our Lord one thousand
                       seven hundred and ninety•aeven 1 and in the twenty-second year oftlu, lndependeb(e
                       or the United States or America,
                           DAVID RAMSAY, Pmidei1t ef'the Senate•
                          .ROBT, BARNWELL, Speaker if' th.e Hou,e if' &prueietaliM.




  No, 1748,         AN ACT IN ADDITION TO TltE MILITIA LAWS OF TRIS STA.TE,

                        WHEREAS, it is necessary and proper to alter and amend, in oome
                     respects, tho militia laws of this State: and wh.erea,, ako, it is highly
                     necessary that due subordination and obedience to orders should be main-
                     tnincd and ensured in the said militia.
                        I. Bt u therefore enacted, by the Honorable the Senate and House of
.Officers li11ble Representatives, now met and sitting in General Assembly, and by the
 10
    ho cu,lue re <l, authority of the same, That every commissioned officer of the militia of
                     this State, or any part thereof, who shall be tried for and found guilty of
                     disobeying the lawful order or orders of bis superior officers, llball be liable,




                                                                                          EXHIBIT 13
                                                                                            0234
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                          OF SOUTll CAROLINA.                                                 501
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                                                                                    ~

  therefor I to be cashiered by a court martial, if the same shall be approved
 of, and the officer ordered to be cashiered, by the Commander.in-chief of
  tbia State,
     II. And be il enacted by tho authority aforesaid, That when any volun- Whnt number
  teer company of cavalry shall be reduced to lous than twenty.four men, of mun ,111111
 and when any volunteer company of infantry or artillery shall be reduced ~;ma compa.
  to less than thirty men, uniformed according to law, then 1 and in every ·
  such case, the commissions of the officers of such troop or company, as
  the case may be, shall, respectively, cease and determine; unless such
  troop or company shall, respectively, be completed with the number of
  men aforesaid, within twelve months after the passing of this Act,
     III. And be it .furtl1er enacted by the authority ~foresaid, That no per.
 son liable to do militia duty, who now is, or hereafter may be, enrolled in P•(••n• •nroll-
 any volunteer troop of cavalry, infantry or urtillery, shall be exempted         ~i.;:~·.,;;!~;·
 from doing duty in such troop or company, unless he shall have given six to glvu •I• '
 months previous notice, in w~iting, of his intention of leaving such tr~op       ~r°:i'i~:
                                                                                         i~~~i,~~
 or company, to the commandmg officer thereof, and shall have comphod tlon to lenv• it.
 with the other requisitions required by law.
    IV. And be ie enacted by the authority aforesaid, That the comm1ss1on , .
 of every caftain of any troop of cavalry or company of artillery or in. ~;g1~~~~. who
 fan try, shal be null and void, to all intents and purposes, who hereafter m11•tcr, to for.
shall refuse _or neglect, for the space of six months in immediate succession, ~~l!~1~~.~- com-
 to muster Ins troop or company, as the case may he,
     V. And be it further enacted, That tho brigadiers general shall, within
 their respective commands, .depute proper persons to collect all fines and Pe,rson, •P·
 pe_naltics which may be imposed on delinquents u~dcr tho militia laws off.°:~~·;••'.0 001 •
 th1S State, and allow such pcrcentage on the collechon thereof', as to them
shall appear advisable, so as the same shall not exceed ten per cent.
    VI. And be it enacted by the authority aforesaid, That nil persons acting Fire m.. tero
as fire-masters, or enrolled in any department under 1??'!1 • shall, on ordi-
 nary musters, he exempted from the performance of mihtm duty.
                                                                                 ::~wmr1
                                                                                        ~~tr~m
                                                                                            Y
    Vil. And he it enacted by the authority aforesaid, That every militia
officer who shall be appointed to conduct an election for an ensrgn, orAlodeofcou-
other commissioned officer, shall fairly enter, or cause to be entered, in a d,uc1i11g elec-
book or roll, the names of all persons voting at such election, and shall uooe.
provide a box or glass for the purpose of receiving the said bO:llots; and
the officer so managing such election may require any person offering
 to give his vote thereat, to swear that he is a resident within. the
company beat, or is otherwise properly enrolled therein, and is then liable
 to do duty in that company, under the third section of "An additional Act
 to organize the Militia throughout the State of South Carolina,'' passed the
 nineteenth day of'December, in the year of our Lord one thousand seven
hundred and ninety four; and the officer holding such election shall make
oath, that he has managed the election nocording to law, _according to
the best of his knowledge and belief, and the orders he shall have received
from the commanding officer for conducting the same.
    VIII. An~ be it enacted by the autbori\}'. .aforesaid, That Whenever if Militia oflicora •
1hall be corundered as necessary for any m1hha officer, not under tho rank may inquire
of captain, or other commanding officer of a company, to take a: census of into )h• linblli,
the number of persons within his boat, company or district,, liable to the:~ d~ ~ir?·    1
                                                                                               .
performance of militia duty, such officer or officers shall be, and they are dury.         ••
hereby, authorized und required to demand the name or names of each and
every householder f or other person· or persons so resident therein, and to




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                                                                                     EXHIBIT 13
                                                                                       0235
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     A.U,1800,                             Act, relating to (he Militia.
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                      inquire into their liability lo perform such duty in his snid bent, companv or
                     district; and if any householder, or other person or pen;ons residing in
                     such beat, shall' fail or refuse to satisfy the necessary enquiries of such
                     officer, touching his or their liability to he enrolled as a militia man, such
                     householder or other resident shall forfeit and pay the sum of ten dollars,
                     to ho sued for and recovered before any one justice of the pence ; which
                     penalty shall be paid into the hanils of the paymaster of the regiment in
                     which such person or persons may reside.
                        IX. And ht it t11ar.ted by the authority aforesaid, That it shnll and mav
    Cnrhln•eni       be lawful to and for any major of cavalry to attach to the sqnarlron under
    nnnchod,         his command, by and with the consent of the commanding officer of the
                     regiment of which such squadron shall be a part, nnv number of rifle cnr-
                     bineers, not exceeding twelve to a troop, who shall aiso be armed os troop-
                     ers, in such way and manner as he shall think fit and direct.                 ·
                        X. And be it enacted by the authority aforesaid, 'l'hat whenever a
    Vnconrit•,,      vacancy or vacancies shall happen of any commissioned officer or otliccn
    how fillod,      in any troop or company of the militia, and the men composing such
                     troop or company, respectively, shall neglect or refuse, for the space of three
                     months, due notice of an election being given, to fill up the' snme ns the
                     law directs, then, and in every such case, it shall and may be IM1·ful to
                     and for the commanding officer of the regiment to which such troop or
                     company shall belong or be attached, bv nnd with the consent of the com.
                     manding officer thereof, to fill up such ·vacancy.                      '
                        XI. Be it Macted by the authority aforesaid, That it shall and may be
    Pioneers mny lawful to and for the commanding officer of any company of artillery to
    be att•cbod, attach theroto any number of free m•grocs nnd Indians, moors, mulattoes,
                     and mestizoes, b_etween t,he age of eighteen and forty-five>, not exceeding
                     four, to act as ptoneers, m such way and manner as the commnnding offi.
                     cer of the regiment or bnttalion to which such company mny belong or lie
                     attached, shnll think fit, or direct the snid pioneers lo be clothed in hunting
                     shirts and overalls, and equiped with the usunl accoutrements of n pioneer,
                     except 8Words, bangers or bayonets.
                        XII. And hP it enacted by the authority aforesaid, 'fhat the tines which
    Fin.,, how 10 have been, or may hereafter be, collected in the ancient battalion of nrtil,
    be •pplied,      )cry in Charleston, under the authority of the militia law of this State, from
                     the commissioned and non,commissioned officerY and matrosses of the said
                     battalion, shall nnd may be applied, exclusively, to the uses and purposes of
                     the suid battallion; and the fines collected, as afore.said, in the second hat.
                     tallion of the regiment of artillery in Charleston, shall and may be aprlied,
                     exclusively, to the uses and purposes of the said second battalion.
    PmoDB orool-        XIII. And he it enacted by the authority aforesaid, That no trumpeter or
    or 110_1 lo woar musician, being a negro, mulatto, mestizo, or person of color, attached to
    ~ff~•;:nv• w.., any corps of cavalry, be permitted to be armed with anv offensil·c wea-
     0               pons, unless in cases of alarm or of service on _detachment.
                    In the Senate House, the twentieth do.y  orDecember, in the y(.\nr of our Ltiril oM thou•
                         aand eight hundred, awl io 1he twenty-6fih yeo.r of 1ho lnclopemleuoo of tho Uniud
•                        States of America.
                            JOHN WARD, P,·uident qf the Senate.
                            THEO. GAILLARD, Speaker qfthe House qf Reprmntatirtt.




                                                                                              EXHIBIT 13
                                                                                                0236
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                       Ac~ relating to tk Militia.                                               A.D,1807,
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AN ACT To ALTER AND AMEND AN AoT ENTITLED "AN AoT ooNoERNINO No. 1892,
  THE    CAVALRY      AND    ARTILLERY      OF THIS     STATE,           AND   FOR       OTHER
  PURPOSES THEREIN MENTIONED;" PASSE)} THE SlXTEENTH DEOEMRER
                                                              1
  SEVENTEEN HUNDRED AND NINETY•BEVEN,

   WHEREAS, by the eighth section of the. Act aforesaid, it is enacted
that the company of artillery attached to the twenty.eighth regiment, tho
company attached to the twenty.ninth regiment, and the company attached
to the thirtieth regiment of infantry, shall form one battallion, and the
said battalion, together with the Charleston battalion of artillety, shall
form one regiment. And whereas, no such company 88 is slated in the
said Act to be attached to the thirtieth regiment of infantry, did or does
exist. And whereaa, the Governor and Commander.in-chief for the time
being, did permit to be raised a company of artillery, by tbe name of "The
Federalist Artillery Company," pursuant to the ,\cl of Congress, in such
case made and provided, and did duly commission the oflicers thereof,
which company hath over since acted with the said regiment of artillery
as a company of the battallion aforesaid, formed by the Act aforesaid,
commonly called and known as the second battalion of the said regiment
~d~                                                                                  '
   I. Be it therefore enacted, by the Honorable the Senate and House of
Representatives, now sitting in General Assembly, and it is hereby enacted
by the authority of the same, That the said company of artillery, called
the Federalist Artillery Company, be, and the same is hereby, attached to
the said regiment of artillery, as one of the companies of the s1id second
battalion of the said regiment; and that the officers thereof shall, in all
ca&es, take and be entitled to rank in the said regiment, and militia of this
State, according to lnw and the dates of the.r commissionR,
   11. And be it fur/lier enactecl by the authority aforesaid, That if, at any
time hereafter, it shall happen that one or more of the companies forming
the said second battalion of artillery shall be dissolved, or otherwise legally
cease to exist, it shall and may be lawful to and for the Governor or Com.
mander-in-chief for the time being, to raise, or cause or permit to be raised,
one or more companies, as the vacancies of the said second battalion of
artillery may require, and to commission the officers thereof according to
Jaw; which company or companies, 88 the case may be, shall be attached,
and form a company or companies, as the case may be, of the said second
battalion of artillery, in the room and stead of any company or companies
so dissolved or ceasing to exist, so that tho S11id battalion may always be.
kept entire.
   III. And he it fu1'ther enacted by the authority aforesaid, That so much
of the said Act entitled II An Act concerning the Cavalry and Artillery
of this State," passed the 16th December, 1797, 88 is repugnant to this
Act, be, and the same is hereby, repealed.
   In the Senato House, the nlnoteonth day of December, lo the year of our Lord ooa
     • thousand eight hundred and seven, and of tho lndepoodooce of tho Uoitod States of
        AmPrica the thirty•sei:iond.
          WM. SMITH, Pre,ident qf the SCRaU.
          JOSEPH ALSTON, Speaker eftM &tu, of Repruentatit:u.




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                                                                                                 EXHIBIT 13
                                                                                                   0237
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IHO                                     STATUTES AT LARGE
 A. u. um.
..._..,._,,                          .A.ct.t relating   t<J   the Militia•
No. 1893. AN ACT TO 01vE THE MILITIA oFFIOERe OF THIS STATE, wuo Hns
           NOT TAKEN Tlll!l OATHS lll!lQUilll!lD BY THE AOT OF TIIE Gl!l:tEJIAL
           AssEllBLY I PASSED THE NINl!lTEENTH DAY OF DECEllBEJl 1 ONII TIIOU•
           SAND SEVEN HUNDRED AND NINETY•FOUR 1 IN THE MANNER DIRECTED
           BY SAID ACT, FURTHER TIHII TO TAKII THI! SAID OATH,
                  I. Be it enactctl, by the Honorable the Senate and House of Represen-
              tatives, now mot in General Assembly, and by the authority of the same,
              That all militia officers of this State, who have received commissions, and
              who have not taken the oath prescribed by the Act of the General Assem-
               bly of this State, passed the nineteenth day of December, in the year one
              thousand seven hundred and ninety•four, within the time limited by the
              said Act, and who shall take the said oath within the space of one year
              from tho date of the passing of this Act, shall be, and they are hereby,
              established in their respective commissions, and shall take grade in the
              same manner, and possess the same rights and privileges, as they might or
              wo11ld have bad, provided they bad taken the oath as prescribed and direc-
              ted by the said Act of the General Assembly, pa888d on th8' nineteenth day
              of December, in the year one thousand eight hundred and ninety.four; any
              law or custom lo tho contrary notwithstanding.
                 II. And he it enacted by the authority aforesaid, That nothing in this
              Act shall extend, or be construed to extend, to any militia officer of this
              State who is or may have been concerned in any decision already made
              by any military court, or where there are now any officers contending for
              rank, in consequence of the aforesaid oath not having been taken, or may
              contend for, three months after the passing of this Act.
                In the Senate Houac, the nineteenth doy of December, in the year of our Lord ooa
                     thou,and eight hundred and aeven, and of lhe Independence of the United States
                     o{ America tho tbirty-,econd,

                        WM. SMITH, President of the Senate.
                        JOSEPH ALSTON, Speaker qf tM HOtUe qf Representatives.




No, 1898. AN ACT EXPLANATORY or FORMRR AoTs RELATIVE TO THE 110D& or
           DETERHl~ING THB SENIORITY OF OFFICERS IN THIii MluTu. OF TUl9
           STATE j AND FOR OTHER PURPOSES THEREIN MENTIONED,
                 WHEREAS, it appears that Captain Ja.nent Laval and Captain John
              Geddes, hold commissions in the first squadron, eight regiment of cavalry,
              of the same grade, each to take rank on the same day ; and whereu, in
              consequence thereof, Isaac Walter, Esq,, lieutenaut·colonel of the said
              regiment, did order and direct their seniority to be determined by lot, as
              directed by law; and whcreaa, brigadier.general Read set aside and annul).
              ed the said order, and a court of enquiry, unauthorized in such case,i by
              any law, was called by the Governor of this State, to determine the rank




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                                                                                         EXHIBIT 13
                                                                                           0238
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                        Act, relating to the Militia.                                        A,D, 1807,
                                                                                             ~

of the said officers, nod the seniority thereby given to Captain Jnnent La.
val, although the same had not been determined by lot, as is directed by
law, ns aforesaid, whereby it appears that the said Captain John Geddes Ima
been deprived of n right secured to him by the militia laws, In such cases
made and provided.
    I. Be it tlterefore enacted by the Honorable the Senate and House of Ro·
presentatives, now met and sitting in General Assembly, and by the au.
~hority of the Bllme, That lieutenant·colonel Isaac Walter, or the command·
ing officer of the said eighth regiment of cavalry, is hereby required and
directed, on or before the first Monday in February next, to cause these.
niority of rank between Captain Geddes and Captain Laval to be deter-
mined by lot, according to the mode prescribe\! by the militia laws,
   II. And be it further enacted by the authority aforesaid, That in all cases
where two officers hold commissions of equal grade, and are entitled to take
mnk on the same day, notwithstanding the enid commissions may have
been issued and filled up on different days, yet the seniority of such offi·
cers shall be determined (without reference to their former commissions,)
by lot, according to the directions of an Act of Congress, passed the eighth
day of May, one thousand seven hundred and ninety.two, nod an Act of
 this State, passed the eii:ihteenth day of December, one thousand seven
hundred and ninety.four, m conformity thereto,
    III. And be it further enacted by the authority aforesaid, That this Act
be deemed n public Act, and that it shall be the duty of the militia officers
,of this State to enforce the due observance thereof.
  In tho Senate Hou,o, the nineteenth dny of December, in the yoar of our Lord ono thou•
        ••nd eight hundred and ,even, ond of the Independence of the United States of Ame-
        rica the tbirty .. ccond.
          WM. SMITH, Pre$ident ef the Senate,.
          JOSEPH ALSTON, Speaker of the Hmue of Repmmtatives.




AN ACT JlEQUIRINO THE MA.JOR-GENERALs oF THE MILITIA OF Tllla No, 1916.
  STATE TO OAUSE         ONE UNIFOJlll( SYSTEX OF EVOLUTIONS TO BE ADOP•
  TED BY THE CAVALRY, WITffiN THEIR JlESPEOTlVE DMSIONS j                            FOR
  PERFECTING THE          8EVEIIAL OFFICERS OF THE MILITIA THROUGHOUT
  THIS STATE, IN THEl.ll MILITARY DUTIES ; AND FOR OTHER PURPOSES
  THEREIN lllENTIONRn,

   WHEREAS, it is highly expedient and necessary that a uniform system
of evolutions should be adopted for the cavalry ; that the several militia offi·
cers throughout this State should become perfect in their military duties;
and that patrol duty should be strictly and regularly performed :
  I. Bt it therefore enacted by the Honorable the Senate and House of
Representatives, now met and eitting in General Assembly, and by the
authority of the same, That an uniform system of evolutions be adopted




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  A, 0.1808 .                           Acu relating to the .Militia.
  ..__...__,
                 and performed by the cavalry of this State, the same to be settled and
~~r~r::.~r~: agreed
1io11,.
                    upon by the major-generals and the adjutant.general, or n majority
             of them. That it shall be tho duty of the major.generals of the militia of
                   this Stnte to cnuse the same lo be notified to, and lo be ndopted and ob·
                   served by, the cavalry within their respective divisions.
                       II. A1tcl be it further tllllctetl by the authority aforesaid, That ii shall be
Officer• 10 at,. the duty of all the officers of the several different brigades throughout this
tend brigodo Stale., under the rank of brigadier,- excepting artillery and cavalry officel'!l,
mu,1ere.           to assemble in some central end proper place within their respective bri,
                   gades, in full uniform, and equipped with a musket, bayonet, cartouch box
                   and twenty-four cartridges, once at leMt in every two yenrs, and there be
                   kepi on duty in the practice of the manual exercise, for a time not exceed·
                   ing six days, nor less than three days, as the major•general of each divi-
                   si,m may think flt and proper: And it shall be the duty of the several bri.
                   gadier·generals to attend the said officers so assembled within their respec,
                   tive brigades, and to lead, train, discipline and manwuvre the said officers,
                   according to the syetem of Steuben, or any other system which may be
                  adopted hy Congress. And it shall be the duty of the ndjutnnt.goueral
                   and brigade-majors, within the respective brigades, lo attend such mus-
                   ters, and be subject lo orders, as on reviews ; and it shall also be the duty
                  of the major-generals, within their respective divisions, lo attend at the
                  said musters; which said musters of the officers, as aforesaid, shall be or-
                   dered by the Governor or Commnnder,in-ohief, and at such times ns he
                  shall deem flt and proper for the purposes intended by this Act. And in
                  case any of the officers required by this Aet to attend the musters nfore"'1id,
                  shall fail or neglect so to attend, the said officers, respectively, so failing or
                  neglecting, shall be subject to the fines and forfeitures following, thnt is to
                  say: 11 major·general shall be fined in the sum of sixty dollars, 11 brigadier,
                  general in the sum of fifty dollars, n colonel in the sum of forty dollars, a
                  major in the sum of thirty.dollars, n captain, lieutenant or enRign, in the
                  sum of twenty dollars; and that such defaulter or dofnulters shall IJe tried
                  in the same manner as is now directed by the militia laws of this State,
                , and the fines applied to the use of the brigade in which such fines and for.
                  feitures have accrued.
                      III. And be it further enacted by the authority aforesaid, That it shnll
Officere to at• bo the duty of the officers of the several regiments within this State, in
.: r~:.~~~.~·-    like manner' to assemble, once at least in every year, in some convenient
                  and central place, within the bounds of the said regiments, respectively,
                  at such times as the respective brigadiers shall order, accoutred in the Mme
                  manner as hereinbefore directed ; at which regimental musters it shall be
                  the duty of the brigade-major of the respective brigades to attend; and
                  the said officers, respectively, in case of default, shall be subject to the
                  uame fines and forfeitures as are in the said clause mentioned ; which said
                  fines nod forfeitures are to be collected in like manner as aforesaid, and to
                  be applied lo the use of the regiments in which such fines and forfeitures
                  have accrued,
                      IV. And be it furtl,,er enacted hy the authority aforesaid, That every
!l~~·d~0
        ; 0:~•· lieutenant·colonel who ?hall wilfully neglect to turn out at n regimental
                  muster, shall be 6ned ID n sum of forty dollars, and fifty per cent. on
                  the amount of his last general lox ; and that every major, for a like ne.
                  glect, either at a regimental or battalion muster, shall be fined thirty dol.
                  lal'!l, and also fifty per cent. on the amount of his last general ta1; that
                 .e.very ·captain, for a like neglect, shall be fined twenty-dollars, and also 11




                                                                                          EXHIBIT 13
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                           OF SOUTH CAROLINA,

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 !rum not exceeding fifty per cent, on his general tax ; that every subaltern
 officer, for a like neglect, shall be fined fifteen dollars, and also a sum not
 exceeding fifty per cent. on the amount of his general tax ;'and that every
 non·commisaioned officer and private, for a like neglect, shall be fined the
 uum of three dollars, and fifty per cent. on tho amount of his general tax ;
  that every captain who shall wilfully neglect to turn out at any ordinary
 muster, shall be fined in the sum of six dollars, and also fifty per cent on
  the amount of his geneml tax ; that every subaltern officer, for a like ne·
 glect, shall be fined in the sum of four dollars, and also fifty per cent. on
 tho amount of his general tax ; and that every non-commissioned officer
 and private, for the like neglect, shall bo fined tho sum of one dollar and
 fifty cents, and fifty per cent. on tho ar\iount of his general tax.
    V. A!Jd be it further t111acted by the authority aforesaid, That every
 person liable to perform patrol duty, or liable to procure a substitute to per- •'ine ro~ not
 form the same, shall, on failure (without legal excuse,) to ride patrol, either·i:;:~\'~'~1~.
 by himself or substitute, in their respective turn, for every such default,
 forfeit and pay to the commanding otlicer of the company of which such
 patrol is II detachment, the sum of two dollars, and also the sum of fifty
 per cent. on the amount of his last general tax, to be recovered before the
 captain of such company, the money to go to the use of the company of
 which such potrol is a detachment,                                      '
    VI. And be it furiher enacted, Thnt no officer, either of infantry, caval·
 ry or artillery I shall be excused from the performance of patrol duty; but ?,fficers 0 f°,..
 every officer, either of cavalry, infantry or artillery, and every private, shallJ':~. paro
                                                                                              !
  be liable to perform patrol duty in the beat, under the [captain] of said
  beat, within .which such officer or private resides.
    VII. And be it furtlu:r 1macted, That every clnuse and article in this
 Act shall be construed to extend as well to the officer~ and privates of the Thl• Act, bow
·c11LValry, artillery and volunteer companies, as to the officers and privntes of~'d. • ooua1tu•
 the infantry.
    VIII. And be it further enacted by the authority aforesaid, That all Repealing
 Acts and clauses of Acts repugnant hereto, be, and the same are hereby, clau ..,
 repealed.                                   ·
    IX, Antl be it further enacted by tho authority aforesaid, That the pro-Th Tl"
 portion of the militia of this State ordered to be organized and held in rea-       Jer!d":~'t::
                                                                                               ~~
 diness to net at a moment's warning, be exempt, during their organization gnnize,I, ••·
 and the continuance of such orders, from ordinary militia duty, and be
subject to the immediate command only of the officers detached with them ; duty,
                                                                                     :i\~~::·~:ru1r;
 and that the militia so detached, until called into actual service, shall be
subject and !table to the sRme fines and peniilti~s for brcnch of duty, as by
Jaw are imposed on the militia of the State gererally ; such fines to be np.
 propriated to the use of the respective battalions or regiments in which they
may accrue; and that the militia so detached be required to assemble in
battalions, squadrons or regiments, at the discretion of the commanding
officers of regiments or brigades, to be encamped, and there to perform all
tho usual duties and exercises of a camp, and to continue embodied and
encamped for not less than three or more than five days ; and that the
troops who may perform such duty shall.be entitled to rations, or money in
lieu thereof, agreeably to the contract of the United States for rations in
this State; and that the 'llum of four thousand dollars be appropriated in
the tax bill, for the above purpose ; and that his Excellency the Governor
be, and be is hereby, authorized to apply to tho comptroller-general           ro,
                      VOL, VIII,-65,



                                                   D,g,,,w,b, Gooule
                                                                     c'l




                                                                                     EXHIBIT 13
                                                                                       0241
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IH4                                    STATUTES AT LARGE
  A, D,1808,                        Act, relating w tlie Militia.
 ..__.,,._,,,
                   warrants, and the said comptroller-general to issue tho same, in favor of
                   the commanders of ihe corp• who mny encamp as aforesaid, for tho ratiorui,
                   or amount thereof, due to snid corps, respectively.
                      X. And be it jurllu:r enact.ed by the authority aforesaid, That the fol.
Morla to be        lowing mode, in relation to the rise of officers, and no other mode, be
n!lopt•d in re, hereafter adopted and adhered to, viz; that in case of any vacancy for
)i:~·~f~dit:,•.    any commissioned officer in any comp~uy, s_uch vacancy sha(I be filled up
                   by the ballot of all persons enrolled, (mcludmg alarm men,) 10 such com-
                   pany; that in case the majority in any hatlnlion or s11uadron shall become
                   vacant, that such vnc,tn('Y shall be tilled up by the votes of the commission,
                   ed officers of' such battalion or squadron, who Ahnll be compelled to elect a
                   major from the captains of said battalion or squadron; that in case of the
                   death, resignation or removnl of' any lioutennnt-colonel, that the vacancy
                   thereby occasioned shnll be filled up by the votes of tho cnptains in said
                   regiment, who shall elect a lieutonant·colonel from one of the majors of
                   said regiment; and if it should happen that two majors are not•in commis-
                   sion when tho lieutenant-colonel may die, resign or be removed, that the
                   commissioned otlicers of the battalion in which such vacant majority may
                   occur,· ehall be obliged to appoint a major or majors, as the case may bo,
                   bt,fore a choice of lieutennnt;colonol can be made ; that m case of the
                   death, resigna.tion or removal of any brigadier.general, that the vacancy
                   thereby occuswned shall he filled up by the votes of tho field officers of
                   the brigade electing him, from among the lieutenant-colonels; that m case
                   of the death, resignation or removal of any major.general, that the vacan,
                   cy thereby occnsioned shall be filled up by the brigadier-genernls of the di,
                   vision, electing from among themselves.
                      XI. And ho itfurtlwr 01u11'1ed by the authority aforesaid, That the regi.
Re~iment, of ments of cavalry and artillery of the I two divisions of the militia of this
~;ii:~?,~'\~.  •r· State, be formed into brigades, one brigade of each to be attached to each
forwd imo .division ; and that as soon ns his Excellency the Hovernor shall report the
brigaJc ,9         organi1.ution of snid brigudes, the brigadier.generals thereof shall be, ap--
                   pointerl from nrpong the colonels of the brigades, respectively, by the field
                   officers of the same •
                     .XU. And be it further enacted by the authority aforesaid, That certified
sanction of        copies of this clause of this Act, together with the laws heretofore passed
Con~r•"' to be in relation to the cavalry and artillery of this State, be transmitted to the
oLta,ned,          senators and members of Congress from this State, ·with a request that
                   they endeavor to obtain from tho Congress of the United States their sanc-
                   tion of the or,.nnization of the cavalry and artillery of this State.
                      XIII, And be it.furtl1er enacted by the authority aforesaid, That the offi,
Fine, In uni- cers commanding uniform corps of infantry, cavalry or artillery, shall, on
form """'P\ their court martinis being approved of hereaftl'r, transmit the same to tho
      ~~d.
~~j; 0 10 • adjutant of their respective regiments, whose duty it shall be to sign and
                   issue executions ngainst all persons returned as defaulters by said courts
                   martial, except as to the militia of' Charleston, where the brigade collector
                   ahall sign all executions nnd collect all fines.
                      XIV. And he it further enacted h;v the authority aforesaid, That all
; 1~,'"~~~::~~: persons enrolled in any compnny of militi~ in this State, who s_hall or may
rol ~heir          remove out of the company, beat or prectnct, or eettle or reside, for the
nnm•• where spnce of three months, in any other part of the State, and who 8hall not
th •Y •• 111 •     enrol his name, and do ordinary militia duty in the place or precinct to
                   -whicl, he may so remove and remain for the time above mentioned, or any




                                                                                   EXHIBIT 13
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                              OF SOUTH CAROLINA.                                                             ' 515
                            Aot, relating to tl1e Militia.                                              A,D,1809,
                                                                                                       ~

longer space of time, shall be liable to be fined as a defaulter, in case the
company in which his name is enrolled has performed militia duty during
his absence.
   In the Srmnto House, the er.venter.nth day or Dccomber1 in lhB yenr or our Lord "ne thou-
        sand eight hun«lrcd nnd r.ight, 11nd in the thirty~third yenr of tho Sovertiignty and [n ..
        dependence of tho United Stulce uf America.
            SAMUEL WARREN, President qf tlie Senate.
            JOSEPH ALSTON, Speaker ef the House ef Representatives.




AN ACT ~·o AMEND AND EXPLAIN THE l\hLITIA LAws OF TIIIS STATE, No. 1940.
   I. Be it enacted by the Hon<1rable the Senate n'nd House of Rcpresenta. .
lives, now met and sitting in General Assembly, anti by the authority
of the same, That in case of vacancy of the majority in any battalion
                                                                                       of offims
                                                                                       ·
                                                                                                      ~~:d
or squadron, the captains and subalterns thereof shall fill up the S11id
vacancy, by the election of some officer from among themselves, Tlmt in
case of vacancy of a colonel's commission in any regiment, the majors
and captdins thereof shall fill the same, by election of some officer _from
among themselves, 'l'hat in case of vacancy in tho commission of a briga-
dior,gcnernl, the colonels and majors of lhe brigade shall fill tho said
vacancy, by the election of somo olliccr from among themselves. That in
case of the vacancy of a general of division, the colonels and brigudiers
of such division shall fill the same, by the election of some officer from
among themselves.
   II. And be it furtlwr enacted by the authority aforesaid, That so much
of an Act, pas/;ed at the Inst session of the General Assembly, .as enacts~~~                 for•       J.'t
that the cavalry and artillery of this State shall be arranged into brigades, r~penl~d.
be, and is hereby, repealed; and that hereafter, colonels and majors of
cavalry, and colonols and majors of nrtillery, ros1rnctively, may anti shall
be eligible by election to the commis.sion of brigadior-gonernl, or general
of division, as tho cnse 1may be, agreeably to terms set forth in the forego-
ing clause of this Act.
   III. And be it fi1rther enar.led by the authority afotesnid, That all II                h Id
elections for officers as aforosnicl, shall be ordered by the ollicer command. 01 : 01      0
                                                                                                        )\!:•.
ing the battalion or sq_uadron, regiment, brigade or division, wherein the
vacancy shall occur, as tho case may be, giving at least thirty days notice
for the election of a major, at least forty days notice for that of a cblonel,
and al least fifty dnys notice of the election for a brigndior-genernl or
general of division; that nt every such election, it shall require a majority
of the persons eligible to vote, to constitute an election, and a majority of
the votes to elect,
   IV. ,bd he it .farther enacted, That in consequence of the major-gene-
rals and adjutant general of this Stale not having, as directed by the first
BOCtion of the militia" law, passed tho seventeenth day of December last,                '
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                                                                                                  ~i;~:d •r•
                                                                                                 •m

brought forward a system of uniform exercise and evolutions, for the




                                                            D,c,it,·,,,, by   Goog Ie




                                                                                                  EXHIBIT 13
                                                                                                    0243
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516                                    STATUTES AT LARGE·
                                     Acta r~lating to th~ llfilitia.
                                                                    •
                 training of cavalry, that the exorcise and evolutions laid down and pub.
                 liahed by - - Hoyt, be now and hereafter adopted, and none else,
                 throughout the State, until the major•gcnernls and adjutant.general do
                 bring forward such uniform system, as directed by the afoteS11id Act.
                     V. Ana be itfur/1,.cr enacted by tho authority aforesaid, That in future,
How finoo ore nil fines to be imposed for neglect of patroll and militia duty, gonernlly,·in
to be colloct•d. every company, buttnlion, regiment or brigade, shall be collected as fol.
                 lows, viz :-by such person or persona as the majors, lieutenant.colonel, or
                 commanding officer of regiments or bri1,radcs, shall appoint to collect the
                 same within their respective commands ; and that the said persons 80 to be
                 appointed to collect said lines, shall be allowed a per contage on the monies
                 to be collected by them,· respectively, not exceeding ten per cent,; and that
                 it shall be the duty of the senior of!icer presiding at a court martial, to
                 furnish the collector so to be appointed, with a list of the fines imposed by
                 such court, within fifteen days after the said court shall have imposed the
                 same; and that the said collector shall, within thirty days after receiving
                 such lists, notify to each delinquent the amount of his fine, and require the
                 payment of the same; and if the said delinquent, so to be notified of bis
                 fine, shall neglect to pay the snme for tbe space of fifteen days after such
                 notilicntion, the said collector shall issue an execution, 11nd may arrest
                 thereunder the body of said delinquent for satisfaction of said fine, unless
                 the said delinquent shall point out sufficient property which can be levid on
                 for satisfaction of said fine so to be imposed ; and that it shall be the duty
                 of the several tax collectors in this State, on the reasonable request of anv
                 commissioned officer in tho militia, or of any collector o'f militia fines, to
                 discover and make known the amount of the last general tax of any
                 defaulter liable to be lined as aforeS11id; provitkd alway8, that every non.
                 commissioned officer or private, who may conceive himself aggrieved by
                 the sentence of any court martial, shall have a right td appeal from the
                 same, within fifteen days after being notified of the fine ·imposed, to the
                 field officers of his regiment ; and the determination of a majority of the
                 field officers of such regiment, shall be conclusive on the subject submitted
                 to them.
                    VI. And be it further enacted by the authority aforesaid, That all offi•
Ootlector to cers ordering court martials, or authorized by law to approve court martials 1
;~'::m!!~   pro-within their respective commands, shall, as often as they may think proper,
          ·      and once in every year at least, compel the collector or collectors of 611811
                 as aforesaid, and all others who may have received or collected fines for
                 neglect of pntrol or militia duty, to come to an account and reckoning,
                 and pay over the said fines 80 collected, to be applied according to law.
                    VII. And he it further enacted by the authority aforesaid, That the field
~h~~:7.~~r1!;    officers of. the s~venth brigade, residing within the pari~~~s of S~. Phil!p's
parade ground, and St. Michaels, shall have power, for t~e use of the m1hba of stud pansh
                 es, to purchase ae much land, not exceedmg three hundred acres, as they
                 may deem requisite and sufficient for a par11de ground, or place of military
                 exercise; and they and their successors in command, may hold the 8llfllfl
                 for ever thereafter, as a parade ground for the militia aforesaid, free of
                 taxes; and to aid them in the purchase hereby intended to be made, the
                said field officers, or a majority of them, shall have liberty to draw one or
                 more lotteries, the profits whereof to be applied in payment of wd paradf:
                ground, and to no other purpose, tWd not to exceed the amount of the nid
                purchase,                                              ·       '




                                                                                   EXHIBIT 13
                                                                                     0244
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                         ·Avu relating to the .Militia.                                     A.D, 1R09,
                                                                                            ~

   VIII. And be it enacted by the authority aforesaid, That the lieutenant. Olli
colonels or commandants or the respective regiments, shall, at least once in and~~!'i~~ moot
every year, order and direct the several commis_sioned and non-commis. structod,
sioned officors under their command, to assemble, complotely armed and
accoutred, at some convenient and central place, within their battullon or
regimental precinct, one day previous to the battalion or regimental parade
or review I for the purpose of being instructed in the exercise and ma.
nwuvres intended to be performed by the battalion or regiment to which
said officers may be attached, at the next parade or review of the same;
 which said duty shall be in substitution of the duties required by law of
said regimental officers, under the Act passed seventh December, one
one thousand eight hundred and eight; and any commissioned officer
neglecting to obey the order of his commanding officer aforesaid, shall be
liable to the fines imposed by the aforesaid Act; and every non-commis.
sioned officer, to the snme fines ae are imposed by law on them in case of
their neglect of militia duty.
   IX. And be it further enacted by the authority aforesaid, That every
person liable to perform patrol duty, or liable to procure a substitu·te to ~i~o for not
perfol'm the, same, shall, on failure, without legal excuse, to ride patrol, nd mgpatrol,
either by himself or substitute, in their respective turn, for every such
default, forfeit and pay to the commanding officer of the company of which
such patrol is 11 detachment, the sum of five dollars, and also, the sum of
five per cent, upon tho amount of his last general tax, to be recovered be.
fore the captain of such company, the money to go lo the use of the
company of which such a palrol 1s a detachment; and all Acts and clauses
of Acts repugnant hereto, be, and the same arc hereby, repealed.
   X. Amt be it further enacted by the authority aforesaid, That the sum
of five hundred dollars be appropriated, subject to the draft of the Gover. ltl?n•~ appr"'
nor, for the payment of the balance due of the expenditure of tho late pnot• '
quota of the militia of this State; and that the sum of five thousand do!.
lars be appropriated, and be subject to the draft of the Governor, as a pro.
vision, in case the General Government should call upon this State to
furniah a quota of active militia to take the field, and not otherwise; and
also, that the sum of two thousand five hundred dollars lie appropriated
for the purpose of building two new sheds for the securing of the carriages
for the artillery in Charleston, and for repairing the former ones built for
that purpose, and that the same be subject to the draft of the field officers
of the twenty.eighth and twenty.n!nth regiments of this State, and the
field officers of the regiment o,f artillery in Charleston,
   In thn Senate Houen, tho nine1ccnth day of December, in tbo ynar of our Lord one thou•
        ••nd eight hundred and nine, and In the thirty.fourth year of tho Independence
        of the United States of America.                      '
           SAMUEL WARREN, Pruiclent ef the Senale.
           JOSEPH ALSTON, Speaker Qftl~ Houae of Rq,reuntative~




                                                                                        EXHIBIT 13
                                                                                          0245
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  A,D, 1812.                           Acta relating to Ilic Militia.
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 No, 2010. AN ACT To EXEMPT TUE On·1cEns, Nox-coMMrns1o;vED 0FFicEns A:\11
                 PlllVATEs,    OF   TIIE   C1T11   GuARD      OF   CnARLEsTox, FROM          M1LITIA
                 DUTY,

                  WHEREAS, it hns been represented to the Legislature, that und~r the
               present militia laws of this State, tho officers, non-commissioned ofiiccrs
               and privates, of tho city gunrd of Charleston, are subject, (notwithstau,ling
               their enrolment under the ordinance of said city,) to be fined by the otficers
               of the militia in whose beat they re11ide, for not performing the duties rc-
               quirnd under the militia law, when at thtJ same time they arc performing
               the duties of guard and watch of the city; therefore, to remedy, in future,
               this inconveniunce and grievance,
                  I. Be it enacted, and it is liercl,y enacted, That from and after the pass-
               ing of this Act, that so much of the militia law of this State shall be, and
               is hereby, repealed, as imposes a fine or fines on any member of tho city
               guard of Charleston, so long as said members so continue, and until di,.
               charged from the said guard, notwithstanding such member of the guard
               may be resident in the militia beat: provided, that the city guard of
               Charleston shall at no time consist of more than one hundred, rank and
               file; and this Act may, in the above case, bo specially pleaded.
                   In the SennlA House, the nineleenth day or Decr.mh,,,, in the yeo.t o( our Lord one
                      thou,ond eight hundred and twelve, and lo the lhirty.,.ven~, year of the So,e-
                      reignty nod ln<lependonce of the United ::;1ates u( America,
                         SAMUEL WARREN, President ef tlte Senate.
                         JOHN GEDDES, Speaker ef llte House ef Representativu,




 No, 20!l6, AN ACT To ALTER AND                AMEND TUR MILITIA LAws OF Tills SraTB,

                  I. Be it enacted, by the Senate and House of Representatives, now met
               and sitting in General Assembly, and by the authority of tho same, That
Commsndnr.. tho Commander-i1,1-chief for the time being, may, in caoo of invasion or
in,chief mo.y
order out the other emergency, when he shall judge it necessary, order out any portion
militia.       of tho militia of this State, to march to any part thereof, and continue not
               more than three months at any one time, nnd until relieved, for which be
               shall make timely provision; and likewise, may, in consequence of an ap.
               plication of tho Executive of any of the United States, on an invasion or
               msurrection, or on apprehension of an invasion, of such State, at bis dis-
               cretion, order any number of militia, not exceeding one-third part thereof,
               to such State; pr011ided, that the militia which shall be so ordered out of
               the State, shall not be obliged to continue on duty out of this State m0l'8
               than two months at any one time.
                  II. And be it furtl1er enacted by the authority aforesaid, That in all
Volunteerund cases where the militia are ordered out hy virtue of this Act, volunteers and
oubolituteo to substitutes shall ho accepted in the place of those ordered out, under the
be accepted, conditions, limitations and ~eatrictions, already established by law.




                                                       !}"_,,,,,.,,, by Goog Ie




                                                                                        EXHIBIT 13
                                                                                          0246
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                        Act• relating to the .il'Iilitia.                            A,D,1813.
                                                                                    .....,...,.__,
    III. .And bt it furtlur enacted by the authority aforesaid, That no civil
officer Whatsoever shall1 on any pretence, execute any process, un}e6S for
treason, felony or breach of the peace, on any person whl\tsoever, when
                                                                                  r:~~·:;~.!~.~~
                                                                                          .
such person shall be called out into service and embodied by the Executive
authority ·of this State, in pursuance of the directions of this Act, or within
thirty days after &uch person shall be discharged from tho service upon
which such person shall be called out, under the penalty of twenty dollars,
and the service ot'-any such process shall be void, tb all intents and purpo-
ses whatsoever; and that all suits which may be pending against such per.
sons, shall stand and be continued over, in the same manner as if they had
been regularly postponed by affidavit.
    IV . .And be itfurtl,er enacted by the authorit;r aforesaid, That the estate
of any person whatsoever, when such person ehnll be called out aqd em.            f·~~·
                                                                                   00 0
                                                                                            pro.
bodied in pursuance of the directions of this Act, shall be free and exempt             '
from levy, distress or sale, by virtue of any legal process whatsoever,
from the lime any such person shall be called out as aforesaid, and until
thirty days shall elapse after such person shall be discharged from the ser-
vice upon which such person shall be so called out; and that any person
 making any such levy, or distress, or sale, as 11.foresnid, shall be fined in the
eum of twenty dollars; and every such levv, distress, or sale, as aforesaid,
shall be void, to all intents and purposes whatsoever.
    V• .And he it further enactt•d by the authority aforesaid, That from and
 after the passing of this Act, the officers, non-commissioned officers, musi.Pa1 ormilltin,
 cians and prh·atos, of the infantry,·artillory, cavalry and riflemen, of the . ·
 militia of this State, when called into service and embodied by the authori.
 ty of the laws thereof, and whilst remaining therein, shall be entitled to
 the same pay, rations and forage, with the regular troops of the United
 States,
    VI. And be it farther enacted by the authority aforesaid, '.l'hat whenever
 tho militia shall ho called into the actual service of this State, by the uutho. Pay, when 10
 rity of the laws thereof, their pay shall be deemed to commence from the commence.
 day of their appearing nt the places of battalion, regimental or brigade
 rendezvous, allowing to each officer, non.commissioned officer, musician
 and private soldier, a day's pay and rations for every fifteen miles from
 his home to such place of rendezvous, and the same allow11nce for tra-
 velling home from the place of dischnrge.             .
    VU. And be it further enacted by the authority aforesaid, That when-
 ever the militia, or any part thereof, shall ·be in actual eervice, and embo- How to be
 died in consequence of being so ordered out by the Commander.in-chief, go,ornod.
 either within or without the State, they shall be subject to the same rules
 and regulations ns the troops of the United States shall be subject to, at the
  time the militia sha,11 he so ordered out, in order to secure, as far as possi.
  hie, an uniformity of discipline between the militia of this State and the
  troops of the United States ; and the said rules nnd articles shall be pro.
  claimed with due solemnity at the head or such detachment, as soon after
  their bemg assembled as possible.
     VIII. And bB it furtlter enacted by the authority aforesaid, That when-
  ever a militia-man, in either of the aforesaid cases, shall have been duly Fine ror not
  11\lmll)oned or ordered to appear at the rendezvous appointed, and shall not turning out,
  appear, then, and in that case, he may be fined in a sum not exceeding five
  hundred dollars, and the amount of bis taxes last paid to the State, at the
  discretion of a court martial, to be composed of officers of the detachment




                                                                                       EXHIBIT 13
                                                                                         0247
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  A, D, 1813,
  .__..,.,_,,                         Act.I relating to tlt6 .Militia•

                   ordered out, if it be convenient ; if not convenient, of officers of the bri.
                   gnde lo which the delinquent shall belong, or of any other officers of the
                   militia of this State, at the discretion of tho Commander·in.ohiof, who is
                   hereby authorized to order the said courts, in conformity with the usage of
                   the army of tho United States. And in addition to tho line which the said
                   court.martial may inflict on any person who may subject himself to any of
                   tho aforesaid penalties, the said court martial may, at their discretion, sen.
                   tence any delinquent to imprisonment in the common gaol, for a term not
                   exceeding three months; provuletl, always, that no line or imprisonment
                  shall be imposed on any delinquent until he shall have been summoned to
                   appear before a court-martial, to shew cause why such line or imprisonment
                  should not be imposed.
 H       h           IX. And be it fartlt6r enacted by the authoritv aforesaid, That as often
w;;,13   1: turn as it shall hnppen that any non.commissioned •officer or private shall be
0111,             absent when any non-commissioned officer shall call to warn him to appenr
                  at rendezvous, a notice in writing, signed by such non.commissioned otfr
                  cer, and left at the usual place of his abode, shall be deemed a sufficient
                · warning.
        h I 0 X. And be it furtl1er f'Tlacted by the authority aforesaid, That all lines
b~•;i1i••~:J.
 F'
                   which shall he imposed by virtue of this Act, shall be collected in the fol.
                  lowing manner: the president of every court martial shall make a list of
                  all the persons fined, designating the company to which they belong, and
                  the sum imposed ns lines on each person, and draw his warrant, under bis
                  hnnd and seal, directed to any sheriff of any district, as the case may be,
                  thereby commanding euch 'sheriff to levy such line or lines, together witlt
                  his costs, of the lnnds, tenements, goods and chattels, of such delinquent;
                  and every such sheriff to whom such list and warrant aforesaid shall be di-
                  rected and dohvered, shall execute the same by levying and collecting the
                  said lines, as afore~aid, and shnll make return thereof, within forty days
                  from the receipt of such warrant, to the president who issued the same;
                  and should the sheriff be able to find no lands, tenements, goods or chat·
                  tels, of which to levy the said fine or fines, then he shall take the body of
                  the so.id delinquent, and commit it to gaol, and there keep it until the said
                  line or fines shall be paid, or until double the time shall have elapsed for
                  which the delinquent would have served, had he joined the militia so or-
                  dered out; and the said sheriff shall be entitled to the same fees for collect..
                  ing the aforesaid fines, and ,ubject to the same penalties for neglect, as
                  are allowed and provided in similar cases.
                     XI, And be it further enacted by the authority aforesaid, That all fines
~~ t:f~1, :r 1
             1 collected as above, shall be paid into the bands of the pay-master of the
                · regiment to which the delinquents shall, respectively, belong.
                     XII. And be itfarther enacted by the authority aforesaid, That all fines,
Fine• ror p•· (except such as are otherwise provided for by this Act,) now incurred, or
:{"/ aud militia which may hereafter be incurred or imposed for neglect or default of pa-
  u y.            trol or militia duty, (except in the parishes of St. Philip and St. Micbael,)
                  may be collected in the following manner, to wit: by warrant, under the
                  hand and sen I of the captain, or other commanding officer of the compa-
                  ny, or by the presiding officer of the court-martial by which the fine is im-
                  posed, which said warrant may be directed to any sergeant of the company
                  to which the delinquent belongs, commanding him to levy and collect the
                 said fine or lines; and the said sergeant is hereby authorized and required,
                  under the penalty of twenty dollars, to call on every delinquent wbo shall




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                                                                                    EXHIBIT 13
                                                                                      0248
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                       Act., relating tQ tlie Militia.                            A,D, 1313.
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  be named in such warrant, or in a schedule or list to the warrant annexed,
  and to demand payment of the said fine or fines; and on neglect or 1efusal
  to make such pnyment, after demand thereof so as aforesaid made, then
  the said sergeant having the aforesaid warrant, is hereby required forthwith
  to proceed to collect the said fine or fines, together with such costs as ere
  received by oonstables in small and mean causes,
    ' XIII, And be it f¥rlher enacted by the authority aforesaid, That the
  form of the warrant to be issued by the captain or commanding officer of
  the company, or tho presiding officer of the court martial, for the collection
  of the fines aforesaid, shall he ns follows :
           "The State qf SO!tth Carolina :
      Whereas, the persons named in the schedule or list hereunto annexed,
  have been duly sentenced by n court martini to pay the sums to their names F        r
                                                                                  ~':'::o:ir~t
  affixed; this warrant, therefore, authorizes and requires you to levy and sell ..
  of the goods and chattels sufficient to pay the fine and costs which have 61100,
  been adjudged against him ; and pay over the fines aforesaid to the proper
  officer.
      Gven under my band and seal, the ----day of - - - , on~ thousand
        eight hundred and - - - .
      .                                               A B, Captain. L. S. ''
      XIV. And he it fortl,er enacted by the authority aforesaid, That if the Bo<ly or delin•
  said person to whom the said warrant shall be directed, shall make return qknt may be
  that be cannot find any goo~s and chattels to be levied on, then the officer 1• ••·
  who issued the warrant is hereby authorized and required to issue a war-
  rant against the body of the dolinquont, and take him to the common gaol,
  there to remain for such time as is already provided for by law, unless the
  fine and costs may be sooner pnid,
      XV. Wherea,, Chapman Levy, Francis Blair, William Robinson, Ro.
  bert Singleton, Joshua English, John Hughson, William Trapp, A. Blanch-Camden Rifle·
  ard, John Parker, and Ro?ert Coleman, have prayed f?r leave to raise a
  fund, by 0110 or more lotteries, for the purpose of purchasing arms and oth.
                                                                                0~,:.,~~~/!:'.1
  er munitions of war for the use of the Camden rifle and artillery oompa.
  nies: Be it therefore enacted by the authority aforesaid, That the said
  Chapman Levy, Francis Blair, William Robinson, Robert Singl~ton, Josh.
  ua English, John Hughson, A. Blanchard, John Porker, and Robert
  Coleman, be, and they are hereby, authorized to raise a fund, not exceed.
· ing five thousand dollars, by establishing and drawing one or more lottery
  or lotteries; the said fund to be appropriated for the purchase of such arms
  as may be suitable for the use of the said Camden rifle and artillery com.
  panics.                             '
      XVI. And be it further enacted by tl!IJ authority aforPsnid, That all
  free persons of color, pioneers, fatigue-men, musicinns, trumpelers, bu. l'ion,e,., &.c.,
  glers, drummers, and fifer•, attached to, or liable to do dutv in, any com• how r•ij and
  pany' troop or corps, shall be entitled to the same pay, and be liable to govern• •
  the same finas and penalties, and subject to the same rules nod regulations,
  as the militia of this State are liable to.
      XVII. And he itfurther enacted by the authority aforesaid, That the
  Commander-in-chief for the time being shall have authority to remove to!)•mmander,
  some temporary place of safety and deposit, such portion of the arms, am.;:;~~t-.,r;:.1;~1
                                                                                           0
  munition and military stores, at any time deposited in the public arsenals orme,
  of the State, as circumstances may appear to require, and, when necessary,
  in his opinion, to provide and furnish sufficient guards to protect the public
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                                                                               EXHIBIT 13
                                                                                 0249
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022                                          STATUTES AT LARGE
 A, IJ, 1813,
 ___,...._,                               Acta relating to the Militia,
                    arsenals, until it be found expedient to call out into the public service de•
                    tachments of the militia, on whom this duty may in part devolve,
                       XVIII. And he it f11,rtl,er enacted by the authority aforesaid, That it
Amnala to bo shall be the duty of the Governor and Commander.in-chief for the time be-
examinod,           ing, from time to time, to examine, or cause to be examined by some pro,
                    per officer, the situation of the respective arsenals throughout the State;
                    to require security from the arsenal keepers, and to remove them for neg,
                    ligence or other improper conduct, or incapacity of performing the duties
                    devolving on them as as such; and to appoint, in cases of removal, other
                    persons to supply the vacancies thereby created.
0
                       XIX. And he itfor//,er enacted by the authority aforesaid, That the
ai;;'i';.':'.~;c~~~ Commander-in.chief for the time being may, at his discretion, aid and as-
t•mr"•ry            sist the citizens of any portion qf this State in erecting temporary works
wor ..              and means of protection, and build such redoubts and establish such mili,
                    tary posts, as he shall deem neces.sary, and best calculated -to promote the
                    common dnfence.
                       XX. And be it further enacted by the authority aforesaid, That the Go-
Ad<litinnal         vornor shall be, and he is hereby, authorized to make, to the adjutant.gene·
:i~i'i'!~~)~~:nt r~I, from !he ?ontingcnt fund, such additio,nal ~o!npensation as the addi,
general,            !tonal duties imposed on that officer may, m hts Judgment, render proper
                    and reasonable; provided, the same do not exceed five hundred dollars per
                    annum.
                       XX.I. And he itfurtlter enacted by the authority aforesaid, That all Acts
                    and parts of Acts repugnant to this Act, be, and the aamo arc hereby, re.
!\:~::~Ing          pealed.
                  In the Se note Houee, the twenty,fourth day of September, In the year of our Lord ooe
                        thousnn,J eight hundred and thirteen, and in the thirty-eighth year of tho Sovereignl!
                       and Independence of the United Stntflit of Amerir.a,
                           JAMES B. RICHARDSON, President of the Senate.
                           JOHN GEDDES, Speaker of the Hou.te qf Repreaentativu..




 No. 2046, AN ACT            TO PROLONG        THE Tlll!&     FOR CEjlTAIN       MILITIA OFFICERS TO
                         TAKE TH& OATH OR AFFIRJl!ATION PRESCRIBED BY LAW,

                   WHEREAS, many officers of the militia have, through inadvertence,
                neglected to take the oath or affirmation pre8cribed by the Act entitled "An
                Act to organize the militia throughout the State of South Carolina," pass-
                ed on the nineteenth day of December, in the year of our Lord one thou,
                sand seven hundred and ninety.four, in conformity with the Act of Con,
                gress,
                   l, Be it theryore enacted by the Honorable the Senate and House of Re-
                presentatives, now met and sitting in General Assembly, and by the au,
                tbority of the same, That a further term of six months be allowed the said
                officers to take the said oath or affirmation, before some justice of the
                peace or quorum, who shall certify the same on the back of their commis-
                sions ; and the said officers thus taking said oath or affirmation, ahall be




                                                                                                 EXHIBIT 13
                                                                                                   0250
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                        .dct8 relating to the Militia,                                        A, 0.1814 •
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etill qualified lo hold their said commissions; any law to the contrary not.
withstanding. Provided, neverthelea8 1 that if the said officers do not, with.
in the said time, take the said oath or affirmation, their commis.~ions shall
bo vacated.
   II. And be il furtl,er enacted by tho authority aforesaid, That any ofli.
cer or officerd taking tho oath or affirmation within the time above mention-
ed, shall receive commissions of the same date, and shall be entitled fo
take the same grade, as if he or they had taken the said oath or affirma.
tion according to the requisitions of the above,montioned Act.
  In the Senate House, tho seventeenth day or December, in the year or our Lord one
       thou•and eight hundred and rourt•on, and in the thirty-ninth year    or tho lndopon•
       dence or the Unlto!d Stale• or America,
          JAMES R. PRINGLE, Pre,ident of the Senate.
          THOS, BENNETT, Speaker ef th.e Houe ef Repre,entativu.




   AN ACT TO DIVIDB THB STATB INTO FIVB DIVIBIONS AND TBN                                     No.2054.
                                    BRIOADBB,

   I. Be it enacted, by the Honorable the Senate and House of Represen.
tatives, now met and sitting in General Assembly, and by the authority of
the same, That from and immediately after the passing of this Act, this
State shall be divided into five divisions, and to each division there shall
be a major-general ; the first of which divisions shall comprehend the dis.
tricts of Edgefield, Abbeville, Pendleton and Greenville; the second divi.
sion shall comprehend the districts of Barnwell, Beaufort, Colleton, Charles·
too, Orangeburg, and Lextngton, (except the Dutch Fork between Saluda
and Broad rivers;) one other division $hall comprehend the districts or
Georgetown, Williamsburg, Horry, Marion, Marlborough, Chesterfield,
and Darlington; one other division shall compreh~nd the districts of Rich-
land, Sumter, Kershaw, Lancaster, Chester and Fatrfield; ono other divi-·
sion shall comprehend the districts of Union, York, Spartanburg, N~wber·
 ry, and Laurens, including the Dutch Fork between Saluda and Broad
rivers.
   II. And be it .further enacted by the authoritr aforesaid, That the rank
of the three last divisions created by virtue of thts Act 1 shall be ascertained
and determined by lot, in the manner following, that is to say : a joint
 committee of both Houses shall forthwith cause the words Eastern Divi•
aioo, North-ERStern Division, and Northern Division, to be, respectively,
written on three pieces of paper, which shall be folded up and put into a hat;
and they shall then cause a child under ten years of age to draw out, in
 their presence, two of tho said pieces of paper or lots, and that which shall
 be first drawn shall be the third division of this State, that which is next
drawn shall be the fourth division, and the remaining lot or piece of paper
shall be the fifth division.                                                ·
   III. And be it further enacted    hr
                                      the authority aforesaid, That the mnk
of the brigades and regiments of infantry shall likewise be determined by




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                                                                                               EXHIBIT 13
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                                         STATUTES A'l' LARGE
 A,U,JUU,
.._,._,.                              Aat.t relating to the Militia,
            Jot, the first division having the lowest numhors and highest rank, tha&e tA
             the second division shall be next lowest in numbers and highest in rank,
            and so on, according to the rank of the respective divisions, taking care so
             to conduct the drawing that the lowest number of the respective regiments
            be given to the lowest number of the respective brigndes; and that the rank
            of the battalions, in their respective regiments, be always determinod by
             the seniority of their rcspcetive majors,
                IV. And be it jurtl1er enaatetl by the authority aforesaid, That the di11,,
             tricts of Fairfield and Chester shall form and constitute one additional bri.
             gade, which shall be numbered according to the rank to which it may be
             drawn,            ·
                V, And be it fo.1·/lter enacted by the authority aforesaid, That the cavalry
             now raised, and hereafter to be raised, in the district• of Fairfield and
             Chester, shall form one- regiment or squadron, according as the number of
             troops therein may warrant.
                VI. And 6e·itfurther enacted by the authority aforesaid, That the Legis-
            '(ature, under this Act, shall choose, hy ballot, the major.generals of the
             three additional divisions created hy virtue of this Act, who shall take
             rank according to the number of their divisions; the Legislature shall also
             choose, in like manner, the brigadier.general of the newly formed bri·
             gnde; and as Mon as the brigadier-general is notified by the Governor of
             his election, he shall proceed to divide his brigade into four regiments, and
             after he has mnde such division ho shall appoint five fit and proper persons
             in each re~iment, whose duty it shall be to divide the respective regiments
             into battalrons and companies, as nenr- as conveniently may be conforma-
              bly to the Acts of Congress. Prov-ided, no officer now in commision in
             eaid regiments shall be divested of his commission by such division or alte.
             ration,
               tn the Senate House. the twenty-first dny or December. in the year or our Lord one tbott-
                     oand eight hundred and fourteen, and in rho thirty.ninth year of tho lodei-,feD<C
                     of the United 810100 of America.
                        JAMES R, PRINGLE, President ef the Senate,
                        THOS, BENNETT, Speaker ef the HOUie ef Reprmntativt1.




 No.2055,                 AN ACT TO IIAIBE A BRIGADE 01' STATE T1100PB,
                I. Be it enacted, by the Honorable the Senate and House of Represen•
Jlri~•d• of in, tRtives, now met and sitting in General Assembly, and by the authority of
fu,.'!'5 10 ho
      0
                the same, That there shall be raised, in this Stnte, one bri~ade of military,
'""          in the manner hereinafter mentioned I that said brigndo shall coneist of two
             regiments, each regiment of two battalions, ench battalion of five compnniet1,
             and each company of one captain, one first lielltenant, one second lieu,
             tenant, one third lieutenant, one ensign, five sergeants, six corporals, two
             musicians, and ninety privates, That each battalion shall have one major,
             and each regiment one colonel, one lieutenant-colonel, one adjutant, out
             quarter.master, one pay.master, one surgeon, two aurgeon'a mates, out



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                                                                                          EXHIBIT 13
                                                                                            0252
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                        .A.eta relating to the Militia.                               A. D, 1814,
                                                                                     ..__...,_,,
  eergeant,major, and one quarter-master sergeant; and said brigade shall
  be commanded by a brigadier general, who shall appoint such brigade
  staff as are attached to the brigades in the army of the United Slates;
  and the colonels shall appoint the staff of their respective regiments.
     II, A,.,J be it farther enacted' by the authority aforesaid, That the briga.
  dier-general and field officers of the said brigade shall be appointed by the Field Iii
  Legislature previous to the adjournment, but they shall not be called into cor•, h~w· ap-
  service, nor be entitled to pay, until their respective commands have been J>ointe<l, &o,
  raised, that is to say :--as soon as five companies are raised, the eldest
' major shall be called into service; as soon as six companies are raised, the
  eldest lieutenant.colonel shall be called into service ; nod as soon as a
  regiment is raised, nil the officers of a regiment shall be called into service,
  That as soon as two regiments are completed, the brigadier-general, with
  bis staff, shall be ·called into service ; and when the services of these offi.
  cers, respectively, are required, they shall be notified thereof by the Gov-
  ernor and Commander-in-chief.
     III. And be it fur/Ii.er enacted by the authority aforesaid, That the
  company officers of the said brigade shall be appointed and commissioned Comr•ny offi.
  in the following manner, that is to say :-as soon as any five citizens of 0 •i•, h3w •P-,
  the United Stales shall engage a full company of able bodied effective pomte •
  men, and present thorn to the Governor, or any inspector authorized to
  inspect them, or ahall shew, by the articles of engagement, that he bas
  actually engaged the said company, they shall ,be entitled to the com mis.
  sions in that company, which shall be distributed according to any agree-
  ment which shall have been made between the parties; and the company
  first r11ised, shall rank first; that is to say, the captain thereof shall be the
  first captain in the brigade, and, with bis officers, shall take rank from the
  day on which his company was inspected and received; and nil the com.
  panies which shall he raised in the manner aforesaid, shall rank from the
  day on which they shall be inspected and received.
     IV. And he it further enacted by the authority aforesaid, That every
  militia man of this State who shall furnish an able bodied man for the Person, fur-
  brigade, shall be, and be is hereby, exempted from any draft to which the nl•hlng subeti..
  militia of this State shall be liable during the service of the brigade, };i,.1;:,":\;,:"n'.P 1
  excepting in cases of invasion or insurrection; and tho· said citizen so
  furnishing such recruit, shall, in every other respect, be liable to the per-
  formance of militia and patrol duty, as is now required by law; and tho
  certificate of any officer of the said brigade shall be regarded as sufficient
  evidence lo entitle any militia man to the exemption aforesaid ; provided,
  lwwever, that the recruit so furnished shall not be entitled to and receive
  the bounty offered by the State.
      V. An,l he it further enacted by the authority aforesaid, That if the
  whole number of troops authorized by this Act shall not be raised in the Defici•r;:ir or
  manner beforementioned, the defipieocy shall be raised in the following :~ i,'~ .;, 0 S:'up,
                                                                                    0 1

  manner, thnt is to say :-the Governor shall appoint four convenient places
  of rendezvous, or more, for the four battalions hereby authorized to be
  raised, and shall, by proclamation, call upon all persons who shall raise
  any number of men to present them, on the first day of May next, at one
  of the places of rendezvous appointed by him; that the Governor is here-
   by authorized and directed to appoint some proper person to inspect the said
   troops; that if any five persons shall then and there present a full company,
   they shall be first commissioned l that if no full companies shall have been
  commissioned, or there shall remain vacancies in the said regiment, tb11



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                                                                                     EXHIBIT 13
                                                                                       0253
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 .A.. n. rnu.                      Act.r relating to tlit Militia,
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               person presenting the greatest number of men shall be commissioned
               captain, and take rank next to those previously commissioned; lhe per.
               son presenting the next greatest number shall be the next captain ; anti so
               on, until all lhe vacancies are filled, each officer taking rank according to
               the number of men ho shall bring. Provided, alway~, that no person shall
               bo entitled to n captain's commission wh<> shall bring less than forty men ;
               no person a first lieutenant'• commission, who ehall bring less than twenty.
               one men ; no person n second heutennnt's, who shall bring le99 than eigh.
               teen men ; no person a third lieutemmt 's, who shall bring lesa than fourteen
               men; and no person an ensign's, who shall bring leas thab ten men, And
              provide,l al.a, that if a greater number of men are presented than are
               rot1uirecl, those who bring the greatest number of men shall be lirst accept.
               ed, and the surplus shall be discharged proportionably and by lot; and the
               men so discharged shnll be entitled to forty cents per day, from the lime
               they left lhe pince of thuir engngement, until their return to the same
               place, al tho rnte of flfteon miles for every duy.
                  VI. And he ii furlher enactetlby the authority aforesaid, That any per-
               son who shall undertnke lo raise men for the brigade aforesaid, shall ho
Eogng•m•nt 10 authorized to obtain signatures to an engngoment to serve lhe State during
bo ,iguod,     the continuance of lho present war; and any person who shall sign such
               engngoment, shall bo bound thereby ns firmly as if tbey had regularly en,
               gaged wilh an authorized officer of the State; and if, after having so
               engaged, he shall fail to appear al the places of rendezvous appointed by
               virtue ol this Act, he shall be doomed a deserter, and proceeded against
               accordingly; and on the said recruit's appearing at any of the abo~emeo.
               tioned places of rendezvous, he shRII receive a bounty of thirty dollars, and
               have tho ruleA nnd articles of war read to him, and shall be liable to the
               said rules and articles of war, as practised in the army of the U oited
               States, Provi<l,•d, nevertheless, tho.I nothing herein contained shall effect
               any minor, unless such minor shall have the sanction, in writing, of bis
               father, if be be alive, and if the father bo nol alive, of his mother, aod if
               neither father or mother be alive, then of his guardian.
                  VII. Anll be it furtlwr enacted by the authority aforesaid I That oo the
lbnk or offi- appointment of the field officers, a joint committee of tbe two houses sbaU
cm d•1ermio- determine by ballot the rank of the officers ; those which shall draw the
00 by tut,     lowest numbers shall be the highest in rank, and be attached to the first
               regiment, and the others lo the second regiment; and the snid regiments
               shall be called lhe first and second regiments of South Carolina State
               Troops; and in onse any officer appointed by the Legislature shall refuse
               to accept said appointment, or resign, or die, before the batlaliooe shall
               have been raised, the Governor shall appoint some suitable person to fill
               such vacancy.
                  VIII. And be it further enacted by the authority aforesaid, That the
Otlicere, how officers of tho sard brigade shall rise in line in conformity to the regula,
1o rile,       tions adopted in the army of lhe U oiled States; and the Governor shall
               appoint proper persons to be ensigns in the place of those who shall be
               promoted.
                  IX. Ana hr it farther enacted by the authority aforesaid, That lhe offi.
fay and cloth. cers, non.oommi99ioned and privates of lhe said brigade, shall be entitled to
~~'f.."!n~h~:!·the same pay, rations, clothing, and allowance, (except bounty,) as the
               troops of thll United Stales.
                  X. And he it furtlitr enacted by the authority aforesaid, That the offi,
               cers of the snid brigade shall, when serving with the militia of thiil State,



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                                                                               EXHIBIT 13
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                          Act, relating to I.he Militia.                                            A.O. 1814.
                                                                                                    -..-v-.,
or the nrmy of the United States, have the Bllme rank as the officers of tho R k
United Stntes's army; nod that all persons nttaohcd to the Bllid brigade, ce':::
committing any offences, shall be tried, and the offondcrs punished, by a           ' ·
                                                                                                      tom.
court.martial composed of officers of the brigade; and when any ollence
shall be committed by the brigadier-general or tho field officers of tho B11id
brigade, a court-martial shall be held by the militia officers of the State.
   XI. A,ul be it furtfter enacted by the authority aforesaid, That the uni. .
form of tho Bllid brigade shall be blue woolen ooatees and pantaloons, after f'·"'"Jm of tho
the same fashion, and in every respect comformable, with the uniform of the nga e.
infantry of the U nitod States, except that the non-commissioned officers
and soldiers shull wear round wool hats, with blue pompons ; but the offi.
cers of the said brigade shall wear the Bllme dress as the officers of the
U oiled States infantry, with yellow buttons, gold epaulets, nod a blue
feather,
   XII. And he u further enacted by tho authority aforeBllid, That as soon
as the said brigade, or any part thereof, shall be raised, they shall be offer. Brigade to be
ed by the Governor to the United Stutes; on the condition, however, that                0
                                                                                         1a!/!: u'::\;!g
they be kept within the State for the defence thereof, unless in the case of                    ·
an actual invasion of n contiguous State, it shall become necessary to call
on the people of South Carolina to as.sist in repelling them; in which case,
the said brigade may be marched to repel such invasion; provided, they be
not kept out of the State longer than necessary to repel such invasion ; and
while so out of the State, an equal number of militia be called into service
by the United States, for the protection of this State.                                       ·
   XIII. And be itfurtlurr e11acted by the authority aforesaid That immedi.
ately after the passing of this Act, it shall be tho duty of the Governor to                    ~~~=~f',t~
transmit a copy thereof to the Secretary of War, and to know from him ,1 0 , to ihe
                                                                                      1
                                                                                                         ~!.-
how far the United States can aid the State in arms, clothing, and muni.r•tary.
lions of war; and he is hereby authorized and directed lo order the com.
m1ssary-genernl of purchases to procure whatever may he necessary for
the purposes aforesaid, and which cannot be provided by the United
States; and the Governor is authorized to draw orders on the treasury in
favor of the proper officers, taking receipt~ for the Baille; and all the
accounts of the expenditure& made by virtue of this Act, shall be rendered
to the comptroller-general, and by him be laid before the Legislature.
   XIV, And he u further enacted by the authority aforesaid, That as soon
as any part of the Bllid brigade shall be called into service, the Governor Boat• to bo at-
shall be authorized to purchase, and attach to the seveml posts that may [•ched tu mill.
be established on the sea board, any number of row, or other boats, not ary P""'"·
exceeding twelve, suitable to the transportation of troops at a moment's
warning, to any point of attack, and to be employed as look.out boats, to
ascertain the approach of the enemy's barges, and to give notice thereof to
the coasting trado,
   XV, And bo it further enacted by the authority aforesaid, That the
sum of five hundred thousand dollars be, and the same is hereby, appropri- Appropriation,
ated out of any monies in the treasury not otherwise appropriated, for the
purpose of carrying this Act into full and complete effect.
  In the Sennte Hou!e, the twcntir.th day or Decl:lmber, In the year of our Lord one thousand
        eight hundred and fourteen, and in tho thirly,ninth year or the Independence
        of the United Stotos or America,
           JAMES R. PRINGLE, President qf the Senate.
           THOMAS BENNET!', Speaker of the Houae of Representativu,



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                                                                                                EXHIBIT 13
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  A.U.1815,                           Acta relating to the Militia,
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  No. 2069. AN ACT FOR TRE ORGANIZATION OF TnE STAFF OF THE M1L1T1A OF SoUTH
                      CAROLINA ; AND FOR OTJIIIR PURPOSES TREHEIN MENTIONED,

                        I. Bt it enacted, by the Sonate nnd House of Representatives of South
81 fl' r ch • Carolina, now met and sitting in Gonernl Assembly, and by the authority
llthi 0°r 11,;: '"'" of the same, That the adjutant.general's department shall hereafter consist
Senta organl· of one adjutant and inspector.general, with the rank of a brigadier.general,
zed,                 and five division or deputr adjutant-generals, with the rank of lieutenant
                     colonel, one in each division. That the quartermaRter.general's depart-
                     ment shall consist of one quartermaster.general, with the rank of colonel,
                     five division or deputy quartermaster-generals, with the rank of major, and
                     ten brigade or assistant deputy quartermaster-generals, with the rank of
                     captain; one division quarterm1U1tcr being taken from each division, and
                     one brigade quartermaster from each brigade. That there shall be to each
                     div1sion of the State, one division or assistant inspector-general, with the
                     rank of lieutenant-colonel, and to each brigade, one assist.ant deputy
                     inspector.general, with the rank of major. Thero shall also be to the militia
                     of this State, one judge advocate general, with the rank of lieutenant.
                     colonel; and to each brigade there shall be a brigade or deputy judge
                     advocate general, with tho rank of major.
                        II. And he it farther enacted by the authority aforesaid, That there
                     shall be one commissary.general of purchases, with the rank oflieutenant.
~::~J"~'}';.,.       colonel; one commissary.general of issues, with the rank of lieutenant-
choeeo.              colonel; one paymaster-general, with the rank of lieutonant.colonel; one
                     physician and surgeon.general I with the rank of lieutemmt-colonel ; one
                     apothocary-goncral, with the rank of major; and one brigade chaplain to
                     each brigade.
                        Ill. And he it furtkP.r cnactetl by the authority aforesaid, That the Gov.
Ald,-de-oamJ• ornor and Commander.in.chief shall be entitled to ten ai<ls.de.oamp, with
to be appoint- the rank of lieutenant.colonel ; the major-generals to three niJs.de•camp,
ed.                  with the rank of major; and the brigadier.generals to two aids-de.camp,
                     with the rank of captain.                                    ,
                        IV. And he it furtl1er enacted by the authority aforesaid, That the
                     adjutant-general shall be, and he is hereby, appointed adjutant and inspec.
Adjutont one. tor-general, nod thnt all officers who. now hold any ~f the aforesaid offices,
ral 10 be 1t be, and they are hereby, confirmed m them respectively; and the Gover.
•Pj".l:"0 gen.. nor and Commander-in-chief shall be authorized to appoint proper persons
ra' '               to the offices hereby created, and to fill all vacancies which shall hereafter
                     occur in any of the abovementioned offices, except aids to the major-gene-
                     rals and brigadier-generals.
                        V. And be it furtlu,r enacted by the authority aforesaid, That it shall
Duties do6ncd. be the duty of the Governor and Commander.in.chief, and he is hereby
                     authorized, to prepare general regulations, better defining and prescribing
                     the respective dutic~ and powers of the several officers before mentioned,
                     which shall be respected and obeyed, until altered and revoked by the same
                     authority ; and the said general regulations shall be laid before the Legisla.
                     ture at their next meeting.
                        VI. And be it further enacted by the authority aforesaid I That nothing
Certoin officers herein contained shall be conRtrued so as to affect the officers of the regi-
;;jlJ:' b\olfeoc. mental staff, or the brigade majors, now authorized by law, otherwi9tl than
       ore y.        being subject to the general regulations aforesaid.
                        VII. And be it further enacted by the authority aforesaid, That the
                     uniform of the officers of the militia of this State shall hereafter be the



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                                                                                     EXHIBIT 13
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                             OF SOUTH CAROLINA.                                                                029
                           Act• relatittg to the ltliliti.a.                                      A,n.1815,
                                                                                                  ~

tiame in every respect, as that now established in the army of tbo United
States for officers of similar grade and character ; and that all tho officers
hernafter to be elected, shall be required to conform to this arrangement
immediately on their election; and all officers now in commission, shall be
allowed twelve months to procure the new uniform. Provided, nothing
herein contained shall be construed to extend to officers of volunteer com.
panies.
   In tbe Sena.to Hon11e, the tMrteentb day of December, in the year or our Lord one thou.
        eand eight hundred and fifleon, and In the fortieth year of the Sovereignty and ludo•
        endence of the United States of Americ11..

           JAMES R. PRINGLE, Pmidcnt qf the Senate.
           THOMAS BENNE'Ff, Speaker oftlte Houe of llepmmtatfoe,.




 AN ACT TO ALTEII AND AMEND THE MILITIA LAWS OF THIS STA.TE,                                      No. 2071,
   I. Be it enacted by the Senato and House of Representatives, now met
and sitting in Genoral Assembly, and by the authority of the same, That lncornpetnnt
from and after the passing of this Act, every officer of the militia of this            be      offihi"' ':{
State who shall bo declared, by the sentence ofa court martial, to be incom.... ore •
petent to tbe discharge of the duties of his station, shall be cashiered ; provi.
ded,, every officer, after charges exhibited, shall be at liberty to resign;
the said courts martial to be ordered by the officers commanding battalions,
regiments, brigades, and divisions, respectively; and on major-generals,
by the Commander.in-chief; and the members of every court martial
hereafter to be held in this Slato, as well on officers as non.commissioned
officers and privates, shall, in addition to the oath now prescribed by law,
St'verally swear, "that they will well and truly try and determine the cases
that shall be brought before them, according to law, and the evidence that
shall he adduced."
   II. And be it further enaded by the authority aforc•nid, That courts
martini on non-commissioned oflicors and privates, may hereafter be held Courte-mar-
by any three commissioned officers of the regiment to which they belong. tial,
   III. An<l be it furtl,er enactetl by the authority aforesaid, That no app<,al
shall hereafter be made from courts martial, imposing fines on non-com-
missioned officers and privates, unless the appellant shall accompany his
appeal by an affidavit, that he could not attend ·the court by which he was
fined, and that he does not appeal for the purpose of delay; in all other
cases, the decision· of every such court martial shall, when approved by
the officer ordering tho same, be final and conclusive.
   IV. And be it furtl,er Macted by tho authority aforesaid, That every
officer who shall hereafter be cashiered by the sentence of a court martial, Appoai, how
she.II be disqualified from holding any commission in the militia, for a pe. tu bo rn;do.
riod not less than one yonr, nor more than five, at the discretion of the ·
court; and no officer who shall hereafter resign his commission, shall be
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                                                                                          EXHIBIT 13
                                                                                            0257
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  A, D,1815,                         Act, ~elating to the Militia.
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                  re-eligible to the same office, until it shall have been filled by some other
                 person.
                     V. And be itfurther enacted by the authority afore~aid, That in addition
                  to the fine~ now imposed by law on officers neglecting to attend the
 Ponnltv for not brigade encampments, without a sufficient excuse, every officer so neglect.
attending f"'" ing shall pny fifty per cent. on his general tax for the year preceding such
pedly&equ•r· default, and shall be fined the sum of one dollar for each article of uni.
JJ• ' c.          form or equipment which he shall not have at such encampment, unless he
                  can shew that he could not procure the same ; and it shall be the duty of
                  the brigadier and major.generals lo attend tho reviews of their respective
                  brigades; and for their neglecting so to do, overv brigadier.general shall
                  be tined in the sum of fifty dollars, and fifty per cent. on his general tax;
                 and every major-general tho sum of eighty dollars, and· fifty per cent. on
                 his tax, And nil tines hereby imposed for default at any brigade encamp.
                 ment, shall be collected in the manner following, that is to say :-the presi-
                 ding officer of the court martini shall issue his warrant under his hand nnd
                 seal, directed to any person now authorized to collect fines in the several
                 regimental dislricts, who shall collect the same in like manner as other
                 fines nre now colloctod ; nnd for the collection of the same, he shall be
                 allowed twenty per cent, 011 the amount collected; and that the said pen.
                 alty, when received, shall be pnid to the collector of the regiment, to be
                 applied to the purchase of drums, fifes or colors, for the use of the regi-
                 ment, and for defraying other necessnry expenses of the same, or the ne-
                 cessary expenses of the brigade or division.
Penalty ror not VI. And he it further enacted by the authority aforesaid, That every
:t'l'°iug mili- officer whose duty it shall be to enforce the militia laws of this State, who
  • ow,          shall wilfully ueglect so to do, shall, on convictiou, be cashiered; and
                 courts marlin) shall be ordered ns in other cases.
Officern to••·       VII. And he it fur/lier enacted by tho authority aforesaid, That It shall
eomiiI• the doy be the duty of officers commanding regiments, to assemble the officers and
fr,:.~~:~j ';;.:S:
                 non-commi9:'io11ed officers of t,heir rospectiv~ regimeuts,, the day prev!ous
tor,,,           to every regimental muster, to mstruct them m the exerctse and evolutions
                 to be performed on the dny following ; and every officer and non.com.
                 missioned officer who shall fail to attend .such meeting, shall be subject to
                 the same fines as are imposed by In w for non.attendance at regimental
                 musters; nnd courts martial shall be ordered as in other cases.
Officers or Oft•    VIII. And he it furtl1er enacted by the authority aforesaid, That officers
vu.try and nr•, of. the cavalry and artillery shall be liable to attend at the brigade en.
~l~~{fiJ;nd'; cnmpments; and where cavalry and artillery companies are attached to
encnmpmcnts. regiments of infantry, the officerd and non-commissioned officers of the
                 companies so attached, shall attend the meeting of the regimental officers
                 of infantry the dny previous to every regimental muster, to be instructed
                 in the. evolutions to be performed ; 1111d the said officers of cavalry and
                 artillery shall, at the brigade encampments, be armed in the same manner
                 as officers of infantry; and for non-attendance at such encampments, or
                 at the regimental meetings aforesaid, the said offir.ers and non.commission.
                 ed officers 81to.ll be liable to the same fines as the officer~ of infantry ; and
                 any officer guilty of misconduct at any encampment or regimental meet.
                 ing, shall be liable to be put under guard, and to be cashiered by the sen.
                 tence of a court martial; and should any person not bound to attend at
                 such meetings, molest or disturb tho same, such person may be put under
                 guard, nnd kept in confinement at the discretion of the commanding offi.
                 cer, during the continuance of such encampment,




                                                                                      EXHIBIT 13
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                         OF SOU'rH CAROLINA.                                                   531
                        .Aot, relating to tl1e Militia.                              A,D~l815,
                                                                                    ~

   lX. Ana be it Jurther enacted by tho authority aforesaid, 'rhat the rule~                 .
11nd regulations of the field exerciae and marnu vree of infantry, compiled        ~-i?.· !t:::':!~t"
nod adapted to tho organization of the army of the United States, agreen-                       '
bly to a resolve of Congress, shall hereafter be observed in the instruction
nod exorcise of infantry within this State, and, that every officer shall be
furnished by the State with a copy thereof; and every such officer so fur.
nishod, shall be compelled, upon the vacation of his commission, lo deliver
over to his successor the said book I under the renalty of five dollars, to be
recovered before any magistrate,
   X. A11d be 'it furtl,,er enacted by the authority aforesaid, That the offi,
c~rs oommand_ing regime'nts     ~! infantry wi,tbin. t~is State I sh!'ll be autho. Y!~u~~i~~ mo
rized lo permit volunteer umlorm compames of mfantry or riflemen lo be be ,ri,od, y
raised within their respective commands, and the officers thereof shall be
commissioned, if such companies shill! consist, respectively, of forty olfective
rank and file in unifotm ; and ollicors commanding brigades are authorized
to permit volunteer companies of cavalry and artillery to be raised within
their respective commands, which shall consist of thirty effective men in
complete uniform, nnd to commission the officers thereof; and if such
volunteer companies of infantry or riflemen shall at any time be reduced
below thirty men in uniform, and any such company of cavalry or artillery
shall be reduced below twenty.four men in uniform, and th«) said compa.
nies, respectively, shall not, within six months after notice given by the
commanding officer of the brigade or regiment, recruit their respective
companies, they shall be dissolved, and the commissions of the officers
forfeited; provided always, that no beat or district company shall be
reduced below thirty men, by the formation of any volunteer company or
companies ; and provided also, that whenever any call shall be made for
the services of any volunteer company, they shall go by companies under
their own officers; prwided, nothing herein contained shall authorize the
raising a greater portion of cavalry, artillery, riflemen or infantry, than
are now authorized by law.                     ·
   XL And be it furtl,er enacted by the authority aforesaid, That the rank
of officers in the militia of this State shall be the same as that of the offi. Rnnk oftI°~·
cers of the army of the United States, that is to say :-tho commanding cero •• 1 • •
officers of regiments shall hereafter have tho rank of colonel; the second
officer in each regiment shnll have the rank of JieutenRnt.colonel; nnd to
each compRny of infantry there shall be a captain, first lieutenant, second
lieutenant, and ensign ; and every lieutenant-colonel in the State is hereby
created a colonel; the first major of every regiment, a lieutenant.colonel ;
the lieutenant of every company, a first lieutenunt; and the ensign of eve.
ry company, a second lieutenant; and elections shall be held throughout
the State for ensigns in the several companies; and tho proper officen are
hereby authorized to give commissions to the officers hereby promoted,
who shRll take rank from the d!lte of their former commissions, respnc•
tivcly.
   XII. And tol,erea1, the Charleston Ancient Battalion of Artillery nre Ch 1 'A
now entitled to or do assume certain exclusive privileges, from which other cio~i 'li!~~nll;;
militia corps are excluded :-Be it therefore enacted by the authority afore. of Arlillcri,
said, That the said Charleston Ancient Battalion of Artillery shall be, and ~;1      ;~:;1 ~~.;!!"
they are hereby, divested of all exclusive privileges, and put upon an cquali.                  •
ty with the other mililill compRnies and battalions of this State ; provi-
ded, the captains-licutenarits now in commission, shall retain their com.
missions ; but when vacancies hereafter occur in said offices, no elections



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                                                                                EXHIBIT 13
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 ..__...,.-.,
                 shall be held, nor rise by seniority to supply said offices, but the office of
                 captain.lieutenant shall be abolished.
                    XIII. And be it further enanlea by th.e authority aforesaid, That the
Chnrleston 1 Governor and Commander-in-chief, in order to prevent the confll8ion which
how gunrded mny nriee from too many iven being under arms, when fires shall break out
in co.en of      in the city of Chnrluston, bo, and he is hereby, authorized to fix the num,
o.lurm of fire,
&c.              her of men necessary to be under arms in such cnses, and to make regula-
                 tions by which a certain portion onlv of the militia of Charleston sbnU be
                 required, for the period of three mo1iths, to bold themselves in readiness to
                 parade in cases of alarm from fire ; and if any officer, non.commissioned
                 officer, or soldier, so ordered, shall fail to ntlcnd at bis muster-ground in
                 ensue of alarm, ho shall be subject to the same fines as are imposed by law
                 for non.attendance at regimental musters.
                    XIV. And be it .further enaclt'd by the authority aforesaid, That the
P,il,li• ann, to Governor and Commander.in-chief be, and he is hereby, authorized to
be ,old.         cause to be sold 9Uch arms llJl on inspection shall be found incapable of
                 repair, and to pass tho amount of such sales to the credit of the quarter-
                 master-general's department, to be applied to tho repair and preservation
                 of arms.
                    XV. A11d be itfurtnerenacted by the authority aforesaid, That it shall
A:f!•~•I• to be be tho duty of the brigade quarter-masters, within the limits of whose bri •
• ..,,. •        gades ar9enals are or· shall hereafter be eslablishod, to visit and inspect
                 the same, at least once in every year, and to report to the quartermMter.
                 general thereon; and that the several arsenal keepers within the State
                 shall each receive an additional compensutiun of one hundred dollars per
                 annum, and shall give bond to the quartermastcr-goneml for the faithful
                 performance of their duties ..
                    XVI. Allll be it fartlier enacted by the authority aforesaid, That where
Officers to
rai&o by aeoi• vacancies shall here11ftor occur in any company, battalion, regiment, bri.
ority.           gade, or division, such vacancy shall be filled by the officer next in rank.
                 the officers rising by seniority in their re~pective companies, be.ttalioos,
                 regiments, brigades and divisions.
                    XVII. And be it further enacted by the authority aforesaid, That all
Fornier Ac10 Acts and parts of Acts contrary to any thing heroin contained, be, and the
repealed,        same is hereby, repealed.
                 In the Sf'nale House, the sixteenth day of December, in the year of our Lord ono thon..
                       eand eight hundred and fincen, and in the fortieth year of the [ndependcnce of
                      the United Sta.tea of America.

                         JAMES R. PRINGLE, Preaid,'11t ef tlui Senate.
                         THOS. BENNETT, Speaker ef tlie Hou.,e ef Representativu.




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                                                                                            EXHIBIT 13
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                        OF SOUTH CAROLINA,                                            li33

                     Act, relating w the Militia •                              A,U.1816.
                                                                               ...--v-.,
AN ACT TO XAKB ALL TUii OFFICBRS OF TUR MILITIA OP THIS STATII No, 2099,
                                 ELJICTIVE,

  WHEREAS, experience has shown that it is inexpedient that the offi.
cers of tho militia of this State should rise by seniority ; for remedy
whereof,
    I. Be it enacted hy the Honorable the Senato and House of Represen.
tatives, now met and sitting in General Assembly, and it is hereby emw Va           '•• 10
ted, by the authority of the same, That from nod after the pabSing of this be r,i1~d by
Act, when any vacancy shall take place in any of the military commissions election,.
of the militia of this State, the same shall be filled b)' election, in the fol. '
lowing manner: when any vacancy shall take place in the commission of a
major-general, the Governor for the time being shall forthwith issue his
orders to the several brigadier,generals of the division in which such va·
cancy shall happen, requiring such brigadier-generals to order an election
in each regiment within the division in which such vacancy shall have oc.
curred, for a major-general to fill such vacancy ; and nil commissioned offi.
cers of the division in which such vacancy shall hove happened, shall be
entitled to vote for a major.general ; and any commissioned officer of' the
division in which such vacancy shall have occurred, shall be eligible to the
 office of major.general; and each colonel shall return the state of the
 polls of his regiment to the brigadier-general, who shall transmit the same'
 to the Governor, who is hereby empowered to pronounce the person hav.
 ing the greatest number of votes to be duly elected, and shall commission
 such person accordingly,
    II. Arid be it further enactetl by the authority aforesoid, That when Offl        h
any vacancy shall take place in the commission of brigadier-general, the 10 i:;."~fea~.
 major·genernl, and in case there is no major-general, then the next com-
 manding officer of the division, shall forthwith issue his orders to the seve.
 ral colonels of the regiments composing the brigade where such vacancy
 shall be, to hold, in each of their respective regiments, an election for bri•
 gadier-general, to fill such vacancy; and all commissioned officers of the
 brigade where there shall be such vacancy, shall be entitled to vote for bri-
 gadier.general to fill tho some ; and any commissioned officer of such bri-
 gade shall be eligible to the office of brigadier-general; and each colonel
 shall attend the counting out of the votes, and return the state of the polls
 of his regiment to the commanding officer of the division, who shall pro.
  nounce the person having the greatest number of votes duly elected, and
  commission him accordingly. And when any vacancy shall take place in
  the commission of colonel of infantry, the same shall be filled by election
  by all free white men above the age of eighteen years, who reside within
  tho said regiment, (except such persons as are attached to the cavalry, or
  any regiment of artillery,) the person having the greatest number of votes
  shall be the person elected. When any vacancy shall take place in the
  commission of lieutenant·colonel, the major then in commission in the same
  regiment shall be immediately commissioned lieutenant-colonel ; and when.
  ever a vacancy shall take place in the commission of major, the same shall
  be filled by election by all free white men above the age of eighteen years,
   who belong to the battalion where such vacancy shall occur ; the person
 baving the greatest number of votes shall be elected. When any vacancy
  shall take place in the commission of captain, first-lieutenant, second-lieu-
  tenant, or ensign, of any beat company, the same shall he filled by elec-
  tion by all free white men above the age of eighteen years, residing within



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                                                                                  EXHIBIT 13
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  ,\.D, 1816,                         Acu relating to tke Militia,
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                the said bent company ; the person having the greatest number of votet
                shall be the person elected. Provided, neverl1ieleaa, that nothing herein
                contained shall extend to nny volunteer corps of artillery, cavalry or light
                infantry, who shall elect their respective officers from among themselves,
                in the following manner: when any vacancy shall take pince in the com•
                mission of colonel of cavalry, the same shall be elected from amongst the
                officers, non-commiiisioncd officers nod privates of the said regiment, by
                themselves; tho person having the greatest number of votes to be the per-
                son elected. When any vacancy shall take pince in the commisaioo of
                lieutcnanl-colon~I, or major ot' cavalry, or major of artillery, the same
                shall ho filled by election, by the officers, non.commissioned officers and
                privates composing the said battalion or squadron, from among themselves;
                the person having the greatest number of votes to be the person elected,
                When any vacancy shnll take pince in the commission of any captain,
                first lieutenant, second lieutenant, ensign or cornet, of any company of ar-
                tillery, light infantry, or troop of cavalry, the same shall be filled by elec-
                tion, by the officers, non-commissioned officers nod privates of the said
                company or troop, from among themselves; the person having the greatest
                number of votes shall be the person elected.
                   III. Be itfortl1er enacted, That when the commission of a colonel shall
Colonel,        become vacant, the brigadier-general, or, in case there be'no brigadier-ge-
                neral or major.general commanding the said regiment, the Governor for the
                time being, shall appoint two fit and proper persons to open and hold a poll
                at each of the battalion muster grounds of the said regiment, and two fit
                and proper persons to open and hold a poll at the regimental muster ground
                of the said regiment ; which said managers shall adv.ertise the same for
                forty days in twelve public places in tho said regiment ; the said managers
                shnll hold the polls one dav at each pince, from eleven o'clock in the morn-
                ing until three o'clock in the afternoon, and shall meet at the regimental
                muster ground on the day following, and count over the votes and declare
                the election.
                   IV, Be it further e11acted, That when the commission of major shall be-
  Mojor.        come vacant, the colonel, or, if there be no colonel, the officer next in
                command in the f>l1id regiment or battalion, shall appoint two fit and proper
                persons to open and hold the poll for the said election, at the battalion mus-
                ter ground of the said battalion, from ten o'clock in the morning until four
                o'clock in tho afternoon, after having advertized the same for thirty days
                in six public places within the said battalion; and the said managers shall
                meet at the said place of election the day following, count over the votes
                and declare the election,
                    V. Be it enactecl, That when any vacancy shall take place in a captain's
  Coptain,      commission, the lieutenant-colonel or officer commanding the battalion or
                squadron, shall appoint two fit and proper persons within the said company
                or troop, to manage the said election, who shall bold the polls at the usual
                muster ground of the said troop or company, from eleven o'clock in the
                morning until three o'clqck in the afternoon, after having advertized the
                same for twenty days before the said election, in at least four public places
                in the said company or troop ; and that on the some evening tho mnnage111
                shall count over the votes and declare the election.
                    VI. Be it further enacted, That when the commission of first lieutenant,
                second lieutenant, ensign, or cornet, shall become vacant, the captain, or
Lieutenant,     if there be no captain, the major or lieuteoant•colonel, commanding the
&c,
                said company or troop, shall appoint two fit and proper persons to bold an
                election 111 the usual muster ground of said company or troop, from eleven


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                                                                                 EXHIBIT 13
                                                                                   0262
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                         OF SOUTH CAROLINA,                                                             535

                        Acu relating to the Militia.                                             A,D, IR16.
                                                                                              ~

o'clock in the morning until throe o'clock in the afternoon, after having
advertized the same for at least twenty days previous to the election, in nt
least four public places in the sn1d company or troop; and on the some
evening the managers shall count over the votes and declare the election,
   VII. Be it fortl1er enacted, That when any division, brigade, regiment,1 11 time or 40 •
battalion, squadron, company or troop, shall be embodied and in actual tuol •mice,
aorvice, either under the authority of this State or of the United States, 6j1~"J'b~•• 1~1~
the vacancies therein shall he filled by seniority, agreeable to the usages ortty. •e
and customs of war.
   VIII. And he it farther enacted by tho authority aforesaid, That when.
00 the duty of ench colonel who shall be ordered to hold such election,
give fifty days notice in his regiment of such election, and post up the said
                                                                                       ton~:~ i•
ever an election is ordered for a major-general or brigadier·general, it shall ~otico be
                                                                                         1
                                                                                      O O •••


notice for that length of time, at least at one public place in each bent in
his regiment.
   IX. And be it further enactetl by the authority aforesaid, that from and                .
after the passing of this Act, it shall not be necessary, in order to constitute 0 •f·~rt,o1,f
11 battalion court martini or court of enquiry, that 11 field officer should pre-            :i~i:d.
                                                                                          oon-
aide; but that the same may consist of a captain, as presiding officer of
said court, and four other commissioned officers of said battalion, one of
whom at least shall be of the rank of a captain.
   X. ,A1td he it further ~~c!ed by t_he authori!Y aforesaid, 'fh11t the com- Rullen, to bo
mnndmg officer of any division, brigade, regiment, battalion, squadron, appointed,
troop or company, who shall call out the men under his command to muster,
shall be, and he is hereby, authorized and empowered to appoint n sutler
to retail spirituous liquors at the muster ground of said division, brigade,
regiment, battalion, squadron, troop or company, without any other license
or permission. PrO'IJided, that the said sutler so appointed do furnish a
suitable field to exercise the said troops on, to be approved by the com•
manding officer who shall have ordered the said muster,
   XI. And be it further enaeted, That all Acts and parts of Acts repug-
nant to this Act, be, and the same are hereby, repealed.
   In the Senate llouse, the nineteenth do.y of December, in t11e year of our Lord nne
       thou,and eight hundred nnd sixteen, and in the forty-fin,t year of the Independence
       of the Unitod States or Amerio•,                           ·
          JAMES R. PRINGLE, PreBident qf the Senate.
          TH_QS. BENNErr, Speaker qfthe Houae of Repmenl.ative,.




AN ACT TO INCRRASE THR NU.IIRER OF PLACES OF RLECTIONs, NOW LOII· No. 2187.
  TED BY LAW, FOK THE ELECTIONS OF' COLONELS AND MAJORS IN EACII
  REOI.IIENT OR BA'I'TALION THROUOIIOUT THE STATE; AND FOR OTIIER
  PURPOSES THRRljlN MENTIONED,

  I. Be it enacted by the Honorable Senate and House of Rcpresentntives,
now met and In Session, and by the authority of the same, That from and
immediately after the passing of this Act, instead of the elections for co-
lonels being only held at 1he battalion muster grounds as heretofore, when


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                                                                                             EXHIBIT 13
                                                                                               0263
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53/1                                     STATUTES AT LARGE
   A,D,1816,
  .._.,,,._,,                          Act, relating to the Militia .
El•ction,       · the co,mmi_ssion of colon~( in any regiment sh!ll h?renfler become 9:acant,
where aml how tho hrigad1er.general, or ID caae there be no brtgndier.general or maJor-ge·
10 bo held,   neral commanding said regiment, the officer next in command in anid bri.
                    gnde, shall issue his order, to be extended to each captain or commanding
                    officer of a company constituting said regiment, to call to bis assistance
                    two of his subaltern officers, or, if none, two other fit and proper persons,
                    to open and hold a poll at their respective muster grounds, which said cap-
                    tain shall advertize for at least forty days at three public places in the
                    bounds of his command ; tho said managers shall hold the polls one day,
                    from eleven o'clock in the morning until three o'clock in the afternoon,
                    and shall meet at tho regimental muster ground the first or second day after
                    tho election, as may be ordered by tho officer who shall order such elec.
                    lion, to count over the votes and declare the election, That when the
                    commission of major shall become vacant, the colonel, and if there be no
                    colonel, tho officer next in command in said regiment, shall order each
                    captain or cummandant of a company to call to his asaistnoce two of his
                   subaltern officers, or other fit and proper persons, to open and hold a poll ill
                    their respective muster grounds, giving forty days notice, by advertising
                    in three public places in the bounds of their command ; the said managers
                   shall hold the poll on one day at their muster ground, from eleven o'clock
                    in the morning until three o'clock in the afternoon, and shall meet on the
                   battalion muster ground, or some public house near the anmo, on the day
                   following, and count over tho votes and declare the election.
                       II. And he it further enactea by the authority aforesaid, That the mana·
 )lanagora to be gers of elections to be appointed in pursuance of this Act, before they pro.
 •worn,            ceed to hold any election, shall be duly sworn that they will impartially and
                   faithfully hold such election; and that the presence of not more than one
                    manager from each pince of election, shall be necessary at the time of
                   counting over the votes and declaring tha election.
 Battalion or••· Ill. And he it further enacted by the authority aforeanid, That the bat.
  tillery dia110l· talion of artillery formed by an Act of the General Assembly of the year
 va d,             seventeen hundred and ninety-seven, of the throe companies of artillery
                   then in brigadier-general Winn's brigade, be, and tho same 1s hereby, dis-
                   solved,
                       IV. And he it enacted by the authority aforesaid, That the managers
 Mnnagora ••· of elections for colonels and majors as aforesaid, shall be exempted from
 empt from toll, paying any ferriage or toll which are usually paid at tho ferries and toll.
                   bridges within this State, while going or returntng from the places for hold.
                   ing and declaring the elections, as aforesaid; any law, usage or custom to
                   the contrary notwithstanding,                         .
                      V. And he it further enacted hy the authority aforesaid, That the briga-
 Comranl,a to dier.general or commandant of the third brigade, be, and he is hereby, au.
 b• aubdividod, thorizcd to appoint three fit and proper persons to subdivide into three
                   companies the two companies now commanded by captains Simms and
                   Farr, of the south battalion, thirteenth regiment South Carolina militia.
                   Proviaed, nevertheles,, that the officers now in commission shall hold their
                   respective commissions in one of the said subdivided companies, and cause
                   the vacancies for the balance of the officers to be filled up, as heretofore
                   provided by law.
                      VI. And he it further enacted by the authority aforesaid, That the bri-
 Jt, Hamilton'• gadier.general of the eighth brigade he, and he is hereby, authorized to
.comJl""l. to be appoint three fit and proper persons to subdivide Robert Hamilton's compa •
.•ub " 1 ed.       ny of militia, in Ibo upper battalion, and thirty .second regiment of lhe




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                                                                                    EXHIBIT 13
                                                                                      0264
           Case 3:19-cv-01226-L-AHG                                        Document 12-14 Filed 10/04/19   PageID.703   Page 62
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                           OF SOUTH CAROLINA.                                                       537
                         Act4 relating to the Militia.                                       A,l),tal8,
                                                                                             ~
said eighth brigade, into two companies, Providetl, neverthele11, the olfi·
cers now in commission in the aforesaid Robert Hamilton's company shall
hold their rcspectil'o commissions in one of the said companies.
   VII. And be it further enucted by the authority aforesaid, That so much •·ormer Act
of an Act passed on tho sovonleenth day of December, in the year of our repealed,
Lord oilo thousand eight hundred and eiµht, as requires all the officers of
the several different' brigades throughout this State, under tho rank of bri-
gadier, excepting artillery and cavalry officers, to assemble in some ,•entral
and proper pince once at least in every two years, to be practiced and in.
structed for a term not exceeding six days, nor less than three, be, and the
same are hereby, repealed.                                          '        .
   VIII, And be it enacted by tho authority aforesaid, That all Acts and Repealing
parts of Acts repugnant lo the true intent and meaning of this Act, be, 01 •••••
and the same are hereby, repealed,
   In lh• Senato H011SR, lhe •lghteonlh dny of Dooombcr, in the year of our Lord one thou•
        •and eight hundred and olghto•n, and In lhc forty,thirJ year of tho lndept'ndence
        of !he United St•t•• of Aucerico.
           JAMES R. PRINGLE, Pmident qf tlie Senate.
           PATRICK NOBLE, Speaker qfthe Hou,e of Repmentatitoe,.




AN ACT TO EXCUSE TUE OFl'IOERs OF THE SEVERAL BRANCHES OF THE No. 2199,
   BANK OF THE STATE OF SOUTH CAROLINA                     FROH THR PERFORHAN0E
   ~F ORDINARY MILITIA DUTY 1 AND SERVINO ON JURIES,

   I. Be it enacted, by the Honorable the Senate and House of Represen.
tatives, now met and sitting in General Assembly, and by the authority of
the same, That tho presidents and cushiers of the several branches of the
Bank of the State of South Carolina, and the clerks employed in the same,
shall be, and they are hereby declared to be, exempted from the performance
of ordinary militia duty, and from serving on juries,
   In the Senate House, lhe Hlxte~nth do.y of December, in the year of our Lord one
        lhou,nnd eight hundred and eighteen, and in the forty,third yenr of the lndepe11•
        dence of the United States of America.
           JAMES R. PRINGLE, President of the Senate.
           ROBT. Y. HAYNE, Speaker qf the Hmue qf Rtpruentativu.

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                                                                                             EXHIBIT 13
                                                                                               0265
                Case 3:19-cv-01226-L-AHG                               Document 12-14 Filed 10/04/19   PageID.704   Page 63
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~88                                     STATUTES AT LARGE
  A,». \819,
 .....,...,,,._,                      Act, relating to the Militia,
 No. 11220,        AN ACT. To PROVIDE FOR TIUl .11ORB EFFECTUAL PERFORMANCE OF PA.'
                                                 TROL DUTY,

                    I. Be it enacted, by the Honorable the Senate and House of Represen.
Patrol di,triote tatives, now met and sitting in General Assembly, and by the authority of
Jo be formed, the same, That it shall be the duty of the captains of the several bent
                 companies within this State, within six months after the passing of this
                 ft.ct, to cause their respective beats to be divided into convenient patrol
                 districts; which divisions, when made, shall bo permanent until the same
                 shall be altered by a majority of the officers of the said company. And in
                 case the captain of any beat company shall neglect to perform the duty
                 hereinb!ifore required of him, he shall forfeit and pay the sum of thirty do!.
                 Iara, to he recovered in any court having competent jurisdiction.
                     Il. A11d be it furtlte,1 .macted by the authority aforesaid, That it shall be
Rollo to bu      the duty of the commanding officer of ench nod every heat com/>any to
made out.        cause to he made out a roll for each patrol district, which shall inc ude the
                 names of all the free white male inhnbitants above the age of eighteen
                 rears, residing within the said patrol district. Provided, that nothing here.
                 ID contained shall be construed to compel any male inhabitant of any beat
                 company to perform patrol duty, either in person or by suhstitute, who may
                 have attained the nge of forty.five years or upwards, and who shall not
                 possess any slave or slaves.                                  ·
                     III. And he it furtl,er rnacted by the nuthority aforeRnid, That it shall
Patrol to be be the duty of the commanding officer of each and every beat compnny,
pricked off,     at every regular petty muster, to prick off from the roll of each patrol
                 district, at his discretion, any number of persons, who shall perform the
                 duty hereinafter prescribed until tho nvxt regular petty muster ; and to
                 every patrol the commanding officer of the company shall appoint some
                 prudent and discreet person as commander ; and in case the commanding
                  o.fficer of the company shall fail to prick off such patrol, or the comman-
                 ders of tho patrol shall fnil to perform the duties herein required of them,
                  they shall, respectively I forfeit and pay, to be recovered by indictment, a
                 sum not exceeding thirty dollars.
                     IV. And be it furl.l,er enacted by the authority aforesaid, That it shall
         lb~~
;,,~~u,:-n        be the duty of tho commander of every patrol, at least 118 often 118 once a
night.· ·         fortnight, to call out the patrol under his command, and to take up all
                 slaves who may be found without the limits of their owners's plantations,
                 .under suspicious circumstrtnces, or at II suspicious distance therefrom, and
                 .to correct all such slaves by a moderate whipping, with a switch or cow.
                 skin, not exceeding twenty lashes, unless the said slave shall hn\•e a ticket
                 ,or letter to show the re11son11bleness of his or her absence, or shall have
                  some white person in company to give an account of the business of such
                 .sl11ve or slaves. And if any white person shall· beat or abuse any slave,
                  quietly or peaceably being in his or her master's plantation, or found any
                 where without the same without a lawful ticket, he ahall forfeit the sum of6£•
                 ty dollars, to be recovered by the owner, and to his use, by action of debt,
                 besi4es being liable to the owner in an action of trespass for damages.
                     V. And he it further enacted by the authority aforesaid, 'l'hat the said
Mny enter dla,,patrols, in their respective divisions, shall have power, and they are hereby
ord•rly ~ou,o,. authQrized and required, to enter into any disordNly house, or into any
    .            other house, vessel or boat, suspected of harboring, trafficking or dealing
                 with ncgrocs, whether the same be occupied by white persons, free ncgrocs,
                 mulattoes, ~estizocs, or slaves, and to apprehend and correct nil sla1·es




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                                                                                     EXHIBIT 13
                                                                                       0266
         Case 3:19-cv-01226-L-AHG                              Document 12-14 Filed 10/04/19   PageID.705   Page 64
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                        OF SOUTH CAROLINA,                                             530·
                      Act& relating to the Militia,                             A, D,1819,
                                                                               ~

 Pound there, by whipping, as heroinbofore directed. And the said pnlrol
 are, moreover, authorized and required to give information of such white
 persons as nmy be found in such house, vessel or boat, and to detain in thoil·
 possession such produce or articles for tratlicking, ns may bo found in such
 house, vessel or boat, if such detention be authorized by any throe free.
 holders, or fiy any justice of the ponce, until the flame shall be recover-
 ed according;.;to)aw,
    VI. Anti he it furtlwr enacted by the authority aforesaid, That it shall
 not be lawful for any shive, except in tho company and presenco of some SI•••• not to
 white person, to carry or mnko uso of any fire nrms or other offonsivo wen- ~nrry or u..
 pon, unless such shlVo shnll havq a ticket or license in writing from his ,re •rm•,
 owner or owners, or bo employed to hunt and kill ga111e, mischievous birds,
 or beasts ot' prey, within the limits ol' his .master's plantation, or shall be a
 wutchm11n in and over his owner's fiolds and plantation. And in case any
 white person shnll find nny slnvo using or carrying any gun or other offen•
 sive weapon, contrnry to the intent and meaning of this Act, he, she or
 they, mny lawfully soizo such gun or offensive weapon, and convert the
same to his, her or their own use; but before the property of such gooda
shall be vested in the person who slmll seize the 9Ume, such person shal11
 within forty-eight hours ul\er such seizure, go before tho next justice, and
 shall make oath of the manner of taking l and if such justice of the poace 1
 after such oath shnll be mndo, or if upun any other examination, he shall
 be satisfied that the said tire arms, or other offonsivo weapons, shall havo
 been eeizcd according to the· directions 11nd ngreoahle to the true intent and
 meaning of this Act, tho said justice shall, by certificate under his hand
and seal, declare them forfoitcd, nod thnt the property is lawfully vested in
 the person who seized the same; proi:idcd, that no such certificate shall be
granted until the owner or owners of such fire arms, or other offensive wea,
 pon, so seized, as aforesaid, or tho 01•orseer or overseers who shall or may
 have tho charge oC. such slave or slaves frotn whom such fire arms or other
offensivo weapon shall be taken or seized, shall bu duly summoned to shew
 cause, (if any such they have,) why the flame should not bo condemned
as forfeited, nor until forty.eight hours after tho service of such summons,
and onth made of the service thereof before the said justice,
    VII. An<l be it furtlicr enacted by tho authority aforeflaid, That the com. Patrol to b•
 maoder of every patrol shnll have power to keep tho men under his com. he kept in 11,.
 mand in good, order nnd demeanor during their term of service ; and in der, '
ease any patrol man shall misbehave himself, or neglect or disobey the or·
ders of his commander, he shall be subject to a fine of not more than two
dollars, to be imposed by the company court martial to which such offender
shall belong, to be paid to the commissior,JOrs of tho poor for tho use of tha
poor.                              .
    VIII. Be itfur/lier enadcJ, that if any captain of a patrol shall act dis,
orderly while on duty I so ns to defeat tho orderly performance or execution Cnraid or pa•·
of the patrol laws, agrvoaulo to tho true intent and meaning thereof, ho     rd
shall be liable to be returned by eithor of tho members of his patrol, or ne •
                                                                                    m•; bo

other person competent to give evidence, to the commanding offi,cer of the·
beat 1 who shall order a court martial for such trial, and upon sufficient evi.
do11ce being given of the charge, such captain of the patrol shall be fined
in the sum of five dollars, to be recovered and applied as aforesaid to the
uso of the poor,                                                    ..    ,      .
   IX. And be it further enacted by tho authority ,11foresaid, That 1t shall
be lawful for any perr,ion or_ per~ons hereby declared liable to perform patrol




                                                                             EXHIBIT 13
                                                                               0267
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540                                      STATUTES A'J' LARGE
   A, fl, 1810.                        Act, relating to the lllilitia.
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 SubslitUtl"I
                  duty, to send any able bodied whitr mnn, between the nges of eighteen and
 mav be em•       sixty, to perform patrol duty for him or them. And if any patrol man shall
 ployed,          neglect or refuae to perform the duty required of him by this Act, or to pro.
                  cure a suhstitute to perform the enmo, without a legal excuse, be shall
                  forfeit and pay n fine of two dollnrs for ench and every such default, and
                  ten per cent, on his gmcrnl tax for the year preceding paid by him on the
                  property owned by him in the district or parish in which he is a defaulter,
                  to bo inllicted by n court mnrtinl of tho company in which tho offender
                  may reside, to the u~e of the poor of tho district or parish,
                     X. Am! be itfurtl,er enacted by the nuthority aforesaid, That each cap.
  Return to be lain of patrol shall make a return, upon oatl,, of the performance of the
  niade.          duties of his office as commander of such pntrol, to the captain or officer
                  commanding the bent company, at the regular times required by this Act,
                  under the penalty of a fine of twenty dollars, to be recovered by indict·
                  ment.
                     XI. A~d lie it fi,rll11•r enactr,l by the authority nforesnid, That it shall be
  NIB\'P8 to he   lnwful for 1111 persons, as well patrol as other persons, to apprehend, and
  corrected,      modorntely correct with stripes, not exceeding twenty, all slaves who may
                  be found without thrir mnsters's plantations, without a ticket in the form
                  or of the import of the ticket before prescribed by this Act to be used by
                  p<1r,1011s who shall hnve the cure or management of nny slave or slnves; or
                  with a ticket, if such slave or slaves shnll have in his possession any gun,
                  pistol or othor otiensive weapon, unlos.s such slnvo shall be on lawful busi.
                  ness, or in company with some whito person, not less thnn ten years of age;
                  and nlao to clisp<·rHe nnd punish, ns nforesnid, all unlawful assomb.lios of
                  alnves, fwc nrgro1•s, muinttocs or mcatizocs, whrthor tho said as.sombly
                  shnll consist of all or nny of' tho persons above described. And prouidtd,
                  abrn,11a, that nothing heroin contained slrnll be conatrued to authori7.e any
                  person to hronk into or disturb nny church or place of public worship,
                  wherein shall be ns•embled the nrnmliers of any religiou• society, a majori-
                  ty of whom shall be white persons, at any time before nine o'clock in the
                  evening-unless the snid purson or persons shell have previously obtained n
                  warrant from a magistrate, authorizing him to do 80; and provided, also,
                  that nothing herein contained Rhall be construed so as to authorize any pa-
                  trol or other person to strike nnd correct, or beat in nny manner, any slave
                  or olnves who shnll be employed by the person hnving the charge of such
                  slave or slnves in any incorporated town, when such slave or slaves shall be
                  ahsont from the place of residence of such ~lnve or slaves, between day.
                  break 11nd nine o'clock in the evening, within the limits of such incorpora-
                  ted town, unless such slave or slaves shall be engngod in an unlawful pur-
                  pose.
                     XII. And lie it .fur/lier e11acted by tho authority aforesaid, That it shall
  Unlnwl'ul •••
  11f'mbl11gm1 to be lawful for any person or persons who may be ongngcd in dispersing any
 .be di,per,od, unlawful assembly of slaves, free negroes, mnlattocs or mestizoes, to enter
                  into all such places as the said persons mny be ns.semblcd at, and if resist.
                  ed, they mny brenk open doors, gates or windows.
                     XIII, And be it Jurlktr enacted by the authority aforesaid, That every
· Owners or
                  owner of any settled plantation shnll employ and keer on such plantation
  phrntation, to some white man en pa hie of performing patrol duty, under the penalty of
  employ white fifty cents per bend per month, for each and e,•ery working slave which
  persoud there-
  on,             mny be on such plnntation ; to be recovered by mdictment, one half to the
                  informer, the other half to the use of the State ; 7,rovidcd alway,, that
                  nothing herein contained shall be construed to affect any person or persons




                                                                                        EXHIBIT 13
                                                                                          0268
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                             OF SOU'l'H CAROLINA.                                                            0<11
                         Act8 relating to the Jf-Iilitid,                                         /1,1).1819,
                                                                                                 ~

who resides on his, her or their plantation for the space of seven months in
the year, or who shall employ less than ten working sin ves on such plan ta.
tion.
   XIV. And be it further enacted by tho authority aforesaid, 'fhat if any P•r.on• pro••·
person or persons shall commence an notion against any patrol or other r111in~ 1111d foil•
person, for any trespass by him committed in carrying into execution tho         0              l"~·t' r•r
provisions of this Act, and at the trial thereof shall foil to r<'cover any re'• 00 ' •·
damage, he, she or they shall ho liable and adjudged lo pay to the party so
sued treble costs
   XV. And b, it further enacted by the authority aforesn id, That tbo
Secretary of State be, and he is hereby, required to have a sutficient num. ~rcroinry ,of
her of copies of tho aforesaid Act printed, and by him to be transmittnd to      1~f,           ~.\~!" 1~'r°
the commandants of regiments, to ho by them distributed to the com.                       •
missioned officers of their respective regiments; and it shall l,e tho duty of
t~e captain or commanding ~fficer of each company, to rcud this Act to
his company, at least once in six months,
   XVI, And he itfurtlu.,- ,mai!led by the authority aforesaid, That all Acts
and parts of Acts repugnant to this Act, be, and the same are herebv, re. lie!•
pealed. Provided, nevertheleaa, that nothing herein contnined shall ho
construed so as to deprive tho Intendant nnd Wardens of nny incorporated
                                                                                 )~p~a\:d.      l~~: ••vi~·
town, of any power heretofore invested in them, to regulate und order out Proviso,
patrols within tho limits of such incorporation; but thnt such Intendant nnd
Wardens shall have as full power as they were invested with before tho
passing of tbiu Act..
   In the Senate Houee, the cightMnth day or Dccetnbcr, in tho ycnr of our Lord one
        thousand eight hundred u.nd niMtoon, and in the forty,(011rth .)'Cllr of 1he hulopcn~
        dence of the United Stutes of America.

           BENJAMIN HUGER, Pmident qfthc Senate.
           PATRICK NOBLE, Speaker qf the House qf Representative,.




AN ACT TO GIVE THE SAME COMPLIMENT OF OFFIOERS TO COMPANIES No. \!232.
  OF ARTILLERY IN TIIIS STATE, AS ARE REQUIRED BY TIIE LAWS NOW
  L'f   l"OBC& IN Tllll UNITllD STATllS SERVIC!l; AND FOR OTllllR PURPO•
  Sll8 TllllREIN HEN'rIONED,

   I. Be- it enacted, by the Honorable the Senate and House of Reprcsen.
tatives, now mot and sitting in General Assembly, and by the authority of
tho same, That from and after the passing of this Act, the several artillery
companies in this State Hhall have the some compliment of otlicers ns are
 now required by low in the companies of artillery in tho service of the
United States, to wit :--each company of artillery in this State shall con.
sis! of one captain, one first lieutenant, one second lieutenant, and one
third lieutenant,
   II. And be it furllter enacted by the authority aforcsnid, That immedi,
ately after the passing of this Act, elections shall be ordered and held, in
tho same manOllr already prescribed by law, for the purpose of filling the




                                                                                                 EXHIBIT 13
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               ollioc of third lieutenant in each and every company of artillery in this
               State.
                  III, An,l be it }itrtl,cr enaate,l by the authority aforesaid, That oo
               much of tho militia law ns requires tho encampment of artillery and ca val,
               ry omcers, be, nnd tho snme-is hereby, repealed.
                 lu tho Scnnie HouP:o, the - - - day or Doccrnbcr 1 in tho yenr or our Lord one 1hoa•
                       sn111I oight huudrr.d futd twenty, nnd in the forty.firth yenr of tho lnrlcpenJence
                       of tlrn United Sta.tea of America.

                          BENJ. HUGER, President ef tl,.c &nate.
                          PATRICK NOBLE, Speaker ef tlte HoUJe ef Represc11tatiue3.




No. 2~44. AN ACT AU'l'IIOll!ZINU ANOTIUJII IlEOIMEliT OF MrL!TIA TO Bil RAISE()
                 ,-\ND ullllANIZllD IN 1'11E D1sTll!CT OF PENDLETOl! j              AND    FOR    OTIIEB
                  J!URPOSNS,


                   WHEREAS, tho persons suhject to militia duty in the District of Pen,
                dloton, sullbr many inconvonionco9 in consequence of the Olltensive bounds
               of the Regiment in tho snid district, which have been greatly enlarged by
               the Into acquisition of territory from tho Cherokee Indians.
                   (. Be it tl,erf/ore enacted by the Honoruble the Sonnie and House of Re.
               prcsMtntivcs, now met and sitting in General Assembly, and by the au,
               thority of tho same, Thnl tho throe regiments of militia in the district of
               Pendleton, be, nnd the snmo arc hereby, required to be so divided, as to
               form four regiments, as oqunl in strength ns practicable, each regiment to
               consist of at lens! eight companies.
                   II. And be it .fu.rllwr enacted •by the uutherity aforesaid, That the fol,
               lowing persons be, and they are hereby, appointed commissioners to divide
               tho snid regiments, nnd to make another regiment,ns directed by this Act,
               viz :-Alcxandnr Moorhead, Poter Keys, Patrick Norris, John C. Kilpat.
               rick, Rohurt Stribling, Thomas Stribling, George Rankin, John Esly, and
               Andrew Humbleton.
                  Ill. And be it .further enacted by tho authority aforesaid, That if the
               snid commissioners shall refuse or neglect to act, so as to carry this Act
               into etfoct, then it shall be the duty of the brigadier.general commanding
               tJnid regiments, to appoint three suitable and proper persons from each of
               tho prfsortt regiments, to lay out and designate the bounds and limits of
               tho said now regiment ; nnd also, to make alterations in the lines of the
               present existing regiments; provide,l, they do not niter the lines of beat
               compnuies, or divide any established bent company.
                  IV. And be it .fiirilwr enaated by the authority aforesaid, That it shall
               ho the duty of the fa:d commissioners, so soon as they have ma<le a divi,
               sion and formed snid regiment, to report the same to the brigadier-general
               commanding snid regiment, and to the several colonels commanding the
               same, which snid report shall designate the companies composing the said
               soveml rcl(imonts ; and it shall be the duty of the said brigadier,general,
               immedintuly uftur tho receipt of the said report, to order olcctiollll for such




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field officers a.a it shall be necessary to create in consequence of raising the
said new regiment; and where the present field officers shall fall into tho
Mid new regiment, they shall have command in the same.
   V And be it fort.her enacted by the authority aforesaid, That the said
new regiment shall be ranked the Forty.second Regiment of the South
Carolina Militia, and be attached to the first brigade of tho first division of
the same.
  In tho Souote ffouso 1 the twentlnth day orDect!tnher, in tho year ofuur Lord one th01Hmnd
        eight hundred and twenty, and in tho forty,fiflh year of tho lodcpm1dence of
         the United States of America.

            BENJAMIN HUGER, Pruidrnt Qf the Senate,
            PATRICK NOBLE, Speaker Qf tl1e Houae Qf Representatives.




AN ACT          AUTRORIZINo       AJoTnnER        REGIMENT       OF   MILITU       TO   nE     No. 2271.
   IUISBD AND ORGANIZED IN THE DISTRICT OF BARNWELL j                           AND     FOR
   OTHER PURPOSES,

  WHEREAS, the porsons subject to militia duty in tho District of Barn.
well, suffer many inconveniences, in consequence of the extensive bounds
of the Regi111ent in said district.
  I. Beu theref«e enacted by the Senate and House of Representatives,
now met aQd sitting in General Assembly, and by the authority of tho
same, That tho regiment of militia in the district of Barnwell, be, and the
same is hereby, required to be so divided .as to form two regiments, as
equal in strength as practicable I each regiment to consist of at lens! seven
companies,
   n.   .And be it further enacted by the authority aforesaid, That the fol-
lowing persons be, and they are hereby I appointed commissioners to divido
the said regiment, and to make another regiment, a8 directed by this Act,
viz :-William Walker, William McMillian, William Bush, Barnot H.
Brown, and James W. Maxwell.
    III. .And be it further enacted by the authority aforesaid, ,That if tho
said commissioners shall refuse or neglect to act, so a.a to carry this Act
into effect, then it shall be the duty of the brigndier-goneral commanding
said regiment, to appoint three suitable and proper persons from said regi.
men~, to lay out and designate the bounds and limits of snid new regi.
ment.
   IV. Aiul be it farther enacted by the authority aforesaid, That it shall
be the duty of the said commissioners, so soon as they have made a divi-
sion and formed snid regiment, to report the same to the brigadier.general
commanding said regiment, and to the several colonels commanding the
same, which said report shall designate the companies composing the ·said
two regiments; and it shall be the duty of the snid brignd1or.general, im.
mediately after the receipt of the said report, to order elections for such
field officers as it shall be necessary to create in consequonco of raising th11




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                said now regiment; and where the present- field officers fall into the said
                new regiment, they shall command in the same.
                   V. And he -it ,f,trtlu.>r .enaliled by the authority aforesaid, Tbat the
                said new regiment 8hall be ranked Forty.third Regiment of South Caroli.
                na Militia, and be attached to the third brigade of the second division of
                the 8ame.
                   In 1he :::!ennte Huut-c 1 the twentieth day of Decembt.r, in the year o( our Lord one tbou
                                                                                                            0



                        ·eund eight hundred and twcuty•one, nnd in the forty.sixth year of the ludcpendenct
                        of the United States of America.

                           BENJAMIN HUGER, Preai<lent ef the Senate.
                           PATRICK NOBLE, Speaker ef the H0tue ef Repre,uetaiiw.




 No. 2294. AN ACT TO CONSOLIDATE AND E(lUALIZE CERTAIN Mg,ITIA Co~PANIES;
            TO AUTIIORTZE TUE SALE OF SMALL All')l'.B ; AND THE INBPRCTION OF
            MueKETB MADE BY ADAM CADBUTH, PnEPABATORY TO THEm BEI~G
            l'UnCIIAS~JD DY TUE STATE, ,
                   I. Be it enacted by the Honorable the Senate and House of Represents.
                lives, now me! and sitting in General Assembly, and by the authority of
                the same, That from and after the passing of this Act, there shall be but
                one beat company in each of the parishes of Christ Church and St. James
                Santee; and the two companies in each of the said parishes shall be coo•
                solidated into one.
                   II. And be it further el1flCted by the authority aforesaid, That the per.
                eons residing in the parish of Saint James Santee, entitled to vote for
                company officers, shall meet at the head ofWigfall's, (now Cordes's cause.
                way,) on the 'third Monday in January next, for the purpose of electing
                officers for the company within said parish, which place is hereby declared
                to be the muster ground of the said company,
                   II[, And be it further enacted by the authority aforesaid, That the
                eleven mile post on the Stage.road from Charleston to Georgetown, shall
                be the place of meeting of the company within tho parish of Christ
                Church ; and an election shall be held at the said place on the third Moo.
                day of January next, for the election of officers for the said company.
                   IV. And be it .further enacted by the authority aforesaid, That Thomas
                Gaillard, Thomas Porcher, jr,, Peter Broughton, Philip Porcher, and
                Samuel Porcher, or any three of them, shall be, and they are hereby, ap.
                pointed commissioners to alter tho dividing line between the upper and
                lower beat companies in the parish of Saint John's Berkly, for the purpooo
                of making said beat companies equal; and the said commissioners, or any
                three of them, after altering the said line, shall make a report of their pro-
                ceedings in the premises, to the colonel or other officer commanding the
                regiment in which the said companies are situated,
                   V. And be it .further enacted by the authority aforesaid, That as soon
                as practicable after the passing of this Act, it shall be the duty of the




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colonels or other commanding officers of the 16th and 17th regiments in
the 4th brigade of South Carolina Militia, to divide the company of militia
on Charleston Neck, into four companies, as nearly equal in number as·
may be ; two of which companies shall be attached to tho 16th and the
other to the 17th regiment/
   VI. And be it farther enactea by the authority aforesaid, That the Gov.
ernor and Commander-in-chief do cause an inspection to be made of the
muskets mnnufo.ctured by Adam Carruth, under a contract with the Gene.
ral Government, and now the property of William Young, Barksdale Gar.
rlson, John Charles, and Roher! Anderson; and if on inspection the said
muskets arc approved, he is hereby authorized to receive in payment of
the debt duo by the said William Young, Barksdale Garrison, John Charles,
and Robert Anderson, as securities of the said Carruth, any number of tho
said muskets not exceeding one thousand, at such price as was contracted
to be paid for muskets to the said Carruth by the Government of the United
States.
   VII. And be it.forth/fl' enacted by the authority aforesaid, That the Gov.
ernor and Commander.in-chief be, and he is hereby, authorized and em.
powered to cause to be sold, to any of the militia of this State, any arms
belonging to the State, in any of the public arsenals, at such price as the
said arms may have cost the State; and the Governor is hereby au tho.
rized lo lay out the money received from the sale of any arms as aforesaid,
in the purchase of other arms.
    In 1he SenolO House, the twen1y-firel doy of December, In tho year of our Lord one
       lhoue:nnd eight hundred and twenty-two, and in the forty-seventh year of the Inde.
       pendenco or the United States of America,

          JACOB BOND l'ON, Pre:,ident qf tlM Senate.
          PATRICK NOBLE, Speakerqf the Howe qf Repre•entati11ea,




AN ACT To REGULATE TIIE PERFORMANCE oF PATROL DUTY oN Na, 2311.
                  CUARLESTON NEoII'.,

   WHEREAS, the Local situation of Charleston Neck, from the bounds
of the city of Charleston to the northern boundary of St. Philip's P11rish,
renders the present existing patrol laws insufficient to protect the property
of the inhabitants of said neck, and to controll and keep in order the 011.
merous black population of the same, and others travelling to and from the
city within the aforesaid limits.
   I. Be it enacted by the Honorable the Senate and House of Represen.·
tatives, now met and eitting in General ABBembly, and by the authority Patrol to be
of the same, That it shall be the duty of the officer or officers command. formed.
ing the militia company or compames on Charleston Neck, within two
months after the passing of this Act, tel cause bis or their company or
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                companies to be divided into convenient patrols, in such manner as a
                majority of snid company officers shall direct; which division, when made,
                shall be permanent, until altered by a majority of snid officers; and in case
                tho officers of such company or companies &ball neglect or refuse to per-
                form the duty hereinbefore required of them, each shall forfeit and pay the
                sum of thirty dollars, to be recovered in 1rny court having competent jurie-
                diction, to be paid to the commissioners of the Cross Roads of Charleston
                Neck, for the use of the said roads,
                   II. And be it .further enacted by the authority nforcsnid, That it shall be
Rolls 10 1,.,   tho duty of the commanding officer or officers of the company or comJNl-
mnJe 0111,      nie~ aforesaid, to cause to be made out a roll for each patrol district,
                which shall include the names of all the free white mole inlmbitants above
                the ago of eighteen years, and under tho age of sixty, residing within the
                said patrol district, except Ministers of the Gospel of any soct or dcnomi.
                nation whatsoever, and all females owning ten slaves above the age of ten
                years. And all pc,rsons having settled farms, or a house and lot with five
                or more slaves above tho age of sixteen years, residing within the l!tlid
                company or companies, shall he liable to perform the patrol duty hereinaf.
                tor prescrilicd.
                   Ill. And he it enacted by the authority aforesaid, That it shall be the
Leaders of      dnty of tho commending officer or officers of the said company or compa-
patrola 10 b. nies to appoint, which appointment shall be in writing I signed by such
appointed,      commanding officer or officers, some pt udont and discreet person as lender
                in each patrol district, who shnll perform the duty hereinafter prescribed,
                until tho expiration of two months from the date of such appointment;
                and in case the person appointed shall refuse to accept such appointment,
                or the commanding officer or officers of the said company or companies,
                or the lender or leaders of the patrol, shall fail to perform any of the duties
                required of them by this Act, they shall, respectively, forfeit and pay the
                sum of twenty dollars, to be recovered in any court having competent
                jurisdiction, to be paid to the commissioners of tho Cross Roads of Charles-
                ton Neck, for the use of tho snid roads; provided alway,, that no pcirson
                shall be compelled to serve more than once in every twelve months, as
                lender of any patrol.
                   IV. ·And be it enacted by the authority aforesaid, That it shall be the
T               duty of the leader of each patrol, at least as often as twice a month, to
twii~'.: !~~d,. call out any number of persons under his command, and to ride patrol
                through Charleston Neck, and to take up all slaves who may be found
                within its limits, nod without their owners's inclosurcs under suspicious
                circumstances, or at a suspicious distance therefrom, and to correct nll
                such slaves by a moderate whipping with a whip or cowskin, not exceeding
                twenty l11Shes, unless the said slave shall have a ticket or lotter to Rhew tho
                reasonableness of his or her absence; and if any white man shall wanton.
                ly bent or abuse any slave, quietly and penceahly being in his or her
                owner's inclosure, or found any where without tho same ·with a lawful
                ticket, he shall forfeit the sum of fifty dollars, to be recovered by the owner
                of said slave, and to his use, by action of debt, besides being liable to the
                owner in an action of trespass for damages.
                   V. And be it enacted by the authority aforesaid, Thnt tho said patrols
Powers and      shall have power, within the limits of Charleston Neck, and they are here-
Jutieo,         by authorized and required, to enter into any disorderly house, or into any
                vessel or boat, suspected of harboring, or unlawfully trafficking or dealing
                with slaves, and if resisted, to break open doors, windows or locks, and to




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apprehend and correct or commit, all slaves found there contrary to tho
true \'ntent and meaning of this Act ; and the leaders of said patrols are
further authorized and required to give information of such white persons,'
or peraone of color, as may be found, in such house, vessel or boat, or
place, unlawfully trading or trafficking with slaves, to any lawful magis.
trate; and to deliver to tho said magistrate such produce or articles for
trafficking as may be found in such house, vessel, boat or place, to be dis.
posed of according to law.
             oe
    VI, And it enacted by the authority aforesaid, That the leader of
every patrol shall have power to keep the men under hie command in good Penally o•
order nnd demeanor during their time of service; nnd in case any patrol        ti:~
                                                                                  0
                                                                                   ,!0 \~i:.
man shall misbehave himself, or neglect or disobey the orders of his com- hove. '
mander, he shall be subject to arrest, at the discretion of the said leader,
and be liable to n fine of 11ot more than two dollars, to be imposed by a
court consisting of the officers of the company to which he belongs, to be
paid to the commissioners of the Cross Roads of Charleston Neck, for the
use of the said roads.
    VII. And be it furtlter enacted by the authority aforesaid, That if any
leader of patrol shall act disorderly while on duty, so as to defeat the or- Lendcn, or r•·
derly performance or execution of the. patrol law, agreeable to the true },7,!d may be
intent and moaning of this Act, he Hhall be liable to be reported by any of         '
the members of his patrol, or other persons competent to give evidence, to
the commanding officer of the company to which he is attached, who shall
order a court, consisting of the officers of said company, or of any three
officers of the regiment to which sach company is attached, to try him,
and upon sufficient evidence being given of the charge, such leader of the
patrol shall be fined in the sum of ton dollars; to be paid to the commission-
ers of the Cross Roads of Charleston Neck, for the use of the said roads,
    VIII. And be it further enacted by the authority a_foresaid, That it shall Fin• for not
be lawful for any person or persons hereby declared hable to perform patrol performing
duty, to sen<! any able bodied white man, between the age of eighteen and ptttrol duty,
sixty, to pcform patrol duty for him or them ; and if any patrol man shall
neglect or refuse to perform the duty required of him by this Act, or pro.
cure a substitute to perform the same, without a legal excuse, ho shall
forfeit and pay a fine of two dollars for each and every default, and ten
 per cent on his general tax for the year preceding on property owned by
him on Charleston Neck, to be inflicted by a court composed of the officers
of the company to which ho is attached, a majority of whom shall be
81lfficient lo form such court, or any three officers of the regi mont to which
tho said company is attached, and to be collected by the collector of the
 regiment, who eball have as full power and authority to collect the snmo,
as he now bas or may hereafter have to collect militia fines, under any
 law which now is or may hereafter be of force in this State ; to be paid
 to the commissioners of the Cross Roads of Charleston Neck, for the use
of the said roads.
    IX, And be it farther enaclecl by the authority aforesaid, That it shall R
be the duty of each leader of patrol to make a return upon oath of them:~~'." 10 00
 performance of the duties of bis office, to the commanding officer of the
 company to which he belong•, once in every two months, under tho penal.
 ty of a fine not exceeding twenty dollars; to be paid to the commissioners
of the Cross Roads of Charleston Neck, for the use of the said roads,
    X. And be it further enacted by the authority aforesaid, That nil per- 81 ave•t , 1
sons of color, (Indians in amity with the United States excepted,) negroes, corrected!'°




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                     mulattoes, or mestizoes, found within the limits of Charleston Neck, shall
                     be taken and considered as slaves, and shall be liable to such correction or
                     other punishment to which by this Act alavee are liable, unless such per•
                    sons of color shall produce their free papers, or copies of the same, or such
                     other gQOd and sufficient evidence of their freedom as may be satisfactory
                     to the leader of the patrol ; pr<t11ided, mverthele,,, that free negroes, mulat.
                     toes or mestizoes, found within Charleston Neck, and without their 11wn
                     or their employer's enclosure, not having a regular ticket from their guar.
                     dian, after the hours of nine o'clvck, P. M., from the twentieth of Septem.
                     bor to the twentieth of March, and ten o'clock, P. M., from the twentieth
                     of March to the twentieth of September, in each and every year, shall be
                     liable to the same punishment to which by this Aot slaves are liable.
                        XI. And be it furtltcr enacted by the authority aforesaid, That it shall
  No ehop to ho not be lawful for any owner or occupil.nt of a grooery store or retail shop,
  ~if; ~Pci~c"J'.er  with(n /he limits ?f Charle~ton Neck, or of     '!'~Y
                                                                         store 1 shop or place within
                     the hmtts aforesatd, who~elD are vended spmtuoue liquors, to keep open
                     tho said stores, shops and places, for the purpose of trade, or to trade,
                     traffiok or barter therein, with negroes or persons of color, on the Sabbath
                     day, or any other day after the hours of nine o'clock, P. M., from the
                     twentieth of September to the twentieth of March, and ten o'clock, P. M.,
                     from the twentieth of March to the twentieth of September, in each and
                     every year. And in case any owner or occupant of.any such store, shop or
                     place, shall transgress or violate this Act, by keeping open the said stores,
                     shops or places, or by trading, trafficking or bartering therein, with any
                     negrtes or persons of color, on the Sabbath day, or on any other day after
                   . the hours of nine o'clock, P. M., from the twentieth of September to the
                     twentieth of March, and ten o'clock, P. M., from the twentieth of March
                     to the twentieth of September, in each and every year, he, she or they,
                     shall forfoit and pay the sum of fifty dollars, to be recovered in any court
                     having competent jurisdiction; to be paid to the commissioners of the
                     Cross Roads of Charleston Neck, for the use of the said roads.
                        XII, And be it further enacted by the authority afore~id, That every
  Patrol to be person liable to perform patrol auty on Charleston Neck, shall provide for
· r::::.'.ded with himself, and keep always in readiness, and carry with him on his patrol
                     service, one good gun or pistol, in order, with at least six ball cartridges for
                     tho snme, or a cutlass, under the penalty of two dollars, and ten per cent
                     on his general tax for the year preceding, on property owned by him on
                     Charleston Neck, for want of any such arms or ammunition; to be recov-
                     ered and appropriated in the same manner as by this Act fines fur non.
                     performance of patrol duty are recovered and appropriated.
                        XIII. Ar11l be it far/Mr enacted by the authority aforesaid, That the
  Fines to be        commissioners of the Cross Roads of Charleston Neck shall have power
  paid to th&
  corn1niaelonera to demand and receive all such fines and forfeitures, and other monies and
  of 1he Croes things whatsoever, as are nppropriatc"tl by this Act to the use of the said
  Ro•d•.             Cross Roads ; and in case of refusal to deliver or pay the same, to com,
                     mence and prosecute nny lawful action for the recovery thereof.
                        XIV, And be it furtl,er enacl<'d by the authority aforesaid, That tho
  Rec~rd or pro-commanding officer of the militia company or companies of Charleston
 k:~~mg•      to be Neck, shall have power to appoint a secretary, whose duty it shall be to
         ·           prepare and lay before the court or courts hereby established, all neceS881}'
                     papers, and to keep a record of the proceedings of the same, which reoord
                     shall be open to the inspection of any citizen interested therein; for whicb
                     services, the said secretary shall be excused from tho ordinary _patrol duty.



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   XV. And be it jurtlier enactea by tho authority aforesaid, That tho
leader of each patrol district shall have power to appoint a person whose !':,~:o~~J•
duty it shall be to summon out the patrol at the times and places appointed            •
by the leader, and to extend such orders and commands as may be given
to him by the said leader of patrol ; for which services, the said r,orson
shall be excused from ordinary patrol duty.
   XVI, And be it fur/h;,,r enacted by the authority aforesaid, That it shall
be the duty of the commanding officer of each militia company on Chnrles.1n\0 rm~\ionof
ton Neck, and of all lawful magistrates within the limits of Charleston !!~:,7,~'/ies to
Neck, to give information to the respective leaders of patrol, of any un. bc givon 1_0 th•
law_ful assemblies of ~egrocs or persons of ?olor, w~ich may_ come within ~\\(~~;~ nd111 K
tbetr knowledge; which leaders, on rece1vmg such mformahon, shall turn
out their patrols and perform tho duties prescribed by law; and in case
any leader of patrol shall neglect or refuse to·turo out his patrol, and per-
form the duties required by law, after receiving such information, he shall
 forfeit and pay a sum not exceeding twenty dollars ; to be paid to the com.
 missioners of the Cross Ronde of Charleston Neck, for the use of the said
roads,
    XVII. And he it further enacted by the ~uthority aforesaid, That if any Person• '°"""
person or persons shall commence an nchon ngamst any pntrol or patrol cu ting ••~ f•il·
 man, for any trespass by him committed in carrying into execution the ing, to pay
provisions of this Act, and at the trial thereof shall fail to recover any treh10 co,te.
damage, he, she or they shall be liable and adjudged to pay to the party so
sued treble costs.
    XVIII, And be it enacted by tho authority aforesaid, That all Acts Repoaling
and parts of Acts repugnant to thie Act, be, and the same are hereby, olau,e.
repealed.                                          ·              •
   In the Sen•te Hou,e, the 1wentieth day of December, in the year of our Lord one
       thousand eight hundred and twonty•tbN>tt, and in the forty ..ightb year of the In•
       de11~ndence of the United States of America.
          JACOB BOND I'ON, Pr&ident qfthe Senate.
          PATRICK NOBLE, Speaker qf the HQlue ef Repre.!entativea.




AN ACT TO REQUIRE THE OFFICERS OF EAOH BRIGADE OF MILITIA TO No. 2818,
    ASSEMBLE IN BRIGADE ENOAMP.MENTB; AND FOR OTHER PURPOSES,

   I. Be it enacted by the Honorable the Senate and House of Reprcsenta.
tives, now met and sitting in General Assembly, and by the authority of
the same, That from and after the passing of this Act, it shall be the duty
of all the commissioned officers of the several different brigades throughout
this State, under the rank of brigadier, to assemble in some central and
proper pince, within their respective brigades, in full uniform, and e1uipt
with a musket, bayonet, cartoucb.box and twenty.four cartridges, at east
once in two years, and there be kept on duty and in the practice of the
manual exercise for a time not exceeding six days nor less than three days,




                                                                                            EXHIBIT 13
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050                                        STATUTES AT LARGE
 A,D, 1823.                              Acu relating to the Militia.
 ~

               as the major-general of ep.ch division may think fit and proper; and it shall
                be the duty of the several brigadier-generals to attend the officers so 1111Sem-
                bled within their respective brigades, and to lead, train, discipline and ma-
                nmuvre the said officers, according to the system of Scott, or any other
                system which may be adopted by Congresa; -and it shall be the dqty of the
                adjutant-general and brigade-majors, within their respective brigades, to at.
                tend such musters, and be subject to orders as on reviews; and it shall also
                be the duty of the major•generals, within their respective divisions, to attend
                at the suid musters. Which said musters of the officers, as aforesaid, sbal_l
                be ordered by the Governor and Commander.in.chief, and at such times
              · as he shall deem fit and proper I for tho purposes intended by this Act. And
                in case any of the officers required by this Act to attend the musters afore-
               said, shall foil or neglect so to attend, the said officers, respectively, so
                foiling or neglecting, shall be subject to the fines and forfeitures following,
                that is to say: a major-general shall be fined in tho sum of sixty dollars; a
               brigadier-general in tho sum of fifty dollars ; 11 colonel io the sum of forty.
               dollars ; a major io the sum of thirty dollars; a captain I lieutenant or en.
               sign, in the sum of twenty dollars; and that such defaulter or defaullcra
               shall be tried in the same manner as is now directed by the militia laws of
               this State, and the fines applied to the use of the brigade in which aucb
               fines and forfeitures ha ye accrued.         ·
                  JI. Be it.furtlter enactetl, That if any beat company of militia shall ne.
               glect or refuse, for three months, to elect officers to command said compa-
               ny, it shall bo the duty of the colonel, lieutonant•colonel or major com·
               mantling tho regiment or battalion to which the said company mny belong,
               to divido the said company, and attach it to the nearest beat companies
               thereto, until the said company shall elect officers to command the same,
               and those composing such company are hereby required to do duty in the
               beat company to which they shall be attached.
                  III. And he it euacted, That the officers commanding the 2d company of
               the l!d battalion of the 19th regiment of South Carolina militia, shall here-
               after hold their company musters at Brown's Tavern, in St. John's pari•h,
               Berkley.                        .
                 In tho Sennte House, tho twentll,th do.y of Decoiuher, in tho yonr of our LorJ one tho1t-
                      11and eight hundred and twcnty•throe, and in the forty-eighth year uf the (n,fop<'D
                      denco of the Uuited Stales trl Amorlco.                     ·

                         JACOB BOND l'ON, President <if the Senate.
                         PATRICK NOBLE, Speaker <if the House <if Represe11tatfru.




;No. 2341. AN ACT TO REPEAL THE FIRST SECTION oF AN AcT ENTITLED " AN
             ACT TO REQUIRE TJIE OFFICERS OF EACJI BRIGADE OF MILITIA TO AS•
             SEHDLE IN BRIGADE ENOAl!PHIINTS 1 AND FOR O~JIER PURPOSE$;"
            ·PASSED 'rHE TWENTIJITJI DAY OF DEOEHBER 1 1823 i AND FOR OTDEII
             PURPOSES,

                WHEREAS, by the first section of an Act of Assembly, passed on tho
              twentieth day of December, in the year of our Lord one thousand eigbt



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                                                                                           EXHIBIT 13
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                         Acta relallng      t,o   the Militia.                                ____,_
                                                                                              A, D. 1821,

hundred and twonty.threo, all tho commissioned officers in 'ench brigade of
militia in this Stnto were required to meet nod nssomble nt some Cf.'ntral
and proper pince within their respective brigades, in full uniform, and cquipt
as therein directed, nt lenst once in two years, and there to be kept in tho
practice of military exercises for a time therein specified. And wlwrcaa,
the roid law hns nol only efiootcd no beneficial purpose, but is inconvenient,
oppressive nod burthensomo to the officers of the mililin of this State :
   J, Be it therefore enacted, by the Honorable the Seonte and House of
Representatives, now mot nnd sitting in General Assembly, nod by tho au-
thority of the same, Thnt tho first section of an Act entitled "An Act to
require the officers of each brigade of militia to assemble in brigade on·
campmouts, and for other purposes," be, nnd tho same is hereby, repealed.
   II. And be it further tmactecl by tho authority aforesaid, That tho Bonu,
fort volunteer company of artillery ho, nnd the same arc hereby, exempted
from attending any regimental reviews ; provided, tho 'said company, in
addition to the days nod times now required by lnw, do, on tho days and
times when the regiment to which the said company is now attached shnll
parade for review and exorcise, also assemble at the usual muster ground
of said compnny, for drill, exercise nnd instruction; nnd provided, also,
that the members of said company shall at no time exceed sixty.four men,
rank and file.
   III. And be it further enacted by the authority qforosnid, That the fifth
section of an Act passed on the twenty.first day of December, in the yenr
of our Lord 1822, entitled "An Aot to consolidate and equnlize certain
beat companies; to authorize tho sale of small arms, nnd tho inspection of
muskets made by Adam Cnrruth, preparatory to their being purchased,"
be, nnd the same is hereby, ropealod,                    ·
   IV. And be it further enacted by tho authority aforesaid, That all that ,
part of the Charleston Nock company which lies on the cast side of King
street, up lo the cross roads, nnd thence on tho oast side of the main road
to the quarter house, be and constitute one company; and that part of said
company which lies on tho wost side of said line, be and constitute an•
other company ; both of which companies shall continue attached to the
sixteenth regiment.
   V. Be itfurtlwr enacted by tho authority aforesaid, That the commis.
sioncd officers of the Charleston Nock company may select in which of tho
companies hereby created they will hold their commissions, and they shall,
respectively I hold nod ho confirmed in tho rank and commission which they
now hold; nn<l it shnll be the duty of the colouol or commanding officer of
the 16th regiment, as soon hereafter as may be practicable, to order an
election for officers in the other company.
  In the Sonnto llouao, tho HcventeC'nth duy of December, in tho year of our Lord ono
        thouannd eight hundred nnd twenty-four, and in the forty-ninth year of the Indepen-
        dence of the UnitP-d Stntee of America.
           JACOB BOND l'ON, Prendcnt qf the Senate.
           JNO. B, O'NEALL, Speaker qfthe H<nUe of Rcpreaenlativea,




                                                                                               EXHIBIT 13
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552                                         STATUTES AT LARGE
 A.-D, 1827•                             Act,1 relating to tM Militia,
....-v-.,
No, 2406, AN ACT TO ALTER AND DEFINE Tl!E LINE BETWEEN THK 34TH A..'iD
           35•r11 REoIMENTB OP Tl!£ SouTu CAROLINA MILITIA; AND FOR OTIIEII
           PURPOSES.
                                                                  I
                   I. Be it enacted, by trni Honorable the Senato and House of Representn•
               tivos, now met and sitting in Gonernl Assembly, and by the authority of
               the same, Thnt the following shall hereafter bo the boundary between the
               34th and 35th regiments of the South Carolina militia, that is to say: the
               line shnll commence on Pacolet river, opposite Sandy Run; thence down
               said river to Thomas Taylor's; thence to William Huckhy'•, son of Ro.
               bcrt Huckhy r thence down the old regimental line lo Broad river, near
               tho mouth of Thicketty creek ; thence up said Thickotty creek to J oho
               Jetrcrs's ford, on the snid Thicketty creek; thence along the main road, by
               Hancocksville, to the Grindal Shoals, on Pacolet river; and tbat the persons
               liable to perform militia duty, residing within the aforesaid limits, be
               formed into a beat company, be, and tho same is hereby, attached to the
               thirty,fifth regiment.                                    .
                 . II. And be it further enacted', That the lower battalion of the se\·enth
               or Glascock's regiment, shall be divided into fivo beat companies, instead
               of four, ns heretofore : 11nd thnt Col, Thomas Glascock, Lieut. Col. John
               Marsh, and Major Andrew P. Jones, are hereby appointed commissioners
               to make such di vision ;· the said commissioners to report to the brigadier-
               general the di vision so made, and on bis approval of the same, the proper
               officer shall forthwith order an election of officers for the additional beat
               company hereby authorized to bo laid off; provi<led, that no officer in
               command shall thereby have his commission vncoted,
                  ln the Senato Hou11e 1 tha 1won\y.. rourth day of November, ia the year or our Lord one
                       thouoand eight hundred and twenty,oeven, and in tho fifiy-second year of the Ind•·
                       pondeace of tho United States of America.
                          JACOB BOND l'ON, Prea-ident eftke Senate,
                          JNO. B. O'NEALL, Speaker of the H=e of &prrm,tatfru.




No, 2410, AN ACT TO ENLARGE TUE REORUITING :LIMITS OP TUB WINNBUOBOtGII
                      LIOHT INFANTRY VOLUNTEER COMPANY,
                   I. Be it enacl.cd, by the Honorable the Senate and Honse of Representa·
                tives, now met and sitting in Goneral Assembly, and by the authority of
                the same, Tho! hereafter it shall and mny be lawful for any person residing
               -within Fairfield district, and liable to do militia dutv, to join and become a
                member of the Winsborough- Light Infantry Volunteer Company, in the
                same manner ns snch person would be entitled to do, were he a residoot of
                that regiment to which said company is attached,
                 In the Senate Hou,e, the ninote,ntb day of December, In the year of our Lord ono thouUJ>d
                        eight hundred and t1renty.oeven 1 nod in the Afiy,oecond year of tho lndepe.,
                        dence of the United State• of America.

                          JACOB BOND I' ON, Prentknt ef the Se11ate.
                          JNO. B. O'NEALL, Speaker ef tlie Hoiue ef Repruentativu.



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                                                                                            EXHIBIT 13
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                         · Acta !elating to the Militia,                                           A,D, 1628,
                                                                                                   ~

AN ACT TO RE0ULATE TIIE ELECTION oF CAVALRY AND ARTILLEAY No, 2450,
                        OFFICERS TIIROUGIIOUT TIIIS STATE,

   I. Be it cnar,lcd, by the Honorable the Senate and House of Represcnta.
tives, now met and sitting in General Assembly, and by the authority                         or
the same, That whenever any vacancy shall tnlw pince in the <:ominiss1on
of lieutenant.colonel of cavalry or artillery, the major then in commission
in tho same regiment, shnll be immediately commissioned liclltenant·coloncl,
   lo tho Senate Hou!le, tho t~cntieth d11Y o( becemb~r, in tho yonr of our Lord one thou ..
        Bn.nd eight hundrert nnrl twomy•eight, and ill the fifty.tbir<l yonr or the lnJependonce
        of tho United States of Americu.

           H. DEAS, President ef the Senate.
           B. F. DUNKIN, Speaker qf tlw llousc ef Repmcntativea,




AN ACT TO Rt:ouLATE THE coLLE0TI0N oF MILITARY FINES; AND FOR                                      No. 2479,
                                    OTHER PURPOSES,

   I. Be it enact,?d, by the Sonnie and House of Roprcsentntivcs, now mot
and sitting in General Assembly, and by the authority of the same, That
all fines hereafter imposed on any commissioned officers for ne~lect 0£ mili.
tary duty in any battalion, regiment or brigade, shall be collected by the
sheriff of the judicial district in which such delinquent mny reside, and
for the performance of this duty the sheriff shall receive twenty.five per
cent. on all monies so collected; except in the parishes of St. Philip and
St. Michael, where fines shall be collected ae heretofore; the collector of
fines in which pince shall be entitled to the like compensation as is herein
provided for the sheriff.
   II. And be it further enacted by the authority aforesaid, Th11t it shall be
the duty of the officer ordering any courts martial, to furnish the sheriff,
within fifteen days after any fine has been imposed on any commissioned
officer, with executions against such d.clinqucnls; nod tho said sheriff,
within thirty days after receiving such executions, shall notify each delin•
quent of the amount of his fine, and to requite payment thereof; and if
the said delinquent shall neglect or refuse to pay the same within fifteen
days after such notification, tho said sheriff shall proceed on this execution,
and shall arrest the body of the said delinquent for the satisfaction of tho
said fine, unless the said delinquent shall point out sufficient property where-
of to levy and satisfy such fine so imposed as aforesaid.                 ,
   III. And be it furtlter enacted by the authority aforesaid, That it shall
be the duty of the several tax collectors in this State, at the request of any
militia officer, to furnish such officer with the amount of the last general
lax of any defaulter liable to be fined as aforesaid; but nothing in this Act
shall be construed to deny the right of appeal to any officer who may con'
coive himself aggrieved by the sentence of any court·martial,
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                                         S'fATUTES A'l' LARGE
A,D,JIJW,                             Acta relating to the .Militia.
.._..,_,,
              IV. And be it f1'rllw~ enacted by the authority aforesaid, That the she-
            riff with whom any such execution shall be lodged, shall be bound to exe-
            cute and return the same to the paymaster of the regiment, within three
            months from the time of tho lodgment thereof, and on default, he shall pay
            the sum of fifty doUars, to be recovered by Hummary process, in the namo
            of the State of South Carolina; one half of which shall be paid to the in-
            former, and tho other half to the use of the regiment.
               V. An,l be it ,further enacted by the authority aforesaid, That it shaU be
            the duty of the sheriff within ten days after demand, to pay over all mo-
            nies collected by him, pursuant to this Act; and, in default thereof, an
            action may be brought agRinst him, in the nnme of tho regimental paymas-
            ter, and the amount so collected, recovered against him, with interest at the
            rate of six per cent. for each month, from the time of demand.
               VI. And be it further enacted, That if any member of the magazine
            guard, at Laurel Island, on Charleston Neck, or of the guard to be hereaf.
            !er, or at this session, established at Georgetown, shall be hereafter intoxi.
            cated, or disorderly or diaobedient to lawful orders, he may be arrested and
            confined, by order of the commanding officer of said guard.
              In thr. Senate Housn, tht1 eighteenlh day of December, in the yr.o.r of our Lord one tbou--
                    t:nnd eight hundred and twr.nly-nlnc, and in tho fifty.fourth year of the lndepeo,,
                   deuce of the United States of Americu.

                       HENRY DEAS, Pmident ef the Se11ate.
                       BENJ, F. DUNKIN, Speaker eftl1e lloiue of llepresentatii-u.




No. :.!487. AN ACT TO PROVIDE •·oR THE n1v1s10N oP BEAT CoMPANY NUMBH
               SRVEN, Ot' 'rllE 15T11 REGIMEN'!' OP SOUTH CAROLIN.\ MII.ITIA,
               I. Be it enacted, by the Honorable the Senate and House of Represen.
            tativea, That beat company number se,·en, of the fifteenth regiment of
            South Carolina militia, now commanded by captain Jacob Kitchen, shall,
            as soon hereafter as 'practicable, be divided into two companies, and that
            Richard Jones, Esq., John Horsey, Jacob Kitching, John Quattlebaum,
            and George Sawyer, be appointed commissioners to divide the same,
               ll. The said 'commissioners, or a majority of them, shall, as soon as
            may be practicable, meet and make such division, and shall return, in wri.
            ting, to tho colonel of the regiment, a report of such division, nod the lim.
            its apportioned to rach bent company ; nnd the colonel shall cause the
            same lo be entered in the books of the regiment.
               III. The officers now holding commissions in said bent company, shall be
            entitled to hold the same in the company, within the limits of which they
            may, respectively, fall.
               IV The colonel shall, as soon as the said limits are fixed, order electiona
            to fill up the vacancies that may exist in said companies, respectively.
              In tiie Senate Houae, the eighteenth day of Dcccmbor, in tho year of our Lord OIM
                    thousand eight hundred and twenty-nine, and in she 61\y.fourth year of the lrlllepen,,
                    dence or .the Uniccd States of Atnerlca.
                       HENRY DEAS, President of the Senate.
                       BENJ. F. DUNKIN, Speaker ef the Hmuc ef Reprueniatim.


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                                                                                             EXHIBIT 13
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                            OF SOUTH CAROLINA.
                          Aot, relating to tlte Militia.                                         A,ll,1830,
                                                                                                 ~

AN ACT TO coNsOLXDATE Tim TWO BEAT Co>IPANIES OF, GEOBG'BTliWN, No, 2488,

   l. Be U enaded, by tho Senate and House of Representatives, now met
and sitting in General Assembly, and by the authority of the same, That
from and after the passing of this Act, the two bent companies of the low-
er battalion, thirty.first regiment, heretofore known as the upper and lower
beats of Georgetown, be, and the sumo arc hereby, consolidated, so as to
constitute herel\ftcr but one bent instead of two,
   II. A11d be ii further c11aclcd by the authority aforesaid, That the
officer now in command ol' the said lower battalion, thirty.first regiment,
be, and he is hereby, authorized and directed to curry into effect the pro-
visions ot' this Act, and t'orlhwilh to order the necessary elections, and
cause ,lo be filled the offices of the said company, whereupon he shall re•
port his proceedings to the colonel of his regiment.
  lb the Senate House, the eighteenth day of December, ln the year of our Lord one thou•
        nnd eight hundr<:tl ond twenty-nine, ond In the fifty-fourth ye•r oflhe ln~opentlenco
        of tho United 8uuee of America.
           HENRY DEAS, President ef the Senate.
           RENJ. F. DUNKIN, Speaker qftke Hou.,e ef Repme11talfoes.




AN ACT To CHANGE TIIFl PLACF. oF CoMPANY MusTKR IN ST,                                JAMES      No. 2504,
                                        SANTIJE,

   I. Bd it e11acte,l, hy the Honorable the Senate and House of Represeo.
tatives, now met and si1tii1g in General Assembly, and by the authority of
the same, 'fhnt from and nl'tcr tho passing of this Act, the beat company
of militia in the parish of St. James Santee, shall cease to be mustered at
the head of Wigfall's or Conics's causeway, as they heretofore have been,
and that tho head of Palmer's causeway shall be, and is hereby, fixed and
established as the muster ground of the said beat company.
 In the Sena le Houne, the ei~htecnth rlny of December, lo the year or our Lord one thousand
        eight hundred •nd thirty, and in thn fifly.fii\h year of the Independence of' the Uni,
        ted Slates of Amrrica,
           H. DEAS, President of tl1e Se11ate.
           H. L. PINCKNEY, Speaker ef the House ef Repre,entative,.




                                                                                                 EXHIBIT 13
                                                                                                   0283
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556                                        STATUTES AT LARGE
 .l, D, 1830,                            Act., relating to tke llfiluia.
 ~

 No, 2506, AN ACT TO ESTA»Llsn THE DIVIDING LINE BETWEEN THE 26TH A..'lv
                  27TH REGIMENTS OF MILITIA; AND TO LAY O_FF A NEW BEAT Coll,
                  PANY AT AND AROUND SUMTJ!RVILLE,

                    l, Be it. enacted, by the Honornblo the Senato and House of Represen.
                 tatives, now met and sitting in General Assembly; and by the authority of
                 the same, That the boundary line which divides the 26th and 27th regi-
                 ments of South Carolina militia from each other, shall be, nnd the snmo is
                 hereby, altered, defined and established, to run ns follows, thnt is to say:
                 beginning at M 'Clure 's old field, on the Snluda road, near the village of
                Chester; running thence in a direct line to the spring east of the said vil-
                 lage; thence along the meanders of tho branch from the said spring until
                 it intersects tho Charleston road ; and thence along the said road as here-
                 tofore,
                    II. Be it further enacted by the authority aforesaid, That a new beat
                 company of militia be formed and established in and around the village of
                 Sumterville, by uniting portions of the two beat companies commanded by
                 captain William N, Harvin and captain James A. Vaughan, in manner and
                 form following, that is to say : cuptuiu Harvin 's beat shall be divided by a
                line beginning at th.e mouth of Cow-pun branch, near Thomas J. Wilder's
                 plantation ; thence upw111·d along said branch to its sourco ; thence directly
                 to the head 1Jf Camp branch ; thence along the meanders of the same to
                its juncture with Black river; and that captain James A. Vaughan's beat
                shall be divided by a lino beginning at i\lr. Charles Spann's mill; thence
                along the road to John Knox's ; thence along the Stateburg. road to Green
                swamp ; and that the contiguous portions of the said beat companies, so
                .abstracted and dividod off by the said lines, form and be constituted a sepa.
                 rate beat; provided, that the companies hereby directed to be divided, shall
                 not be reduced by such division below the number directed by law to con.
                etitute a company,             ·
                    Ill, And be it further enacted, That the bent hereby directed to be
                formed and established, shall be attached to, and form a part of the lower
                 battalion of the 20th regiment, and that the officer whose duty it may be,
                 shall forthwith issuo the ncces.qary orders for tho election of company ofli-
                ,cers in the said new beat.
                 Jn tho Senate Jloueo, tho flighte()nth day of December, in tho year of our Lord one
                       tbouannd eight hundred nod thlrly, and in tho fifty•fil\h year of tho American Inde-
                       pendence.
                           H. DEAS, Pre~ident ef the Senale.
                          J-1, L, PINCKNEY, Speaker ef tl1e Honse of llepre,en1.atit:e1,




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                                                                                             EXHIBIT 13
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                          OF SOU'fH CAROLINA.                                           M7
                        Acu relating to the Militia.                             A,D,1830,
                                                                                ~

  AN' ACT TO ooNFORl!! THE M1LITARY WITH THE JUDICIAL D1vm0Ne No. 2510,
         OF PENDLETON DISTRIOT j AND FOR OTHER PURPOSES,

     I. Be it, enacted by the Senate and House of Representatives, now .. ,
  mot and sitting in General Assembly, and by tho authority of the same, ~lii'?"" of
  That from and after the first day of March next, the 4th and 42d n ••·
  regiments of militia, shall be included in the district of Anderson; and
  that the 2d and 5th regiments of militia, shall be included in the District
  of Pickens.
     II. That the fifth street in tho village of Anderson, be the line between
  the 4th nod 41!d regiments, continuing from the east end thereof to a point Dividing line.
  on Saluda river, within one mile of Wilson's Ferry, above; and from the
  west end of said street, to a point on Senaca river, between Mrs, Sloan 'e
  Ferry, and two miles above the mouth of said river. The said lines to be
  run by a person to be nominated by the Colonels of those regiments, and
  the expense lo be defrayed out of fines collected from defaulters in said
  regiments, each contributing equally.
     III. And be it furt!ter enacted, That this line dividing the 2d and 5th
  regiments, shall commence at the point of intersection between the district
  line of Pickens and Anderson, and the public road loading from tho village
  of Pendleton to Harrison's Fcrrr on Senaca river; thence along said road
  to said ferry; thence up said river, to the mouth of Toxaway, and up
  Toxaway to the Three Forks ; and thence up South Fork to the State
  line.                           '
     IV . .Ana be it further enactetl, That the General's road shall be the di.
' viding lino between the two battalions of the 4th regiment; and that         ~om:~tlf~'."
  Samuel J, Hammond, Christopher Orr, and Asa Clinkscales, he com. vfdi!g u~!. •·
  missioners in the first battalion i and that John McFall, jr., Solomon Shel.&o,        '
  ton, and William Houston, be appointed commissioners in the second bat-
  talion, to establish the beat company lines and battalion parade grounds in
  their respective battalions.
     V. And be it further enacted, That Swellen Goode, A. J, Liddell, and
  Job Rainwater, he appointed commissioners for like purposes, in the bat.
  talion in which they reside; and that James L. McCnnn, James Mulligan,
  and Saxon Anderson, be appointed commissioners for like purposes, in the
  battalion in which they reside; and that they jointly, form a board of
  commissioners for the 42d regiment, to determine the grade of battalions,
  the dividing line of the battalions, and the regimental parade ground.
     VI . .And be itfurtlter enacted, That Samuel Reid, William Duff, and
  Michael Edmonston, be appointvd commissioners for like purposes,.in the f."'\\l:'ia,ionera
  battalion in which they reside; and Samuel C. Reeder Jacob R. Cox, and:~. 1 • purpo..
  Obediah Trimmier, be appointed commissioners in the battalion in which
  they reside, for like purposes, who shall, jointly, determine tho grade of
  the battalions, the battalion line, and the regimental parade ground for the
  second'regimont; and that Samuel Gassaway, John Bowen,jr., and James
  Hendrbt, be appointed commissioners for like purposes, in tho battalion in
  which they reside; and John Hunter, Nathaniel Lynch, and William Suth-
  erland, be appointed commissioners for similar purposes, in the battalion in
  which they reside, who shall also, jointly, determine the grade of tho two
  battalions, tho battalion line, and regimental parade ground for tho fifth
  regiment.
     VII. And be it furtlier enacted, That the foregoing changes shall not




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558                                     STATUTES AT LARGE

  ..__...,..,,,._
   A.II. 1830,                        Ac/4 relating to the :Militia,

                   occasion nny forfeiture of commission or rank, either in regimental, bill,
                   talion, or bent company officers, or nny dissolution of any existing uniform
                   corps, but such officors or privates may continue to exercise the duties of
                   their respective commands, or parndo with the uniform corps to which
                   they mnv hnvc been nltnched, ns the case may be.
                      VIII.' Antl be it fu.rth.cr enacted, That Jesse W. Norris, A. Rice, Tbos.
                   Bunoughs, William Houston, Archibald Simps,m, Christopher Orr, Hugh
Conunla,ionore Wilson, Milos J. Hardy, James Pagett, and John 'f, Broyles, bo appointed
of roaJ,, ~c. commissioners of roads and bridges for the fourth rc·gimcnt; and that Jas.
                   C. Gritlin, Wyatt Smith, William Steel, John Harris, jr., Jas. L. M'Cann,
                   William Holcomb, Joseph V. Shanklin, Herbert Hammond, Baylis Wod.
                   kins, William McMurry, and Eben Smith, bo appointed commissioners of
                 · roads, bridges, ot coh•m, for the forty second regiment; and that ,vmiam
                   G. Field, Josoph Evetts, Jepthn Norton, jr., Frndorick N. Garvin, Stephen
                   C. Reid, Wevman Holland, and John Hunter, be appointed commissionerll
                  of roads for 'the fifth regiment; nnd that John T. Humphreys, Thomas
                   Fitzgernld, Jesse McKinney, Samuel C. Reeder, Samuel Kirksey, John
                  E, Calhoun, and Joseph Grisham, be appointed commissioners of roads for
                  the second regiment, vested with the same powers, and subject to the same
                  pcnnltios as now by law provided.
                     IX. Ancl he it furtltP.r enaclctl, That tho boards of the fourth and forty.
Clonen1i ho•rd second regiments, shall form a general board for Anderson district; and
of commi.,ioo- tho said boards for the fifth and second regiments, shall form a general
ora,              board for Pickens districts; each to meet on the first l\londay in Jnnuary
                  next, at their respective court houses, and annually, thereafter, to trans.
                  net such business as is now required of such gcnernl board by law; and
                  it shall be the duty of tho tax collector for P('IHlloton district, to collect
                  such assoHSments as he may be required by each of those boards, from the
                  tax-paying inhabitants in Anderson and Pickens, respectively, And it
                  shall be the duty of the treasurer for the genera.I board for Pendleton, to
                  exhibit a fair account, current, to each of the general b<iards for Anderson
                  and Pickens, the balance of funds on hand, or amount, if deficient, to be
                  received or contributed in equal proportion by each of the gcncml boards
                 aforesaid, as tho cu~e may be; and nil appeals now pending, or other un.
                  finished business before the general board, to be tmnsforred to that board
                 to which it properly belongs, _by the said treasurer.
                     X. And be it fur/lier enacted, That Robert Anderson, Thos, W. Sloan,
                 Benjamin D. Dupree, Bniley Barton, James Osborne, David Hendricks,
Commisoionora and David McKinney I shall constitute a board of commissioners of free
of free echool,, schools for Pickens District; and that Levi Gnrrison, Jesse W. Norris,
                 Christopher Orr, J. D. Gaillard, J. L, i\lcCnnn,, Gnrrison Lynn, and A.
                 Evans, slmll constitute a board of commissioners of free schools for Ander•
                 son district, shall moot at their respective court houses on tho first monday
                 in ~ebrunry next, for tho purpose of organizing their boards, locating
                 schools, and transacting such duties as are now required of boards of com.
                 missioners by law ; meeting quarterly and annually thereafter, on such
                 days as are now provided, And it shnll be tho duty of the present hosrd
                 of commissioners of free schools for Pendleton, on the fourth Monday in
                 January next, only to examine the reports of teachers, and l\.9Certain the
                 amounts due to each, and draw their order therefor on the treasurer of the
                 Upper Division, in conformity with existing laws; nod bring to a close, as
                 far as practicable, nil engagements with their teachers, from and afier
                 which day, the said board is hereby, dissolved; nevertheless, it shall be




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                            OF SOUTH CAROLINA,                                                            M9

                         Act, relating to the 111ilitui.                                          A, D, 1830.
                                                                                                 __,,...,,,_,
 their duty to transfer lo each of tho new boards, respectively, such businese
 as may not be closed,
. XI. Ana be it further enacted, That the balance of appropriation, as
 well as all future DJlproprintions to which Pendleton District may ~ ~nti. Divl•l•n or •P·
 tied by laws now of force, be, and tho same shall hereafter he, dlVlded proprl•tlon,
 between the districts of Anderson rmd Pickens, in equal shares, one moiety
to each, and no more; liable to be drawn from tho treasury, as is now
 provided for the other boards of free schools. And it shnll be the duty of
 tho treasurer of the up11cr division I after tho payment of said order from
 the hoard for Pehdleton District, to open an account, current, with Pickens
 and Anderson, in conformity with tho provisions.
    XII, And be it furtl,er enacted, That in tho event of the neglect or re.
 fusal of any one or more of tho commissioners, appointed to ndjust and To fill vacan·
 establish the lines of beat companies, etcetera, such vacancy or vacancics,cloe.
may be filled hy tho Pendleton delegation.
    XIII. A11d be it furllwr enacted, That from and after the pnssing of this           .
Act, Anderson district shall be entitled to fifteen justices of quorum, and ~'.~mb'r'or J".""
twenty justices of the pence, and no more; and that Pickens district shall                      .i/q~ofu"!~
be entitled lo twelve justices of the quorum, nnd fifteen justices of tho
peace, and n~ more; each inclusive of those now in office.
   ln the Seno.tc House; the cighll!enth dny of December, in the year of our Loni one
        lhou,nnd eight hundred and thirty, and in tl,e fifty.fifth year or tho lndep011dc11co
        or Ibo Uoiled !:!tut•• of America,
           H. DEAS, President qf the Senate.
           H. L. PINCKNEY, Speaker qf Ike HQUse qf Representatives.




AN ACT To FOBIII A SQUADRON oF CAVALRY IN THE Ew11T11 BRIGADE. No. 2511.
  I. B~ it enacled, by the Senate and House of Reprcsentativos, That the
All Saints Light Dragoons, tho Winyaw Hussars, and the Marion Troor,
three troops of Cavalry belonging lo the Eighth Brigade of the MiHtia
of this State, be formed into a Squadron, under the command of a field
officer, with the rank of ;\[njor, who shall be elected by the members of
the said corps; and that the brigndier.genornl of the said brigade, be au.
thori:ood to order an election for such officer.
  lo the Senn to Hou on, tho eighto,nth day or Docomhor, in the ycnr or our Lord ono lhou·
       ••nd eight hundred and thirty, and in tho fifty-nl\b year or the Independence or
        the United States of Arncric11..
           H. DEAS, Presidi'111 qf the Senate,
           U, L. PINCKNEY, Speaker qf the HoU8e qf Representatives.




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560                                       STATUTES AT LARGE
 A. D, 1831.                            Acts relating to the Militia •
.~

No, 2523, AN ,ACT 'l'O AUTHORIZE TIIE                 FORMATION OF A MOUNTED CORPS Ili
                                                    CHARLESTON,

                   I. Be it ct,acte,l, by the Senate and House of Representatives, That
               from and after tho passing of this Act, it shall and may be lawful to and
               for such persons, not exceeding one hundred in number, as reside in the
               city or district of Charleston, who are exempt from ordinary militia duty,
               to form themselves into a military corps of mounted men, under the name
               of "'l'he Charleston Horse Guards," to be equipped in such manner as
               tho Governor shall direct or approve.
                  II. 'l'hnt the'said corps shall be entitled to the usual number of officers,
               and arc hereby, authorized to regulate tho election and removal of said
               officers aa they see fit,                                    ·
                  III. That when the said corps shall be organized in such manner as the
               Governor shall apprOl'e, the Governor is hereby, authorized and required
               to, commission tho officers to be elected by them.
                  IV, That it shall be the duty of the said corps in times of alarm, to
               perform such service as shall· be prescribed and directed by the command-
               ing. officer of the milltia in Charleston, on pain of incul'ring like penalties
               as the other militia of tho State.                               .
                  V. That a list of the persons who may be enrolled in the said corps, duly
               r,ertified by the captain, shall be furnished to the captains of the several
               beat companies in which they reside; and said persons while they continue
               members of the Horse Guards, shall not be liable to do duty in said beats.
                  In the Senate House, the seventeenth day of December. in the year of our Lord one
                       thousand eight bundrod •nd thirly•ono, and in the forty,aixth year or the ln·
                       dependence of the United Statoa of America.

                         H. DEAS, President qf the Senate.
                         H. L. PINCKNEY, Speaker qf the HoUBe qf Re_pre,ent.atives.




No, 2525, AN ACT To DEFINE TI!E RECRUITING                          LIMITS oF THE          FAIRFIELO
                                             GRENADIER COMPANY,

                   I. Be it enacted, by the Honornble the Senate nod House of Represcnta.
                tives, now met and sitting in General Assembly ,'and by the authorit~· of
                tho same, That herenft~r, it shall be lawful for any person residmg withia
                the districts of Fairfield and Chester, and liable to do militia duty, to join
                and become a member of the fairfield Grenadier Company, in the same
                manner 118 such person would be entitled to do, were he a resident of that
               ·regiment to which said company is attached,
                   In the Sen at• House, the ..vonteenth day or Deeembet, in the year of our Loni one
                      thousand eight huodrod and thirty--0ne, ood In tho fifty.. ixth year or the Ind•·
                      pendenee of the United Statos of America.
                         H. DEAS, President qf the Senate.
                         H. L. PINCKNEY, Speaker qf the Hom qf Represcmatire.r.




                                                                                          EXHIBIT 13
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                             OF SOU'rH CAROLINA,                                                         561
                          Acta relating tQ tl1e . Militia,                                      A,0.1831,
                                                                                                ........-v-..
AN ACT TO LAV OFF AND ESTABLISH A NEW BEAT CoMPANV XN 'I'Jie No. 2529.
             SEVENTH RE<l!MENT OF SouTn CAROLINA MILITIA,
   I. Be it enacted, by the Senate and House of Representatives, now mot
nnd sitting in General Assembly, and by the authority of the same, That
n new beat company bo formed and oslablishod, in and around the Town
of Edgefield, by uniting portions of Blnnd's and tho Horn's Creek Beat
Companies, by lines running in the following manner, that is to say :-
beginning at the head of Log Creek, and running down and along tho
meanders of the said creek to tho dividing line between the seventh, (Col.
Bacon's,) and ninth, (Col, Tompkins's,) regiments; thence along said
regimental lino, to its mtersection with tho old Long Cane road, near the
residence of James Griffin ; thence down said rood to tho two mile stone,
on the rond leading from Edgefield Court House to the Pino House;
thence a direct lino to the head of Log Creek, tho beginning ; and that
the portions of said two bent companies included within the said lines,
form 11nd be constituted a separate beat.
   II. And be it furllter enacted, That the beat hereby directed to be form-,
ed and established, shall be attached to nnd form a part of the upper bat.
talion of the seventh regiment; and that the officer whose duty it may be,
shall immediately issue the necessary orders for the election of company
officers in the said new beat.
  In the Senate House, tho seventeenth day or Dect!mbcr, in the ytinr or our Lord one thou ..
        onnd eight hundred and thirty-one, and in the 61ty-,ixth year of tho Jndepnn·
        tloneo of t11e United States of America.
           H. DEAS, President ef tlw Senate,
           H. L. PINCKNEY, Speaker eftlte House qf RepreBcntatives.




AN ACT To ENABLE OFFICERS OF TllE l\hLITIA To RESIDE, IN 0ERTAIN No. ~541,
               CASES, OUT OF TIIEIR COMMANDS,
   I. Be it enacted, by the Honorable the Sennte and Honse of Ropresonta,
tivcs, now met and sitting in Goneral Assembly, and by the authority of
the same, That in all cases where tho dividing line between any regiments
in this State shall pass through any town or village, it shall be lawful for
any person holding a commission in either regiment, to reside any where
within the limits of snid town or villnge, without a forfeiture of his com•
mission.
  In the Sennto Hou,e, tho seventeenth dny of December, lo the year of our Lord one
        thou•nnd eight hundred and thirty,onc, nnd in tho 6fty-slxth year of the ludo•
        pendonco of the United States of Atnericn.
           H. DEAS, President ef the Senate,
           H, L, PINCKNEY, Speaker of the House qf ReprrsmtativM,·
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OG2                                   STATU'l'ES AT LARGE
  A,D, 18:12.                       Acta relating to the Militia.
 ~

 No, 2560. AN ACT FURTHER TO ALTER AND AMEND TIIE MILITIA LAWS OF Tfilll
                                                 STATE,

                    I. Be ii enacte<l, by tho Honorable the Senato and House of Ropresenta•
Go\·cnior        lives, now mot and sitting in General Assembly, and by the authority of
mny c.:nll out   tho sumo, Thnt in ca8o the Government of tho United States, or aDy offi.
 ll"OUJJS,       cor thereof, shall, by tho employment of naval or military forco, attempt to
                 coerce tho State of South Carolina into submission to the Acts of Congress,
                 doclnrccl nnd ordained lo ho null and void nnd no law, in a convention of
                 tho people of tho State of South Carolina, on tho twenty.fourth day of
                 Novotuber, in tho ycnr of our Lord ono thousand eight hundred and thirty.
                 two, or to resist the enforcement of nn ordinance adopte.d by the convention
                 aforesaid, or the lnws passed in purAuanoo thereof, or in case of any armed
                 or forcible resistance tlwroto, tho Governor is hcrohy authorized and em.
                 poworcd to resist the samo; and in order to render such resistance effec.
                 tuul, ho is hereby authorized and empowered to order into service the
                 whole militnry force of thiH Stute, or so much thereof as he may, from
                 time to time, doom noccssury and proper.
                    II. In cnsc of any overt act of coercion, or an intention on the part of
 Cnllin~ out the Government of the United Stntos, or any officer thereof, to commit
};~~~: for Jo, such an act, manifested by an unusual assemhlnge of naval or military
                 forces, in or near this State, or tho occurrence of any circumstances indi-
                 cating tho probability that armed force is about to be employed against
                 this State, or in resistance to its la.ws, the Governor be, and he is hereby,
                 authorized to call into tho service of this State, from time tq time, sucb
                 portion of tho militia. os may be required to moot tho emergency.
                    III. Ench company of infnntry called into the service, shall consist of
:nr:·~·~r..
nin, wlu~
            ·~:J si~ty priva!os, five sorgean!• and six corpora(s, to bo officered by one c~p-
                 tam, one first nnd second ltoutonant and ensign ; and each company of tn-
n_un!Ler to ron- fnntry or ritlemcn, Hhall consist of not less than forty privates, and the
"'" of,          roquisito number of non-commissionod and commissioned pfficors.
                    IV. Each regiment of infnntry called into service as aforesaid, shall
 Regiment of consist of eight companies of infantry, and two companies of light infantry
inl1111trv, wlmt or riflemen, to ho commanded by ono colonel, one lieutenant-colonel and
to cnn,i,t 01; one major I to ho selected by tho commander-in-chief from amongst the offi.
                 ccrs of their respoctivo grades in commission at tho time, in the brigade or
                 division out of which such regiment shall be raised; and each colonel
                 commanding a regiment of volunteers or militia, shall appoint his regimen.
                 tal stntl', subject to the approval of the brigadier.general.
                    V, The Governor is hereby authorized, out of the several brigades or
Vnlunt,•or       divisions of the State, to permit volunteer companies, troops, battalions,
r.n111pnnloe to squadrons, and regiments of infantry, artillery, cavalry, light infantry, and
Le rni,oJ.       riflemen, to be raisod; and he is hereby authorized to accept the services
                 of volunteers, whether by files, companies or otherwiso; and it shall be bi,,
                 duty, whoncvor in his opinion the public interest shall rc<Juiro it, to cause
                 such volunteers to be organized into companies, troops, battalions, squad.
                 rons or regiments, ns the caso may be, and he mny forrn the sn:no into
                 brigades and divisions; provided, no troop or company shall consist of less
                 thnn forty or more than ono hundred elfoctive rank and file, with the pro-
                 per compliment of non.commissioned and commissioned officers required
                 by law; the field and general officers to ho selected hy· the Governor, from
                 amongst tho officers of their respcctivo grades in tho brigndo or dh·ision
                 out of which such rogimonl or brigade shall bo raised ; and whcro any



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                                                                                  EXHIBIT 13
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                         OF SOUTH CAROLINA,                                                     503
                       Acu relating to the llfilitia,                              A,D,1832,
                                                                                  ~

officer already in commission, shall accept a command in any such ,oluntcor
corps, ho may retain both commissions, and at the end of his term of ser.
vice as a volunteer, shall be at liberty lo resume his rank and command;
provided, that evory volunteer company, troop, battalion, squadron or rcgi.
mont, which shall offer its services ns a whole, shall be received and per-
mitted to retain its own officers.                                           '
   VI. The officers, non.commissioned officers, and privates of every l'olun.
teer company, troop, battalion, squadron or regiment, which may ho raised, Volnnlecra ex,
or W~,:>-S.° scrvic~s may bo accepted ns aforesaid! shall not be called llp?n to;i:;•,~: "';;:,,\'i'i~
do m1htaa duty many other corps; but shall bo hable to perform, m their re. dut/
spcctive volunteer companies, nil the duties now required, or which may
hereafter be required, of the militia by lnw; and the officers of such volun-
teer corps, shall, when acting In conjunction with their corps, rank ac.
cording to the dnte of their respective commissions.           ·
    VII. The volunteers which shall be raised, or whose eervices shall bo, .
accepted ~ aforosnid, or any portion thcr~of, may be called out by tl)e [.•;~ko~r
Governor m any of the cases above mentioned, or other emergency m
which he is authorized by law to cnll out the militia, and the term of servico
of tho said volunteers, as well us the other militia corps, shall bo six
months from the dny of their being mustered into service, unless sooner
discharged ; nnd nil free white men above the age of sixteen years, mny
be accepted as volunteers; and nil between the ages of eighteen and forty.
five, shall be liable to be culled out as is hereinbefore provided for,
    VIII. Whenever any portion of the volunteers or militia aforesaid, shall
be requ~e? for nctu~l se~vice, they shall,, in every respect, ?" subject to     r.~~;;/,i:i~';:.,d
the prov1s1ons contained m tho second, tlurd, fourth, fifth, sixth, seventh, rnlunlce,.,
eighth, ninth, tenth, o.nd eleventh sections of the Act of the General As.
sembly, ratified on the twenty.fourth dny of September, eighteen hundred
and thirteen, entitled "An Act to niter and amend tho militia laws of this
State.''
   IX, The Governor shall be, and he is hereby, authorized to order out any
portion of the volunteers and militia of this State for review, inspection, ~rd~~,~~~ to
and military instruction, as often us, in hiij opinion, the public service may troop, for in-
require; promded, thnt when so ordered out, they shall not be kept longer ,1rnclioo,
in the field than twelve hours at any one time; and every officer, non•
commissioned officer and private, shall be liable to the same fines and other
penalties for non.attendance, or disobedience of orders while under arms,
118 aro now imposed by law for non.attendance or disobedience of orders at
regimental musters ; the same to be imposed, collected and appropriated
118 now provided for by lnw in rotation to regimental musters.
   X. The Governor is hereby authorized and empowered to purchase, for
the use of the State, ns he may judge nocess11ry, from time to time, ten Aull1ori1.lng
t~ousand !land of small arms, and tho necessary nccoutre~onts, the rcqu!- ~;,"11~1\\~:hu•"
site quantity of cannon balls, powder, lend, and other muntltons, such ord1-
no.nce as he may deem advisable, and to repair and mount such ordinnnco
now belonging to this Sta to, as muy be worth the expense. And the Gov.
ernot also shall be, nnd he 1s hereby, authorized to appoint, from time to
time, such assistant staff officers of the grades now established by law, ns
may be necessary for tho purpose of carrying this Act into complete effect ;
and he is also authorized to nppoint additional aids-de.camp, whenever, in
his opini011, the public service mny require it; provided, that such appoint.
ments shall not continue in force longer than two years after the pnssnge
of this Act.




                                                                                EXHIBIT 13
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564                                         STATUTES AT LARGE.
 A,D,10~•                                Acu relating to tl1e Militia.
 .._..,,.._,,
                       XI. The Governor shall hnvc power I and it is hereby declared to be his
IV""?   0[    inn· duty 1 in nil cases of insurrection or invasion, or eminent danger thereof,
~::Ir   .·~t~~~lty and m cases where the laws of this State shall be opposed, and the execu-
the milltnry t~ tion thereof forcibly obstructed, by combinations too powerful to be sup.
ho collc<l ou~ . pressed by the power vested in the sherills or other civil officers of the
                   State who may be chnrgc,t with the execution of the said laws, to cull forth
                   such portions of the militia and volunteers aforesaid, ne may be necessary
                    promptly to suppress such combinations, and to cause the laws of the State
                   to be duly executed.
                       XII. And if any person or persons whosoever shall be sued, impleaded,
Thie Act to bo molested or prosecuted, for any mutter, cause or thing, done or executed,
~iv .. n in evi- or caused to be done or executed, hy virtue of or in pursuance of this Act,
 ence.             nil and every such person shall and may plead the general issue, and give
                   this Act and the special matter in evidollce ; in case the plaintiff should
                   suffer a discontinuance, enter a ,wile prosequi, sufler a non.suit, or if a
                   verdict or judgment shall pass against him, he shall pay to every defendant .
                   that shall be acquitted, or for whom judgment shall pass, his full double
                   costs of suit.
                       XIII. The laws now of force prohibiting the rcduetion of beat compa-
1'ho law prohi, nies below tho number of thirty mon, or the rnismg a greater portion of
~~~~fo:t:r'be•t    certain ,d.escript~o~s. of troops than aro now authori~ed within the limits of
compnnios          each m1htnry dtv1s1on, be, and tho same nre hereby, suspended, so far as
auepcndcd:         the operation of this Act is concerned ; and this Act shall continue of force,
                   unless sooner repealed, for two years from tho passing thereof, and no
                    longer. The abstract of infantry tactics for the use of the militia of tho
                    United States, published by the department of war, under the authority of
                    the Act of Congrcs.•, of the second of :March, eighteen hundred and twenty.
                    nine, shall, hereafter, be observed in the instruction and exercise of in-
                  . fantry within this State ; and tho exercise and manrouvres of light infant.
                    ry and riflemen, annexed to said abstract, shall, in like manner, be observ-
                    ed in the instruction and exercise of light infantay and riflemen; and the
                    system of exercise and instruction of field artillery I including manwuvres
                    for light or horse artillery, shall likewise be observed by the artillery within
                    this State; and the officers of infantry, cavalry and artillery, respectively,
                   shall bo furnished with a copy thereof by the Governor; and every officer
                   shall be required, on the vacation of his commission, to deliver over to his
                   successor the said book, or pny to said successor three dollars, to be by him
                    recovered before any mngistralc, and applied by snid successor to the pur.
                    chase of another and similar book,
                  In the Senate House, the twentieth day or December, In the yenr of our Lord one thouea.nd
                         eight hundro<l ond thirly•t1Vo, nnd fifty,eevenlh of the fodepen<lenco of the Uni-
                        ted Statca of America.
                           H. DEAS, Pre&i,le11t of tl,c Senate,
                           ff, L. PINCKNEY, Speaker of tl,e House of Reprcscntativa.




                                                                                               EXHIBIT 13
                                                                                                 0292
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                      OF SOUTH CAROLINA,                                              565

                      Acta relating to the Militia.                            A,D, 1R32,
                                                                               ~

AN ACT TO REGULATE THE MILITIA OF THE PARISHES oF ST, PHILIP No. 2661,
             AND ST, MIOHABL j AND FOR OTHER l'UBl'OBES,

    WHEREAS, from the location of the regiments and corps composing
the militia of the parishes of St. Philip and St. Michael, they can be con·
voniently assembled as a body, for inspection, exercise and review, to their
manifest advantago in point of discipline and efficiency:
    I. Bett tllerifore enacted, by the Honorable the Senate and House of Re.
presentatives, now met and eitting in Goneral Assembly, and by the au. Review• for s1.
thority of the same, That from and after the passing of this Act, it shall ~!1\ip ud St.
and may be lawful for the brigadier·goneral, or officer commanding the ' 0 1• •1      '
fourth brigude, in the second division of the militia of this State, to order
the several regiments and corps composing the militia of the said parishes,
to parade for inspection, exercise and review I twice in each and every
year ; parades for such purpose to be enumerated as a part of the six com-
 pany parades now annually required by law.
    II. Be it furtl,er enacted by the authority aforesaid, That the brigadier
general of the said brigade be, and he 1s hereby, constituted a membo1 and Pnradeground,
 tho presiding officer of the board of field officers residing in said parishes,
empowered by the Act of 1809 to purchase a parade ground for the use of
 the militia of 1he said parishes,
    III. Ana be itfurtlier enacted by the authority aforesaid, That the briga.
 dier.gcneral of the said brigade be, and he is hereby, authorized and re. c         •   r
 quired to appoint a collector of the militia fines for tho said parishes,    o;•."~ i~,
                                                                                 11 1 0
                                                                                    0: 1  0
 whose duty it shall bo to collect all fines now imposed, or hereafter to be parishoo.
 imposed, for neglect of militia duty, in tho militia of said parishes; and
 who shall be clothed with the same authority end powers as aro now vested
 by law in the collectors of militia fines throughout the State; and who
 shall receive, as a compensation for his services, a sum not exceeding
 twonty·five per cont, on nil monies collected, together with the usual fees
 allowed to magistrates and constables, to bo collected from the partieij, if
 able to pay, in all cases where executions shall be issued.
    IV. And be it furtl,er enacted by the authority aforesaid, That the fines
 so collected shall form a common fund for the militia of said parishes, to Fine•, how
  defray the expenses incident to their company and other parades, and in appropriated.
 general, to be appropriated to their use, nnd disbursed under the direction of
 the board of officers aforesaid, composed of the brigadier.general and field
 officers residing within tho said parishes .
    .V, And wl,creas, some difficulty has arisen in relation to courts martial
  ordered to be held on tho commissioned officers, non-commissioned officers Conrts,martinl
  and privates, who may compose the fire guard of the city of Charleston, for fire,guard,
  for default of duty and other military offences; for remedy whereof, Be it
 furt1ier enacted by tlio authority aforesaid, That from and after tho passing
  of this Act, tho brigadier-general of the fourth brigade, or in his absence
  from the parishes of St. Philip and St. Michael, the senior officer of the
  militia of said parishes, shall have full power and authority to order courts
  martial on all officers, non-commissioned officers and privates, composing
  the aforesaid fire guard, who shall fail to attend in case of alarm from fire,
  and when ordered to mount guard, and for relief of the same, and for other
  military offences, at such times and in such manner as may be deemed fit
  and proper; and that the proceedings of such courts martial shall be ap.
  proved or disapproved of by the officer so ordering the same.




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                                                                                 EXHIBIT 13
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560                                         STATUTES AT LARGE
 A, D,1032,                             Act, relati'lf!! to tlie Militia.
 ~

                 VI, And he itfartlu;r enacted by the authority aforesaid, That all Acts
              and parts of Acts repugnant to thie Act, be, and tho samo are hereby,
              repealed.
                 In tho Sennte Houee, tho twentieth dny or December, in tho year or our Lord one thou•
                      aund eight hundred nnd thirty•two 1 nnd in the fifiy.aevonth year of che Hovcrei1:,.rnt1
                      ond lnd•pendonce of tho Unlled State• of Americo.

                         H. DEAS, Pmidcnt ef the Senate.
                         H. L. PINCKNEY, Speaker ef tl1e Hou3c ef' RA.1msc,1tatfoe1,




No. 2565, AN ACT TO EMrowER THB CoMMISstoNtms OF CnosR RoAos, FOR C1untEs-
               TON NEcK, TO APPOIN'r A CotLECToR oi· PATROL F1:-;Es,

                  I. Be it enacted, by the Honorable tho Senato and House of Representn.
              tives, now met and sitting in General As.~emhly, and by the authority of
              the same, That so much of the Act of General Assembly, rntil1ed tho
              twentieth day of December, one thousand eight hundred and twentv·thrr1•,
              as appoints tho colloctor of the regiment to collect tho fines and penalties
              imposed for neglect or default in the performance of pntrol duty, on Chnrl,,s-
              ton N eek, be, and the same are horcby, repealed ; and that the conunis-
              eioners of cross roads for Charleston Neck, be, and aro hereby, empowered
               to appoint a collector, whoshnll have tho snme power and authority to col-
              lect the fines nod penalties imposed for neglect or dofault in tho perfor.
              mance of patrol duty, ns by tho said Act is vested In the collector of the
              regiment. And the said commissioners are authorized and empowered to
              require of tbe collector to be appointed by them, bond, with suflicicnt socu-
              rity, for the faithful performance of the duties of his office; and nl,Q to
              J"emove said collector from office,
                In the Sena.to House, tho twtmtieth de.y of December, in tho yeo.r or our l.onl ono thou-
                     onnd oight hundred and thirty.two, and in tho finy-oovonth year uf ,tho lndepoodcne<
                     of tho United States of America.
                         II. DEAS, President ef tke Senate,
                         H. L. PINCKNEY, Speaker ef tlie House ef Represerttutiru.




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                                                                                             EXHIBIT 13
                                                                                               0294
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                           OF sou·T11 CAROLINA.                                                       567
                          Acta relating to tl1e Militia,
                                                                                               ..__,_,
                                                                                               A,D,1832,

AN ACT TO TBANSFEB CAPTAIN CLEOKLBY's CoxPANY TO THE •·ouu. No, 2567,
  TEENTU lbo1111ENT, SoUTII CAROLINA MILITIA j AND FOB OTHER PUR-
  POSES,


   I. Be it enacted, by the Sennto nnd House of Rcproscntntivcs, That tho
compnny of militia in St. llfotthcw's parish, now under the command of
captain Cleckley, nncl known by the name of the Buck·hond company, be
trnnsforrocl from tho fifteenth regiment, nn<l nttnchcd to and form n part of
the fourteenth regiment of the militia of this State.
   II. And be itfurtl,er enacted, That the field olliccre of the fifieenth rcgi•
mcnt of tho militin of this State, divide the battnlions composing the same,
by substituting Savnnnnhunt, instead of Sandy Run, as tho division line
of snid lmltnlions, on or before tho thirteenth day of January next.
   III. An,l be it furtl,er enacted, That the dividing lino between the first
and second battalions, in the first and second battalions in the fourth regi-
ment, be so altered ns to include the dwelling house on the Vorcnnes Tract,
within tho limits of tho first battalion.                 .
 lo the Sonnte lloufle 1 the twrntioth day of Dccetnber, in the ye1tr of our Lord ono
       thousund eight hundred and thirtyatwo, nod in the tiny-eovooth yoar of An1c.rienn
       Indepcnd,mce.
           H. DEAS, President ef tl,e Senate.
           H. L, PINCKNEY, Speaker efthe Howe of Repreaentatfre,.




AN ACT PRESClllIIINO TUE MODE OF ALTERING TUE DOUN~ABIES OF TUE No, 2570,
  SE\'ERAL MILI'r!A BEATS, BATTALIONS AND REGIMENTS, WITHIN THIS
  STATE,

   I. Be it enflcte,l, by tho Senate and House of Representatives, now met
and •itting in Genornl A8"embly, nn<l by the authority of the same, That
from and af'ter the pnssing of this Act, it shall be the duty of each of the
brigndier.gunorals of this Slate, to whom representation shall be made of
any gross inequality or manifest inconvenience of boundarv, between any
two or more ndjoining beats, battalions, or regiments, within bis brigade,
to appoint a board of commissioners, consisting of not less than five per.
sons from cnch of tho boats, battalions or regiments, liable to be affected
by their decision, whoso duly it shall be to examine fully the complaints or
representations so mndo as aforesaid, and to make such decision in the
promises, in favor of the existing boundaries, or of such new boundaries,
as to them shall seem proper. And any boundaries of any adjoining bents,
battalion• or rcgimcntd, adopted by such board ofcommiS11ioners, wbon op·
proved by the brigadicr.gonernl, and by him announced in brigade orders,
slmll be tho boundary o( every sucb bent, battalion or regiment,
  In the Srnnte Huusr, December tho twentieth day, in the year of our Ltlrd ono thou-
       111\1111 oight humlrcd nnd thirty•two, and tbe finy-aevenlh of tho lndc11011den.ce or
       tho United Stntn:1 of A.mcricn,

           H. DEAS, President ef tltc Senate.
           H. L. PINCKNEY, Speaker ef tlw House ef Reprcsentativea.


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                                                                                                EXHIBIT 13
                                                                                                  0295
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568                                    . STATUTES AT LARGE
  A,D,1833,                           Acta relating to Ike :Militia.
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 No. 2612, AN ACT TO l.'ROVIDE FOR TUE MILITARY ORGA!'!IZATION OF Tms STAl'll',

                    I. Ba it enacted, by the Honorable the Senate and House of Reprcscnta,
~i."~~~·."   00 •tives, now met and sitting in General Assembly, That from and after the
                 passing of this Act, the commissions of the mnjor·genernls, brigadier-gene,
                 rals, and their respective stnfli,, the adjutant and inspector-general, and de-
                 puty adjutant-generals of tho militia of this Stnto, are hereby vacated;
                 nnd tho Legislature sl1111l forthwith, by joint ballot of both houses, elect lil-o
                 mnjor-goncrals, one for each division, and ten brigudicr•generals, one for
                 each brigaclo.                  .
                    II. There shall bo one adjutant and inapcctor-gcnernl, with the rank of
Officora, how brigadior-gonoral, five nss1Stnnt acljutnnts-goncrnl, with tho rank of colonel,
 to ho elcctud, and to each division and brigade the additional staff officers now required
                 by law. The adjutant and inspector.general to be elected by joint ballot
                 of both branches of tho Legislature, to conlinuo in office for foJr years
                 from the dntc of his commission. Tho division stnfl' to be appointed by
                 the mujor-~encrals, subject ( except his aids-do-camp,) to tho nppro1•al of
                 the commander-in.chief'; the brigade stnfl' to be appointed by the brign-
                dior.gcnornl I subject, except his aids-do.camp, to tho approval of tho ma.
                jor-genernl ; and tho adjutant and inspector.general shall receive an annual
                salary of fifteen hundred dollars,
                    III. Each and every voluntcor company of light infantry, rillemen, or
~~:~::t         grenadiers, in existence at the passing of this Act, nttnched to any rcgi,
                mont or battalion of the militia of this State, except such as are incorpo.
                 rated by Act of the Legislature, shall be dissolved on tho first day of March
                next, and tho commissions of their respective officers vacated, and of none
                eflbct.
                    IV. Each brigadior-genornl, immediately nfier his election, shall appoint
Sent•, how      five commissioners in ench battalion of his brigade, in which there shall be
l•id off,       either more or loss than four beat compnnios, whose duty it shall be to di·
                vicle said battalions into four bent companies, as nearly as may be, and re.
                port the same to the brigndier.goneral, designating the boundaries and Ii=
                of ench boat, within two months from tho adjournment of the Legislature.
                Throe of said commissioners shall be a quorom to perform said duties; and
                if either of said commissioners shall wilfully neglect or refuse to perform
                tho duty hereby assigned, he shall, upon conviction on indictment, be fincn
                not less than one hundred dollars.
                    V. Within fifteen dnys after the report of the commissioners is recoh·ed,
Boundnrie, to each brigadier-general shall issue an order, defining the boundaries of
ho recorded. each beat company, which shall be posted up at two public places, at least,
                within said bent company, and which shall be recordo,J in the office of the
                register of mesno conveyance of the district in which said beat is situated;
                he shall also order an election and appoint managers to conduct and declare
                the same, for one captain, two lieutenants, and one ensign, to command
                snid company ; for one major to command said battalion, and one colonel to
                command the regiment ; which election shall be held on the eleventh day
                of April next ; elections ehall also be held on the same day in each volun-·
                teer uniform company, having the full compliment of rank and file require,!
                by this Act, and regularly attached to said regiment, for company, battalion
                and regimental officers. And should any brigadier-general neglect or re-
                fuse, or from nny cause fail, to have the ·several battalions of his brigade
                divided into boats, as herein provided, or to order tho election of officers on
                the eleventh of April next, tho commander.in.chief ia hereby authorized




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                                                                                    EXHIBIT 13
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                         OF SOUTH CAROLINA,                                            669
                      Acta relating to the Militia,                            'A,D. 1833,
                                                                                ~

 and requited to cause the election of field officers to be advertized and held
 in every regiment of such brigade, tho return to be made to the comman-·
 dor-in,chief; and every colonel so elected, when commissioned, shall forth-
 with cause each of the battalions in hi9 regiment to be divided into four
 beat companies, and order elections to be held for company officers in each
of such heats,
    VI. On the tenth day of April next, the commission of each and every Fee, for grant-
 militia otllcer of this State, except those elected or appointed under this l~g commis·
 Act, and the aidd of the Commander-in-chief, shall be, and the same are •ioru,.
 hereby declared, vacated and of none effect; provvkd, that every officer
 who may be elected or appointed under this Act to tho same office which
 he may hold on the said tenth day of April next, shall take rank from the
 date of his commission so vacated. The Seoratary of State shall be allowed
one thousand dollars, in lieu of all fees and charges for services, in relation
 to military commissions for the ensuing year.
    VII. 1''rom and after the present session of the Legislature, each major.
 general shall be elected by tho commis$ioned ol1icers of the division in M~or·J!•n~rol•
 which the vacancy shall occur, from amongst tho general, field and staff"" bn gnd,er-
                                                                                     1
 officers, residing within tho aaid division, ot' or above the rank of major; ~::'':1:~ted,
and no such officer shall be eligible, unless he has held a commission of or
above the rank of captain I for twelve months nelft preceding tho election;
and each brigadier.general shall be elected by tho commissioned officers of
the brigade in which such vacancy shall occur, and by the staff officers re·
siding in the said brigade, from among the otllcers of the brigade and the
 staff officers residing in said brigade, of or ahovo the rank of captain; and
no officer shall be elegible, unless he has held a commission of or above the
 rank of captain, for twelve months next preceding the election; promcled,
the ineligibility above specified shall not extend to officers elected or ap·
pointed under the provisions of this Act, until the expiration of twelve
months from the eleventh day of April next.
    VIII. From and after the eleventh day of April next, every vacancy in
the offices of colonel and major in the line, shall-be filled by election, asColonols and
now prescribed by law; provided, thut no person shall be eligible to either majors.
of said offices, unless he has hold a commission in said regiment or batta.
lion at least six months next preceding the election; provided, the ineligi.
bility above specified shnll not extend to officers elected or appointed under
the provisions of this Act, until tho expiration of twelve months from the
eleventh day of April next ; nnd all vacancies in tho offices of the Tolun•
teer uniform and l,attalion beat companios, ohall also bo filled os now pre,
scribed by law ; provided, th11t no person attached to tho cavalry, and no
person who has not resided in the State at least six months next preceding
such elections, shall be allowed to vote at the same.
    IX. Whenever ·any beat company shall neglect or refuse to elect lin offi,         .
cer to fill any vacancy which shall occur in said company, for the space of~!~~·~;•!10';,"~
two months, or where the person elected lo fill such vacancy shall refuse to office"' to be
accept, within thirty days from the time of his election, it shall be tho du. appointed.
ty of the colonel or officer commondinl( the regiment to which said compa.
ny belongs, to appoint and commission ~ome fit and proper person, liable to
do ordinary militia duty within such beat, to fill such office, who shall dis·
charge tho duties thereof for twelve months, unless said office be sooner
filled by the election of some person who will accept the same, as provided
by this Act ; and upon tho refusal of any person so appointed to office to-
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                                                                              EXHIBIT 13
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 A,D.1833,                                Act, relating to the Militia.
 ~

                 discharge the duties of said office, ho shall pay a fine of twenty dollars, to
                 he imposed by the field oflicors sitting in court.martial, and collected 1111
                 other lines hereinafter provided, And it Bhall be the duty of the colonel or
                 officer commanding the regiment, to appoint and commission, as often as
                 suoh vacancy shall occur, until tho same shall be filled by some person ac-
                 cepting said office ; and in ovary case of refusal to accept, the penalty
                 above mentione.d shall ho inforced ngninst tho person BO refusing, in the
                 manner prescribed in tho forgoing pnrt of this clause; and each company
                 oflicer elected nnd cornmi"sioned us provided hy this Act, shall, nnder a
                 ponnlty of twenty llollnrs, to be impo~ucl us nforosaid, bo compelled to serve
                 al lonst twelve months, unlcs8 he shall bo promoted or shnll remove from the
                 limits of his command, or in tho opinion of tho field ollicors of the regi-
                 ment, become incompetent to clischnrgo the duties of the snme. PrQIJ1dr,J.
                 that no poroon ncccptiug R commission under the appointment of the colo-
                 nel or other ofliccr in command of the regiment, aa horoinabove prm·idcd
                 for, slmll be compelled to uniform himself, or bo compolled to discharge the
                 du tie~ of a commissioned olliccr in said company longer thun one year in
                 three.                                    ·
                     X. fo addition to the oaths now required by law, every (?fficer of the mi-
                 litia hercnftor elected, shall, hoforc ho enters upon tho duties of his oflice,
                 take and auhscribo, belbro some person authorized by law to administer
                 oaths, the following oath:
      Oath,
                    "I, AH, do solemnly swear, (or affirm, as the case may be,) that I will
                 be faithful, and true alleginnce boar lo tho Stnlc of South Carolina. So
                 help me God."*
                     Which oath shall bo iudorsccl nnd certified upon his commission, as here-
                 inafter prescribed.
                     XI. If any person elected or appointed to any military ellice in thia
In•••• of n•· State shall accept the same, and shall neglect or refuse to tnke the oath of
f.    r·b •
   1001
.~.':i•." 0
            100 "office prescribed by law, within thirty dnys after his election er nppoint-
                 ment, ho shall, in addition to the penalties provided by this Act, for refu·
                 sing lo discharge tho duties of the oflice lo which he has been elected or
                 appointed, forfeit his commission ; and tho ollicer 1111thorized to commis-
                 sion such person is herohy authorized and required to appoint some suitable
                 person to fill said office, who, upon taking snid onth, shall continue to dis·
                 charge tho duties thereof until the same shall be filled by election or ap-
                 pointment, as provided for by this Act. All officers authorized to commis-
                 sion an officer by the provisions of this Act, arc heroby authorized to ad-
                 minister tho oath of office; and no person elected or 01ipoioted to office
                  under this Act, who shall accept the snme, and wilfully neglect or refuse

                 •Thia clnuae of tho Act, tho lntft ro~rtof opponla, c-ompriaed of throe judges, declnred nn-
               comnitutional and void. Jolm8on, J., holding thnt the Stoto Com1titution, nrticlo 4, having pre--
               1crlbcd the form1 of the oath of office, tho Legislature hnd no nuthnritJ lo chnnge, add to ar
               nht>r it; nnd 0 Nf'llll 1 J,, that tho oath is contr.1ry to the Conatitntion ot 1he $tnte, nnd inron•
               1h11ont with the nlleg11mt'c of the cilizen to the 1'odnnl Govermnen&, Jlar-per. J., dinenling,
               hold thnt it wu neither repugnont to tho Constitntion of tho 8tate, no, in1•on11-istent with nor
               obligntion of the dtizon to iho Fedornl G(wornmcnt. 'J'he Stute ez rl'(atfou,• ~l'Orady u.
               Huni, nnd WDaniol v,. ~!'Meakin; 2 Hill R,, I, nnd noto by tho fleporier, nt pogo 2.
                  See let ,·olume, 120, 135, 147, for former Act1i requiring onth of nlleginnce. l\lr. attont~Y·
               gener11lSmith 111 orgurnont; 2Hill,U61 110, 111,112. Soe,nlso1 tho oath requiredofu.lldi--
               trictofficers in tho t:11nto,'in tho pt(H1ont volume, ot pnge 384; ond tho outhe reqmred of atlor•
               neyo and aolicitore, chnncellora, of mngistrates, eher1llii nnd fonstnbloi, in relation to the l4wt
               againet gnrniug; of the tnkeu of tho con1m1, tox collectors, nod eltw1or. of preaideni aod ,ire
               preaiclcut of tho U. S,; ooth of commh1aionora to count the voter for mcmbeN!I of Congreu,
               &c,,&o.  .
                See amondmenl of 1he Conlllltution of South Carolino, of Doc. 6, 1831. I vol., 196.




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                                                                                                    EXHIBIT 13
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                       Act.t relating to the Militia.                                ,\.D,1833.
                                                                                    __,,....._,
to take the oath prescribed by law, shall thereafter be eligible lo that
office.
   XU. The officer whose duty ii shall be lo commission any person elected
or appointed tn any office in the militill, shall, in each and every case, be-o.,h certified
fore issuing a commission to an officer, receive from such officer the above 10.
prC>icribccl oath, sworn lo as the law dirl!cts, certified by the officer before
whom the oath was taken: which oath nn<l certificate he shall imlorse upon
said commission, and certify to bu true copies.
   XIII. Each regiment of in:,.n_n,::,.,r-,:y=srm:..;::=coc_n
                                                            "'s="1""'s.---co,.,.-"w
                                                                                  =o....,..·'"l7ta= o'"'n_s_,- a=n..--- - -- - - - - - - - - -- - -- - - - - - - - - - - - - - - - - - - - - - - - - - - --
each battalion _of four bcut _companies; uud lo cac~ ref!imenl there may be Foron,tiun of
attached two light comparnes and one company ol artillery, and no more; regimenu, &c.
and from and nfter the eleventh duy of April next, tho colonel or com·
mandinl( ollicer of ench regiment in which the number of light companies
allowed by this Act, have not been raised, is bcrel,y authorized nnd requi·
red to permit .said companies to be ruiscd.
   XIV . No li!lht company shall be inspected and received into any rcgi.                                                 _
menl unless it consist of forty rank and lile, four otlicere nnd four scrjea~ts; ~;,::ir,~"~? 10
                                                                                                                            0
nor shall nny such company con tam more thun one hundred, rank and file; ccrtnin number
and should uny such company nt auy time l,e reduced below tho nu moor or wen.
above rec1uire<l for inspectwn, the colonel of the regiment to which it is
attached, shall give notice to its commanding officer to fill up its rooks;
nnd unless tho "aid company shall, in six months after the enid notice, bo
filled up to tho number above required for inspection, the colonel ehall dis-
band it.
    XV. lmmedintely aft er the brigadier-general has issued his order dcfi.
ning the boundaries of tho Leal cocnpnuics, the light comp11niea specified Compnni••
in the foregoing clnuses mny be raisc<l, prcce,lenco, tn nll ca.sea, being giv· moy l,c rai sed,
en to those cornpanics 11lre11l)y iucorporntcd by Act of the Legislature.
And all such voluutecr light compani es which are in complete uniform aud
attached lo their proper regiments, on the tenth <lay of April next, ehnll
hold elections for company, Lattalion and regimental uflicers, as provided
by this Act.
   XV(. The voluutcer light companies to be rnised under this Act, ehnll,
when called into service by the authority of this State, go us n whole; nod v0 lun,.. ra 10
upon refusal of any such company"° to turn out, it shall be disbnnded, and iu m 001 u •
the commissions of its ofliccrs vacated and of none effect ; and the proper whole.
officer ehall forthwith permit another cou1pnny lo Le orgnnized to supply ite
puu:e.
   XVII. Artillery compnnice, troops, squn<lrons nod regiments of cavalry,
which were organized nccordiug to low, previous to the Act pnsscd in De-componic,
cember lnat, entitled "An Act further to niter and amend !ho mi Ii tin low• u,u~ l,c ro-<>r·
of this Stoic," shall be allowed to re-organize themselves, and elect their g,n1,o1J .
officer,, on the eleventh day of April next; und whore no such companies,
troops, squndrons and regiments have been raised, ns now pro1•i<led by low,
the brigadier-genemls are hereby authorized to permit the rnising of ouch
corps within their respective commands.
   XVIII. No bent company ehall l,e reduced below forty rank nod file, by
the rnising of any light or olhcr volunteer compnny.
· XIX. Each captain or otliccr commanding a company or troop, shall as.
aemble his command six times in every year, for driU, exerciMO an<l instruc-
tion, to continue not more thnn one <lny nl each time of nssemuling.
   XX. Each colonel or ollicer commnndiug n regiment, is hereby nuthorizod
and required to order out bis regiment once in every yenr, to assemble nt




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                some convenient pince for drill, exercise and instruction, to continue as.
 PRtndc,.
                eembled not more than one day; and the said colonel or officer command•
                 ing a regiment, shall likewise, on the day preceding such drill, assemble
                 all the officers and non-commissioned officers of his regiment, and drill,
               . exercise and instruct them in the manoouvres which are to be performed
                 the next day.
                    XXI. It shall be the duty of each colonel to attend the muster of each
How conduo· company in his regiment, at least once in every year, and of the lieuten.
teJ.             ant.colonel and major to attend the muster of each company in their res-
                 pective battalions, at least twice in each yenr, to give them assistance and
                superintendance in the drill, exercise and instruction of said companies.
                 And each captain or officer commanding a company, shall arrange his
                musters at such times as will best enable tho colonel, lieutenant-colonel and
                 major to perform the above duties; and shall, whenever required, furnish
                 Mid officers with a report, specifying tho times and places at which his
                 company will be mustered for the year next ensuing.
                    XXII. It shall be the duty of each brigadier-general to order, and with
     Review,. his etnffattend, n muster and review of each regiment in his brigade, at
                 least once in every year; and of each major-gonernl to order, and with his
                staff attend, a muster and review of each regiment in his division, at least
                 once in every two years.
                    XXIII. The Commnndor.i11-chief shall have power and authority to or-
Power vested der reviews of such porti,;ns of the militia, and at such times and places,
i;:.~bi~f~w,der-as he may deem e~podient and _proper; and, be also inv~stcd _with all the
                 powers nnd authority now provided by law m cases of mvas,on or threat
                 of invasion,
                    XXIV, The army regulations of the United States, as far as consistent
                 with the laws and constitution of lhe State, arc hereby adopted and estab-
                 lished as a system of police for tho militia of this State,
                    XXV. The Commander.in-chief is hereby authorized to cause a system
~ystem of tao, of cavalry and 11rtillery tactics to be compiled, published and distributed,
to,c• to be com, for the use of the cavalry and artillery of this State.
piled.               XXVI. It shall be the duty of the brigndier•genernl or officer command-
Comml.,ioned ing the brigade, under the direction of the Commander-in.chief, once in
oAic:;r
   0
         to... two years, to assemble the commissioned officers of his brigade, at eome
 " '" •          convenient place within said brigade, to be encamped for five days, and in-
                 structed and exercised in the various schools of the soldier, company and
                  battalion, the manoouvres of the lino, and the routine of the duties and dis-
                 cipline of the camp; each officer to be in full uniform, and fully equipped,
                 besides his side arms, with u musket, bayonet, cartouch-boir, twenty.four
                  rounds of blank cartridge, and a knapsack; and each brigade shall be fur-
                  nished by the State with the requisite number of good tents.
                     XXVII. Whenever a brigndier-genernl, or officer commanding a brigade,
 Notice givon shall have issued orders for a brigade encampment, he shall notify the ma,
 for pnrad•,     jor.general, or officer commanding the division, of the time and pince at
                 which the officers of his brigade will be encamped ; and it shall be the duty
                 of the said major-general, or officer commanding the division, with his
                 staff, to attend such encampment.
                     XXVIll. In addition to the duties now required by law of the adjutant
 Duty of ndju• and inspector-general, it shall be his duty to attend all encampments of offl,
 tnnt nnd in•    cers, and to drill, train, exorcise and instruct them in the variou9 branches
 epector-gone-
  ro.la,         of military manruuvre and tac.tics,




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  XXIX. Each colonel ofa regiment shall have power to order courts-mar. C                    •
tial for the trial of oil officers under his command, except field officers, to 1ii;'1i;3~~~·'1
consist of not less than five, nor more than thirteen officers, one of whom nnd conducted,
shall be a field officer; and It shall also be his duty to detail courts.martial,
to consist of at least three commissioned otlicers, who shall meet at least
once in every four months, in full uniform, at or near the regimental mus.
ter-ground, or at such other place within the limits of the regiment as the
colonel !llay deem proper, to try all defaulters at company, battalion or re.
gimental musters, and all non-commi8sioned otlicers, privates or fatigue.
men, for the non.performance or violation of any duly required by law, as
well as for disobedience of orders, and for non-performance of patrol duty.
The officera commanding companies in said regiment shall report oil the de.
faulters to this court, at each of its meetings, and shall causo them to be
eummoned to attend its sittings, and furnish the court with proof of the
summons. Defaulters may send their excus~, _if fairly written out and Dornnltor,
sworn to before some person competent to adnuntster an oath, unless spo. mny ,end their
cially summoned to attend in person by tho court i and from this court there e,.xcueee in wri-
shall be no appeal; but no sentence of any court.martial shall be put in force ting,
until approved of by the officer ordering Raid court.
    XXX. All penalties imposed by this Act may be recovered within twelve •'inee how 10
months after the party has made default ; but 110 defaulter shnll be liable to l>e coitectcd.
any penalty after the expiration of the time aforesaid,
    XXXI. The president of every court-martial imposing a fine shnll issue . ,
an execution,fi.fa. or ca. sa., for tho some, directed to all and singular f.:·u!:i· may bo
the sheriffs of this State, who shall execute and return tho same to the court        ·
 from which it issues, within four months, and pay the amount collected to
the proper paymaster, under tho same penalties as arc now imposed by
law for not returning process issued by any court of this State, Tho she-
riff's fees for executing such process shall be fifty cents from tho defendant,
and ten per cont. on tho fines collected,
    XXXU, Each sheriff failing to collect and pay over fines, or to make re-
 turn of the execution, as above required, shall ho subject to rule and at· ~uti,0 • orthe
 tachment from the court of common picas of tho district wherein he re.          ~.~•;;!:
                                                                                        nd
                                                                                           pay•
sides, upon motion of any attorney, president of a court.martial, the offi•             ·
cer ordering the same, or any paymaster or other officer, whose duty it
 is to see that such process bo duly executed,
    XXXIII. Tho paymaster of the regiment shnll receive oil fines imposed
 by regimental com·ts-martial, which shall be disbursed by order of the field
 officers of the regiment, as now required by law.
    XXXIV. Each major-gonorol and brigndier-generol is hereby authorized
 to ar,poin\ a pnymast~r for his division or brigude, respocti_vely,. who s?nll Pa ma•tera
contmue m office durmg the pleasure of the otlicer mnkmg lus nppomt. 110 appoinied. !
 ment, and who shall receive all fines imposed by division or brigade courts
martial, which shall be disbursed by order of the major.general or brign-
d1er.goneral, for the use of the division or brigade in which they may have
been imposed.
    XXXV. It shall be the duty of each officer authorized to appoint n pny.                 ,
 master, to take from him a bond, with good security, in tho penal sum of Pnymn,tertq
one thousand dollars, conditioned for the faithful performance of the duties give bond,
of his office; which said bond shall be made payable to the State of South
 Carolina, and shall be lodged with the clerk of the court of the district in
 which the paymaster resides ; and every puymnster shall be allowed to re-
 tain for his services, ten per cent. of the monies colleoted by him. And each




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                         pnymas(or shall ue compelled to account, once at least in twelve months,
                         and oftener, if required, to the commanding officer of the regiment, bri.
                         gade or division, respectively, of which he is paymaster; which account
                         shall be subject to the inspection of the urigadier·goneral, major-general,
                         and comm11nder.in.cl1ief, respectively,
                            XXXVI. A major.general and ench officer of his stuff, a brigadier-gene.
 Ptmo.ltiea for
 nogleot of              ral and each officer of his staff, each field officer, and each ol!iccr of the
,duty.                   regimental staff, shall, for any neglect of duly, on or off parade, in addition
                         to the othor penalties provided by lnw, be linule to pay a fino of not loss
                         than twenty, nor 111ore than one hundred dollars; to be imposed by courts
                         mnrtinlanthorized to try officers of their grade.~, respectively.
 N I t           d'         XXXVII. Every commissioned company officer for each neglect of duty
 ob"f.,1::;10: ' 0 ::'" or disobedience of orders, either on or off parade, shall be fined not le.a
 p•t•de.                 thnn five dollars, nor more than fifty dollars; to be imposed by courts mar.
                         tial authorized to try officers of their grade, besides being liable to the
                         other penalties now imposed by law.
                            XXXVIII. Each non-comruissioned officer or private for non-attendance
                        at a company muster, shall bo fined two dollars, and fifty per cent on bis
                        last gonernl tax; provided, that such fines shall in no case exceed twenty
                        dollars.
                            XXXIX. While on parade, the officer commanding shall have full power
                        and authority to put under arrest any non.commissioned ollicer or private,
                        who may disobey orders, or be guilty of disorderly conduct, or any other
                        person who shall disturb the parade; and to inllict, forthwith, a fine of not
                        less than two nor more than ten dollars on the ofiender; for tho collection
                        of which, ho shall it<Sue an oxecutiou forthwith, directed to the sheritl!i of
                        the State, ns is hereinbefore provided for other fines; and slmll also ha,·o
                        power to cause the offender to be confined, not exceeding ten hours, under
                        a guard,
                            XL. Each non.commissioned officer for disobedience of orders, or any
                        neglect of duty off parade, shall be fined by n court martial, not less than
                        three, nor more than twenty.five dollars.
                            XLI. Any officer whoso duty it is to make any returns required by law,
                       .or any paymaster whose duty it is to account. shall do so whenever ordered
,Returns.               by the proper oflicer, under a fine, for neglecting so to do, of not less than
                        ten, nor more than one hundred dollars; to be imposed by a court martial.
                            XLII. Instead of the fines now imposed by law, on a non-commissioned
                       officer or private, who appears on parade without the proper equipments, he
,Equipment•, shall be fined one dollar, unless ho a(lpenrs at muster with a gun in good
                       order for service, tho officer commanding to issue execution therefor
                       forthwith ; provided, that no person Rhall be compelled to pay said lino,
                        who shall make oath, before some magistrate, or the commanding officer of
                       his company, who is hereby authorized to administer such oath, of hi$
                       inability to purchase or procure such weapon,
                            XLIII. Every person removing from one bent to another, shall report
                       himself within thirty days after his removal, to the officer commanding tho
:i{:~~~~
,elves.
                 re• beat from which he has removed, and to the ol!icer commanding tho beat
                       to which he has removed, or be fined five dollars, besides being liable for
                       default of duty in the bent from which he has removed.                   •
                           XLIV. For a non-attendance of brigade encampments, the following
                       fines shall be imposed :-a major-general, one hundred dollars; a briga.
Fines ro, DOD• dier.genoral, eighty dollars; a colonel, sixty dollars; a lieutenant.colonel
Dlleodnoce.            or major, fifty dollars; a captain or subaltern, twenty.live dollars; to b&




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imposed by courts martial authorized to try officers of their grades, respec-
tively.
    XL V. The following persons, and none others, shall be exempt from the
performance of ordinary militia duty, and those not in time of alarm or Certain per-
military invasion, to wit :-the lieutenant governor; judges; members of,ona ·~e.mpt
both branches of tho Legislature, and their respective oflicers, fifteen dnys ~~:~.m,ht.ry
before the commencement, durmg, and fifteen days after the close of each
session; regularly officiating clergymen; schoolmasters, having under their
tuition not less than fifteen scl1olnrs; students at school, academics and
colleges; clerks of courts ; sheriffs and jailors ; regularly n<lmitted prncti- .
cing physicians and surgeons; all branch pilots ; one white man to each
established ferry, toll.briJge and toll grain mill; one white man to each
forgo, and three white mon to each furnace eroctod at any iron works in
this State, who shall constantly rc8ide and work at the same; the overseers,
toll-keepers, and lock-keopors of tho Santee Canal; tho president, cashiers,
and clerks, employed in keeping the books of tho several banks of this
State, tho branches of the bank of the State, and tho office of discount
and dcposito of tho bank of tho United States; tho officers and men of
the city guard of Charleston; the officers of the South Carolina Canal and
 Rail Road Company, as srecifierl in tho Act entitled "An Act concerning
 the South Carolina Cann and Rail Road Company," passed on the twen-
 tieth day of December, in the year of our Lord one thousand eight hundrod
 and thirty.two; tho superintondant and keepers of tho Lunatic Asylum;
 and the several fire engine companies ; the supcrintondant of public works,
 toll-collectors on the State road, and lock-keepers on the State canals; the
 lleepers of the Arsenal!! at Charleston and Columbia, and the ci.tadel and
 magazine guard in Charleston; all persons holding office under the United
 States, who are now exempt by lnw; and all persons under the age of
 eighteen, and over tho age of forty.five years.
    XLVI. From and after tho eleventh rlny of April next, the uniform of
 all officers shall ho the same as that prescribed in the army regulations Uniform,
 adopted in 1815, except, that tho uniform of nil officers of the line, of and
 under tho rank of captain, shall be a plain black hat with n white plume,
 common dress coat, of blue broad cloth, and pantaloons of white or blue
 cloth, with a sword and epaulette; previded, that the buttons worn upon
 the uniform of nil general, stnff and field officers, shall be convex; and
 those worn by officers of the line, shall be flat; having, in all cases, the
 palmetto emblem ; provided, nothing herein contained shall apply to volun-
 teer uniform companies,
    XLVII. The Governor is hereby authorized to have the militia and
 patrol laws, and the decisions of the court thereon, properly digested and MIiitia lows ,.,
 indexed, at the expence of the State, and a number of copies published, bn published,
 sufficient to furnish one to each officm·; and every officer shall be required,
 on the vacation of his commission, to deliver over to his successor the said
 digest, or pay to such successor four dollars, to be by him recovered before
 any magistrate, and applied by said successor to the purchase of another
 copy of said digcHt.
    XLVIII. The Act of the General Assembly, entitled "An Act further to
 alter and amend tho militia Jaws of this State," passed on the twentieth day An Aot repeal-·
 of December Inst, so far as relates to tho organization of volunteers, and so od,
 far as it may be repugnant to this Act, shall be repealed from nnrl after tho
 first day of !\larch next.
    XLIX. A separate mode of organization shall be adopted for the militia




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 ...__..,,_._,
~~~~r~}~rgonl. of the parishes of Saint Philip and Saint Michael, and the militia of said
•••!~n for <it, parish~s shall bo arranged as heretofore, into one regiment of artillery, ooo
fi'i'j:~oi:'d 8t• aq1mdron of cava\ry, _and two regim?nts of infantry,                ,     ,
                     L, The organization of the artillery and cavalry of said parwhe,,
                  shall be continued in precisely the same form as it now exists ; and tbe
                  present organization of the sixteenth and seventeenth regiments of in-
                  fantry, in the said parishes of Saint Philip and Saint Michael, be abo,
                  lishod.
                     LI. On the tenth dny of April next, the commission of each and every
                  olficer of the snid parishes, except those elected or appointed under tho
                  provisions of this Act, shall be, and the snme is hereby, vacated and of
                  non-etlcct; and tho' brigadier.general of the fourth brigade, immediately
                  nfter his election, shall a\ipoint live commissioners to re-organize said regi-
                  ment., in tho manner ful owing, to wit :-the artillery and cavalry of the
                  said parishes, in the same form precisely na it now exists, in manner fol,
                  lowing, viz :-public notice shall lie given for the re-organization of the
                  several companies and troops composing the regiment of artillery and
                  the squadron of cavalry of said parishes. Within twenty days from the
                  date of said notice, report shnll be made to snid commissioners by the cap.
                  tains elect of nil such companies or troops as may be re-organized, of the
                  etlhctivc force of their respective corps; nnd said commissioners are autho-
                  rized and required to receive as 11 full company of artillery or troop of
                  cavalry, [any company of artillery or troop of cavalry] so re-organized
                 and reported, which shall consist of not less than thirty effective rank
                 and file, with a proper compliment of commissioned and non-commis.
              • sioned officers ; and the officers of tho said corps shall bo commission.
                 ed on the eleventh day of April next. Aner snid re-organization of
                 companies and troops, it shall be the duty of the said commissioners to
                 organize snid companies nnd troops into one regiment of artillery, and
                 one squadron of cavalry, in the form na at present existing, and report
                 such organization to the brigadier.general of the brigade, who shall be
                 authorized and required lo issue the necessary orders for the election, on
                  the eleventh day of April next, of all officers within said parishes whoac
                 commissions shall be vacated under the provisions of this Act. And the snid
                 commissioners shall also reorganize the sixteenth and seventeenth regi.
                 ments of infantry. Public notice shall be given for the re-organization of
                 volunteer corps of infantry in the said parishes. Within twenty days from
                 the date of said notice, report shall be made lo the said commissioners, by
                 the captains elect of nil such volunteer corps ns may be re.organized in the
                 said parishes, of the efloctive force of their respective corps; and the said
                 commissioners are authorized and required to receive, as a full corps of in-
                 fantry, any volunteer corps so re.organized and reported, which shall con-
                 sist of not loss than forty el!'cctive rank and file, with a proper compliment
                 of commis.sioned and non-commissioned officers; and the officers of the said
                 corps shall be commissioned on the eleventh day of April next. As soon as
                 the number of the said volunteer corps shall be ascertained, the said com-
                 missioners shall cause a census to be taken of nil the male inhabitants of
                 snid parishes, not attached to the volunteer corps aforesaid, the cavalry or
                 artillery, specifying the individual registered, and whether he bo exempt or
                 not from militia duty. After said census shall be taken, the said commis-
                 sioners shall proceed to lay off the said parishes into as many heats us shall
                 bo required to make up, with the volunteer corps aforesaid, ten companies
                 to each of the said sixteenth and ooventcenth regiments. The said beats




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                                                                                    EXHIBIT 13
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ehnll be divided by certain territorial boundaries, and as for as may be prac,
 ticable, tho individuals registered in the census aforesaid, be equally distri-
 buted and cln,ssified among the several bents so laid off. After the said
 division and classification into beats shall have been effected, the said com.-
 missioners shall proceed to organize the whole number of volunteer and
 beat companies into two regiments, to be entitled, as heretofore, the six,
 teen th and seventeenth regiments of infantry, and report such organization
 to the brigadier-general of the said brigade, who shall be authorized and
 required to issue the necessary orders for the election, on the eleventh day
 of April next, of all officers within the said parishes, whose commissions
 shall bo vacated under the provisions of this Act,
    Lil. No volunteer corps in the said parishes of Saint Philip and Saint
 Michael shall consist of more than sixty.four rank and file, with the usual
compliment of commissioned nnd non-commissioned officers,
    Llll. Each corps of artillery throughout tho Stnte shnll bo supplied, as .
 heretofore, from the Stn)e magazine, with the requisite quantity of pow-!r~l}~nf:b'!'J
der and ball for the usual parades ordered by law; and the necessary ex. witbpowdor,
penses incurred by said corps in providing cartridges, tubes, match-ropes, &o,
and other incidental charges; to be paid by the State; provided, the amount
of said charges shall, in no event, exceed'the sum of fifty dollars a year
to each corps; nnd that euch regiment of cavulry may be furnished with
twenty pounds of powder for each regimental review; and each squadron,
with ten pounds for each squadron muster or review; the said powder lo be
subject lo the order of the colonel, lieutenant-colonel, or major command.
ing snid regiment or squadron,
    LIV., Militia fines in the parishes of Saint Philip and Saint Michael, •
shall be collected and disbursed as provided for by this Act, The Governor Office!", how
is hereby authorized and required to cause military commissions to be pre. comm1'aioned,
pared and is.sued in proper form, It shnll bo the duty of the Governor to
commission the major-generals and the general staff. The major-general,
or officer in command of a division, slmll commission the division staff,
and the brigadier-generals. 'fhe brigadier-general, or officer in command
of a brigade, shall commission his own staff, nnd all the field officers of his
brigade. Each colonel, or officer in command of a regiment or squadron,
shall commission the company and staff of the regiment or squadron under
bis command.
    In the Senate Hou,o, the ainetoonth Jay of December, in the yAar of our Lord one thou•
       sand eight hundred nnd thirty-three, and in the fifty,eigbth year of the Sovereignty
       ond Independence of the United States of Atneric11..

          H. DEAS, Preaident ef the Senate,
          PATRICK NOBLE, Speaker efthe HOIUe of llepreaentativea,
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                                                                                                0305
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  No. 26~4. AN ACT TO AMEND AN AcT                ENTITLED    "AN AcT       To   PROVIDE    FOJ
                   TIIE MILITIARY ORGANIZATION OF TIIIS STATE," PASSED ON THE NINE•
                   TEENTII DAY OF DECEMBER, EIGHTEEN IIUNDIIED AND TIIIRTY•TIIJU:E i
                   AND FOR OTIIEK PURPORES,

                   1. Be. it e11actrd, by the Senate and House of Representatives, now met
Appeal• from and sitting in Genernl Assombly, and by the authority of !he same, Thal
couri. marllal, from and after tho pnssin!? of this Act, tho right of appeal from the deci-
                sion of courts mnrtiul, shnll be the same a& established by law, previous to
                the passing of the Act entitled "An Act to provide for the military organi.
                zation of this State," ratified on the nineteenth day of December, one
                thou•and eight hundred and thirty.three.
                   II, That tho commissioned ofliccrs of ench company, upon the applica.
How 10 ~to- lion of any defi1ulter for militia or patrol duty, to render in his excuse in
~:r.:1.ir.~~:·t writing, are hereby authorized and required to administer lo such defaulter
                the necel!8nry oath, and tho person making the nflidnvit shall sign the
                same ; and the officer administering the oath shall certify it, dt1signating
                his rank in the company; and for this service he shall receive no compen-
                sation, And it shall be the duty of the captain or oflicer commanding the
                company, when he sends up tho names of defaulter• to courts martial, to
                seud up also, such affidavits of QXcuse as have been rendered according to
                the provisions of this section,
                   III. '!'hat every officer of the militia herenfte1· lo be elected or appoint.
O.th 10 be 10. ed, shall, before he enters upon the duties of his office, take and subscribe,
ken,      ,     before some person authorized by law to administer oaths, the following
                oath prescribed by the constitution, to wit:
                   "I do solemnly swear, (or nlfirm,) thatl will be faithful, and true allegi-
                ance bear, to tbe State of South Carolina, so long as I continue a citizen
                thereof; and that I am duly qualified, according to the constitution of this
                State, to exercise the office to which I have been appointed; and that I will,
                to the best of my abilities, discharge the duties thereof; and preserve, pro-
                tect and defend, the constitution of this Stale nod of the United States.
                So help me God."
                   Which oath shall be endorsed and certified upon his commission, as is
                provided by the twelfth section of the Act aforesaid, in relation to the oath
                thereby prescribed. And if any person elected or appointed to any office
                in the militia of this State, shall accept the same, and shall neglect or ,e.
                fuse to lake the oath aforesaid, within sixty days after his election or ap-
                pointment, ho shall, for such neglect or refusal, be subject to all the penal.
                ties provided by the Act aforesaid, entitled "An Act to provide for tho mili-
                tary organization of this State," for refusal or neglect to tab.o the oath
   .            therein required.
                   IV. That the elections or appointments of nil officers made under the
Elections made provisions of the Act aforesaid, are hereby declared to be valid, except
r;;r/ci'°fd     where from the refusal or neglect of an officer lo comply with the requisi-
••lid, cc ""' tiona of the law, a new election or appointment has been made lo the same
                office; provided, that every officer so elected or appointed, who ha.a not
                taken the oath of office and been commissioned, shall, within three months
                after the passing of this Act, take the oath prescribed by the third section
                of this Act,
                   V. That every officer of the militia, except such as are exempt by law,
               shall, within three months after his election or appointment, uniform




                                                                                  EXHIBIT 13
                                                                                    0306
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                         OF SOU'rH CAROLINA.
                      Act, 'relating to the Militia.                              A.ll,J834,
                                                                                 ~

himself according to law; nod in case any officer shall appear on parade, or Tl
at any court martini, of which he may be n member, without such uni- 0           m~:,:11
                                                                                       1:w•d
form, after tho time nbove specified, ho shall be fined in a sum of not lcBB equip them-
than five nor more than fifty dollars; to be imposed by courts martial au. ••1•••·
thorized to try officers of his grade,
    VI. That in ~ddition to tho voluntce~ co~panies now, allowed by lnw in Number of vol,
the several regiments, there may. bo raised tn each regiment, two compa- unteor compa,
nies of riflemen or light infantry, ns is provided by the Act aforesaid', en. ~lee thn~ m•y
titled "An Act to provide for tho mililary organization of this State;" • rulse '
provided, that not more than two volunteer companies of riflemen or light
infantry shall be raised in each battalion,
    Vil. That the Governor is hereby authorized to require all the arms be.
longing to the State, not in tho possession of some regularly organized Governor to
c~mpany of mililia, to bo collected; and such as are fit for use may be:;•p• 01 .•r~•
re.iBBued to any volunteer company applying for the same; and those unfit tbo0~f.::'f. 0
for use shall be returned to the arsenal, either in Columbia or Charleston,
and repaired or disposed of according to law.       .       ·
    VIII. That the citizens of James Island, Wadmnlaw, and John's Island,
conjointly; of Edisto Island, and of Port Royal and Lady's Island, con-fitiz•n • r d
jointly; of St. Helena Island, of Hilton Head, and Dawfusky Island, con- .~3'~:i1i:,: 1 10
                                                                                           10
jointly, are hereby authorized to form beat companies within their l'Ospec. form heat ~om-
tive limits, without regard to numerical force; nod shall be attached to 1'•111 ••·
their respective regiments, and shall conform to the law in other par.
ticulars,
    IX. That the major-general of the fifth division shall, within two
months from the adjournment of the Legislature, cause the ninth brigade DJvieion to ho
of said division to be divided into six regiments, as nearly equal in num. ~~de in ninth
hers as may be, in the following manner, to wit :-the district of York rigode.
shall be dividP.d into two regiments, and the districts of Spartanburgh and
Union, into four r~giment•i and when the said brigade shall be so divided,
the regiments mnbrncing a portion of the lower end of Spartanburgh and
the upper end of Union districts, bituate on the Enoreo river, shall be
attached lo and form a part of the tenth brigade.
    X, That four of the regiments composing tho said brigade, shall retain
the rank now held by the four regiments in said brigade, to be determined Regiment, 10
by lot; the rank of the fifth regiment of snid brigade, and the regiment rec'\!'.' their
attached to the tenth brigade, shall also be determined by lot; and they ran
shall be denominated accordingly.        .
    XI. That lo effect tho above organization, tho major.general shall have
power to appoint five or more commissioners in each district, n majority of Mnj. a,n. may
whom shall be a quorum to perform their duties, who shall proceed to divide •m>o,int com,
said brigade according to the provisions of this Act I and report tho same to '"'" 10••re.
the major-general within the time above specified, designating the bounda.
ries and lines of each regiment; and if either of tho said commissioners shall
wilfully neglect or refuse to perform the duty hereby assigned, he shall,
upon indictment and conviction thereof, be fined not leBB than one hundred
dollars. Within fifteen days after tho report of the commissioners is
received, the major-general shall issue an order, defining the boundaries
and rank of each regiment, and shall furnish the brigadier-general of each
brigade with a copy of such order ; and also, the adjutant and inspector.
general of the State with a copy of tbe same, to be recorded in his office,
    XII. Each brigadier-general, upon receiving the order of the major.
general, defining the boundaries of the regimflnls attached to his brigade,




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                                                                                EXHIBIT 13
                                                                                  0307
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  A.D, 1834.                         Acu relating to the Militia.
Brl odier Gen, shall forthw,ith c~use each regiment to, be divided into two battalions, a~d
to c~u,o regi- each battalion into four bent companies, as nearly equal as may be, w
"?•nle to be rli- respect to numbers and territory; to etfoct which, ho shall appoint com-
!:f~~dt~·r:.':~    mi!l!li~ners, five or ,more in, number, receiv~ thetr report, is~ue hie order
l\laj, General, defimng tho boundaries and Imes of the battalions and compames,and cau.oe
    ·             the same to be recorded, as is provided by tho fourth and fifth sections of the
                  Act aforesaid, entitled "An Act to provide for the military organization of
                  this State;" and each commissioner appointed by the brigadier-general,
                  shnll, for wilful neglect or refusal to perform the duty assigned him, be
                  subject to the penalty provided for like otfonce by the Act aforesaid; and
                  the said commissioners shall complete tho duties heroin assigned tbem,
                 ,within two months from the date of the order of the brigadier.general.
                      XIII. That the regiment of militia in the district of Sumter, known as
Twentielh          the twentieth regiment South Carolina Militia, be, and the same is hereby
regiment to bo required to be, so divided ns to form two regiments, as equal in strength as
divided,          practicable.                                             '
                      XIV. The brigadier-general commanding the brigade in which the said
H th b vo twentieth regiment is included, shall forthwith cause the said regiment to
...:1men~.",1~ail be divided into two regiments; ~neh of tho two regiments into two batta).
be divided,       ions; and each of the said battalions into four bent companies, as nearly
                  equal as may be, in respect to numbers and territory; lo effect which, he
                  shall appoint commissioners, five or more in number, receive their report,
                  issue his order defining tho boundaries and lines of the said regiments, bat.
                  tnlions and companies, and cause the same to be recorded, as is.provided
                  by the fourth and fifth sections of the Act aforesaid, entitled "An Act to
                   provide for the military organization of' this State;" and each commissioner
                  appointed by the brigadier-general, shall, for wilful neglect or refusal to
                  perform the duties assigned him, be subject to the penalty provided for tbo
                   like offonce by the Act aforesaid ; and the said commissioners shall com.
                  plete the duties herein assigned them, within two months from the date of
                   the order of the brigadier-general.
                      XV. Each officer in commission when tho organization of the brigade is
Oil\:'"& lo take completed, as is provided by this Act, in any regiment, battalion or com.
ran ' •,           pany, shall retain his rank and command, except whoo two or more offi.
                  ,cers of the same rank shall reside within tho limits of the same command;
                   in which case, an election shall be ordered by the proper authority, for
                  such otlicer or officers ; and if eilhor of the persons so in commission
                  shall be elected to the same office held by him before, he shall retain bis
                  .commission, and take rank from the date thereof,
                      XVI. If by this organization the offices of colonel, beutenant-colonel,
 Election, to bo major, captain, or other subaltern officers, in any regiment, battalion or
 ~=~ti~~ fill•a· company, shall be vacnnt, elections shall be forthwith ordered, as is now
         '         provided by law, lo fill such vacancy or vacancies,
                      XVII. Tho same number and description of volunteer companies per-
                   mitted by law to be raised in the regiments or battalions of infantry, may
                   be orµ:anized and attached to each of the said regiments or battalions,
                      XVIII. That the proviso contained in the thirty.ninth section of the Act
 Fineo, &-0,       aforesaid, entitled "An Act to provide for the military organization of this
                   State," limiting the fines to be imposed on non.commissioned officers or
                   privates for non-attendance at a company muster, to twenty dollars, be,
                   ond the same is hereby, repealed ; and in lieu of the fine heretofore imposed
                   for non-attendance nt company musters, the fine shall be two dollars, and
                  ,twenty per cent. on the last general ta~ or the defaulter.




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                                                                                     EXHIBIT 13
                                                                                       0308
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                         Act, relating to the ·' Militia,                                        A,U,1034,
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  XIX. That the recruiting limits of volunteer companies shall not here, Rrorulting
after be confined to the boundaries of the regiments to which they are at- llinlta of volun-
tachcd, respectively, but may extend to the boundaries of the brigades to te1r 001:;r•nica
which they belong, and not beyond them.                                      en n,g~ ·
   XX. The buttons worn on the uniform of the general, staff and field
officers, shall be convex: and those worn by officers of the lino, shall be What kind of
flat, having, in all cases, the palmetto crest, tho emblem of the State; but t•uons shall
nothing herein contained shall apply to the officers of uniform companies, • worn,
   XXI. That courts martial shall be hereafter held upon all defuulters at
 the several parades now authorized by law, to mount and relieve guard, Co~,'i~ w•rtial
and in cases of alarm of lire in the parishes of Saint Philip and Saint Mi. 10 • 0 •
chael, according lo the provisions of the Act entitled "An Act to provide
for the military organization of this State," passed on the nineteenth day
of December, eighteen hundred and thirty three, with the right of appeal
as provided for in the first se<:tion of this Act.
   XXII. Thut all Acts and parts of Acts contrary to the provisions of this
.Act, be, and the same are hereby, repealed,
   ln the Senate Houee, the sev~nteenth day of Dece111ber, in the year of our Lord onn
        thoUfmnd eight hundred ond thirty-four, ond in the Jil'ty-ninth year of the Sovereign.
        ty and Indepe11dc11ce of the U,llted St•t•• of America,
           H. DEAS, President ef tl,c Senate.
           PATRICK NOBLE, Speakt:r ef the Hmm ef Repmentative,•




.AN ACT FURTllllR TO PROVIDE FOR TIIE MILITARY ORGANIZATION OF No, 2650.
                                      TIIIB S1°ATE

   I. Be it enacted, by the Senate and House of Representatives, now             .
met and sitting in General Assembly, and by the authority of the same,             .
That for the purpose of effecting the immediate organization of the regi- ~trifr~:~,A~~r
ment situated on Broad River, in York District, in the ninth brigade South to muko por•
Carolina Militia, William C. Beatty, who has been duly elected and eom.•onaeligible,
missioned colonel of said regiment, be confirmed in his said commission,
and that he shall take rank from the date thereof; and that the ineligibili.
ty to hold office, specified in the eighth section of an Act entitled "An
Act to provide for the military organization of this State," passed on the
nineteenth day of Doc,cmbor, one thousand eight hundred and thirty-three,
shall be, and the same is hereby declared to be, inoperative in the said
regiment for the space of twelve months from and after the passing of this
Act, and no longer. And if it shall appear to the satisfaction of any of
the brigadier-generals of this State, that there are no commissioned officers
in any one of tho regiments under his command, who are, by law, eligible
to the offices of colonel, lieutenant-colonel, and major, in said regiments,
by reason of the provisions of the said eighth section of the Act aforesaid,
it shall be lawful for the said brigadier-general to commission to such offi.
ces aforesaid, any person who shall be duly elected to the same, notwith.
standing the disqualification of such person by reason of the operation of




                                                                                                 EXHIBIT 13
                                                                                                   0309
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  A, D, 1835.                       Acta relating lo the. l\filuia.
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                 the said eighth section ol' the Act aforesaid; provided, l,mocver, that such
                 per8on be not otliorwiso disqualitied from holding ollice; and prot•id1d,
                 that this provision continue of force only for tho time above specified.
                    II. That tho mnjor-genernls and brigadier-generals, re~pecti,·ely, shall
Power 10 order have power to order courts martini for the trial of nil commissioned and
oourto mnrtial. non.commissioned oflicers, musicians and privates, who may, at any time,
                disobey any orders issued by them, whether such orders be issued where
                the militia of this State be in actual service, or for ordinary musters, en-
                campments or reviews; provided, this authority shall not be construed to
                invnlidnto the conc11rrent power of colonels to order regimental court mar.
                 tials, as now provided by law.
                    III. That hereafter, it shall not be necessary for the members of a court
Santt>noe of
r.ourte martial martial, convened for the trial of defaulters, for neglect of militia or
to Im iundo     patrol duty, to keep secret the sentence of tho court ; but upon the final
public, &.c.    adjournment of the court mllrtial, the same shall be made public, for which
                purpose, the president of the court martial shall post up, at the place where
                the court was held, a notice, containing the names of nil persons fined by
                said court; and it shall, moreover, be the duty of the president of the
                court ma1·tial aforesaid, forthwith to transmit the proceedings of the court
                to the officer ordering the same, who shall retain in his possession the said
                proceedings for the space of thirty days from the adjournment of the court
                martial, durin~ which time, any person who !lmy conceive himself nggrie1·.
                ed by the dec1s1on of tho court, shall have the right of appeal to the otli-
                cer ordering said court; J>rovidcd, he shall accompany such appeal bv an
                affidavit, that he could not nttond tho court by which ho was tried; uor
                render his excuse in writing to the snme, and that he docs not appeal for
                the purpose of delay merely; nod it shall be the duty of the oflicer orJering
                the said court, at the expiration of the said thirty days, to issue an execu,
                tion against nil persons fined by the court, except such whose cases may be
                submitted for re-consideration, (as is hereinnfler provided,) directed to the
                sheriff of tho district in which they reside, in manner 1111d form following,
                that is to say :-
                                             Form qf Execution.
                     "'fnE STATE OF SouTH CAROLl~A:
Form ofexe•     To ntt and singular the Sheriffs of said Stitte :-Whereas, (he persons
cution.
              named In the schedule or list hereunto annexed, have been duly sentenced
              by a court·mnrtial, convened at--, on the - - day of.--18-, to pay
              the sums to their names affixed, respectively: You, nod each of you, are,
              therefore, hereby authorized and required to levy and sell of the goods and
              chattels of each person therein named, sufficient to pny the fine and costs
              which have been adjudged against him, and pay over the fines aforesaid to
              the proper officer ; und you nre further authorized and required, in case any
              person named in the schedule or list aforesaid shall refuse to pay the fine
              and costs adjudged against him, or to shew property sufficient to pay the
              same, to take the body of the delinquent, and lodge him in the jail of your
              district, there to remain until discharged by due course of law. Given un·
              der my hand and seal, this - - day of---, 18-. A B, (1. s.,)
                 Colonel of - - - regiment, Brigadier-General of--- brigade, etc,,
              (hs the case may be,")
                                            Form qf Sc!teJule.
                 "A B, two dollars, and 20 per cent. on his general tax for 18-.
Form of11ehe.
dula.           C D, three dollars, and fifty (50) per cont, on his general !wt for 18-,
                E F, one hundred dollars, 1


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                                                                                 EXHIBIT 13
                                                                                   0310
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                        Acts relating to the .Militia,                                    A, 11,1835,
                                                                                         ~
    I certify the nbove schedule to be n true copy of the fines imposed on the
persons therein named, respectively, bya court.martial convened under my
orders,at---, the---dayof--,18-, (Signed.) AB,(with
the rank attached.")
    Which said execution shall be lodged in the office of the sheriff aforesaid,
within ten days after the expiration of the thirty days aforcsuid, or as soon
thereafter as practicable; and the sheriff, for every fine paid lo him prcvi.
ous to levy, shall be entitled to receive from lhc delinquent the sum of fifty
cents ; and for every fine cpllectcd by the sheriff, after lovy of the said
execution, he shall be entitled to recoive from the delinquont the sum of
one dollar, and the usual fees for advertizing. ,
    IV. That in no case wherein courts-martial have proceeded according to
law, and ,fined defaulters for neglect of m_ilitia or patrol dut:i:, shall the ?ffi· f;:,;it,::~c: 1-r
cer ordcrmg the _same havtJ power to remit such fines; but 1f he conceives JecU~n. • 0
that the court has mistaken the law, or erred in judgment, in any case,
whether by imposing n fine or excusing n defaulter, he may re-assemble
the court to re-consider euch cnse, and mny assign his reasons to the court,
which shall forthwith proceed to re.consider, and their decision shall be final
and conclusive ; and the officer ordering said court shall forthwith carry
such decision into cffoot.
    V. That in cnso any delinquent shall neglect or refuse to pay the fine
imposed upon him, as aforesaid, and the cost accruing, or shall fail to O r u to
point out to tho sherifl' aforesaid sufficient property to pay tho same, it p:n';~\\.~\y
shall be the duty of the sherifl', by virtue of the execution aforesaid, imprisonment,
to arrest the body of such delinquent, and commit him to close con·
finement in the common jail of his district, there to remain until such
fine and cost be paid; prwided, the person so committed shall, at the end
of a certain time, to ho computed at lhe rate of one day for every dollar
ho may be adjudged to pay, as aforesaid, be released, upon swearmg, before
some justice of the pence or quorum, that he is unable to pay the sum for
which he stands committed ; and providetl, also, that in no case shall any
person so committed be confined in prison for a longer period than ten days,
if at the end of such time ho shall take tho oath aforesaid,
    VI. That each member of a court martini, convened for the trial of de.
faulters, for neglect of militia or pntrol duty, shall hereafter, in lieu of the
oath now proscribed, take the following oath, to ,wit :
    "I do swear that I will well 1111d truly try and determine the cases which
shall be brought before me, according to the law and the evidence which                    Onth,
shall be adduced, and that I will not divulge tho vote or opinion of any par.
 ticular member of the court martial, unless required to give evidence there.
of in a court of justice, m due course of law. So help me God"
    VII. That hereafter courts martial for the trial of general and field offi.
cera, shall consist of not less than five nor more than thirteen officers ; that How man_y the
upon a court martial to try a major-general, a major.general and not less cour! ,ball
than two brigadier.generals, shall sit, and the other members of the court """"'1 of,
shall be field officers of and above the rank of major; that a brigadier-gene·
rnl shall be tried by one or more brigadier-generals, and the other members of
the court shall be field officers, not under the rank of major ; that a colonel
shall be tried by one or more colonels, and the other members of the court
shall be officers not under the rank of captain; that a lieutenant.colonel
and major, respectively, shall be tried by one or more lieutenant-colonels
or majors, !IS tho case may be, and tho other members of the court shall be
officers not under the rank of captain,
    VIII. That in all cases of contested elections for brigadier.generals, the




                                                                                       EXHIBIT 13
                                                                                         0311
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  A,0.1835,                             Acta relating to the Militia.
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 ContcstP.d
                       same shall be tried by a board of officers to consist of a major.general and
 elections.            four other officers, not under the rank of lleld officers, whose decision shall
                      be final and conclusive; nnd in all cases of contested election for major.
                      generals, tho same shall be tried by a board lo consist of one major.general,
                      one brigadier general, nnd three colonels, whose decision shall be final and
                      conclusive; the former board to be convened by the major-general, the
                      latter by the commander.in.chief,                                         ,
                 ,       IX. That commissioned officers who have been, or may hereafter be,
 ~~cer••~>Jectappointed,           uccording to the provisions of the existing lnw, and who nre not
.:.;r:_e     O
                      required to uniform themselves, shnll, notwithstanding, be subject to serve
                      upon conrts mnrtinl, and shall not be required to appear in uniform.
                         X. Timi when courts martini shall be convened for the trial of any offi,
    ••
      i.a•~n·:t•
 ~oll 0 O cer Within its jurisdiction, if any of the officers required by the order COD•
 8
             ti    • vening tho court, to sit on the same as members, shnll not appear, their
                      places shall he filled from among the supernumerary officers ordered to at.
                      tend the said court.
                         XI. Thnt whenever an officer has heon cashiered and disqualified from
 Ro,r,ecting          holding_ office, by the sentence of a court.martial, which sentence has been
~:;!'.'°' 6
            ,t •Ill• approved n~d carried into ctfoct, ~nd such .~fficer shall be voted for and, re-
                      cmve the highest vote at an electton for m1ht111 officers, before the expira-
                      tion of his term of disqualification, the officer nlllhorized to commission
                      to said office shall disregarri such vote, and commission the person having
                      tho highest vote at such election, who, agreeable to law, may be eligible to
                     said office,
                         XH. That whenever the commandants of regiments or battalions shall
!~~~. ';;~\i.. assemble their commands for drill or review I they s~nll be ke~t o~ duty at
 lions ~ml com- least three hours, and tho commandants of companies shall, tn hke case,
 pcnl,o »hall be drill their commands at least two hours, excluding the necessary intervals
 kept on duty, of rest.
                         XIII. That for the purpose of enabling colonels or majors to attend the
How colonnla company drills within their command, as required by law, they shall have
and mnjul'8           power, respectively, to order such drills as th~y shall attend, at such times
may order
company              as they may deem proper. Provided, such order be issued to the com.
drill,.               mandtng officer of such company, at or previous to the preceding company
                      muster.
                         XIV, That tho colonel of each regiment is hereby authorized and re•
:•1~g~:i;;~;Y' quired to appoint and commission a regimental judge advocate, with tho
  • '               'rank of lieutenant, who shall be attached to his staff, and who shall net as
                     recorder to all courts martial which shall ho ordered by tho colonel or com-
                      manding officer of his regiment.                 •
                         XV. That it shall not be lawful for any officer commanding a company,
~f.::'!i'.Utute battalion, or regiment, when his command shall be assembled for drill, in-
                     spection or review, to receive a substitute in the place of any person re.
                     quired by law to do militia duly, under a penalty of not less than five nor
                     more than 6fty dollars, to be imposed by a court martial.
                         XVI. That the captain or commanding officer of each company shall
Clrrk of com• have power to appoint a clerk of the company, who shall be exempt from
fr':,~! ~:/if pt drill at company, battn.lion, or regimental musters, and whose duty it shall
                     be, under the superiotendance of the ·captain or commanding officer of the
                     company, to take a census of the company when required, to make out and
                     keep a regular roster of those who are liable to perform patrol duty, and to
                     furoisb orders and lists for such duty, Aud in consequence of the sergeants
                     of companies being heroin required to attend the brigade encampments of




                                                                                            EXHIBIT 13
                                                                                              0312
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                           OF SOUTH CAROLINA.
                         Act, relating to the Militia.                                A,D, 1830,
                                                                                     ..__..,.._,,
  officers, they shall be exempt from the duty of warning the men to attend
  musters al)d courts-martini, and such duty shall herenl'ter be performed by
  the corporals of each company, under the penalty of twenty dollars.
     XVII, That tho ollicer or other person whose duty it may be to summon
  defaulters for neglect of militia or patrol duty, to attend court-martial, may R I      r~
  make his return upon oath, in writing, to the court; and any ollicer of tho ra7.1~.~ ~ob!.
  division, brigade, regiment, baltalion1 or company, und,•r whose authority on o•th.
  be shall be acting, is hereby authorized to administer to such officer or per.
  son the usual oath, certified as is now prescribed by law.
     XVIII, That it shall be lawful for nil commi,,sioned ollicers, when sum.
  mooed to attend a court-martini for n"glcct of militia or patrol duty, to E,cu,c• 1 b
  oond their excus;,s, in writing, to the court, rendered upon oath, and ccrti- m,der,d 0: •
  fied by any officer or other person authorized by law to administer oaths; 0 • 1h,
  and all such excuses shall be received and acted on by the courl•martial,
  unlesa, in the opinion of the court-martini, the personal attendance of such
 defaulter shall be necessary to a proper adjudication of the matter,
     XIX. That it shall be lawful for any person entitled to vote for field offi.
 cers of any regiment or battalion in this State, to give his ballot at any Limii, where
 election poll which shall be held agreeable lo law, within the limits of such pr.r•on, may
  regiment or bat tu lion ; except in tho parishes of St. Philip und St Michael, vote·
 where such voter shall be required to vote at the election poll of the com-
 pany to whit,h he bolungs.
     XX, That the ollicors commanding divisions, brigades, regiments, bat·
 talion, and companies, shall, respectively, have power to order out such Fatigue ..foly.
 persons as are by lnw liable to fatigue duty, to perform such duty as fa.
 tigue.men us shall bo duem1,d necosijnry for military purposes ; provided,
 they shall not be rcqnirod to be on such duty for a greater number of dnys
 in each year than thu olliccrs of this State are required to be on militia
duty.
     XXI. That when a brigntlicr-gencral shall receive and commission the
 officers of any company of a1tillory permitted lo be raised within the lim·       ;,~~:~~!,~~~
 its of his command, except such as mny be attaclwd to a bnttalion of ar- in~ •riitlory
                                                                                               1
                                                                                                •

 tillery, be shall h1LVe power to dl\signnte the rl!giment nod bnttnlion tocump• 11 •••·
 which tho said company shall he attached; 7,rovided, 1here shall in no
CB86 be more than one compnny attached to a regiment.
     XXU. That the quarter.master general shall, from and nfter the passing
of thia Act, receive an annual snlnry of five hundred dollars.
     XXIII. That in nil cases where the dividing line between regiments in Where ollieora
any brigade in this State shnll puss through the lands on which any officer '""Y lawfully
holding a commission in either regiment shnll reside, it shall be lawful for ' 0 "'do,
11uch officer lo reside on either aide of said line, without 11 forfeiture of his
commission,
    XXIV. That whenever, from any cause, any bent company in any dis.
trict or parish in this State ahall be without commissioned officers for the Mn~imni•'•
term of three months, it shall he the duty of the mngistrnles of the sai,I duty wl_,ere
beat, on the information of any of the inhabitants thereof, to issue patrol ~:\'1',',:~:"'im:·
warrants to any competent persons to execute the pntrol du hes of said bent; ccr,,
and the said magislrnle shall cause returns lo be made to him, and impose
the same fines and penalties for non-execution thereof as are now imposed
bylaw.
  '?{-_XV. That the division quarler-~msters, respect_ively, shnll, when re. Q,rnrrer,maa•
quired, take charge of the tents wluch may be furnished by the State, for ter'• duly.
the ueo of their divisions; and shall, when required, cause the said tents to
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                                                                                    EXHIBIT 13
                                                                                      0313
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  A,D,1835,                             Acts r~lating to the Militia,
 ~

                     bo carried to the brigade encampments of officers within their divisions;
                     and at the close of said encampments shnll cause the said tents to be re.
                     turned and deposited under their care ; the expenses of trnnsportation, and
                     such other expenses as may bo nccot<Sary to procure a suitable pince of de.
                     posit for antd tents, to be paid by the State; and the said quarter-masters
                     shall return their accounts to the Governor, who is hereby autborized to
                     pay the snme out of tho contingent fund.
                         XXVI. That the encampments of officers, required by t_he twc11ty-seventh
 Bergeonts and section of an Act entitled 11 An Act to pro\•idc for the military organization
 others, re,         of this State," passed on the nineteenth day of December, in the year of
 quir<l to •t· our Lord one thousand eight hundred nnd thirty.three, shall continue for
 ~~nl~~canip• six days; trnd, in addition to the oJl\eers therein required to attend said
                     encampments, the sergeants of each company, and tho non-commissioned
                     regimental staff officers, arc hcrebv required to attend said encampments,
                     for the purpose of receiving military instruction, and shall be equipped with
                     a musket and bayonet, cnrtouoh box, and twenty.four rounds of blnnk cnr.
                     !ridges; and for non-attondance at the said brigade encampments, each of
                     the aforesaid officers shall be liable to be fined in the sum of fifteen dollars;
                     and in lieu of the fines now imposed by law on company otlicers for non-
                     attendnnce of brigade encampments, they shall each be subject, for such
                     neglect of duty, to pay a fine of thirty dollars.
c 1 , , dut              XXVII, That it shall be the duty of the captain or commanding officer
.;.r   pu.;~:i,y. y, of each company' under the penalty of fifly dollars, to be imposed by
                     courts-martini, to keep constantly in office in bis company tho full number
                     of non.commissioned officers required by law ; and any person appointed a
                     non-commissioned officer, who shall refuse to serve, shall be liable to a pen.
                     alty of thirty dollars, to be imposed by a court martial.
                         XXVIII. That any person who shall disturb the camp, or violate the re.
 fu0,ti),:[ ~r di,- gulations thereof, of any portion of tho militia of this State, who shall be
camp,                encamped in obedience to requirements of law, or voluntarily, shall, for
                     such offence, be liable to a penalty not exceeding fifty dollars, to be im.
                     posed by any court.mnrtial ordered by the oommnndant of the camp to try
                     such oflender, in addition to being confined under guard, at the discretion
                     of the commanding officer, not exceeding twelve hours. And whenever
                     any portion of the militia shall be voluntnrilv encamped for the purpose of
                     military instruction, they shall be subject to the same rules and government,
                     whilst encamped, as are established for the government of encampments
                     ordered by law,
 Buperinlcn.             XXIX. That when the Commander.in.chief or the major•geheral ofa divi.
 deuce of the sion, within his command, shall attend the brigade encampments prescribed
 flPClllUJ)UlOllt• by law, he shnll superintend and regulate the duties of the encampment, in
                     such manner as he shall deem proper and conformable to military usa,,ae.
 Governor to
                         XXX, That the Governor, on the requisition of any brigadier.general,
 ~upply nrmA 1 is horeby authorized to cause to be issued, from any of the arsenals
    owder, nml of this State, such portion of the public arms ns may be nece-ry and
 f, nnd  to 1he      suitable, (in addition to those in possession of tho volunteer companies
 oOiccrs iu Otl•
,oa.mpmcnt,          within the brigade,) to supply the officers required to attend brigade en.
                     campments; and the officers of volunteer companies, in each brigade, hav.
                     ing under their charge public arms, arc hereby required to furnish the same,
                     upon requisition of the said brigadier.general of the brigade ; which arm!
                     the said brigadier-general shall cause to be returned to the said officers in
                     good order, as soon as may be after the close of the encampment, and shall
                    ,::a.us~ a~y damage done to the same to be re_paired at the public expense;




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                                                                                        EXHIBIT 13
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                            Acta relating to ll1e Militia .                                          ..._._,._
nod tho Governor is horohy authorized and required to furnish for each on•
cnmpmont suoh quantity of powder as ho may deem necessary and proper,
and likewise to furnish a band of military music, each at the public ex·
pensc.
    XXXI. That as soon as may be practicable, the Governor is hereby re- llook•Co bo
quired to purchase and distribute for tho use of the general and field officers furniehcd.
of this Stnte, sixty copies ench of !U'Comb on courts-martial, and the re.
gulations for tho nrcny of the Unitod States,
    XXXII. 'fhnt tho Governor shall cause to be published, in pamphlet
form, such numhor of copies of this Act as will supply each commissioned Cop'             r ch'
officer with ono copy, and shall cause tho snme to be distributed as soon as Aoc,'~~/book~~
prncticnblo; and ho shall also cause to ho published, for the use of the in•
fantry otlicers, n selection from Scott's infantry tactics, tho column of at.
tnck, square against cal'ltlry, nnd such other evolutions as he may doom no.
cessary to perfect tho drill 1,ook for infantry ; nnd likewise cause to be pub,
lishod and distributed the sword exercise for cavalry,
    XXXIII. That so much of the Purysburg beat company, attached to the f'uryeburg
twelfth regiment South Carolina militia, as lies cast of New river 1 be, and bent company,
tho same is hereby, attached to tho Oakely beat company in the same re,
gimcnt.
    XXXIV. 'fhat the colonel of tho fifteenth regiment South Carolina mi.
litia,Lo  ,nuthori~ed ~o commission th~ mnjor elect of the upper battalion in               0
                                                                                                    ~tir i~c~ t::
that regiment, m virtue of the olochon heretofore held 1 to take date from giruent.
said election,
    XXXV. All officers who have held, or shall hold, commissions in the mi•E            .
lit in of this State, for tho term of ton yenrs consecutively I shall be there. xempt,on.
after exempt from the pert'orma.nco of ordinary militia duty.
  In the Scnnta Ho11sc 1 tho nint>teerllh dny of DcccmhtJr1 in tho ycnr of our Lord onethouannd
         eight hundrcrl and thirty•0Vti 1 nnd in the E1ixtie-th year of the Sovereignty nnd Jnde•
         pentlonce of tho United Stntea of Amtlrica.
            H. DEAS, President of tl,e Senate,
            PATRICK NOllLE, Speaker qf tlte House qf Representative.,,




AN ACT To ALTER AND AMEND TUE J'C.URTEENTH SECTION dF AN AcT No, 2656,
  ENTITLED '' AN AcT TO I'RO\'IDE FOR THE MORE EFFECTUAL PERFORM•
  A.SOE OF PATROL DUTY," PASSED                   ON 'r!IE    EIGUTEENTU DAY OF            DE•
  CElIBER 1 IN THE YEAR OF OUR LORD ONE THOUSAND EIGHT HUNDRED
  AJ:1D NINETEEN,

  I. Be {t enacted, by tho Sonnie nnd House of Represe'ntatives; ~ow
met nnd sitting in General Assembly, nnd by the authority of the same,
That the fourteenth section of an Act entitled "An Act to provide for the
more offoctunl performance of patrol duty," passed on the eighteenth day
of DecembfJr, in tho yonr of our Lord one thousand eight hundred and nine-
teen, be, and tho sumo is hereby, nllorcd and amended so as to read as




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                                                                                                 EXHIBIT 13
                                                                                                   0315
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 ..__...,._,,
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                follows, to wit : every owner of any settled plantation shall employ and
                keer on or in the immediate vicinity of such plantation, some white man,
                capable of performing patrol duty, under the penalty of fifty cents per
                head per month for each and every working slave which may be on such
                plantntion, to be recovered by indictment, one half to the informer, the
                other hnlf to the use of the State. Provided, alwaya, thnt [nothing] herein
                contained shall be construed to 11flect any person or persons who resides on
                his, her or tlirir plantation, for the space of six months in the year, or who
                shnll employ less thnn fifteen working slnves on such plantation.
                  In the Senate Hm11:1e, the nineteP.nth day of DecemLer, in the year of our Lord ooe
                       thou~am.1 eight hundred and thirly-five, and in the si:11.tieth year of tho Son,..
                       reignty amt lmiojltHlllence of the Uultetl States of Anteriea.,

                          H. DEAS, President qf the Sl'llate.
                          PATRICK NOBLE, Speaker of the Hoiue of RrprmnJutiuu.




  No. 2660. AN ACT To coNsoL!DATE THE FrnsT Co:MPANY or THE CHARLESTOll
             ANcIEN'r BATTALION OF ARTILLERY, AND THE JEn-EReoN Axnu1111r,
             INTO ONE COMPANY I AND TO INCORPORATE '!'HE BAHE ; AND FOIi OTUU
                   PURPOSF,8,

                   I. Be it enacted, by tho Senate and House of Representatives, now met
                and sitting in General Assembly, and by the authority of the same, That
                the first company of the Charleston Ancient Battalion of Artillery, and
                the Jefferson Artillery, two companies of the battalion of artillery attached
                to the fourth brigade of militia of this State, be, and the same are hereby,
                consolidated into one company, by the name and title of "1'he Charleston
                Ancient Artillery;" and that such persons as have, by agreement between
                the said two companies, been nprointed to offices in the consolidated com.
                pnny, be commissioned by the commander-in-chief of this State accord.
                mgly ; st1ch of them ns at present hold offices in either of the said com.
                pauies, to take rnnk from the dates of their present commissions, re,
                spectively.
                   II. And he it further enacteJ., That those persons who now are, or here.
                after may become, members of the said consolidated corps, be, and the same
                are hereby, created and declared a body politic and corporate, during the
                pleasure of tho State, by the name and style of "The Charleston Ancient
                Artillery;" and that the said corporation shnll be cnpnble in law, to have
                succession of officers and members, to be chosen and admitted according
                to the rules and regulations made or to be made for its government and
                direction; to make all lawful by.laws; to have a common seal, and to alter
                the same; and, by its said name, to sue and be sued, implead and be im-
                plo11ded, answer nod be answered, in any court of law or equity in this
                State.
                   III. And be it farther enacted, That the companies composing the battalion
                of artillery in the city of Charleston, be, and the same are hereby, exempt



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                                                                                           EXHIBIT 13
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                        Acta relating to the l'rlilitia,                                      A,!), 11136,
                                                                                              ...__..,,,...._
from mounting and relieving fire-guard, and from attendance, by companies,
in cases of alarm of fire in the said city ; and that In lieu thereof, it shall
be the duty of the major, or other officer in command of the battalion,
once in every three months, to detail an officer and a sufficient number of
privates to man one piece, to attend at the arsenal at each alarm of fire,
for the three months next succeeding; which officer and privates shall be
eubJect to the same fines for default, and be tried by courts martini in the
811me manner, as now provided by law for defaults in the perf'orm,rnce of
fire-guard duty.
   IV. And be it .furtner enacted, 1'hat each corps of artillery throughout
the State, shall be allowed the sum of twenty.five dollars p~r annum, for
each piece of artillery fully manned and regularly exercised by the said
corps, respectively, for the 1mrpose of defraying the expenses of the same;
to be drawn from the treasury by the order of the commanding officer of
each corps, countersigned by the commanding officer of the regiment or
battalion to which the said corps may be attached : provided, the sum so to
be drawn shall in no case exceed one hundred dollars.
  In tho Soaato lloueo, tho nineteenth day of Dccemhot, In the year of our Lord one
        thou•and eight hundred and thirty-five, nod in th• sixtieth year of the Sovereignty
        and Independence of the United State, of Atnerica,
           H. DEAS, Preaident qf the Senate.
           PATRICK NOBLE, Speaker qfthe Howe of Represenlativea.




AN ACT llt7RTUBR TO PROVIDE FOR TUEi MILITARY OROANIZATION OF No, 2686.
                                     'rHIS STATE,

   I, Be it enacted, by the Honorable the Senate and House of Rcpresen.
tatives, now met and sitting in Gcncrnl Assembly, and hy tho authority of
the same, That all persons residing on St. Helena Island, be, and they are \lt!~:U~;lena
hereby, authorized to organize n corps of mounted riflemen, to be attnched           ·
to tho twelfth regiment, to be called "The Saint Helena Mounted Rifle.
men," and subject lo all the duties to which they have heretofore been lia-
ble as a bent company; and that the said company hereby authorized to he
formed, shall attcod the reviews of the said regiment, either ,m foot or
horse, as the colonel shall direct; that the said company shall parade and
mu8ter onco every two months; and shall perform patrol duty as now re.
quired by law.
   II. That the persons composing the Charleston Fire Company of Axe. E            ,
men, and the city Constables of Charleston, provided the latter do not ex. f,:;m!\lfn!
coed twenty-four, be, and they are hereby, exempted from the perform. duty,
ance of ordinary militia duty.
   III. All officers who have held or shall hold commissions in the militia
of this State, for the term of seven years consecutively, shall be, thereaf.
ter, exempt from the performance of ordinary militia duty.
   IV. That the system of instruction and regulations, prepared and ar.
ranged under the superintcndance of Major General MuComb, and esta-
blished for the government of the militia and volunteers of the United
States, be observed in the instruction and exercise of the militia of this-



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                                                                                              EXHIBIT 13
                                                                                                0317
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  A, D, 1836,                         Acu relating to tlie Militia.
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Book• ofin,       State; and that nil Acts and pnrts of Acts inconsistent with this Act, be,
oiruciiun,        and tho same arc hereby I repealed, And that the Governor be, and he is
                  hereby, authorized to purchase a suflicient number of copies of said book
                  of instruction and exercise, and distribute one copy thereof to each officer,
                  who shall, on his resignation or removal from office, deliver tho same to his
                  successor, or to the colonel of the regiment to which such oflicer belongs;
                 and in case of the death of any ot!icer I his logo.I representative shall deli-
                  ver over the same to such successor or colonel of tho regiment as aforesaid,
                  under tho penalty of four dollars, which shall be recoverable before any
                 justice of the pence or quorum of this State, on information and proof of
                  tho said offence; which sum, when collected, shall be paid to the paymas.
                  ter of the regiment in which the default wns made, and shall be applied to
                  replace tho book or books, so withhold, lost or destroyed ; and the sum of
                 twenty.five hundred dollars, if so mtich be necessary, be, and tho same is
                 hereby I appropriated to purchase twenty.five hundred copies of said boo~
                 of instruction and exermses.                 .
                     V. And be it further enacted, 'l'hat it shall hereafter be the duty of
Adjutant Gnn, tho adjutant nnd inspector general, and ho is hereby required, in addition
to ntten,I nnd to his duties heretofore prescribed by law, to attend, once a year, the mus-
instruct rcgi~
moots.           ter of each regiment in the State, and the drill of tho officers of each the
                 day previous ; and whenever he shall deem it necessary to tho correct in.
                 struction in military tactics of the officers or the regiment, he may act as
                 instructor ; provided, there shall be no superior oflicer present who may
                  think proper to assume the direction of the drill; and ho shall, with the
                 consent of tho commander-in-chief, have power, and ho is hereby autho-
                  rized, to order out for drill the said regiments, at such times as will best
                 enable him to perform tho duties hereby assigned.
                     VI. He shall keep a military Bureau, and shall keep II record of the
1'o keep n mlli- number and rank of each division, brigade and regiment, in the State;
:ry nu...,nu, procure and record, annually, a return of the strength, arms and equip,
  •·             ments of the militia ; the names, rank and date of the commissions of all
                 the general, staff and field officers ; record nil military orders received or
                 issued by him ; and, generally, all matters which relate to the militia, and
                 which, in his opinion, mny be necessary to enable him to exhibit the true
                 strength, character and condition, of the military force and power of the
                 State,
                     VII. He shall, once a year, visit and inspect the arsenals and maga.
                 zincs in tho State, and report to the commander-in.chief, to be by him sub.
                 milted to the Legislature; and record in his office their condition, the
                 number and condition of the arms, equipments and public stored in each ;
                 the number and description of public arms and equipments distributed to
                 the militia each year, and the disposition and conditions of such distribu.
                 tion; the strength of the guards at each, the duties performed by them,
                 their general condition and efficiency to discharge the duties required of
                them. And to enable him to perform this duty, the quarter-master-general
                and other officers having charge of those dcpnrtments, shall, when re-
                quired, make to him full reports of the different matters committed to their
                charge.
                    Vlll. It shall further be the duty of the adjutant.general, and he is
                hereby required, to deposite in the Executil·e office at Columbia, in a Bu.
                reau kept for the purpose, o. true record of all matters relating to bis office,
                as is hereinbeforo enjoined.
                    IX. That hereafter, a regiment of cavalry may consist of eight troops




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                                                                                     0318
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                          Acta relating to the Miluia,                                              A,ll, 1R36.
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of horoo ; and that a squadron may consist of four troops of horse ; and
the lieutenant colonel, major, or officer commanding a squadron of cavalry, Cavalry.
may, and is hereby authorized to, order courts martial for tho trial of all
defaulters at troop or squadron musters, in tho same way, as far ns practi.
cable, as is now done by the colonels of regiments of cavalry.
   X. That the annual salary of the Arsenal keeper in Charleston shall be,
and is hereby, increased to the sum of one thousand dollars.
   XI. That a small magazine shall be erected in the citadel in Charleston,
and the sum of twelve hundred dollars, if so much be necessary, shall be,
and is hereby, appropriated for that purpose.
   XII. That tho arsenal, magazine and guard houses, situated within the
corporate limits of the town of Camden, be, and the same are hereby,
transferred to and vested in the Town Council of Camden, to be used for
corporate purposes.
   XIII. And be it further enacted, That such persons residing in the town         b' Fi
of Columbia, not exceeding thirty in number, 118 shall organize themselves O I
into a Fire Engine Company, and train, exercise and do duty as such,
                                                                                                  c~,:~'!.:;. "'
whenever called on by tho town council, shall be, and they are hereby, ex.
empted from the performance of ordinary militia duty, so long as they
continue members of said company, and faithfully discharge the duties
hereby enjoined ; prwided, that no person or person• hereby intended to
be exempted from militia duty, shall be sci excused, until the officer com-
manding the regiment in which they reside, shall be furnished by the town
council with a statement, certifying the names of the persons enrolled in
said company, its organization and readiness to perform the duties hereby
required,
   XIV. That the ineligibility to hold office, specified in the eighth section R . 1 i
of an Act entitled '' An Act to provide for the military organization of this          n          o'::!~:;f1:.
State," passed the nineteenth day of December, one thousand eight bun.
dred and thirty-three, shall be, and the same is hereby declared to be, ino.
perative in the two regiments of infantry in Greenville district, for tho
space of twelve months from and after tho pnssing of this Act, and no
longer.
   XV. That in all Cll8es of appeal heretofore allowed by law for default of
militia or patrol duty, the officer ordering the court shall hear the case, and
his decision shall be final and conclusive, and be shall issue executions as
is in other Cll8es provided by law.
  In the Senato House, the twenty.. firet day of- December, in the yeor or our Lord ono thou ..
       oand eight hundred and thirty••ix, end in the sixty.first year of the Sovereignty
        and Independence of the United States of America,
          PATRICK NOBLE, Pmident ef the Senate.
          D. L. WARDLAW, Speaker ef the HOU8e ef tlepreaentative,,




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                                                                                              EXHIBIT 13
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  A,0, 1837,
 .._..,,._,,                          Act• relating to the .Militia.

 No. 2714, AN ACT          FURTIIER TO      PROVIDE FOB Tllil MILlTABY OBOANJZATIOII' OP
                                 TillB STATE; AND FOB OTIIER PURPOSES,

                     I. Be it enacted, by tho Honornble the Senate nnd House of Repre.
Bnttnllona to     sentolivcs, now met nnd sitting in Gener~I Assembly, and by the au.
 drill once a     thority of thu Aame, That from und after the passmg of this Act, it shall be
year.             the duty of the colonels or otlicers commanding regiments to order out their
                  rcgimcuts, by l.rnttnlion, for drill, exercise nnd inspection, once in each year;
                  the commissioned and non.commissioned officers to assemble the day pre-
                  vious for drill; and courts martini upon defaulters for such musters, shall
                  be ordered and holden ns is now provided by law.
                    II. And be it .farther enacted, That whenever the number of volunteer
                  corps of light infantry or riHemen, now existing in any regiment of infantry
~:s0of0,~f   i~- in this State, shall be reduced to two in number, that it shall not be lawful
 teers to e11ch to permit the raising of more than two of such corps in each regiment, one
 regimonc.        of which, if prat'licable, shall be raised in and attached to each battalion,
                  and shall consist of sixty.four rank and file, with the compliment of com.
                  missioned nnd non.commiss1oned officers, now or hereafter to be required
                  by luw, in full uniform.
                     UI. And be it furtl,er enacted, That the artillery corps now allowed by
Rank and file lnw, shall consi'st of sixty.four rank and file, with the compliment of com.
of or1illery      missioned and non commissioned officers, now or hereafter to be required
corpa.            by law I in full uniform; and nil such corps that are now in existence which
                 shall not, within twelve months from the passing of this Act, be organized
                 as above specified I shall be dissolved.
                    IV. And be ii further enacted, That it shall be the duty of the oolo.
Inopection•, nel or officer comm,rnding the regiment, to cause the volunteer light
                 corps above spccitiod, lo be inspected once in each year, and if, at any
                 such inspection, it shall nppenr that the number of rank and file of any
                 corps in comph:te uniform, is below the number required by law, he shall
                 notifv such corps of tho fact; nnd provided, that it shall not recruit its
                 numi>ers to tho compliment required for its organization, ll'.itbin twelve
                 months from tho dnto of the notice, it shall be dissolved.
                    V. And be it fiirther enacted, That the artillery corps attached to the
A . .
      11
                 regiments of infltntry I may be armed with muskets and bayonets, or
L:'~n~,;;'d field pieces, (to be furnished by the State,) at the discretion of the com.
         :•1n.
fantry.          mander-in.chief.
                    VI. And be it further enacted, That the non-commissioned statr of
                 each regiment, and the sergeants of companies, shall each be furnished
Prill Books, with a drill book similar to that used by the company officers, and up-
                 on the same conditions; and that the sergeants hereafter appointed, shall
                 be exempt from road duty I during tho year in which they are required
   llergeante, to attend the brigade errcampments1 except in the parishes of St. Philip
                 and St. Michael, and in lieu thereof, any person who shall eerve as a
                 sergeant in said parishes for ten years consecutively, shall, thereafter,
                 be exempt from ordinary militia duty,
                    VII, And he it furtl,er enacted, That hereafter, corporals shall serve
   Corporal,. for one year I and be ijUbjected to a fine of thirty dollars for refusing to
                 accept the appointment and discharge the duties thereof,
                    VIII. And be it further enacted, That hereafter, for non-attendance
                 of brigade encampments authorized by law, the following fines shall be
                 imposed :-a major.general, one hundred and fifty dollars ; brigadier.gene-
                 ral, one hundred dollars ; colonels, lieutenant-colonels, and majors, each,




                                                                                      EXHIBIT 13
                                                                                        0320
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                          OF SOUTH CAROLINA,                                                693
                       Acta relating to tke Militia,                                 A,D, 1837,
                                                                                    ~

 seventy.five dollars; captains and subaltern officers, each, fifty dollars;
                                                                                      1
 and similar fines shall ho imposed upon nil staff officers, according to their ~:,~.~ttfu!d~nco
  respective gradt>s; nod upon the non.commissioned regimental stat!' officers nt enonmp-
  and sergeants, thirty dollars; and upon sergeants for refusing to accept monte,
  their appointments, each, thirty dollars; and upon company officers, who
 shall be elected or appointed us now provided by law, for refusing to
  accept and perform the duties of their oflice, euch fifty dollars,
     IX, Be it enacted, That any person or persons who now aro, or hereafter
  may be, exempt from the performance of militia duty, shall attach him. Volunteers,
 self or themselves to any volunteer corps of militia, and have accepted, or
 shall accept any office, whether hold by commission or warrant, he or they,
 11hall be sJbject to the same fines and forfeitures, respectively, that officers
 of their rank now are or shall be lmblc to by law.
     X, A11tl be itfurtker enactrd, That any captain or commanding officer
  of a company, or lender of n patrol, who shall neglect to perform the duty Patrol duty.
  assigned him by tho laws rcguluting the porformunce of' patrol duly, shall
  be tried by courts martini, in the same manner as tho officers of the militia
 are, and subjected to the samo line ns now provided by law,
     XI. Ana be it further enated, That all penalties incurred for the neg.
 lect of militia or patrol duty, mny ho imposed by courts martial, within Penalty ror
 twelve months from the time of making default, and not thereafter; but neglect,
  upon juds,lment being had, the party shall be liable to execution and col •
.Jection as in civil casos; 7,rovidcd, that nothing heroin contained shall
 release the collecting officers from the pcrfornmuce of their duty ns now
 required by law,
     XII. And be it furtli11r enactr.d, Thul tho colonels or commanding offi.
 cers of regiments, shall order courts martini for the trial of defaulters of courts martini,
 militia or patrol duty, to sit at each bu!tulion mustor.ground, or at such
 other pince or plnces, within the limits of his regiment, ns he may deem
 expedient; and it shall lie the duty of the officers aforesaid, to issue 1111
 order to the commanding c,Jliccrs of companies, flotifying them of the
  times and places at which tho court or courts shall be convened for the
 trial of their respective defo11ltcrs; an<l (ifprncticnble,) all persons who have
  made default previous thereto, shall be reported to nncl tried by such court or
 courts, ns now provided by law; provided, nny person [who] shall be fined
 by default, and conceive hi_mself uggrieved by the sentence of the court, and
 shall make affidavit that ho could not attend tho court by which ho was
 tried, or render his excuse in wrilir>g to tho same, or thut it wns out of his
 power to sue out nn appeal bofore tho issuini? of oxeculion, and that he
 does not appeal for the purpose of delay, tlw colonel or oflicor in command
 of the regiment, shall have power to hour llll<I d,)tcrminc thn case; and if he
 shall dflcide in favor of the parly, he shall notify tho slwrill' in writing to
 that effect, upon which the sheriff shall enter sntist'nction in tho case,
 stating the munner in which it wns settled; nnd provided, the colonels or
 commanding officers of reµimouts shall wilfully foil or neglect to perform
 any of the duties herein spocifioJ, they shall be tiable lo 11 line of twenty.
 five dollars, to be·recovered by courts martial.
     XIII, A111l he it fu,rtlwr e11ai:ted, That hr.nt compnnios slmll have the
 :,rivi)ege of passing by-!aws for tl~eir ~over_i1mc!1l to uniform themselves, Bent com •·
 and unposc such pennltrns for II v10lallo11 of their laws, as may be agreed nies may f,u,e
 upon by the company ; providnl, that no nicmher of a company shall be hy-lnws.
 compelled to uniform, or be sujr,c!ed to any ponulty imposed by the by.
laws, unless he shall ha1·e ns~ented to and subscribed the same; and
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 .._...,._,.
               whenever any beat company shall be uniformed 11.9 above provided, the
               commiBBioned officers thereof shall be permitted to adopt and wear the
               same,
                 XIV. And be it further enacted, That from and after the pa99ing of this
When comrn- Act, no volunteer corps of cavalry, artillery, light infantry or riflemen,
ni,,s ,hnll bo shall be inspected or received 1 !lnd the olficers thereof commissioned, until
rocoiyod,      the said corps shall h1lVe the compliment of men rank and file, and officers in
                 full uniform, required for its organization; and any officer permitted by law
                .to authorize the raising of such oorps1 shall, for a violation of this provi.
                 sion, be liable to a fine of twenty.five dollars, to be recovered by cpurts
                 martini,
                    XV, And be it further enacted, That the Beaufort District Troop of
Denufort         J{orse shall be exempted from attend1mce at regimental reviews and pa.
Troop.           rades, ns soon ns it shall conform to the organization of cavalry corps to
                 be ndoRted hy the provisions of this Act; prvvided, it shall hold itself in.
                 rcadineBB to move at a moment's notice to any part of the district, where
                 the public safety may require its sorvice, and be liable to such inspection
                 and drill on its company parade ground, as is now required hy law.
    I'              XVI. And be it farther enacted, That hereafter, the salary of the ad.
t:il~~ont 0 on. jutnnt and inspector-general shall be twenty.five hundred dollars.
         ·          ,:XVII. A11d be it further enacted, That hereafter, no officer of the mi.
Furlough,.       litia of this State shall have authority, except when in actual service, to
                 grant a furlough or Jen ve of absence to relieve the party from the perform-
                 ance of militia duty required by law ; but all defaulters of such duty shall
                 be tried by courts martini as the Jaw directs; provided, that nothing herein
                 contained shall be construed to prevent tho commander-in-chief, or senior
                 officer on duty, when the troops shall have assembled for drill, exercise, in-
                 spection or review, to grant leave of absence from tht special duty, upon
                 good and lawful cause being shewn.
                    XVIII, And be it further enacted, That the two boat companies now
Cnni mnio• in existing in Christ C_h~rch Parish, shall be united.and form ~ne bent compa.
c1i,1J, Church ny, and tho comm1ss1ons of the officers of said compames are hereby
 puri,h,         vacated. And it shall be the duty of the colonel of the 19th regiment to
                 order an election for a captain, first and second lieutenants and ensign, to
                 command s11id company, within two months from the passmg of this Act,
                 and the persons having the greatest number of votes for each commission,
                 shall be commissioned as the officers to command tho said company; and
                 heronftor the muster.ground of said company shall be at or near the tbir,
                 teen mile-post or, the Slate road.
                     XIX. And be it .further enacted, That to equalize the hnttnlions and
 Thirtieth rogi, beat companies of the 30th regiment in the seventh brigade of the militia
,/lieut,         of this State, tho brigadier general of the said brigade is hereby autho-
                 rized to cause the said regiment to be re-divided into two battalions and
                 eight beat companies, according to the principles prescribed in the four.
                 teenth, fifteenth and sixteenth sections of an Act, paBBed the seven-
                 teenth day of December, 1834, entitled "An Act to amend An Act enti.
                 tied An Act to provide for the military organization of this State, passed
                 the nineteenth day of December, t833, nod for other purposes;" and the
                 same penalties shall attach for neglect of duty and forfeitures of commis-
                 sions in the said regiment as is provided by the Act aforesaid.
                     XX. And be it further enacted, That the regiments of cavalry in this
                ,State.' now raised or hereafter to be raised, shqll take and have the number,




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                      Act, relating to the Militia.                             A,ll,1837,
                                                                               ..._.,.__,
dcsignntion and ~nk 1_of tho br!gade of infantry w,ithin which such rogi. Arron cmont
mcnt of cavalry 1s rarned, that 1s to s11.y :-the regiment of cavalry now ofcnvfit,y ro,
attached to the first brigade, shall be the first regiment; the regiment ofgimou!B,
cavalry now attached to the second brigade, shall be the second regiment;
the regiment of cavalry now attached to the third brigade, shall be tho
third regiment; tho regiment of cavalry now attached to the fiftll brigade,
shall be the fifth regiment; the regiment of cavalry now attached to the
sixth brigade, shall bo tho sixth regiment; the regiment of cavalry now
attnched to tho ninth brigade, shall be the ninth regiment; the regiment of
cavalry now attached to the tenth brigade, shall be the tenth regiment;
and that whenever a sufficient number of troops shall have boon raised in
the fourth brigade, to constitute, according to law, a regiment of cavalry;
such regiment shall bo the fourth regiment ; whenever a sufficient number
of troops shall havo been raised in the seventh brigade, to constitute a regi.
ment according to law, such regiment shall bo the seventh regiment; and
whenever a sullicient number of troops shall have been raised in tho eighth
brigade, to constitute a regiment according to law I such regiment shall bo
the eighth regiment.
   XXI. And be it furtl,er enavtea, That the number, designation and
rank of the cavalry regiments aforesaid, shall be and remain permanent;           .
and whenever either of the regiments aforesaid shall bo dissolved, and a Th<itr rank.
new regiment raised in its st@d, such new regiment shall take and have
the number, designation and rnnk of the regiment so dissolved.
   XXII. Ana be it further enacted, That the regiments of cavalry in this B • d ,
State, bo, and they are hereby, arranged and constituted into brigades of 0
cavalry, in the manner following, that is to say :-the first and second regi.
                                                                               ;~~r,;.•0


ments, shall constitute the first brigade; the fifth and sixth regiments.-
shall constitute the third brigade; the ninth and tenth regiments,- shall
constitute the fifth brigade; and whenever the fourth regiment shall have
been organized according to law, the third and fourth regiments shall con.
stitute the second brigade; nod whenever the seventh and eighth regi-
ments shall have been organized, according to lnw, the said seventh and
eighth regiments shall constitute the fourth brigade,
   XXIII. That tho third regiment of cavalry, and tho troops now organ.
ized in the fourth, seventh and eighth infantry brigades; remain attached
to said infantry brigade, as now provided by law, until fully organized, as
required by the twentieth section of this Act.
   XXIV. And he itfarllter enacted, That it shall bo the duty of tho major.
generals, commanding the first, third and fifth divisions of the militia of Election of
this State, within throe months after the passing of this Act; to issue their B/g•dir' Gen.
orders to the colonels of the cavalry regiments, within their respective divi. 0 covary.
sions, to advertise and bold nn election for a brigadier-general of cavalry,
lo command the brigade of cavalry within their respective divisions; and
whenever either the second and fourth brigades of cavalry shall have been-
erganized, as required by tho twenty second section of this Act, the major-
goneral commanding the division in which such brigade may be organized,·
sbnll, forthwith, order an election for a brigadier.general to command such
brigade.
   XXV. And be it further enacted,· That all elections of brigadier.gone.
rn!s of cavalry shall be order~d, adv~rtiaed,. ~el~ and. conducted, and the   ~lb~t~~~dJ~~'."
bngadter-generals elected receive their comm1ss1ons, m the same manner ed.
as now provided for the electing and commissioning of brigadier.generals
of infantry,



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  A.D, 1837,                         Acu relating to the Militia,
 ~

                    XXVI. And be it ji1rllter Mlactcd, That the same ineligibility to the
!;~':t)~)~Y     office of brigndicr-gcncrnl of cavalry, and the same qualification in the
                voters for such ollico, shall bo required, as now provided by lnw for the office
                of hrigadicr-gcncrnl of infnntry; prm1ided, that no officer of the infantry
                or nrtillory slmll be cligihle to tho ollico or entitled to a vote for brigadier.
                goncrnl of cavalry; nnd no olliccr of cavalry in any organized brigade of
                cavalry, slmll be "eligible to tho ollico or entitled to n vote for brigadier.
                gcnornl of infantry.
                    XXVII. A11,l be it jiirtltr.r rnacl<'d, That hereafter, when either of the
                 rc•gimcnts composing a brigade of cavalrv shall be rc,luced below the
~~i~::i,.~:,,:',\Y
                 numhcr of troops rc•'luir,•d hy law to consiitute a rPgiment, and shall not
bu dieS(Jfvc<l, recruit to such numlwr witl,iu twelve months after notice to the commanding
                ofliccr of such regimrnt, from the major-general of the dh·ision in which
                such regiment was rnised, or from tho comnmnder-io.chief, then, and in
                 thut case, such hrigndo shall be dissolved, the commission of the hrigadier-
                gcneml of such brigade of cavalry \'acatcd, und the regiment, squadron or
                 troops, still in existence within tho limits of such brigades, be attached to
                 the infnntry brigades, as now provitled by law.
                    XXVIII, Thul a troop uf cavalry shall hereafter consist of thirty.six
<l uota or men men rank nnd tllo, four sergeants, one captain, two lieutenants and ono
fur cnntlry     cornet ; nnd if any troop now rnised Hhnll not, wilhin twelve months after
corpe,
                 tho passing of thiH Act, contain thu number of rank and file and tho ser-
                geants aml nnicers herein required, such troop shall be dissol\'ed by the
                 major.general of the division to which such troop is attached; and if, at
                any subsequent inspt•ction, any troop of cavalry now raised or hereafter to
                 be rniscd, shall not contain twrmty-eight tank nnd file, nnd the sergeants
                and ollicNs n•quirN) hy lnw, nnd shall not recruit tho same within six
                 months nftor nofico to /ill up its ranks, given lo the commander of such
                 troop, then such troop shnll llfJ dissolved.
                    XXIX. And he it .fur//1rr rnflcted, That the cavalry shall continue to
CavAlry to en• encamp with the brigades of infantry, as now required by law; and it shall
onmp wi tit in. be the duty of tho brig11dicr-genornls of cavalry to attend the encamp.
fu.ntry.
                 mcnts of tho cavalry of their rt•speclive brigades, and superintend and
                 instruct them in the drill, exorcise, and mnnceuvres of cavalry; provided,
                 that no brigadior-gonernl of cavalry slmll assume or exercise noy command
                 or authority ol'er tho infantry or artillery of such encampment,
                    XXX. An,l be it .furt/11-r enacted, That colonels of cavalry shall, aller
 Duty or Colo- the passing of this Act, drill each troop in their respective regiments, once
nels and Ma• in every two years; and that lien tenant.colonels and majors of cavalry,
joro,
                 shall also drill each troop in their respective squadrons, o_nce in every twelve
                 months.
                    XXXI. And be it fortlwr rmacte1l, That if any collision or dispute shall
                 arise between the cavalry nnd infantry arms of service, within any division
 How dispute• of this State in which slrnll be organized n brigade of cavalry, it shall be
 :~~.,~~  •;~:':t tho duty of .the ~ajor-general of such ~ivision to hen~ and determine th,e
 ry audinfnutry, cause, and 111s dectston shall he conclustve; and provid<!d, any such colli.
                 sion or dispute shall occur in a brigade of infantry, in which the cavalry
                 shall not be organized into n brignM, the same shall be heard and deter.
                 mined by tho brigadier-goncml of such brigade, and his decision shall be
                 conclm,ive; reserving to the pnrties the right of appeal, in tho former case,
                 to the commander.in-chief, and in the latter case, to the major.general of
                 the division.




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                                                                                     EXHIBIT 13
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                                                                                             ~

  XXXII. Be it further enacted", That the Hilton Head company, in the Hilton Head
twelfth regiment, be exempted from attending battalion and regimental company.
musters.
  In tho Sonnte House, tho twentieth d•y of December, In tho year of our Lord onn
       thousand eight hundred and thirty-seven, and In the sixty-secon<l year of tho Sove,
       reignty l\nd lndt,peudouce of the U11ited State-a of America.
          PATRICK NOBLE, President qf the Senate.
          D. L, WARDLAW, Speaker qf tho Huuse qf Representative,.




AN ACT To AMEND AN               AcT ENTITLED "AN AcT TO RBUULATE                    TIIB     No. 27114,
  I'ERFOR)!ANCE OF PATROL DUTY ON CIIARLESTON NECK;"                           AND FOR
  OTIIER l'URl'OSEB,

   I. Be it enacted by the Honorable the Senate and House of Repre.
sentatives, now met and sitting in General Assembly, and by the au. Former Act re-
thority of the snmo, That the eleventh section of the Act entitled "An pooled.
Act to regulate the performance of Patrol Duty on Charleston Neck,"
be, and is hereby, repealed,
   II. Be it furtlier enacted, That it shall not be lawful for any owner or
occupyer of II grocery store or retail shop within tho limits of Charleston Provision re•
Neck, or any store, shop or pince, within the limits aforesaid, wherein are opoctingGro.
vended spirituous liquors, to keep open the said stores, shops or places, or      tores on
to trade, traffick or barter therein, with ncgroes or persons of color, at any Ne~t••ton
                                                                                             r~y
time on the Sabbnth day, or on uny other day, after tho hours of nine
o'clock, P. M., from the twentieth day of September to tho twentieth
day of March, and ten o'clock, P, M., from the twentieth day of March
to the twentieth day of September, in each and every year; and in case
any owner or occupant of nny such store, shop or pince, shall transgress or
violate this Act, by keeping open the said stores, shops or places, or by
trading, trafficking or bartering therein, with any negroes or persons of color,
at any time on the Sabbath dny, or on any other day, after the hours of
nine o'clock, P. i\I., from the twentieth day of September to the twentieth
day of March, and ten o'clock, P. M., from the twentieth day of March
to tho twentieth day of September, in each and every year, he, she or
they, shall forfeit and pay the sum of one hundred dollars, to be recovered
in any court having competent jurisdiction ; to be paid to the commission.
ers of Cross Ronda of Charleston Neck, for the use of said roads.
   III. .And he it further enacted, That it shall not be lawful for the own.
er or keeper of any retail shop within tho limits of Charleston Neel,, or Retail •hops
the owner or occupant ofnny pince within the limits aforesaid, wherein arc &~3,b"i:"~~·~0
vended spirituous liquors, to erect or keep in such shop or pince, any blind, ha,e ·~croons
screen, or other obstruction whatever, to the view from the front door or 11Dd blmdo,
other opening, hehind which any article might be secretly sold, nor shall
he or she have recourse to any private room, closet or other enclosure on
the said premises, to effect such object with greater privacy; and every
person violating the provisions of this Act, shall forfeit and pay, not less




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 A,/J, 1037,
 ..__.,,,._,                             Acts relating to tlte llfilitia,
                than fifty, nor more thnn two hundred dollars, according to the discretion
                of the presiding judge; to be recovered in any court having competent
               jurisdiction; to be paid to the commissioners of Croos Roads, for the use
               of said ronds.
                  JV. And wliereas, tho going at large of hogs on Charleston Neck, is a
               great inconvenience to tho citizens thereof I Be it th.erefor1• c11aci<'il, That
               the clerk of the hoard o( commissioners of Cross Roads for Charleston
               Nock, or his deputy or deputies, shall, on and after the Jirst day of 1-'cbrun.
               ry next, be authorized and required to soizo or kill any hog or hogs
               going nt largo any where on that part of Charleston Neck whit:h lies be-
               tween Cooper and Ashley Rh·ers, nnd extending from Roundary to Line
               slroot; and that every hog or hogs so taken or ldllud, shall ho forfeited by
               law; and the snid clerk of the said board of commissioners of Cross Honds,
               or his deputy or deputies, shnll tnke nnd keep the snid hog or hogs, or the
               same soil nnd dispose of, applying the proceeds thereof to his own or their
               use, benefit and uchoof, as n perquisite of his or their ofiicc, without qucs.
               tion or claim from any person or persons whatever; provid<'tl, tliis law shall
               not be construed to extend to any hog or hogs Jril'en through the streets
               within the limits aforesaid, for mnrkot or any such purpose; nnd it shall be
               the duty of the snid clerk to give one month's notice in one or more of
               the gazettes of the city of Charleston, and of this law, previous to his pro,
               cceding to execute the snme.
                   lo the Scnntn House, the twontiorh di,y or DccemUer, in the year of our Lord one
                      thousand eight hundred and 1hlrty-t1even, nnd in tho six1y-accoud yeo.r of the Sovo•
                      reignty and lndopondouco otthc United fSt11tes of America.
                         PATRICK NOBLE, Prcsi1lcnt. <if tlte St1iate,
                         D. L. WARDLAW, Speakcref tlw Ilouse ef Repmentativa,




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                                                                     '[ .6 )
                        t.i• ihis commonwealth, and ivith all fums of money dircl\cd to be paid by the 11rerent Gene-.
                        rnl i\lfombl)', for which no othoq>rovi!ion hns l1cc11 made, and all warrants a11d other facilities.
                        \lhid1 h,1ve been heretofore receivable In difcharge of the rcfpci!\lvo taKes, which conllitutc the
                        nr,l,\r"µatc funJ 1 anti all warrants, with the payment of which the aggregate fund is ·charged bv
                        1h1b ~ct, nmy be p.iid in difchargc of the taKcs which con!Htutc the fuld fund; and the lhcl'ifi;
                        or ci,llftlors of the revenue taxes which confiltute the fold fund, l'hall on payment thereof Into
                         the pu:,lic trcafury, hnvo credit for the fam~ accordingly l the monies which riuy be paiJ into
                         the ttcafi1r1•, in di(clrnrgc of tho .taxes which con!Htutc the fai<l funJ, and alCo the money
                         \\hich nrny be received on (ales of tobacco, paid in difcharge of the fam<11 or lo much thereof
                         11·s {hall be ncccffi1ry, {hall be paid by the trcafurcr to· tho holders of warrants on die fold fund nt
                        ccr:uln periods, And to the end that all holders of Cuch warrants, may receive in. pro•
                         p,mion to their rcfpcl\ive claims, the treafurer lhall give in the Virginia Ga:r.ette, fix weeks
                         previous notice of the time, when payment is to be made, in order that Cuch warrants may be
                         previcufly regill:cred, and the money belonging to the fold fund duly apportioned among{~
                         them,
     Fnrmr.r appro-       Stic. II, .AND Jc 11 /;1rth1r t11Mlul1 That all taxes and arrearages of u~es, except thofe
     tuiations con-    conllituting the uggrcgate fund, l'hall continue ns appropriated by the aforefald act of the !nil:
     tinuftl.
                       foOion of Afibmbly, intituled, '' An act for appropriating the public rcvcinue 111 and that all
     Ch,rr,c1 on the brnnches of revenue which fuall ari(e to the commonwealth, between the
     ti.:n1mc of                                                                                            la!¼ day of Dec~m-·
      l79i,            bcr, one thoufand fcven hundred and ninety-two, and the· Ar!I- day of Jnnuary1 one thoufand.
                       /even hundred and nlucty,four, lh111l be appropriated to the fupport of civil government, and
                       for the contingent charges thereof 1·and lhnll allo be charged with the payment of all unfatlsfietl
                       war~nnts tharged on the faid taKcs and nrrenrages of taxes by the aforefaid act of bll: folll-
                       on of Alfe111bly, of warrants whic~ 01all be hereafter !Ai.Jed for expences attending crimin~I
                       profccutlons I for the fiatc's lharcs III the Patowmac, James River, and Difmal Swamp Canal
                       co111pnnle$ 1 for the hofpital for the reception of pcrfons of 1mfound mind I to the direaors
                       of the public buildings I for erecting public buildings at the federal feat of government on tho
                       Patowmac; for the expenccs attending the arfenal at the Point of Fork I for all penfions al•
                       lowed by this commonwealth1 and for cxpences which may accrue, by order of the ExecU•
     Dr~den,y in tivc, in defence of the wc!lern frontkr. And if the. funds hmln appropriated to the pavment
     C'trli1\q tu,1dt
     to he fop11li,d
                       of the officers of civil government, and of wnrrants lffited by direc\ion ot the Executii·c for
     lw ~orrnw,og the contingent purpofes thct·eof1 on"account the of lllte's lhares in the Patowmac, James
     fromQ1her1, River, and Difmal Swamp Canal Companies I for the hoftiital for the reception of perCons r,f
                       unfound mind I for creeling the public buildings at the federal feat of government on PutnW•
                       mac I for all penfions due by this commonwealth, and for eKpe_nces which m1y accrue, by or..
                       der of the Executive, in defence of the wcfiern frontier, lhould not be productive early eno11"1\
                       for thofc rurpofes, it lhall be lawful (or the Executive to dirtct the tr~.,furcr to borrnw as mu~ll
                        mcuty as lhall be deficient1 out of any other funds, and to replace the fame as foon as potllble.
      Repraling           StR, III. SO much of every al\ of Afi'embly as'comes within the purview of this aa, lha\l
      cl,11lc,         be, nnd the fan,e is hereby repealed,                                              .
      Cr.rilfir"'rs in    Snc,  IV.     .AND  ht  it furthrr   111a.'ltd, That it lball be  lawful for  tho   treafurcr to pay ,to
      the finking
     fun,! 10 he <X• the agent of Caron de Beaulllarchais, on warrant or warrants from the nuditC1r, miliMy, or
      chanR<d for o. other certificates of tho linking fund datrd prior to the fir!• llay of Ja11Ulr)'1 one thoufand feven
      thcrt in the hundred and ninety, to the amount of the hquidnted claim of 1hc fald l)e l!caumarchais, and
      h•11ds of cer- in like manner to a11y other public foreign r.reditor willing to
     tain creditori. (o to exchange certificates of the
                                                                                            am.·rt i.f fuch p.1y111ent l and al-
                                                          fald fu111l of a prior date to th~ {,d, r~riod, fot ,u1y of the certi•
                       licates of this commonwealth, dated fubfequent 10 the fir/I Jay ut' Janu.uy onu thoufa11d feve1,
                       hundred and ninety, and belring an i11tcrell of fix ptr cc111um.
     Comm,nce.             SF.c, V. 'fHIS aa 01all commence in force from anu :ftcr the paOing 1hcreo1:
     IMUI of 1he   an


                                     An ACT for 1·t·g11lnti11g tlte Mi/itilf '!/ t!ii1 Commo11w1J11l1/J,
                                                       [Pa/fed December the nd, 1791.,)
                        SRt'l'ION 1, WHIIREA~             \he Congrers of the Uniic. '''ltS ,!j,J at t,helr !,111- r,,mrin pal's
      I'reamblc,                               an act, 1111ttuled1 "An aet mvre rfiedua:,y i.1 1,rovtd(: !ur the 1t11inm1l
                        11 defence, by e!l~bli01i11g an unifo1·m militia throughout the l 111itc1l bt.,m
                                                                                                           :" aoJ it i& \'XIII."
                        dicnt for this Leglfiature to tnrry the fame into clfo:t1 fo f.r as it ref1;dt, t11is l\,rc:
     Am1,gein~nt          SF.c, II, RE it thmfm t11afltd, That the countic~ of Mcom~rk, Nntth~mpton 1 Prill•
     ol 1hc mili1i,     cefs•Anne and Norfolk, !hall compofc ona brig·de1 the counti.-. .,f Nanf¢mon,t, Int :,f ·
                               1
     In hrigadr1 au,l Wight, SouthJmpton;
     i!ivifio111 I                           Surry, SulTcK, nu~ i'rinte-Gcorge, one brig111': 1 11tu cnunties Eli-      or
                      zabeth City, Wurwick, York, James City, C;harles l:ity, Ncl\•Kc11t, 1-lenr;t:•>, mul Ho1n-
                      ovcr, one brigade I the counties of Glou~dler, Mathews, M,<itlkfrx1 F 1!:n1 l~in,i WilliJm1
                        King & Qi,tcn, Lautallcr, Northumbcrla11J1 Rich111ornl, and Wt!lmu1et.11d, one bti~.d~ :
                        um! thu tahl brig:1Jc~ lhall com pole one <l,vifinu, Tlut rh,: c,1u11tit:, oi Lo11,!,•un nml t'.,ir ft,c
                        Oiall 1·11mpolc l•IIU brigade I the coun1ics ol Fauquier, 1'1imr \.\.'\II: 111,, :-.1,fli-,J, 1111<1 K111~
                        O~orp;t•1 0110 bri1p1l,c J lire co~ntics of Culpt•p~r1 OrJ111t1·, ':;,ntl'ylv~ni:, 1 nn,I Cm11in1•, ,,,;4
                        bri11,:1\le I the c:ounucs Q{ Lo11Un, Goochlnnd1 1' h1v11un-< 1 Alb,111,11!c1 aud J\mhctll 1 unc bti ..




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                                                             [    1    ]
            ·gade: and the r,fil brigades !hall' compofo another dlvHion, The counties of Frederick nnd
             lforkcley, Omli compofe one bri(:\adc l the c_ountlcs of, Ror.klngham,,Augu!l:a, and Shcnando~h,
             one brigadc1 the counties of Wyth~i Rullcll, •Wallungton, Lee, Grayfon, and Montgum~ry,
             one brigade I the counti~s of Ilotetourt, Rockbrillge, Greenbrier{ Bath, and KJnawha, one
             brigade I the counties of Ham11fhirc, Ha.rdy, Pend!eton1 Rando ph, Harriio~ Monong~lia,
             and Ohio, one bri~a<lc I nnd the Cuid brigade~ !halt com pole another divifion, 1 he counties of
              'f~nry, l'Jtrlck, I• ranklin, Campbell, an'1 Bedford, lhall compofo one brigade; the countlc.1
             of l'ittfyh•nr1ia, Halifax, Cha.lottc1 and Prince Edwnrd, one brlgadu I the counties of Din-
             widdie, GrcenMlle, Htunfwicl:, Lunenburg, and Mecklenburg:, one brigade I the counties of
            '(.:hdlcrllehl, Amdi:1 1 Nottuw,,y, Powl1<1t,m, Cumbcrl.111d, uni! lluckingham, ono bti(l~de;
            Md the faid brigad,is (hall co1tlpofo another divilion,
               SF.c. HI, AND bt It furtlitr t1111lf1d, That the counties of Derkcley, Culp~pcr, Loudoun, In regimentt
            and J.t'rcJerick, lh~ll comr,ofo two regiments, und four b:ittaliuns each I that the counties of and Oilllalion,,
             Mid1llcfex nnil !':flex, lh11,I ench rnmpofo one battalion, ~hkh.two ba1h1lioni lhnll compnfe one
            regiment I thnt the co1inties of Kin~ & ~teen nutl King Willi,11n1 lhall each compofe one
            bittalion, which two Lattalions 01all compo(e one regiment; that the counties of Northmn•
            berland and Lancafier, 01all c,1ch compofe one batt,1lion1 which two battalions Oull compo(c
            one regiment I that the counties of Richmond and Weflmoreland, lhall etch compo!u oni,
            battalion, which two battalions Oinll compofe cine regiment J that the counties of Powhatan
            anJ Cumberlnnd, 01all each compofc onu b,1ttalion1 which two battalions lhall compofc .one
            tcglmcnt I that the counties of H,rrrifou anJ lltndolph1Oull each c01npofe one battJlion which
            two battalions 01.ill compofo one regiment I that the counties or Rulfcll and Lee, lh~ll   1
                                                                                                          each
            eompofe one bmalion, which two battalions !hall compofe one regiment 1 .inti .th~ counties of
            Charle, City and lllcw-Kent, fhall compofe tach one battalion, which two battalions lhall
            conllitute one regimr.nt I th~ counties of Elizabeth City and ·warwlck, c;,1e battalion, and
            the counties of York and James City, one battalion, whicll two b~ttalions lhall compofe one
            regiment; and each of the other counties in this commonwealth; and alfo the city of Rich.
            moud and borough of Norrvlk, Jliall compofe o,1ch one regiment and two bittalions,
               SEC, lV. AND bait fi1rllur 111a,i/11I, That the General Affembly lhall by joint ballot of
                                                                                                                O'liceu, ho.,
            both houfes, aflptlint an Atfjijti111t-(:hne1al for the militia of this !late, and ul(o a Mdjor-Ge. to be ,•fpoint•
            neral tn each divifion 1 and a Brigadier-General to each brigade I which M,1Jor.Genmls a1id cJ,
            Brigadiers, lhall refide within the limks of their refpec\lve comma114,. Rach Major-General
            !hall appoint his own aids de camp, and each Brigadier-General his own brigade infpc:£\or
                                                                                                              1
            who fiiall alfo relid<i within tho limits of their refpecliva divilions and brigades,
               SF.c, V, ,fND ht it malftd, That the couru of tho feveral counties and corporations,
            lhall from the field and other otlkers who ut prefent hold i:om,nlffions in tho mili!i~ of the re.
            fpeclive counties anJ corporations, pruc~d to rccommen,1 to the Exerudvo, the officers nc•
            cell'ary to complete the regiments anJ bJtt.1!i.)I\I anJ companies, purfuant to this ac\1 by g11dct
            an'1 foniority 1 ,ind the r,erfons fo recommended, !hall be comm\llioned by tht Governor, ~grc,•
            .1blc to the: conllitution of this fiJIC,
              Sa~. V[, Al,L perfons hl'llding comrniffions under the late militi~ laws of this Rate, and Offlcer1 n111 re.
            who (hall not b~ recommended by thdr rcfpcWve courts, !hall be conlidered as fupcrnumcrary commended       b1
            of3cw1 a1ul llllf he rccommen,lcJ by the refpcWve county and corpuratioQ court, to lupply tho counry
            vacancie$ hcreafttr happening in tl1!l oflkers of tho milui~,                                ~ ,urt · to bt•
                                                                                                                           cn1ne tuperull•
                S!!c, Vlt, AND whereai It will be prodt1aivo of confiderablc 1dvantaget tn the difd. •cruith
            plining the militi.1 1 tu hav,: frequent meeting$ of th~ commilfioned •iOil:cn of the fev,ral rcgi.
            menu a11J battalions: /lt ii 111an,,1, That the com111iailmed ollkeis Lf the (cveral regiments
                                                                                                                     CM1miffi~~14
            and battalions 01all meet twice in every vear1 fu1 thq purp~fo of being trained and irilh11~ted 11ff1ttrtlO       m.a•f
            by thi, llrigaJe ln(pc6tor. Tlw lhy~ ami'pl~m of meeting til be fixed on by the cummanJing 1wiu In .,,,,
            officer of the bri.~a<le 111 which tho regiments and bJtulions belong, Thv ollken thus JO'e,n. yutto be
            hied, lhall nth continuu two d~ys and 110 longer, for ever)' time they lhall ~ called out, 1uineJ,
            1':1•cry officer failin,r, 111 attend fiirh meetintt on !icing filmmoned (not hivin; 11 rtaforable rJC,
            rn(e, to bi: ndju,lge,I ut' by II cuurt,1mrti,1!) lhall lurfcit anJ l'AY five dollnrs, to be apprll111i•
            tJ as tht other fines are by this at\ ,lir~dcJ.
               Sic, VIII. Jr nun bu the duty of rhc •:~ecutive to number by b~l!ot the ICVdr~I Jivifl. J')ivir.on•, brl,
            ons, brli;,1Jes1 and rcgim11nt~, a11,I cauf~ thd f1111~ ro be regill~rvJ ill the 1111ice l)f tho AJju- 1·••lt1 ;u,J 14.
            tant-Ocneral J and every com11111Tion herr.rfier 1l1ue'1 hy the ~.xe~utivr, th~II rxprtf~ tho nurn• fti tU"ll11 to ht
                                                                                                                   nu,11~t,,~ &11.I
            her of the dlvifif)n 1 brig.1du or regiment rcfpet\ivcly, to which tbo perfon to wti,11n the (41110 i1 rr~1ilrr,1I •I
            direclcd lhall b,lung,                                                                                 thU,fJIIISI
                                                                                                                           icui:u,•• ljAh•
              Sac, IX, AND 61 it (11rthtr ,11al1,·,I, 1'h~t the comm,u1Jing nMcm of re•drntnt,, b11ta•
                                                                                                       c,,un,irl                   ,,. h•
            lion,, a11J 1:omp,111ict1 to ho up/'1<1inttd und cumrr.ifft11ne,I bv virtui, nt' thi• Jc}, !lull ,tltCt ~t d1v11I ,I u1a.,
            their ref11ec\lvc courthoul'c~ on ·orne J.1y in thd mouth of M;irch nr April M~t, to hi' ~pµ.1i111. d,11,,th 1111
            e,I by the c:nmnrnndin~ ullkm of n•g1111ents, then ~nd therij to divide tn~lr rtfprWvll 1:~1u11. f,, ..11 IIC ...,.
            tie~ into di!hli'h for the purpo(e ol form in~ the regi111r110, b~tt~li<,ni, <1n•I t,1mpdnie!, by thl1 ffi"1Ht h:.t, 1•
                                                                                                                                 1

            a,c:t elliblilheil I which dillrith fo l.ihl off th,111 b~ 1ltliJ11a1~,1 by ceruin liM• .uul lmumh 'tu bf hi 11t .u,,I cu,• ..
                                                                                                                             1



            dl~blilhcd by ,thr.m, and ,~,or,lcd liy the cl~rk• of Ute c1111r1Mnartlal rcfpc.:,livtly IM~i11,1f• ~41110,
                                                                                                          1
            ttr to be ~1111v111t~·l,




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                                                                               [       8 ]
             Cot11p1Diet to      SEc. X. A.VD /,1 ;, f11r1hrr ,n11lJrtf, That it rn•II l>e t~e .!di)' tl the comll'!•:idin6 ofliccrs
             bt divided iolO of ezch companyfo in<ullcd,_ 10 p,cctcd fiinhwi:h t? divi<': his rnonp;in}' in1_1> divi\ion, b~ ~!-
             di•ilion.,,     lot· fr11m one to trn, for c~.e 1nirpufc of a rc;;ul<r            1
                                                                                    rc:ine of H•Jt:, w oeu called """ :i,ltr,I 1,rncc-,
                               and lhall rel urn a roffcr of each divilion oud ii~ 1111mtor i,, ro&.1i.,r., ..-,itnin Jiflcen d~;'5, ti> the
                               commanding officer Of his batuliOn, who. ti;al! r~r.:1wilh tro1ulinit ti;e (:rne to ,he cM,m.1ntli!1~
                               officer of die regimcnr., whn lhall ortler 1hr {am• 10 l,e :c,,,:1a:J by the clc:~ ,-r· t:,:, toui:t•
                               martial. The rame re~lations fhall be obfe1v\!:11'j· cv~;v co:1Hm:,1.!ln1 c:~;;:-:;r ti ?: cn:;-~!.'Y,
                               ba11alion, and regiment on the fubfequcnr inr,,l!c.:cn1 Qf 0;1y ro:fi,n t!ne111; unld, tw:~ Ft•hn
                               lb~II produce a certifica1e of hi> having be.:11 before d,.u.;:ae,l for tb~ ~bovc pur~._,f,, !r. ~!.:cb
                               cafe he lhall be inrollcJ a~eordmgly.                       ·                                ·

             J'c,(0tH ex ..       Ste. ~l. AND bt it f11rrher enae,a, That the tntmbm· of 1he coullcil of ~;,:e I j11,li::~~
             c111p1«1 I-om     of the fupcrior couru; fpeakers and clerks uf boll, hu,:fc:5 of lbe !1,t,,tral aft:rnbly; tile cloru
             m'ilnia du17.     or the fuporior and inferior cour11; the a:torn•y-gencral; t~e neafurcr ;t,:J ln d:rks; tf?c
                               auditor of public ·accoums and hi1 clerks l clnks of the council of Rate I the rc,.;1!:: r.i the
                               land-oflice anJ hinlerh; all infpctlors of tubactn; all pt~fclfors a11d tutors and flu,.:nrs :it
                               the college nf William & Marr, and othe; public ~minarits of learni11g; all mini!:ca of the
                               gofpel licenkd to-preach according w rbe rules o( their fttl, who lhall have prcvit,uny ra:Ccn
                               before th: court of their county an oath of fidelity to the cr,m.'bonwcalth I kceptrs uf me ;,11h- ·
                               lie, .diDri~, . and county j,ils, and of. the public hofpit~I ; miller~; and all qt1aJc:-11 and ~e-
                               t\omlls n:hg1oully fcrupul,.us of beaimg _arms, and havmg a cemlicare fro!ll 1hc1r refpeclm:
                               focietics, ·according jo lhe rules there<>!', of tbe_ir befog ·'!'embers of fuch focicty, fn..11 l:c, and
                               they ari: ht:rcby.exemp~d from the duucs ·requued by this aa.
                                   Sn; XU. · AND wl'tcms it will 1,., of great utitisy :aml ac!Yan1:rge in e'llzl;lilllin_g a, well _
                                dili:ipliuttf militla, to anne,, to earl> ~talion a light COll!pmJ to be formo,I ,J yuu,,(! cr.CQ              .\
                                rrom ~et'n a, twenty-five :,can of., wlfofe aaivity and d'omeffic: circun1:l.r.c,, w,11 lid--
                              . mil or a frequency of mrining, not praffic:allll: or ""°~nrifflt for:. die 111ilitia i,, gr...~•·-~ awl
                               returning to die main body oi, t&cir anivat at the lath!r pe•iocf. will--1,e c.01,lt,i,,J;__giv.
                              fog therno a miliw7 pdde and expcrim", from whic&.dleJ1cft of cwof-'J '''''"'"• ·wm " ·
                              fult,               .                                                                          .
                                                                                   .                        .


                              . Sac. XIIl. BE it 111aa,J, That~~ G~ernor with the advi~e of.Coimr.il, -flt.di ill'ue
                              commiffious fot a captain; lieutenant.and     enfign to rach-.b~11alioh·ou1 of_.lhi pr't-fen1 t:(J/nmif-
                              ftoncd officers th_erein; and t!Jc faid coaipil?iCI fball be diQfoguilhed br I.he drnur.ii:,~tion of .
                              grenadiers, ligbt--infinuy or rilkmen, ·at the difc_retton of the .cummaiidtng o&l::.:r i,f -thc.bat-
                              ralion. · Every perfon belonging _to the fald lighJ ·comp,oic,1 lhall wear ,.i,iJe "<ln ·defy,
                              fucb caps and '!niforms as_ the Exe-cutivc: (ball difftt, ~ be puichaf~il by the comm:;J1Ui11g olii~ ·
                              ccr of .the.battalion, out11f the monies ariling on delinquents. The captain thereof fball af-
                              m qualifyitig as is dir.aed for oilier olliccn,.·proceed_to ~nlift by voluntary mlitlm~nts in ~ia
                              c:ompariy; !' fuflicie);tnum~t of young · m~l'l ~ before defcnl,i:d: ~ nd ~· thi: men .,f {ucb
                              Hght compait; lhall from rime to-time arrive at't_he age of tlfentr-fi•c ~n,_the c•pt•in.lhall
                              mal:e report ihcrcofto.rbei:ommanding o!lic:cr ~frhe battalion, who O.all'ordrrtbcmtubc i!irollcd
                              in the company, wbofe diflrias they may refpc£\ivcly live in,· amt delii:1encira fball be fo:,j,li.
                              cd by new .. n11llmen11, and the uid companies lha!I in all rcfjl(lls be_fubjetl to the farite rigu.
                              ladons ·aiid order, u the rell of the milinia. .         ·        ·         ·
             A compu1of         . SEC. XlV.      AND .• ,;;furtb,r 11111llitl, Thattbe Governor
                                                                                             with~ advia: of C~ocil,
             ....J,;, IM a lball and he il..hcreby empowered, IO appoint and commilliun at their own dikr.-don, at Jc:alt
             <oml'""J'ofu. one c:iptain and two
             till·rJ, i~ be                        lieutmanrs in each divilion,_. who are hereby .auchori~ and cmpo wer~d
             RPCUd 10                                                                          !O
                             to eolill by volu~tary·cnliD_mcnr, and in fuc;h proportion each ollicer refpetlively fo ·appoiot-
             cacla cli'\6oa. cd u the txccu11YC lhaU diira, a ~mpany, lo be dcnommat,cd tile           ..      . c:llriipany of
                              artillery. ln likr manner commUlions lball itru~ 1".r. :; :ea~ one captain, two lirutriia'!B, a111t
                              one tornet, who fhaR alto by ,olunmy enli0mcn1s, and tn the fame p~0Jior1iiii1s- to .tliei;, fe.,;
                              !pcaive nnks, enlill: a compar.y, to be denominated the                      co:mpany of i:1,:t1.·
                              7a; ..  ~;t';i~       die number or ~ompaili•• ohrunery and or cafahy,               ._fbau"ot
                                                                                                                   ""~o1              one
             011hs              Su, XV. AND. t, it /11rl~II' t110!11d, That each and' .-very officer appointed 3fld corn-
                     or olli. miffianed
             tell,                      by virtue of 1his    atl:, lball previous to their entering ·on rbe- rxecut_ion of their re-
                              fpective oftices,-tol:c the follo\Ying oau, :-" 1- do fwear ·!hat 1 will be faithful.and .ti\Je to rhe
                              "commonw..ahh of Virginia, of which 1 profds rnyfclf to be a cilizen; _an~ t1m I ..-i.J liiich-
                              " folly a11d juftly e.u.~!• the o!fi~ _of•         • ·       in 1he · .      • ·     !cgilll•nt. !'f' ~c:
                              "                    1nilt11a of V 1rgm1a, according to the bell: of my lkill and 3udgmcn1 : So
                              "help me God."                                                                 ·
                                 S~c; XVI. THE adjulllnt,gcnerai lball have foll power and authority tq c:o~vene the bli-
                              gadc majon and inrpectou, at -fuch t,mn and placn u the good of the fervic., m1y require, and
                              he lhall thiuk j!roper, and gcncrallJ to cBablilh fueh rules and regulationa for-con~ucti_ng tho
                              ~u6rim;of hie departr!lcnr, u be       mar  -think e,cpcdient •!'ii neceJrary. Any br-igadc·m,, jor 11r
                              ,n(pector, falling ro attond fuch meeting, when duly noufied thereof, not havlr,g a ~:ifoni,blc:
                              cxtiife 'for fuch failure, lhall forfeit and pay fifty dollars, to be appropria1rd u tR o~r fi.1,n
                              arc directed by thiJ act.


     i




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                                                                          [    l()   l
                              tried (or bt'.ach of their duty, nnd for this pllr~orc tho ,~id offiem m ,hml,r
                              der the moll expert aml fit officer In their rcCpcctlvo commanJs, to pcrtor,o          authorlicd to or-
                                                                                                                 t,t~t duty,
            omcm to ba St!c, XXU, AND t<> the end that ·a genwl knowledge
            fomiOicd wilh ed by Congrcfs In their rcfolutlon of tho twenty.n
                                                                                                 or the nil~q of dl(clplino eAnhlilh•
            primed copie, Jred and foventy.nln~, miy be diff'ufed the ~:xccutlv      inth day of Mmh, one tlwur.111J fcvcn 111111•
            dr l~e,rul.. ol procure aud have a fufllclcnt nambor of1 copies of theo(aid   ($ hereby authorlf-.,1 anJ requlml, ta
             ,rcip nc,        to afford 10 every commlffioned officer of the mllltla, one Irulca    printoJ• and bound io boJril,,
                                                                                                and to
                              to tho commanding officers of brigades, to bo by them duly di(lrlb11tcciufo      them t,> bQ JcllvmJ
                              on the death, rcflgnijtlon, or removal of any officer, as afore(alJ, the1I pfanwithout dcfay1 an,I Uf'·
                              revert to the public, and the commanding llfficer of the battalion                 dtlimcd him lh~II
                              occur, lhall deliver the famo to a new appointed otllcer who rnayInnotwhkl\         (uch vacancy lltall
                              for d~ftaying the ncccllary cxpenfe thereof, tha Executlv1r tl1all draw on have     rcctlved one, ind
                                                                                                            the ~ontingem l'und,
           Olliceu mar           Sl!c, XXllI, ANY officer who lhall be guilty of Ji!obcdlence. or other
           ~i~:h~:![~:1
            Non commif.
                              when on dutr, or lhall at any time ho guilty of any conduel unbecomlnit the
                              officer, lh~II be put undur arrcfi by his c:ommanding officer, and tlted as hcmfler
                                                                                                                        mlfbehavl<',ur
                                                                                                                     charaElcr of atl
           lioned officer• reeled,                                                                                        thall bo dl-
          t':!!~~~di             Sic, XXIV, IF any non-commiffioned officer, or (oldier, lhall bch~v11
           bound neck & ently or mutinouny, when on duty, or before any court,                                      h;mfclf difohrdi•
          t  1~! 1 for d1fo· held,                                                           or bo~rJ
                                    the com_mandlng officer, court, or board, may confine him for ~i,edcd          by this :,tl h> bs
                                                                                                         tu~ Ja)', of C~ij(u hirn to
           i:u:r:;.e or be bound neck aud heels for any lime not Cl(cecding
                                                                                        Ave minutes.
           fyfi•nter~i•Y SEC, XXV, IF any byfiander lhall lnterrupt molell- or lnfuh
             1:nio~e
           ,:0                                                                     1
                        a:; on duty at any muf!er, or lbaJI be guilty of like Condu!\       1           any officer or folJicr whilo
                                                                                           before any CUUl't or bo~r.J ~s 11foreC,iJ,
           othrcr or fol• tha commanding officer, or fuch court or board,
           dicr on duty,                                                          mar    taufe hirn to he confined for th~ d~y.
          Colours 10 be Sac, XXVI. 1'HE commanding officers of re11iments fhall caufo to be purchafrJ, out of
          procured I         the moner arlfing from the fines, a fet of colours for his reahoeot, and alfo
                             each battalion in his regiment, He !hall alro procure in like manner,               a fel of CQlour~ fot
          Dru1ni & fifes, regiment, a drum and fife, or                                                   for uch c111npanv in hit
          111 bugle-horns
                                                               bugle-horn, and on the toloijra •nJ drums thall be marked tht
                             number of tho regiment und batulion, together with the name of the            tounty 10 which 1h,1
                             belong,
          Militia to be      Sac, XXVII, dND l>, ii furth1r malk/1 That the Oovernor; with the
          tailed fonh 111 cil, bo authorifcd and empowered, on any                                          advfoe cf Coutt-
          rare of lnvafi. of, to call                                  inv~fion or lnfurret.\ion, or probablt P/!lfp;:cl thm ..
          on orinfurrcc•              forth fuch a number or militia, and from fuch counties as they may dc:cm proper J
          tion,           and for the accomm:,dation,      equipment, and fupport of the
                           forth, the Governor, with the advice afotefaid may appointmilitia,        fo at any time tu be c4H~cl
                                                                                             fuch quarter-rnallm. commilf.1.
                                                                              1
                           ries, and other fiaffj as to them Otall fcem proper,    and to lb: their pay aod allowances, ~tt4
                           fball alfo take fuch mea(ures for procuring, tranfportlng, and iflulng      all flor111 which mJ y be
                          11ccelfary, asto them lhall feem befl, Orders for tho milltlato bf! ealled
                           fball be fcnt to the commanding omcen of brigades, with a notification of forth u atb1cf.iJ1
                           of rendezvous, who ili~II in,mcdiitely take nieafurea for detaching                 th~ 11iact or phcet
                          ry number, and ranks of officers by detail and rotation of duty, the four, with the u,cc:f.i-
          F..ar~ com~3ny      Snc, XXVIII. THE lieutenant colonel commandant, or commanding ofike1s
          10 be rurniOied from which (uch detachments                                                                of-regiments
          wilh a w•ggon, wife, (or                          arc drawn, n,~11 caur~ tn be procured by impreffmcnt or other.
          twn, &c, by                 each company, a waggon, te:im, and driver, fix nxq,, and 11:c camp•ke       ules; or pou (lf
          imprelTmentor convenient fizc, all which lhall be delivered tn 1he commanding officer of the company,
          111licrwife,    lhill be accountable for returning the fame when his Nut ls over; and the articles                    who
                          be returned to the ownm, who fhall be: allowed for the ufc of tho fame, whateveraf,:mfaid (hall
          Articles it11- judged by the court herein-after appointed for enquiring                                     lhall ~~ ad ..
          prtlfed to be that if any article lmprell'cd be loll, the owner may           Into dellnquencics : And 10 the ·:nd
                                                                                   be paid forthe
                           ncl commandant, or commanding officer, !hall ~aufe all property fame,            the llvuce11,111t cc:,! ,•
                                                         1
          valued,
                          this act, to be valued by two or more freeholders on oath, beforo by      him lmP.reffcd by virtue of
         ~~u~~:.:r:~n
          If totli
                          and Upon proof being made of any article being )olt, the valuation fame
                                                                                                 the
                           without any allowance for the ufe, and the laid allowance !hall be i:ertified
                                                                                                             lhall be rent aw"• i
                                                                                                      thereof lball I>\! allowed,
         Officer1 ,n. . public accounts, The faid court fhall malce em1ulry into tho                            to the auditor· nl
          rwerable totha appear that the (aid lo(s was occafioned by the mlfcondu cau(c of tuch lofa, and if it lh~!I
          public, if loll lieutenant colonel commandant or commanding officer, istl hereby  or lnattemio11 Qf any ofl\rcir1 1110
          1h10' mgtca, profccutc a fuit again/I: fuch ollicer1                                      authoriCed and required tc,
                                                                   for the r1covery of damage, for 1he ufc of the c1>1111n·.1r1.
                          wealth,
                                                                                                                                     ·
         llKecutiYe tb        Sac, XXIX, IF it fhall appm to the Executive, upon calling forth the miliria as
         appolntofficm                                                                                                   al,mhi<I,
         wtien necolfary that the neccll'ary number and ranks of officers will not attend the detachment~ for officering the 11
                          at the place, of rendezvous, the Governor, with the ~dvice of Council, ls
                          to appnint fuch officers as may be nccelfary ftom the co1m1in called upon hereby authorifcJ
                          proper1 lo join the detachment (o raired.                                        1 as they Uldf thiulc

          Com111andin!f     St!c, XXX, IF a fudden lnvafion lhall be ~1adc Into any county In this
         officer In a                                                                                       commonwealth
         ,aunty may or, or in cafe of an lnrurrcclion in any county, the commanding officer in fuch county 15 hereby1
          dcr out mili1ii authorircd and required, to order out the whole or fuch p~rt of hi• militia as he may think ne~
         fo invafion, ot celfary, nnd in fuch manner as ha may think belt, for repellln~ or fuppreffin
         ~ru11e€1ion1, and lhall call 'ln the commandinii officers of ,e,tm,nts lt1 the adJaccn11       g fuch infurrectlon
                                                                                                 :111tnd~,, for fl&th aid ash,1




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                                                             [ u ]
                 llflay think nmfl'ary, who lhJII forthwith ln like m•nner furnlih tho famo I and for af'll!mbllnR
                 tho mllitl.l required upur1 (uch ,1cuf'lo111 1or by orders of the t,mutlve1 the fame moafum !hall
                 be taken tu fummon them u i1 dirclltd In the care of muflcn,
                   S.11. ,tXXI. WflENl-:Vli'.lt any mllltlathall be ca11rd forth Into •!hul ~rvlco u afore• Militia In r1r.
                ,~1d, they fhall b• gnmneJ by the artitln at war whl< h govern tho troopt of the Unltad ,let lo be «rl•
                Statu, And courtA•m,ntlal lh•ll be held u ar11 therein dire~cJ1 re, bo u,m,,orcJ of militia of• vtrnrd br iho
                ticcr• nnly1 for the ulal of •ny ptrfon In the militia I but to tho calhlering of •ny oflker or orar1iclu n( wu
                                                                                                                     the Unitec.1
                cApilal ruolfhmenc uf any ptrfon1 th• approbation of the EKecutlve- lh~ll bo n~cetrary 11~nd 8111-.1.
                when any militil lh•II bo in •~1ul fervltt 1 thoy fhdl be allowed the {am, p~y and ,~:Iona as ara Thtlr p,y and
                allowtd by the Cong ref• of the United Statu 10 tho troop• In the fmlco of tho Unlccd States, IIIIOUi I
                    he, ,cxxn, AND ,, II /urth,r ,,u,n,,I, That the CQmmanding officer o( every bat- P1trolltrllo bb
                talion of mi111i11 111~11 from tlmt to tim~, u ho lhall deem It ne1:eO'ary, appoint an 1,1ffim, and fo appoinlcd I
                 111a11y 111,11 ohhe milill~ u to hlrn lhall rccni nmlfory, not ~KCceding four, once In every monih,
                or o(tennil thereto required by (u1:h of6tcr1 topa1nle ~nd vifit all nrgrn 11uartm and other plates
                Mpci!kd c,( r11tm~l11f11g unlawful alrembJics of tl~vcs 1 fcmnu, or other di!brdtrly per(onJ1 as
                aforefaid, unl,1wfully affi1mbltJ, or any l!lhen llroUlng about from QIIU plantalion to anothrr,
                without i pafs from his or her ma lier, mlfhcft, or owner, Afld catry them before tht- nex1 Ju(.
                tice of the peact•, who, if ho flnll fen caufc, 11 htrcby m1ulred to order ever, fuch llave, fer•
                •anti llru\ler1 or othtr di(orfoly (lfrfon as afurcr~ld, to rtcclvf! ,ny number o lalhes, not 1:x-
                c,eJ ng twenty, 011 hi• or her b11e b~clr. 1 ind in ca(e one c:0111p1ny of pitrollm lhall not be
                Mfitknt1 mor~ co111panio may in like manner be ordered for the (Jme (mice, And afier
               every patrolc, lho officer of every party lhal~ murn 10 tho capt~ln o( the company to whkh he
               belon1s, a report In wrhlli(I up<m oath .(which oath fuch c1p1aln Is      h~r,b7·  c,npowcred to ad,
               rnlnillcr) of the name$ of thofe or hit pitty who were upon d,uy1 and o th• proceeding• of
               'ith pattolc I and fuch captain lhall once in emy month deliver fuch patrol, returns 10 the
               111mmanding officer of his bJttallon, by whom they flull be ortllled a1td laid before the ne11t
               court•mutlal I and II the( lhall adjutlge the- patrollm to have performed thtlr duty accordlna
               to law, the (aid court lhal ctrdfy the famet to tho c11unty co,111, who are thereupon empower~
               cd and rcqul"d Co lev1 Mtl tentt for every twclvu houn each of them fhall fo patrole I and Their pay I
               every c11mmanding officer ailing to •11pnlnt pattollera according to the dlre£Uoni of thi, aa,
               lhall f111Mt and pay thirty dollan, and every porfon appointed to parrot,. hilling to do his d11.
               ty, lhall forfeit and pay three dollau fur cvcr1. ruch r,ilure I which lines. lhill be laid, c:ollctl• r,nalty for r,a
               cd, accllun1td for, 11nd appropriated u 1, herein direl\ed ror laying, acco1111tlng for, and ap- Ing       to do 1bcit
                                                                                                                       du1y1
               11roprlating the fcvcral fines and pcnaltlo by thl, a& dlrcaed.
                   Sac. xxxur. ANO WHEREAS It ia necell'ar1 that i:ertaln tribunals be lnflltuted fot Courtt,mariill
                the trial ,,, olfcnm u they arc to. be viewed In a military lig!it, •• well at lor enquiring into 10 be held f4r
                delimiuencies and ~ITofflng fines thereon: B, it thm/m 111,fltd, That the Governor {ball have Ihe llitl O( of•
               ,ower to arrtft tht major genmls and all other officm for any mifcondull whatever, anti up. fim11
               on trial and convlltion1 may ce11furc or calblct them l • lleut~nant colonel comman~ant may Ol!lm,, by
               arrtl\ any 11flicn under hi• c~•mrnand1 and up\lrt him to the Governor lot trial, or at the op. w.hon1 to bi a11o
                lion of fucb licutcnun colonel cornmandant, a general court-martial, to confift of thirteen of• retied,
               Ams, ma1 by bis order be held within the limits of hla regimental dillrli!l, for trial of
               ftlch as !ball be undot 1he rank of a field oftlw, The profid,nt of th11 (~Id court
               lhall be a field allicer, and file at lealt of the members lhall be captain,, and where
               there it not a (utlkient number of officers Jn ~ny regiment to conlHtute a court wher11
               the arrcll Is made, the commanding officer of the regiment may call upon tho com-
               mandin& officer of •ny adjaccn1 regiment, to order as many officers Crom fuch regiment as
               wlll bt rufficient to maki: a court, and fuch court may, on convlaion, ceorure or calhier any
                                                                                                                    Appe,t, 111•1'
               oflictr fo tried, and their fentence lhall be liml I Caving 10 (uch orficer an appeal to the execu. be   made from
               tin; If ho lball think proper, in which cafe the com,nanding olliccr lhall furnllh hi,n with a the Cent~n<e of
              'Copy of 1hc proceedings of the fAid CQUrt, Any non.commlffioned officer, or foldier offend. a court,manid
              in,i lliall be tried by a like general court martiu11 and may, on conviclion1 be cenfured Qr fined lo the E~ecu•
              ,1 the dircretion of the court, I•'11r obtaining Iha 11eccf\"ary evidenco for tho trlah aforefaid tho tlvr 1
              aovcrnor, or tho commanding officer of the regiment (as tho c~fo may be) fhall if\"uc his 1      1um- Evidence, how
              nu,ns1 and any perfon Co fommoned failing to attend, ihall.forfoit and p1y, upon a liunmons /rom to be pro<ured,
              tho governor, thirty dollars, and upon a fummons from the commanding officer of a regiment,
              fifteen dollars l to be ,~ported by tho commanding officcr1 amongrl other dclinquenclea, 10 tho
              eourt aforefald,                                                     ·
                  Sac, XXXIV, AND 6, it furthtr ,11al11i, That tho commanding officers or regiments Coum for ar.
              fhall, on fome day In the montht of May anti October, not exceeding 6ftecn 1 nor lcfs than ten Mf14ent of
              days after their regimentRI and battalion mullm, order the commanding officers of bat. finci, when It
              t111lons and of companies1 to meet at tho places where their larl battalion mullcra rerpct\ively held  where to bo
                                                                                                                         I
              were held, a m~ority of w~om lhall form a court of enquiry and ~lfelfment of lines, and it lha!I
               be the duty of the lieutenant colonel commandant to prelide at Cuch boards, and in ca(o of his ab.
              fence by fickntfs or otherwlfe, lh!I next officer in unk fhill prcfidc. The iaid court fhall take
              officer ,£ the fald board ta him, to wit : 11 I
                                                                                                     br
              the following oath, to lie adminltlmd by the fcnlor orliccr prefcnt, and afterwards any other
                                                                            · do fwear, that I wli truly nnd
              II falthrullr, cnqulro Into all delinquencies which appm on the returns to be laid before rne,
              11 and wll alfcfa tho fines thereon as lhatl feem jult, without
                                                                                 favor, partialtty, or 11/fei!llon,'
              41 So h,lp ll\ll GOD," The lieutenant
                                                        colqn,111ur,nmandi!1\ lhall thonJay beforq the faid court




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                        1111 delinq11e11cles, u directed by this all, whereupon they llull proceed to boar and dotermlue
                        on them,
      Fiiu lo be Cbl   SF.c, XXXV, AU, ff11~1 to he afibReJ by vlr1ue of this aa, Oull be collecle1/ by the
      hUed by tht Owrlff 11f the county, upn11 n IHI thr.rccif ccrtilioJ by the dc1k of the
      lherlff1 I                                                                            fJJd court, and delivered to
                    the thcrif¾; on or hdorc th~ firll d1y of J.1mrnry, iu every year, who thall give his f#teipt thnc-
                    fur, und nccount for the fit1110 to the licut~n:11u colo'lel cnmrnanJant, or his fucccffor, and be
                    nll11weJ tha fame commi1ll,11u ~s fur other public monies, on or hcfore the firll             cbr,
                                                                                                               Qf Novem-
                    ber in the f,1me )'ear I and on failurn 1 the co111mai1uing ofticcr, or his fucceAhr1 Oul, o~ ten diys
                    prcclouM notiu, obtai11 judgment for tho famff III the county or corporitlon C()fltt .with coils I
      l,y dif\rth,  and /hould any perfou fo cliargtd with fines, fail to make par111ent 011 or before the 6rll day of
      when nccclf,. May, in nny yrn, the lherifl' u hereby authorili:d to make Jiftrcfs and falc thecefur, in the fame
      ,y I          m~nner aj is ~ircllcd in the coli.:Won uf the uxes,
      om,cuto ren,        S£c, XXXVI, THE comman~ing u!lkor of every regiment th.all on pr bdorc 'the thirty
      1lerarcountrnf firll chly of l>cccmb.cr, in dVe11· year1 render 111 th: J•:l(ecutivo a1, aCCiJUt11111J<111 oath of all m1>11les
      finl'I rtceiv1d, which have come intCl his h1i,ds by virtue of his office, and of his Jllburfoments i and if there
                        thall remain any money in his hat1~5, the fame /hall he paid Into the tre~fury in nid of the con-
                        tingent fun~.
      Finct lobe paid      Sic, XXXV II, AND for enforcing obedience to this alt1 Bt it t11a,:l,d, Tlut the followln:
      for dclinquen-    fnrfei1ures and pennltic$ (hall b~ incure/l for delinquencies, viz, By a lieutenant-coloucl com•
      du;               mandant, or commanding ufficer of a rcgimenr 1 for failing to take any oath, to fummon any
      Dyuommand,
      ing, ollktr of a court or bQ~rd1 to attend any court or boud, to tranfrnit an1, recommcndatio11 of ,111 oflkcr or
      1cg1menq          officers to the ijOv¢rru>r1 to deliver any con1,11illio11 Qr comm1ITT011,, to •ppoint a regimental or
                        battalion n1110~r, 10 report ~dinqµencles, to make returns of his regi,ncnt a~ by 1hls act di-
                        rccl•tl, lh,11 for nch 30J every fuch offence or 11cglei!t1 forfeit and pay feventy dollars ; failin.;
                        to fend ihto ;it:tu,t forvice any militia legally callcll for, or IQ turn 0111 hi1 militi~ Upill any ln-
      l\y a maj~r 1
                        vafion or infu1ret\ion of his county, 1w11 hunJrcd ,lollm, lly a major f')r failing tQ. t,,lcq •ny
                        04lh1 1.0 attend any court or boarJ, to give notice of any regime11tal 11r batullon mu!\cr, 10
                        examine his b~ttahon1 to report delinquencies, or to make any ret11rn ·H dire.lied by.this a~,
                        hi) jhall fqrfoit and pay for each and every offence or neglect, thirty dollars I f~ili11g to ~all
                                                                                           or
                        forth frnm his battalion wi1h dµe difpatch, nny d~uchme111 mou l!nd officcm, as IK:l-11 bi N•
                        quired froQI !iQle to timJl by the t:O'nrnandh·a nfliter, or 11ny ell)! from the governor; invafiu11
                        of or infurrac\ion in his county, or requiiition from any neighbouring county, eighty dollars,
      l\y a captain 1 By a ciptilin for failing to take in path, to auc11J any court, to lnroll his coqipany1 to appoint
                        private muflcrs, to give notice of 11. regimr.ntal or batialio11 rpufier1 to attend any muiler arm-
                      . ed1 to t~ll his roll1 e)!amlne hi~ co111pt111y and report dellnquencle!l to m~kc any tefUfll llS dir~~l-
                        ed by thlsaA, h~ lhall forfeit ant.I pay for i;acb ~nd every tilch ottencc ~nd negleEI twenty dul-
                        l1rs I foiling to c~U rqrth fuch ufficen and men 11s fitall fr111n time to time bi: leg~lly callerl
                        frpm his company1 4pon an1, cJII from the Governor, invafaon ofi or lnfurrcEllon ill tlic: eoun ..
                        ty, or requlfitioo trom ~n •aj~cent county, or failing on al)y rncb occafion to repair to the placer
      Ir , Cubaltcrn1 ofr\:n4ezvoµs 1 he th~II forfeit and p~y forcy dollm, By a fu\laltern officer for tailh1g_ co talto
                        any !l~th IP f!ltend ~ny court, or rnull~r armed as dlrettcJ, for each and every fuch offc:nc;c he
                        fuall f111fuit ancl pay ten dollars I foiling to repair to. the place of rendcivous, armed as requin:d;
                        wh,n or4md upon a11y call from the Governor, invation of, or iniurrc~\ion in the county1 o.r
                        rc~11i6tion from a ucighbouring ~ounty1 he fliall fut felt ~nd pay twenty dollars: And more-
                         over th faid olfiorrs, for a11y nf the fai~ ullen~es1 lhall be liablP, tu be arrelled aud tr~d for tbi:
      By anon cni.- fame as mjlitary offenJera, By a non ,cnmmlffionccl officer or fo!Jier, for failing to attend ac any
      rniffioned 016, m11(ler1 ~rp1ed and equipp~d a, dlre~cd by law, fifty cents I f.iling to repair to his rendezv<1us
      cer or pd vale, w~en ordar~d, uppn any call From th~ Guv~rnor invafian of, or lofurreaion in the cou11ty, or
                                                                               1
                        requhition from a nffigbbourini tu1111ty1 he lh:,11 torfeit    and pay ten Joll~rs,                 .
       .A,m,,&t, pr
       milhia U·
       cmpltd frqu,        Sac. X1'XV Ill, AI,L ~rm1.1 ammunition, <1nd ~quipmeuts of the mllitla, !hall be exempted
       ~xct11tian1,     from executions ~nd dilirdles at all tlm~s, ~n~ their perfun.s fro111 arrelh in civil c:;ites, while
       dinrcffea, &c, 3oi11g t~ continuin~ l\t, or ruturniug from 1uullm, a.lld whUe in qc\ual.J'ervice,
       aaa ,heir per.
       fom from ar-
       ren,1a1 muOer1 Ssc, XX.XIX, THR tomn1nmli11~ orficcrs of rfgimt11ts lball on the day of his regimental
       and n fervicc, muller nrtl tu be held under lhis a&,h1s muller b~ing 01·er,ordur the m~Jnrs und captalns ofhia
                      regiment 10 afiiimble at l11me 11onvenient place; at ur ueu thp muller.ground, and thell .-nd
                      there n11point by h~llot a clerk and prtlvon mlrti.,l, who lh~ll attend the courts ot boards how•
                        in before direlted to be held; fuch clerk !hall keep a (Jlr record of the proceedings of fuch
                        cou,11111r boarJs, 11s wl(o of the rufler returned by th~ '3veul c~111ains or comn,anding officers
                        of companies for r~gular rotlnc 11f duty, and PII othtr duties r~quired by this 11~11 an.I together
                        whh tllc provoll martial, receive fucli all,>w~ncc, 10 b~ p'3id out of tho fines ariting froA1 de#
                          llllU~11c1cs1u the court or boarJ fh~ll think reafonable.                              ·
       .Rich1110n~,
       WilliamA>urg,   $EC, XI,, THE militia of the city of William/burg, city of Rkbm011d, anib~rough
       and Norfolk of Nor fol~, (lull have their r.rfficers ~ppoi11te~ am.I ·be unJcr tht: IJ!'1e, rr,ilcs
       militia to be                                                  1                                    ruid reg1,1latlo111
       under di, likeas the dilfocnt counties,
       regulation, u
       the militia of   $F.C, ·X.~~-     Tm: comm~11Ji\'i oRioera of resl1J1ant~ are he~eby emp()wernd t<i. receive
       the counilr1, tho c1,1mm1,.w11    ir any otlke1· 111 lus r~p:lm~nt, who m~y think proper t.o roflgn, and !hall notify
                        fuch refign:1tb11 to thJ next fucce~Ji.ng CQUtt> ii\ IJJ.d.or lh.1t .fl!.ch. vucancy nuy be fupplicd,




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                                                                 t 13 ]
                   Sr.c, XLll, ANY court marti,1I nuy for good caui'e lhcwn, rerult any fineslmpofed by a CQurh martial
               former court niartial 1 provided that not rnore than 1wo courts martial lhall havu intervened may r,mlt
              'between ruch lo1pofltlo11 and application for rcrnlffion, •                                   linu I
                                                                                                                     And 1x1mpt
                 Stt, I,XltI, COURTS martini mQy exempt nny militia man from duty 011 account of ptrfonv from
              lrndily Infirmity, and may again direct Cuch perfons 10 he inrollcd when able to do d11ty, mllili• duty for
                                                                                                                     boJily infinttl.
                 Sv.c, LX{V, fOR the trial and punia,ment of the adjutant general, malor gencr~ts, and tit:1. mariiii'
              brigadier generals, IJ1 ii 11111lltd, that any major general or brigadier general offending under Cour11
                                                                                                                for the !rial 0£
              thl9 alt, lball be arrellcd and trl~d in the following manner, viz; A major general lhall be fltnctalofficeu,
              arrefied by the commander in chief of the !late upon any mlfcoridua of his own knowledge,
              Jr upon complaint lodged in writing by any co111miffioned offker, who fball thereupon order a
              gener~I court martial, to confHl if convenient of the remaining major generals, the brigadier
              generals of the Jivifion, over which fucb major general ls appointed, or as many of them aa qan
              conveniently attmd,and as many licutertant colonel t:Ommandants and majors,as Oiall make Up the
              number of thirteen in tho whole, who fitall confiitutc a court martial for the trl~I of Cuch of~
              fenders, Any brigadier general may In like manner be arrefteJ, for any offence committed By whom they
              11nder this aa, by the commander in chief of the l\ate, or by the majw general of the divifion mir be me!\.
              to which ho \ielong5, and tried by a court ~artial, to canflll of one major general, and ,not c '
              more than four brigadiers, and as many lieutenant colon.el commandants, majors, and captams, .
              as will be fufficient to conlHtute a court, to conli!l: of thirteen 1J1embers In the whole, which
              1;0,urt& lhall proceed to heat and determine all fuch offences, and give judgment according' to
              the right of ihe care, to be approved or difapproved by the commanding officer of the !\ate,
                . Sic, LXV, AND b, It /t!rlhrr ,nafled, 'fhat the adjutant general fhall be allow~d four Salaries of 1hil
              hundred dollara per year ~ and that each brigade ir.fpeclor {hall be allowed one hundrt;d and adjutant ~en••
                                                                                                              ral an,I bngado
              fifty 4olllrs per year, for the duties herein required of them, to be paid by the treafurer1 on inrpel!ou,
              warrant from th;:: auditor, who Is hereby authorifcd and required to grant the famo quaocr
              yearly, 'gn proper ~ppllcation being made,                                                  ,
              the~!~r. LXVI• THIS ad fh-11 commence and be in force ftorn and after the paffing ;~:m~~cctiii,
                                                                                                                      ,a,
              ----------------------------
                                     C II A P, · V,
             ,An ACT Jot· reducing Into one. the fcveral .A,'11 concerning Exemtion,. and
                                 far the relief of Info/vent Debtor.r,     ,
                                                     [Pall'ed Dccemb,r tho 13th, 1791,]
              S
                   EC
                        Tl · id
                          O
                                      BE it, ,nall,tl 6J th, Gtntral 4ffemli/y,
                                                                            That all perrons recovering any dtbt, 'Wtlt1 of txt•
                                  damagqi or tofh, by the judgment of any court of record within thl9 com• cuilon,
                                  '
              monwealth, may, at their eleE\lon, pro(ecute writs ofji,ri faciat, ,/,git, and ,api,s ad fatltfati- How to he it
              mdum, within the year, for ,the t~king the goods, ~ands, or body i;1f 1h11 perfon or pcrfons againO: ru,J an.t ,,:
              whom fuch judgmcntls obtamtd1 In manner foltowmg: All fuch writs Chall run in the name of turned,
              the commonwcialt~, and bear te1tc by the clerks of the fald co,nts refpetllvely, fhall b~ return· ·
              able to the firll Jay ofthc next fucccedlng court, fo that there be always at !cal\ fifteen days rrtnbday, at
                                                                                                                      !~
              between the teO:e and return of cac:h of the {aid writs : Pra1Jld1d, that executions may be 1 1• & ::~~~~
              lfl'ued from the General Court returnable to the fecond term of the Cald court, following the From the
              day of iffulng the fame I and that executions fuail ilfoe to any_ fheriff or coroner from the clerks neral an,t
              C>( the Oilhicl CoJ'll9 1 and be returnable to the lidl: day thereof, And providtdalfa, that if the 1r!01 court,,
                                                                                                                                 Er:
              plaintiff' in any co1mty or oth~r inferior court, lhall drlire an execution to ifl'uc1 returnable, at when re1111n••
              a limber day, the clerk (hall llfue the fame accordingly, fa as the day of Cuch return be upon a ble,            ,
              court day within ninety days next after the tclle thereof, and that the forms of the fald Cevera! Fors of ths
              writs {hall bd a& follows, mutati,, m11t1111di1, to wit ;                                             wr th

                                             11 A FIERI FACIAS IN DEBT,

                  u THE commonweahh of Virginia, to the fheriff of                  ·                  county, greet• Again!\ good11
              11  Ing : WE command you, that of the goods and chattels of A, B. late in your bailiwick, and chattel!,
              " you ca'ufe to be made th& furn of           ·       • 1 which C, D, lately in our
              11 court hath recovered agi\lnft him for debt
                                                               I alfo the_ fum of                      , which to the D,bt,
              " £aid C, D. in the fame court were adjudged f.,r his damages, as well by rcafon of detaining
              • the faid debt, as for his-coils In that fult expended, whereof ho is convicted, as appears to us of
                1
              " record, and that you have the faid                          before the judges or julllces (as the care·
               11 may be) of our faid court
                                           1 the                 day of                  , to render to the fald C, D,•
              " o( the debt and dama~ea alorefald, And have then there this writ, Witncf91 &c,"
                                             Th11 fame In cafe1 upon a Promifc :
                 AS before u,nto             11
                                         .1     for his damages, which ho fu(blnod, as well bY. reafon of his care,aJl'~lllpfit,
              " not pcrfortnlnJ a certain promlfe and af!umption to the fald C, D. by tho (aid A, B, lately
               1
              • madi:1 as for his coils by him about hb fuit ln this bchRlf expended, &c,"
                                                                     D                           .




                                                            EXHIBIT 14
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           EXHIBIT "15"




                                EXHIBIT 15
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                                                           ·;, '.-
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              SECOND CONGRESS. - SESs. r. Ctt. 33,                        i'W2.
  States, and for appropriilting the same, took'e-ffect: And provided alsi:,, not t<l e1,:.e.id
  That such allowance shall not exceed the annual amount of seventy $70,000.
  thousand dollars, until the same shall be further ascertained by law.
     SEc, 17. And be it further enacted, That the aot, intituled " An act Certain act Ill
  repealing after the last day of June next, the duties heretofore laid upon force    forco!lec.
                                                                                tion or the <lu-
  distilled spirits imported from abroad and laying others in their stead, ties, &c. herein.
  and also upon ~pitits distilled within the Unitii',d States, and for appro-
  priating the same," shall extend to and be in full force for the collection      1791, ob. 15.
  of the several duties herein before mentioned and for the recovery and
  distribution of the penalties and forfeituTes herein contained and gene-
  rally for the execution of this act, as fully and effectually as if every re-
  gulation, restriction,penalty, provision, dause, matter, and thing therein
  contained were inserted in and re-enacted by this p-resent act, subject
  only to the aherations hereby made.
     APPROVED, May S, li92.

                                                                                                  S'rATtrTl: I.
  CaAP XXXIIl.-.8n.Scl rrwre effecfoolly to provide fur fke Nali1m11l Defence by                  May S, 1792.
           estab/i,,J,ing an Unifwm ,11,·Jililia throughuul the United S/,z/es.(a)         .
      SECTION I. Be it enacted by the Senate and. I-louse of Representa-        MJ::fa how
  tives of tlte • United States of. America in Cong,-ess assembled _That and by wboiq
  each and every free able-bodied white male e;itizen .~f the resp~tive to be enrolled.
  states, re~ident therein, who il'I or shall be of the age of eighteen years,
  and under the age of forty-five years ( except as is herein after excepted)
  shall severally and respectively be e~roUM in the militia by the captain
  or commanding officer of the company, within whose bounds such citi-
  zen shall reside, and that within twelve months after the passing of this
  act, And it shall at all tim~s hereafter be the duty ('If every ~uoh cap-
  tain or commanding officer of a company to enrol every such citizen,
  as aforesaid, and also those who shall, from time to tillle, arrive at the
  age of eighteen years, or being of the age of eighteen years and under
  the age of forty-five years ( except as before excepted) shall come to re-
  side within his bounds; and sha.11 witlmut dehiy notify such citizen of the
  said enrolment, by !I proper non-cornmissioned officer of the company, by
  whom such notice may be pro\•ed. That every citizen so enro!Je'd and
  notified, shal!, within six months ~hereafter, provide himself with a good How to be
  musket or firelock, a sufficient bayonet 3nd belt, two spare flints, ·and a a:nned and a<>·
  knapsack, a pouch with a boK therein to contain not less thall twenty- conl.red.
  four cartridges, suited to the bore of his musket or firelock, each cart-
  ridge to contain a proper quantity of powder and ball: or. with a good
  rille, knapsack, shot-pouch and pow<l1;r-horn, twenty balls suited to the
  bore of his rifle and a quarter of a pound of powder; and shal! appen,
  so armed, accoutred and provided, when called ont to exercise, or into
  service, except, that when called out on company days to exercise only,
  he may appear without a knapsack. That the commissioned officers
  shall severally be armed with a sword or hanger and e~pontoon, alld that
                                                                                 1803, ch. 15.                       •
  from and after five years frorn tl1e p:issing of this act, all muskets for
  arming the militia as herein required, shall be of bores sufficient for
     (O:) The acts for the establishment of an uniform syst'!m for the government or the militia, are, An
  act more e/feetually to provide for the national defence by estab[iohing an uniform militia throu;i-hout tile
  United State•, May 8, 1792, cha!'. 33; an act providing arms for the militia through<>nt th~ United State•.
  July 6,.1798, chap. 65; an act iG addition to an net entitled, "An acl more elfeetuall~ to provide for the
  national defence, by estahUsblng an. nniform militia ~,_rooghout the _(!nited Sta1-:s,',' Much 2, 1803, chap.
  l5; ;in act more effectually to pro,,de for the orgtm1i1ng oflhe mi.11t1a of the District of Columbia, ].farch
  11, 1003, chap. 20; an act establishing rules and articles for the gnvernmcnt of the armies of the lJnitP<l
  States, April IIJ, 1806, chap. 20; nn act in addition to the net entitled," An act to pro,·ide for nllm<r
  forth the militia to execute the laws of the Union, suppress insurroctinns, and to ,.,peal the act now iii
  force for those purpos@•," Aptif 19._ 1814, chap. S2; nn act concerning field nrlie<·rs ,.f tl,c mil;,ia. Apcil
  20, 1816, chap. 64; an act to esi,bhsh an nn,form m<>~c    "r discipliM and fidd ~x<>rei,e for 1h<> m;!itia ol"
  the Unit~d State•. Ma_i 1'?, 1~20, chap. 97; an n~t to re<l11ce and fix the military peace estobl!shm~-"!
  of the United States, March 2, 1821, ch3p. J3, s<"c. l4.




                                                      EXHIBIT 15
                                                        0337
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                                  balls of the eighteenth-part of a pound. And every citizen so enrolled,
                                   and providing him~lf with the arms, ammunition and accoutrements re,.
                                  quired as aforesaid, shall hold the same exempted from all suits, dis-
                E       . ffi tresses, executions ()r ssles, for debt or for the payment of taxes.
             ce,:ecfc~e "ex:          SEC. 2. .And be it farther enacted, That the Vice President of the
             empied.              United States ; the officel's judicial and executive of the government Of
                                  the United States; the members of both Houses of Congress, and their
                                  reSpective officers; all custom.house officers with their clerks; all post-
                                  officers, and stage drivers, who are employed in the care and conveyance
                                  of the mail of the post-office of the United States; all ferrymen employed
                                  at any ferry QD the p<)St road; all inspeetQrS of export'!; all pilots) all
                                  mariners actually employed in the sea service of any citizen or mer-
                                  chant within the United States; and all persons who now are or may here-
                                  after be exempted by the Jaws of the respective stateii, shall be, and are
                            37
             &ti<)~~~, clt.   , 11,ereby exfempted from militia duty, notwithstihdi11g their being above
                                  t e age o eighteen, and under the aJ!:e of forty-five ~ars.
                Militia how to       S11:c. 3. And be it farther enacted, That within one year after the
             be o.rn.nged,
             and                 passmg.
                                            or t h.1s act, the militia of the respective. states shall be arranged
                                  into divisions, br.igades, regiments, battalions and companies, as the le-
                                  gislature of each stale shall direct; and e;ich division, brigade and regi-.
                                  roent, shall be numbered at the formation thereof; and a record made
                                  of such numbers in the adjutant-general's office in the state; and when-
                                  in the field, or in service in the state, each division, brigade and regi-
                                 ment shall _respectively take rank according to their numbers, reckoning
                                  the first ()f lowest number highest in rank. That if the same be conve-
                                  nient, each brigade shall consist of four regiments; each regiment of
                                  two battalions ; e1cb battalion of _live companies; each compauy of
             by whom o.16· sixty-four private~, That th'e said militia shall be officered by the re-
             eeted.               spective states, as follows: To each division, one major-general and two
                                  aids-de-camp, with the rank of major; to each brigade, one brigadier-
                                , general, with one brigade inspector, to serve also as brigade-major, with
                                  the rank of a major; to each regime~t. one lieutenanN:Olone1 comman-
                                  dant; and to each batla!ion one majQr; to each oompany one captain,
                                 one lieutenant, one ensign, four sergeants, four corporals, one drummer
                                  and one fifer or bugler. · That there shall be a regimental staff', to con-
                 1300, eh. 1.5, Bist of one adjutant and one quartermaster, to rank as lieutenants; one
             •II<). 3.            paymaster; one surgeon, and oite surgeon's mate; one sergeant-major;
                                  one drum-major, and one fife-major.
                   Each batta-       8Ec. 4. And be it further enacted, That out of the militia enrolled,
             ~~!~an~a~r;:,~       as is herein directed, there shall be formed for each battalion at least
             11a<1,ers, &c. and one company of grenadiers, light infantry or riflemen; and that to each
             on~ kompany of division there shall be at least one company of artillery, and one troop ef
                  1
             arli ry.          . horse: there shall be to each company of artillery, one captain, two lieu--
                                  tenants, four sergeants, four corporals, six gunners, six hornbadiers, one
                 Officers how drummer, and -0ue fifer. The officers to be arrned,with a sword or
             '° be a.rrued. hanger, a fu~ee, bayonet and belt, with a cartridge-box to contain twelve
                                   cartridges; and each private or matross shall furni.'lh himselfwith'.alJ the
                                   equipments of a private in the infantry, Ul.}til proper ordnance and field
                    Troops of 11rtillery is provided. Then> shall be to each troop of hor.se, 011e captain,
             :;:d      ~ <>iii- two lieutenants, one cornet,four serget1ut.s, four corporals, one saddler ,one:
                 re ' c.           farrier, and one trumpeter. The commissioned officers to furnish them-
                                   selves with good horses of at least fourteen hands and an half high-, and
                                   to be armed with a sword and pair of pistols, the hoh,-ters ofn:hlch to be
                                   covered with bearskin.caps. Each ·dragoon to furnish himself with a
                                   serviceable horse, at least fourteen hands and an half high, a· good slid.
                                   die, bridle, mailpillion and valise, holsters, and·a breast-plate and crupper,
                                   a pair of boots and spurs,,a pair of pistols, a sabre, and a ~artouch•box, to
                  Arti\lerv and contain twelve cartridges for pistols. That each company of artillery
              horse u/' U-hotn
              to be forroed ;      and troop of horse shall be formed of volunteers from the brigade, at the




                                           EXHIBIT 15
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  diSUetion of the commander-in-chief of the sta.te, not eiroeeding one . to b1c1 uniformly
  company of euh to a regiment, nor more in number than one eJerenth clad· at their
  pal't of the infantry, and -shall be uniformly clothed in regimeutals, to be own w:pe.ost1.
  foruished at their own e;o.cpense; the colour and fashion to be determined           180S, eh, Hi.
  by the brigadier commm:iding the brigade to whioh they belong.
      8Ec. 5. A'ild be it further enacted, That each battalion and regi-               What colors
  ment shall re provided with the state md regiment.al colours by the &c.                and by
                                                                                   wbom to be flll'.
  field officers, .11.nd each •company with a drum 11Bd fife, or bugle.horn, by uiahed.
  t.be commi&aioned offi.Mrs of the company, in such manner as the Jegis-
, lature of the r~ective stat.es shall -direct.
      SEC, 6. Jlnd be it farther enacted, That there shall be an adjutant- Adjutant.ge,a.
                                                                                   era.I in each
   general appointed in -each state, whose duty it shall be to distribute all or- state,  his d11t1.
   ders from the commander-in-chief of the state to the several corps; to attend
   all puhlic reviews when the commander-in-chief of the state shall review
   the militia, or any part thereof; to obey all orders from him .relative to car-
   rying into execution and perfecting the system of military discipline esta-
   blished by this act; to furnish blank forms of different returns that may be
   required, aud to explain the principles on which they should be made; to re.
  eeive from the several officers of the different corps throughout the state,
   returru of the militia under their command, reporting the actoal situation
   of their anns, accoutrements, and ammunition, their delinquencies, anJ
   every other thing which relates to the general advancement of good
   order and disciphne: all which the several officers of the divisions, bri·
   gades, regiments, and battalions, are hereby required to make in the               1803, ch. 15,
   usdal manner, oo that the said adjutant-general may be duly furnished
   therewith: from all which returns he shall make proper .abstracts, and Jay
   the same "annually before the eommander-in•chief of the state.
      SEC. 7. And IJe it fortker enacted, That the rules of discipline, ap-           Rules of dis.
   proved al)d established by Congress in their resolution of the twenty· dpline.
   ninth of March, one thousand seven hundred and seventy•nine, shall be
   the t:ulfl.'!I of discipline to be observed by the militia throu_ghout the Uni-
   ted States, exeept such deviations from the said rules as may be rendered
   neeessary by the requisitions of this act, or by some other wiavoidable
  cir.cumstances. It shall be the duty of the commanding officer at every
   muster, whet.her by ba!talion,.regiment, or siugle company, to cause the
   militia to be exercised and trained agreeably to the said rules of d.isci-
. pline.
      S&c. 8. And be it further enacted, That nil commissioned officers Officen how
  shall Wke rank according to the date of their commissions; and when to take rank.
  two of the same grade bear an equal date. then their rank to be deter-
   mined by lot, to be drawn by them before the commanding officer of the
   brigade, regiment, battalion, company, or detachment.

                                                                                    ...
      SEc. 9. And IJe it furtker enacted, That if any person, whether offi~ Provieion io
  oer or soldier, beJonging to the militia of any state, and called out into eaoe ofwo,mds,
  the service of the United Stat.es, be wounded or disabled while iu ac-
  tual service, he shall be taken care of and provided for at the public
  expense.
      Smc, 10. And be it furtker en.acted, That it shall be the duty of the           Brigade in-
  bri!Jade-inspeetor to attend the reiimcntal and battalion meetings of the sp,:,etor'sdutr.
  militia composing their several brigades, during the time of their being
  under arms, to inspect their arms,. ammunition, and aec.outrements; su~
  perintend their exercise and maqmuvres, and introduce the system of
  military discipline before described throughout the brigade, agreeable to
  law, and su"ch orders as they shall from time to time receive from the
  oo~mander-in.chief of the state; to make returns to the adjutant-~ne.
  ral of thintate, at least once in every year, of the militia of the brigade
  to which he belongs, reporting therein the actual situation of the a,ma,
  aeooutrements, and ammunition of the several corps, and every other 1803, eh. 15,
   thing which, in his judgment, mty relate to their government and the
      Vo,,. I.-M




                                                  EXHIBIT 15
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                                      '~-·,   '


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                              general advancement of good order and military discipline; and the
                              adjutant-general shall mak,e a return of all the militia of the state to the
                             comm·ander-in-chief of the said state, and a dupJicate of the same to the
                             President of the United Staws.
              Artillery &I,,    And whereas sundry corps of artillery, cavalry, and infantry now exist
           now existing,
                             in se,·eral of the said states, which by the laws, customs, or usages thereof
                             have not been incorporated with, or subjeet to the general regulations of
                             the militia:
           to retain their      SEc. 11. Be it further enacted, That such corps retain their uccus-
           privilege•.       tomed privileges, subject, p:evertheless, to all other duties required by this
                             act, in like manner with the other militia.
                                APPROVED; May 8, 1792,

             S:u.ruTJ>: I.

            Mays, 1791!.      C11AP. XXXI-V .~n .&t Nlalive to the compensatiOM lo certain rffeers employed,
                                          in the CiJllution rf the duties ,![ imp,st and tcnmage,
             [Obsolete.]       SEc·r10N 1. Be _it enacted by tire Senat,e and House of B.eprese,i,ta,,
              AdJitional                                   ef
                            tives q,f tlie United States America in Congress asumblcd, That from
           opecific allow. ·and after the last rlay of June next, in addition to the fees and emolu-
           ance from Is! of
           Julynextiocer, ments which may accrue to the officers employed in the collection of the
           lain   shrveyo,s   duties of impost and tonnage, hy the provisions already made, they shall
           and colleciors.    severally ha\·e and be entitled to the respective allowances following, to
               1790, ell, 35,
           nee. 63.           wit: The surveyors of Newburyport, Salem,St. Mary's andWt!mington, in
              Aetoi March North Carolina, the yearly sum of one hundred dollars each; the survey-
           II, 1799, ch. 113. ors of Beverly, North Kingston, East Greenwich, ,varren; Bristol, Paw-
                              catuc-k river, Providence, Patuxet, New Haven, Lewellensburg, Alexan-
                              dria, Beaufort, Hertford, Winton, Bennet's creek, Plymo.uth, Windsor,
                              Skewarkey, Murfreesborough, Nlxonton, Indiantown, Currituck inlet,
                              Pasquotank river bridge, and Newbiggen creek., the yearly sum of eighty
                              dollars each; the sun·cyor of Portsmouth, the yearly sum of sixty do!,.
                              Jars; the surveyors of Ipswich, Portland, Newport, Stonington, Middle-
                              ton, Bermuda hundred, Petersburg, Richmond, and Savannah, the yearly
                              sum of fifty dollars each; the surveyors of Gloucester, New London, and
                              Swansbo'rough, the yearly sum of thirty dollars eac.h; the 11urveyors of
                              Hudsoil, Little Egg Harbour;Suffolk, Smithfield, Urbanna, and Frede-
                              ricksbur,[, the yearly sum of'twent}' dollars each; the collector of the dis-
                              trict of Wilmington, in North Carolina, the yearly sum of one hundred
                              and fifty dollars; the collectors of the distrfots of Portsmouth, Gloucester,
                              AJbany, Annapolis, Vienna, Nottingham, Yorktown, Dumfries, and Lou-
                              isville, the yearly sum of one hundred dollars each; the collector of the
                              district of F'l.irfi.-?d, the yearly sum of eighty dollars; the collectors of the
                              districts of Marblehead, Plymouth, Barnstable, Naniucket, New Bedford,
                              Dighton, York, Biddeford, and Pepperelborough, Bath, Wiscasset, Ma-
                              chi~, Newport, New Haven, Perth Amboy, Great Egg Harbour, Wil·
                              mington, in Delaware, Chester, Cedar Point, Georgetown, Hampton.
                              South Quay, Wai;hingto11, Plank Bridge.and Georgetown, in South Va-
                              rolina, the yearly eum of fifty dollars each; the naval officer of the dis-
                              trict r>f Portsmouth, the yea1·ly sum of one hundred doJJars; the naval
                              officers of the district-., of~ewburyport, Newport, Providence, Wilming-
                              ton, in North Carolina, and Savannah, the· yearly sum of fifty dollars
                              each; the collector of the district of Salem and Beverly, one fourth of
                              one per centum on the amount of all monies by him received on account
                              of tl1e said duties; and to the collectors of the districts of.Portsmouth,
                              Newburyport, Gloucester, Marblehead; Plymouth, Nantucket, Edgartown,
                              New Bedfor<I, Dighton, York, Biddeford, and '.Pepperell>orough, Port-
                              land, Batl1, ·wiscasset, Penobscot, Frenchman's bay, Machias, Newport,
                              Providence, New Haven, Fairfield, Perth Amboy, Burlington, Great Egg
                              Harbour, Wilmington, in Delaware, Oxford, Vienna, Snowhili, Annapo-




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          HISTORY AND TRADITION IN MODERN CIRCUIT
          CASES ON THE SECOND AMENDMENT RIGHTS
          OF YOUNG PEOPLE


          David B. Kopel* & Joseph G.S. Greenlee**


                                            I. INTRODUCTION

                This Article surveys nineteenth century laws and cases that restricted
          arms ownership based on age. We analyze the nineteenth century statutes
          and cases through the lens of five federal Circuit Court of Appeals cases
          involving restrictions on the Second Amendment rights of young people.
                Part II examines Rene E., a First Circuit case. Because Rene E. relied
          on nineteenth century cases, Part II analyzes those cases.
                Part III is the Fifth Circuit’s NRA v. BATF, which cited nineteenth
          century statutes, some of which had led to the cases that Rene E. cited. So,
          Part III reviews the statutes.
                Parts IV, V, and VI each have shorter discussions of the other leading
          Circuit cases: NRA v. McCraw (5th Cir.) (carry permits); Horsely v. Trame
          (7th Cir.) (parental permission for gun license), and Ezell v. Chicago (7th
          Cir., “Ezell II”) (ban on persons under 18 using firing ranges).
                Because this Article focuses on post-Heller circuit court cases and their
          use of history, there are certain topics that we do not address. First, we
          discuss the Supreme Court’s Second Amendment decisions only to the extent
          that they are discussed by the circuit opinions. Second, we do not discuss the
          history of colonial and Early Republic militia statutes. Those statutes
          typically set the minimum age for militia service at sixteen, although by the
          end of the eighteenth century the minimum age federally and in most states
          had been raised to eighteen. Third, we do not discuss contemporary gun
          control laws, except to the extent that particular laws are at issue in the circuit
          cases we analyze. All of the topics that we do not examine in this Article will
          be reviewed in depth in an Article in the next issue of this Journal.1


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                                      II. UNITED STATES V. RENE E.

                Rene E. was convicted of violating the federal ban on juvenile handgun
          possession, by possessing a handgun at age seventeen.2 The First Circuit
          upheld the ban based “on the existence of a longstanding tradition of
          prohibiting juveniles from both receiving and possessing handguns.”3 The
          court considered (1) “contemporary federal restrictions on firearm and
          handgun possession by juveniles;” (2) “nineteenth-century state laws
          imposing similar restrictions;” and (3) “whether the Founders would have
          regarded prohibiting the juvenile possession of handguns as consistent with
          the Second Amendment right.”4 We will analyze the issues following Rene
          E.’s organization.

          A. Congressional regulation of juvenile access to firearms

                First, the court inaccurately summarized federal age-based firearms
          regulations, describing federal law as “prohibiting the sale of firearms to
          individuals less than twenty-one years old.”5 Actually, the 1968 law cited by
          the court applied only to a federally “licensed importer, licensed
          manufacturer, or licensed dealer,” and it allowed long gun sales to persons
          18-to-20.6 There were not, and never have been, federal rules on private long
          gun possession by juveniles; it is a matter of state law. The same was true
          for handguns until 1993, when the Youth Handgun Safety Act, restricted, but
          did not ban, juvenile handgun possession.7
                The Rene E. court emphasized that the allowances for juvenile
          possession made the statute less burdensome than the handgun ban struck
          down in Heller:



          1
                David B. Kopel & Joseph G.S. Greenlee, The Second Amendment Rights of Young Adults, 43 S.
                ILL. U. L.J. (forthcoming 2019).
          2
                United States v. Rene E., 583 F.3d 8, 9 (1st Cir. 2009). 18 U.S.C. § 922(x)(2) (2018) provides:
                It shall be unlawful for any person who is a juvenile to knowingly possess--
                (A) a handgun; or
                (B) ammunition that is suitable for use only in a handgun.
          3
                Rene E., 583 F.3d at 12.
          4
                 Id. at 12–13.
          5
                Id. at 13.
          6
                Omnibus Crime Control and Safe Streets Act of 1968, Pub. L. No. 90-351, § 922(a)(1), 82 Stat.
                197, 235 (1968) (codified at 18 U.S.C. § 922(a)(1); 18 U.S.C. § 922(b)(1) (2018) (prohibiting FFL
                transfer of “any firearm or ammunition to any individual who the licensee knows or has reasonable
                cause to believe is less than eighteen years of age, and, if the firearm, or ammunition is other than
                a shotgun or rifle, or ammunition for a shotgun or rifle, to any individual who the licensee knows
                or has reasonable cause to believe is less than twenty-one years of age.”).
          7
                Youth Handgun Safety Act, Pub. L No. 103–159, 107 Stat. 1536 (1993) (codified as amended at 18
                U.S.C. § 922(x)).




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               These exceptions permit juveniles to possess handguns for legitimate
               purposes, including hunting and national guard duty, as well as “in defense
               of the juvenile or other persons against an intruder into the residence of the
               juvenile or a residence in which the juvenile is an invited guest.” Thus,
               contrary to appellant’s suggestion, the ban on juvenile possession of
               handguns is not “even more complete” than the D.C. ban at issue
               in Heller, but contains important exceptions.8

          B. Historic state cases on juvenile access to firearms

          1. Callicutt: Tennessee’s Misinterpretation of the Right to Arms

                Next, Rene E. considered state cases. The court pointed first to State v.
          Callicutt, decided by the Supreme Court of Tennessee in 1878.9 The law at
          issue had made it “a misdemeanor to sell, give, or loan a minor a pistol, or
          other dangerous weapon, except a gun for hunting, or weapon for defense in
          traveling.”10 The defendant “insisted that every citizen who is subject to
          military duty has the right ‘to keep and bear arms,’ and that this right
          necessarily implies the right to buy or otherwise acquire, and the right in
          others to give, sell, or loan to him.”11 As quoted in Rene E., the Callicutt
          court retorted: “we regard the acts to prevent the sale, gift, or loan of a pistol
          or other like dangerous weapon to a minor, not only constitutional as tending
          to prevent crime but wise and salutary in all its provisions.”12
                Callicutt is poor precedent because it is based on the Tennessee
          Supreme Court’s interpretation of the Second Amendment in the 1840 case
          Aymette v. State.13 The Heller Court expressly denounced Aymette: “This
          odd reading of the right is, to be sure, not the one we adopt. . . .”14 Indeed, as


          8
               Rene E., 583 F.3d at 13–14 (internal citations omitted).
          9
               State v. Callicutt, 69 Tenn. (1 Lea) 714 (1878).
          10
               Id. at 714.
          11
               Id. at 716.
          12
               Id. at 716–17; Rene E., 583 F.3d at 14.
          13
               21 Tenn. (2 Hum.) 154 (1840).
          14
               District of Columbia v. Heller, 554 U.S. 570, 613 (2008). In full, the U.S. Supreme Court said:
                      Those who believe that the Second Amendment preserves only a militia-centered right
                      place great reliance on the Tennessee Supreme Court's 1840 decision in Aymette v.
                      State, 21 Tenn. 154. The case does not stand for that broad proposition; in fact, the case
                      does not mention the word “militia” at all, except in its quoting of the Second
                      Amendment. Aymette held that the state constitutional guarantee of the right to “bear”
                      arms did not prohibit the banning of concealed weapons. The opinion first recognized
                      that both the state right and the federal right were descendants of the 1689 English right,
                      but (erroneously, and contrary to virtually all other authorities) read that right to refer
                      only to “protect[ion of] the public liberty” and “keep[ing] in awe those who are in
                      power,” id., at 158. The court then adopted a sort of middle position, whereby citizens
                      were permitted to carry arms openly, unconnected with any service in a formal militia,
                      but were given the right to use them only for the military purpose of banding together to




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          the sentence from Callicutt immediately preceding the sentence quoted by
          the First Circuit explains, the Callicutt court was relying on the Aymette’s
          “odd reading of the right.” The full paragraph from Callicutt states:

                The cases of Aymette v. State, 2 Hum., 155, opinion by Judge Greene, and
                of Page v. State, 3 Heis., 198, opinion by Chief Justice Nicholson,
                sufficiently indicate the difference between the right and the wrong
                construction of the “right to keep and bear arms,” etc., and we do not deem
                it necessary to do more than say that we regard the acts to prevent the sale,
                gift, or loan of a pistol or other like dangerous weapon to a minor, not only
                constitutional as tending to prevent crime but wise and salutary in all its
                provisions.15

          2. McMillan: Pennsylvania Ban on Handgun Sales to Persons under
          Sixteen

                After the quote from Callicutt, the First Circuit provided a string cite of
          other nineteenth and early twentieth century cases.16                First, was
          Pennsylvania’s McMillen v. Steele.17 The case involved an 1880 statute that
          made it unlawful to “knowingly and willfully sell . . . to any person under the
          age of sixteen years, any cannon, revolver, pistol or other such deadly
          weapon.”18 A storeowner was being sued because his store sold a firearm to
          a person under 16.
                McMillen explained why the limit was set at 16: “The act of 1881
          merely substitutes, for the proof necessary to show lack of capacity, the hard
          and fast rule of sixteen years of age. Children under that age have been
          legislatively declared utterly unfit to handle firearms. The negligent act is
          solely referable to the unlawful sale to a minor under sixteen.”19 Persons 16
          and above were held to a different standard than those below 16. Thus,
          McMillen did not support the ban on the 17-year-old in Rene E.




                       oppose tyranny. This odd reading of the right is, to be sure, not the one we adopt—but
                       it is not petitioners' reading either.
          15
                Callicutt, 69 Tenn. at 716–17. Page v. State, 79 Tenn. (11 Lea) 202 (1883) dealt with bearing arms
                in public and contributes nothing to the discussion of age limitations.
          16
                Rene E., 583 F.3d at 14.
          17
                McMillen v. Steele, 119 A. 721 (Pa. 1923).
          18
                Id. at 721; Act of June 10, 1881, § 1 (Pub. L. 111; Pa. St. 1920, § 10595). This statute was involved
                in another negligence case, Shaffer v. Mowery, 108 A. 654 (Pa. 1919), in which a 13-year-old
                purchased a cartridge from a general merchandise store.
          19
                McMillen, 119 A. at 722.




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          3. Cases not Addressing the Right to Arms

                Second, Rene E. cited State v. Quail.20 The Quail defendant
          unsuccessfully argued that a Delaware law prohibiting the concealed
          carrying of a deadly weapon (other than a pocket knife) did not apply to
          unloaded revolvers. The same statute made it unlawful to “knowingly sell a
          deadly weapon to a minor other than an ordinary pocket knife,” although that
          part of the statute was not at issue.21
                The next case was Tankersly v. Commonwealth from the Court of
          Appeals of Kentucky—a three sentence opinion, in which the court declared
          that it did not have jurisdiction to hear an appeal to an indictment for selling
          a deadly weapon to a minor, because the punishment was not severe enough
          to qualify for an appeal.22
                The fourth case, State v. Allen, was decided by the Supreme Court of
          Indiana. Allen was accused of unlawfully bartering “to Wesley Powles, who
          was then and there a minor under the age of twenty-one years, a certain
          deadly and dangerous weapon, to wit: a pistol, commonly called a revolver,
          which could be worn or carried concealed about the person.”23 Since the
          appeal was argued on procedural grounds, the constitutionality of the statute
          was not at issue.
                The next case, Coleman v. State, was an Alabama appeal of an
          indictment founded on an 1856 statute making it a misdemeanor to “sell, or
          give, or lend” a pistol to “any male minor.”24 Notably the Alabama statute
          did not apply to female minors. The constitutionality of the statute was not
          at issue in Coleman.

          4. Georgia and Minnesota Tort Liability for Illegal Sale of Handgun to
          Minor

                The sixth case, Spires v. Goldberg, involved tort liability for an injury
          that occurred after the defendants sold a pistol and cartridges to a boy around
          14 years old.25 The Georgia appellate court noted that a state statute “forbids
          the sale of pistols to minors and makes the violation of the statute a
          misdemeanor.”26 The constitutionality of the law was not litigated; the
          question was whether the statutory violation constituted negligence.



          20
               State v. Quail, 92 A. 859 (Del. Super. Ct. 1914).
          21
               Id.; 16 Del. Laws 716 (1881).
          22
               Tankersly v. Commonwealth, 19 S.W. 702, 703 (Ky. 1888).
          23
               State v. Allen, 94 Ind. 441, 442 (1884)
          24
               Coleman v. State, 32 Ala. 581, 582 (1858).
          25
               Spires v. Goldberg, 106 S.E. 585 (Ga. Ct. App. 1921).
          26
               Id. at 586.




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                The Spires court cited two cases “which come nearest to analogy.”27
          Fowell v. Grafton was a case from Ontario that involved the violation of a
          statute making it illegal to sell an airgun to a child under 16.28 More relevant
          to this Article, Binford v. Johnston involved the violation of an Indiana
          statute prohibiting the sale of pistol cartridges to persons under 21.29
                The seventh case, Schmidt v. Capital Candy Co., was about a Minnesota
          ordinance prohibiting the sale of fireworks and explosives to minors. The
          ordinance also made it “unlawful for any person or dealer . . . to sell, expose
          or offer for sale, or in any manner furnish or dispose of . . . to any minor
          person at any time, any blank cartridge, pistol or revolver.”30 The case
          decided a question of liability, rather than the constitutionality of the
          ordinance.

          5. Georgia: Minors Have No Constitutional Rights and Handguns can be
          Banned

                As the First Circuit recognized, the statutes in all of the above cases
          were bans only on sales, and not on uncompensated transfers (except for the
          Alabama statute). None of the statutes criminalized possession by minors.
          So the First Circuit then looked for laws that “criminalized the
          mere possession of handguns by juveniles.”31
                The first anti-possession case cited by the First Circuit was Glenn v.
          State.32 It challenged a 1910 Georgia statute that prohibited the carrying of
          firearms without a license and did not make licenses available to persons
          under 18.33 The same statute made it illegal to “knowingly sell, or furnish,
          any minor with ‘any pistol, dirk, bowie knife, or sword cane, except under
          circumstances justifying their use in defending life, limb, or property.’”34
          The Glenn court interpreted the statute as a complete prohibition on persons
          under 18 from possessing pistols.35 The interpretation is plainly incorrect,
          since the statute allowed possession for self-defense.
                 The Glenn court upheld the statute under the theory that minors have
          no rights that the legislature is bound to respect: “It is entirely within the

          27
                Id. at 588.
          28
                Id.
          29
                Binford v. Johnson, 82 Ind. 426 (1882).
          30
                Schmidt v. Capital Candy Co, 166 N.W. 502, 503 (Minn. 1918).
          31
                United States v. Rene E., 583 F.3d 8, 14 (1st Cir. 2009).
          32
                Id.
          33
                Glenn v. State, 72 S.E. 927 (Ga. Ct. App. 1911).
          34
                Id. at 928.
          35
                Id. (“We conclude, therefore, that the act of 1910 not only prohibits minors under the age of 18
                years from obtaining license to have a pistol or revolver on their persons, but that the clear
                intendment of the act is to prevent minors from having about their persons at all this character of
                weapons, and this construction is in harmony with the general legislation of the State on the subject
                of minors”)




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          province of the legislature, in the exercise of the police power of the State, to
          prohibit, on the part of minors, the exercise of any right, constitutional or
          otherwise, although in the case of adults it might only have the right to
          regulate and restrict such rights.”36
               The assertion that minors have no constitutional rights is plainly wrong
          under modern precedent, and it was plainly wrong under the law of the time.37
               Glenn also asserted that handguns are not constitutionally protected
          arms: “So far as the writer of this opinion is concerned, he is decidedly of the
          opinion that the possession of a pistol or revolver about the person, either by
          a minor or an adult, concealed or open, is a menace to individual safety and
          to law and order, and he concurs strongly in the view of those able jurists
          who construe the constitutional provision above quoted as not applicable to
          the modern pistol or revolver.”38
               The Glenn decision is contrary to Heller, which holds that the
          possession of pistols and revolvers (handguns) is a constitutional right.
          Glenn was also contrary to Georgia Supreme Court precedent from 1844,
          which had held that handguns are protected by the right to keep and bear
          arms.39




          36
               Id. at 928-29.
          37
               See In re Gault, 387 U.S. 1, 13 (1967) (holding that “neither the Fourteenth Amendment nor the
               Bill of Rights is for adults alone” and that juveniles have right to counsel, right to notice of charges,
               right to confront and cross-examine witnesses, and right against self-incrimination); Tinker v. Des
               Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511 (1969) (“Students in school as well as out
               of school are ‘persons' under our Constitution. They are possessed of fundamental rights which the
               State must respect…”); Roper v. Simmons, 543 U.S. 551 (2005) (holding that the Eighth and
               Fourteenth Amendments forbid the execution of individuals who committed their crimes when they
               were under 18); 1 BLACKSTONE, COMMENTARIES *460–466 (chapter “Of Guardian and Ward”
               describing various legal rights of minors). If Glenn were correct that minors have no constitutional
               rights, then the Georgia Constitution of 1877, which was still in effect in 1911, would have been no
               barrier to the Georgia legislature enacting laws against some or all minors: to take their property
               without due process of law, to banish them from the state, to inflict cruel and unusual punishments
               on them, to require all Georgians under 21 to profess believe in an official state religion, to punish
               their dissent from said religion as heresy, to forbid them from criticizing government officials of
               Georgia, to search their houses without warrants, to forbid them to petition government, and to
               punish them with ex post facto laws and bills of attainder. See GA. CONST. (1877), art. I, § 1, parts
               3, 7, 12, 15, 16, 24, § 3, part 2 (enumerating prohibitions on aforesaid types of government action,
               and not limiting the protections only to adults). The absurdity of the proposition is self-evident.
          38
               Glenn, 72 S.E. at 929.
          39
               Nunn v. State, 1 Ga. 243 (1846).
               Glenn silently sidestepped Nunn by stating that the right to arms did not apply to “the modern pistol
               or revolver.” (emphasis added). This is implausible. By the time Nunn was decided in 1844, modern
               revolvers, from Colt’s Manufacturing Company, were on the market. They had been preceded by
               widespread sales of multi-shot “pepperbox” handguns, which function like a revolver. See JACK
               DUNLAP, AMERICAN BRITISH & CONTINENTAL PEPPERBOX FIREARMS 16 (1964); LEWIS WINANT,
               PEPPERBOX FIREARMS (1952); WILLIAM B. EDWARDS, THE STORY OF COLT’S REVOLVER (1953).




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          6. Illinois Case Not Addressing Minors

                The second anti-possession case cited, Biffer v. City of Chicago,40 did
          not involve a statute that “criminalized the mere possession of handguns by
          juveniles.”41 The case challenged a Chicago ordinance that required arms
          dealers to have licenses and that restricted advertising. Those provisions
          were upheld as lawful under Chicago’s police power.42 At the time, Illinois
          had no constitutional right to keep and bear arms, and the U.S. Supreme
          Court had specifically declined an opportunity to enforce the Second
          Amendment against Illinois.43
                Another portion of the Chicago ordinance, which was not specifically
          challenged, prohibited the general superintendent of police from issuing to
          minors the permit required “to purchase any pistol, revolver, derringer, bowie
          knife, dirk or other weapon of like character which can be concealed on the
          person.”44 This was a sales restriction, not a possession prohibition.

          7. The Kansas Supreme Court Reversal in Parman: Minors Have a
          Constitutional Right to Long Guns

                The First Circuit also cited Parman v. Lemmon.45 Parman is
          particularly relevant to this Article. The issue was whether a 20-gauge
          Winchester pump-action shotgun was a “dangerous weapon” prohibited by
          the Kansas statute that made it a misdemeanor to “sell, trade, give, loan or
          otherwise furnish any pistol, revolver or toy pistol, by which cartridges or
          caps may be exploded, or any dirk, bowie knife, brass knuckles, sling shot,
          or other dangerous weapons, to any minor, or to any person of notoriously
          unsound mind.”46 As detailed infra, many laws prohibiting the sale of pistols
          and revolvers also prohibited “other deadly weapons.” Long guns were not
          considered “other deadly weapons”—the closest they came to being so
          characterized was by the Supreme Court of Kansas in Parman.
                The Parman court initially held that shotguns (and therefore all
          firearms) were covered by the statute, and consequently that it was illegal to
          transfer any firearm to a minor. The court based its decision on the rule of
          ejusdem generis:



          40
                Biffer v. Chicago, 116 N.E. 182 (Ill. 1917).
          41
                United States v. Rene E., 583 F.3d 8, 14 (1st Cir. 2009).
          42
                Biffer, 116 N.E. at 184.
          43
                See Presser v. Illinois, 116 U.S. 252 (1886).
          44
                Biffer, 116 N.E. at 184.
          45
                Parman v. Lemmon, 244 P. 227 (Kan. 1925).
          46
                Id. at 228 (citing R. S. 38–701). R. S. 38–702 made it unlawful for minors to possess these
                dangerous weapons.




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               Applying this general rule to the question, we have a title specifying minors
               and deadly weapons. The act enumerates pistol, revolver, toy pistol, dirk,
               bowie knife, brass knuckles, sling shot, and “other dangerous weapons.”
               Can it be said that a Winchester rifle or repeating shotgun placed in the
               hands of an insane or incompetent person is not a weapon that is inherently
               dangerous to himself and his associates? The answer is obvious. 47

          “The rule, ejusdem generis ordinarily limits the meaning of general words
          to things of the same class as those enumerated under them.”48

                Justice John Dawson dissented:

               The fathers of our republic believed that a well-regulated militia was
               necessary to the security of a free state and that the right of the people to
               keep and bear arms should never be infringed. Have we ceased to believe
               that doctrine? I refer to this not because it is a provision of the federal
               constitution, and restricts the power of congress over this subject, but
               because it is a basic principle of statecraft of deep concern to all who are
               clothed with authority and who feel their responsibility to hand on
               undiminished to future generations those liberties which are our proud
               American heritage.

               From the landing of the Pilgrims in 1620 until the last Indian menace on the
               Kansas frontier in 1885, the rifle over the fireplace and the shotgun behind
               the door were imperatively necessary utensils of every rural American
               household. And it was just as imperative that the members of such
               household, old and young, should know how to handle them. And it was
               almost equally true that unless a man were trained in the use of the rifle and
               shotgun in his boyhood he seldom learned to use them. The American Civil
               War was largely fought by boys. Half of the Union armies were made up
               of lads in their teens. When those armies were disbanded, so many thousand
               ex-Union soldiers came to Kansas that their political views and outlook on
               life and government gave form and tone to the genius of our Kansas
               institutions. They filled our public offices for a full generation. They
               constituted a majority of the legislature of 1883, when this statute was
               enacted, and a majority of all the Legislatures of Kansas for a decade prior
               to and succeeding that time. Does anybody believe that while our western
               prairies were still sporadically subjected to Indian raids, while our pioneer
               homes were still shaded in gloom because of the tomahawk and scalping
               knife of Ogallalas, Cheyennes, Brule Sioux, and other bloodthirsty savages
               who smeared our frontier with blood and tears as late as 1878 and 1879, a

          47
               Id. at 229.
          48
               Id. at 229 (citing 2 Words and Phrases, Second Series, 225). “Ejusdem generis” is Latin for “of the
               same kind or class.” BLACK’S LAW DICT. 631 (10th ed. 2014). It is a canon of construction “that
               when a general word or phrase follows a list of specifics, the general word or phrase will be
               interpreted to include only items of the same class as those listed.” Id.




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                Kansas legislature would enact a law declaring it to be a crime for a father
                to intrust a rifle to his son of less than tweny-one years, and declaring it to
                be a crime for every youth less than twenty-one years of age to handle such
                a weapon? Yet that is exactly what this decision means when plainly
                spelled out in the Kansas language for everybody to read.

                Yes, and it means more than that. It means that every parent in Kansas since
                the enactment of this statute in 1883 who has permitted his son under
                twenty-one to take the family shotgun or heirloom rifle and go rabbit
                hunting committed a crime in so doing and repeated that crime every time
                he did permit it. And the boy, too, committed a criminal act every time he
                used the gun or had it in his possession. Until the recent acceleration of
                urban population our people have been largely country bred and reared, and
                it is conservative to say that nine out of every ten country-reared boys have
                been and still are permitted to use rifles and shotguns. Yet this decision in
                effect says all such doings are crimes!

                It is only the indisputable fact that the legislature so intended which should
                constrain this court, after a lapse of forty-two years, to discover such an
                interpretation for this statute.

                I think it unnecessary to supplement these general observations with a mere
                lawyer’s argument that the decision is wrong, although it could readily be
                made. An application of the principle of ejusdem generis would make it
                perfectly clear what the lawmakers of 1883 were concerned with—the vice
                of permitting children to handle revolvers, toy pistols, using explosives,
                dirks, sling shots and dangerous weapons of that character, ejusdem generis.
                A shotgun, a rifle, a pitchfork, a hatchet, is a dangerous weapon, of course,
                but neither is ejusdem generis with the sort of weapons denounced by the
                statute. But I place my dissent principally on the ground that the
                interpretation of the statute offends against the genius of Kansas and her
                hitherto free institutions, contemns her heroic history, and disdains the epics
                of her pioneers.49

               Justice Henry Mason, also dissenting, argued that ejusdem generis
          required a different result:

                Here the dangerous weapons specifically named in the statute have a quality
                in common, bearing a clear relation to the evil to be remedied. They all
                (with the exception of the toy pistol, which, as noted in the opinion of the
                court, was inserted by amendment after the bill had been introduced) are
                weapons primarily intended and used to inflict injury upon human beings,
                and generally speaking, serve no worthy purpose but the quite exceptional
                one of self-defense. The shotgun, on the other hand, is habitually employed
                for such useful and ordinary purposes as protecting crops and procuring


          49
                Parman, 244 P. at 231–32 (Dawson, J., dissenting).




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               game. Moreover, it is such a common implement that if the lawmakers
               intended to include it in the prohibited list it is extremely unlikely they
               would have failed to mention it.50

                These dissenting opinions apparently persuaded some justices who had
          originally constituted the majority. Rehearing was granted, and within five
          months of the original decision, the Kansas Supreme Court reversed itself.

               It is argued that if the meaning of a statute is doubtful, that construction
               should be given which leads to the most reasonable result, and that it is
               reasonable to conclude that the legislature did not intend to make law
               violators of sixty per cent of the militia of the state, it being estimated that
               sixty per cent. of the personnel of that body are minors; that it did not intend
               to prohibit students under twenty-one years of age in the colleges from
               taking military training; that it did not intend to prohibit young men under
               twenty-one years of age from taking out hunters’ licenses and hunting; that
               it did not intend to prohibit young men who have not yet reached the age of
               twenty-one, who reside on the farms and ranches, from carrying and using
               shotguns and rifles when necessity requires.

               These suggestions and many others have had the consideration of the court.
               We do not deem it necessary to discuss the question at length, nor to analyze
               the cases. We are of the opinion that, if the legislature of 1883 had intended
               to include shotguns in the prohibited list of dangerous weapons it would
               have specifically mentioned them.
               ...
               By a change of view on the part of some of the justices, the dissenting
               opinion at the time of the first decision has now become the controlling
               voice of the court, and further discussion is needless. 51

                The vacated Parman opinion had cited Evans v. Waite.52 This
          Wisconsin case involved a dispute over liability where someone was
          accidentally shot with a revolver by “a minor of about the age of 18.” “The
          circuit judge held that, because the defendant was a minor and was armed
          with a revolver” in violation of state law, “he was liable to the plaintiff for
          the injury, without regard to the question of negligence.”53 The Supreme
          Court of Wisconsin affirmed.




          50
               Id. at 232 (Mason, J., dissenting).
          51
               Parman v. Lemmon, 244 P. 232, 233 (Kan. 1926).
          52
               Evans v. Waite, 53 N.W. 445 (Wis. 1892).
          53
               Id. at 446




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          8. Virginia: Young Adults can Sign Arms-Bearing Contracts

                Also cited by the First Circuit was United States v. Blakeney.54 The
          Supreme Court of Appeals of Virginia held that 18-to-20-year-old “minors”
          were to be treated as adults in the context of bearing arms.55 Blakeney was a
          19-year-old who volunteered for military duty, and regretting his decision,
          argued that a minor (at the time, a person under 21) could not enter into a
          valid contract.56 The court held the contract valid, based in part on the fact
          that as a 19-year-old, Blakeney had the mental and physical capacity to bear
          arms.57
                The court explained that “children” were exempted from military
          service because they are incapable of handling arms:

                No person is naturally exempt from taking up arms in defence of the state;
                the obligation of every member of society being the same. They only are
                excepted who are incapable of handling arms, or supporting the fatigues of
                war. This is the reason why old men, children, and women are exempted. 58

               By contrast, “We know, as a matter of fact, that at the age of eighteen,
          a man is capable intellectually and physically of bearing arms.”59 And since
          18-year-olds were just as capable as 21–year–olds of both carrying arms and
          consenting to military service, the court held that 18-to-20-year-olds were
          bound by military enlistments just as adults over 21 were:

                It seems to me obvious that the enlistment of a minor capable of bearing
                arms, does not fall within the general rule of the municipal law, in
                regard to the incapacity of infants under the age of twenty-one years,
                to bind themselves by contract. Nor am I disposed to regard the
                enlistment as an exception to that rule. The rule, I think, has no
                application to the subject. The capacity of all citizens or subjects able
                to bear arms to bind themselves to do so by voluntary enlistment, is in
                itself a high rule of the public law, to which the artificial and arbitrary
                rule of the municipal law forms no exception. The rule of the public
                law is subject to but two conditions, the ability of the party to carry
                arms, and his consent to do so; and these conditions may exist in as full
                force at the age of eighteen as at the age of twenty-one. The party is
                subject to no incapacity by any arbitrary rule in regard to discretion;




          54
                United State v. Blakeney, 44 Va. (3 Gratt.) 405 (1847).
          55
                Id.
          56
                Id.
          57
                Id.
          58
                Id. at 408.
          59
                Id. at 418.




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               and there is but little room for discretion when he is in the line of his
               allegiance and public duty.60

                In sum, Rene E.’s list of cases is less than meets the eye. Many of the
          cited cases did not address constitutional issues. Of those that did, several
          are indefensible in light of Heller. Parman, in its final outcome, affirms that
          minors have the right to possess and use long guns, and Blakeney is in the
          same spirit. Most the remaining cases involved handgun sales bans and not
          possession bans.

          C. Evidence of the Founders’ Attitudes

                Turning to the Founding, the Rene E. court could not cite a single source
          in support of the notion that young people could be disarmed. The absence
          of such sources can hardly be surprising; as detailed in our forthcoming
          Article, over 250 colonial and state militia statutes through 1799 mandated
          that persons 16 and older (or sometimes 18, 15, or 10) be armed.61
                So the First Circuit merely cited some modern law review articles
          contending that the Founders believed that unvirtuous persons could be
          disarmed. The paradigmatic examples in these articles were persons who
          were disloyal to the government during wartime, as well as slaves and hostile
          Indians.
                The only Founding Era source directly cited in Rene E. was a never-
          adopted proposal from Pennsylvania’s Anti-Federalists. The proposal would
          have amended the U.S. Constitution to prevent anyone from being disarmed
          “unless for crimes committed, or real danger of public injury from
          individuals.” The proposal is addressed in Part III, but it is worth
          emphasizing here that it made no mention of age whatever. It hardly stands
          for the proposition that being under 21 years old constitutes “real danger of
          public injury.”
                The one other early historical source in Rene E. is a 1697 pro-militia
          pamphlet from England.62 The pamphlet refers to ancient “Israelites,
          Athenians,      Corinthians,     Achaians,      Lacedemonians,        Thebans,
          Samnites, and Romans.”63 According to the pamphlet, “Their Arms were
          60
               Id. at 409–10.
          61
               David B. Kopel & Joseph G.S. Greenlee, The Second Amendment Rights of Young Adults, 43 S.
               ILL. U. L.J. (forthcoming 2019).
          62
               J. Trenchard & W. Moyle, An Argument Shewing, That a Standing Army Is Inconsistent with a Free
               Government, And Absolutely Destructive to the Constitution of the English Monarchy, U. OF MICH.,
               https://quod.lib.umich.edu/e/eebo/A63115.0001.001/1:3?rgn=div1;view=fulltext (last visited
               October 2, 2018).
          63
               Id. The ancient Hebrew militia obligation began at age 20. Numbers 1:2–4. Under the Hebrew
               monarchy, training the use of arms began during childhood. 2 Samuel 1:18; CHAIM HERZOG &
               MORDECHAI GICHON, BATTLES OF THE BIBLE: A MILITARY HISTORY OF ANCIENT ISRAEL 110–11
               (rev. ed. 2002) (1978).




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          never lodg’d in the hands of any who had not an Interest in preserving the
          publick Peace.”64 That may be true, but there is no evidence that any of these
          ancient societies considered arms possession by young people to be contrary
          to preserving the public peace.
                In short, Rene E. was able to muster little historical evidence in support
          of a handgun possession ban for persons under 18, although there was some
          history of sales restrictions.

                 II. NATIONAL RIFLE ASSOCIATION VERSUS BUREAU OF
                      ALCOHOL, TOBACCO, FIREARMS, & EXPLOSIVES

                This Fifth Circuit case directly addressed the Second Amendment rights
          of young adults.65 The National Rifle Association challenged the federal
          statute that prohibits federally licensed firearms dealers from selling
          handguns to 18–to–20–year–olds.66 The court upheld the law after analyzing
          the historical understanding of the right to keep and bear arms.67

          A. No Founding-Era Source Supports Disarming People under 21

                The court found that “when the fledgling republic adopted the Second
          Amendment, an expectation of sensible gun safety regulation was woven into
          the tapestry of the guarantee:”68

                Since even before the Revolution, gun use and gun control have been
                inextricably intertwined. The historical record shows that gun safety


                The Athenians, Corinthians, Achaians, Lacedemonians (Spartans), and Thebans, were inhabitants
                of Greek city-states or regions. In Politics, Aristotle had explained that oligarchs attempt to obtain
                and maintain power by disarming the general public. 1 The Politics of Aristotle 48 (B. Jowett trans.
                & ed., 1885) (“the husbandmen have no arms, and the artisans neither arms nor land, and therefore
                they become all but slaves of the warrior class.’’); id. at 80 (“in a constitutional government the
                fighting-men have the supreme power, and those who possess arms are the citizens.’); id. at 131
                (oligarchies consolidate power by exempting the poor from the obligation to have arms); id. at 171
                (“As of oligarchy so of tyranny . . . both mistrust the people, and therefore deprive them of their
                arms.’’); id. at 221–22 (Citizens should be warriors at a young age, when their strength is greatest,
                and should be “councillors, who advise about the expedient and determine matters of law,” later in
                life. “It remains therefore that both functions of government should be entrusted to the same persons,
                not, however, at the same time, but in the order prescribed by nature, who has given to young men
                strength and to older men wisdom.’’).
                The Samnites were a central Italian tribe that was conquered by, and assimilated to, the growing
                city-state of Rome. In the Roman Republic, the starting age for militia service was 16 years old. See
                STEPHEN DANDO-COLLINS, LEGIONS OF ROME: THE DEFINITIVE HISTORY OF EVERY IMPERIAL
                ROMAN LEGION 16 (2012).
          64
                 Trenchard & Moyle, supra note 64.
          65
                 Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185
                 (5th Cir. 2012).
          66
                 Id.
          67
                 Id.
          68
                 Id. at 200.




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               regulation was commonplace in the colonies, and around the time of the
               founding, a variety of gun safety regulations were on the books; these
               included safety laws regulating the storage of gun powder, laws keeping
               track of who in the community had guns, laws administering gun use in the
               context of militia service (including laws requiring militia members to
               attend “musters,” public gatherings where officials would inspect and
               account for guns), laws prohibiting the use of firearms on certain occasions
               and in certain places, and laws disarming certain groups and restricting sales
               to certain groups.69

                The court provided no specific examples, and the various laws listed
          can hardly be said to have woven an expectation of restrictions into the
          tapestry of the guarantee.
                The gunpowder of the Founding Era was blackpowder, which is
          volatile.70 To prevent fires and explosions, merchants were often required to
          store their reserves in a brick building.71 The “laws prohibiting the use of
          firearms on certain occasions and in certain places” were typically for fire
          prevention.72 Or laws might prohibit unsafe behavior such firing guns
          randomly at night—because gunshots were used to raise an alarm, and
          random fire at night would create a false alarm.73
                The colonial and Founding Era arms sales restrictions for “certain
          groups” were primarily for Indians, and sometimes for slaves (or, very rarely,
          for free blacks).74 There were no restrictions on sales to free citizens.
                The only gun laws that were pervasive were the mandates to possess
          certain types and quantities of arms and accoutrements.75 As will be detailed
          in our Article in the next issue of this Journal, militiamen (typically, ages 16
          to 50 or 60) had to possess certain arms. So did men who had aged out of
          the militia (but who might be needed for local defense). In some colonies,
          heads of households (regardless of sex or age) also had to possess arms.


          69
               Id.
          70
               See David B. Kopel, How the British Gun Control Program Precipitated the American Revolution,
               38 CHARLESTON L. REV. 283, 291 (2012).
          71
               Id.
          72
               See Ezell v. City of Chicago, 651 F.3d 684, 706 (7th Cir. 2011).
          73
               See NICHOLAS J. JOHNSON, DAVID B. KOPEL, GEORGE MOCSARY & MICHAEL P. O’SHEA,
               FIREARMS LAW AND THE SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY 187 (2d ed.
               2017) (Virginia: no shooting “any guns at drinkeing,” except for marriages and funerals; Maryland:
               no shooting a gun more than three times in an hour, except to raise an alarm; Plymouth: no shooting
               at night, except at wolves or “for the finding of someone lost”; Pennsylvania, no shooting guns
               “wantonly” on New Year’s Eve in inhabited areas, or shooting guns near highways). Founding Era
               limits on firing guns in municipalities were discussed in Heller and determined not to be limits on
               lawful defensive use. Heller at 631–34.
          74
               JOHNSON et al., supra note 75, at 187–96.
          75
               Id. at 175–82 (also noting exception for Pennsylvania, which had no colonial or local militias during
               most of the colonial period).




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          Militia musters were the occasion for militiamen to demonstrate that they had
          the requisite arms by bringing them to the muster.
                These laws do show that there were gun laws in the Founding Era, but
          these laws hardly created a pervasive system of gun control. If an individual
          possessed the required minimum arms, he or she could purchase and possess
          additional arms (or choose not to) with zero regulation, including zero
          restrictions on purchases.
                The Fifth Circuit asserted that “laws that confiscated weapons owned
          by persons who refused to swear an oath of allegiance to the state or to the
          nation” supported the ban on young adults because the laws “targeted
          particular groups for public safety reasons.”76 These laws were rare and were
          enacted exclusively during war time to disarm potential enemy combatants.77
          The disarmament of disloyal persons during wartime is hardly a precedent
          for targeting other “particular groups” whose loyalty is unquestioned.
                The Fifth Circuit specifically cited only two founding-era sources. The
          first was the document (mentioned above) issued by the Pennsylvania Anti-
          Federalists who opposed ratifying the Constitution without a declaration of
          rights. The Address and reasons of dissent of the minority of the convention,
          of the state of Pennsylvania, to their constituents called for the inclusion of
          the following right to bear arms in the Constitution:

                That the people have a right to bear arms for the defence of themselves and
                their own state, or the United States, or for the purpose of killing game, and
                no law shall be passed for disarming the people or any of them, unless for
                crimes committed, or real danger of public injury from individuals; and as
                standing armies in the time of peace are dangerous to liberty, they ought not
                to be kept up; and that the military shall be kept under strict subordination
                to and be governed by the civil powers.78

                Because the dissenting minority’s proposal would have permitted
          disarmament of people for “real danger of public injury from individuals,”
          the Fifth Circuit concluded that all young adults could be placed outside of
          the Second Amendment’s protections. This was the strongest founding-era
          justification that the court produced.




          76
                Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185,
                200 (5th Cir. 2012).
          77
                JOHNSON et al, supra note 75, at 196–98.
          78
                Nathaniel Breading et al., The Address and reasons of dissent of the minority of the convention, of
                the state of Pennsylvania, to their constituents, LIBR. OF CONGRESS (Dec. 12, 1787),
                https://www.loc.gov/resource/bdsdcc.c0401/?sp=1.




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                The other founding-era source—included in a footnote—was William
          Rawle. Rawle was an eminent lawyer, and his constitutional law treatise was
          the leading work on the subject following its publication in 1825.79
                According to the court, Rawle “maintained that although the Second
          Amendment restrained the power of Congress to ‘disarm the people,’ the
          right to keep and bear arms nonetheless ‘ought not, ... in any government, to
          be abused to the disturbance of the public peace.’”80 Certainly, persons who
          abuse the right to arms by disturbing the peace may be punished by
          government. The principle does not justify disarming persons who do not
          abuse the right.
                The Fifth Circuit omitted Rawle’s language making it clear that Rawle
          was writing about people whose conduct demonstrated their danger. After
          the language quoted by the Fifth Circuit, Rawle elaborated that he was
          referring to mutinies and to specific individuals who terrorized the public:

               An assemblage of persons with arms, for an unlawful purpose, is an
               indictable offence, and even the carrying of arms abroad by a single
               individual, attended with circumstances giving just reason to fear that he
               purposes to make an unlawful use of them, would be sufficient cause to
               require him to give surety of the peace. If he refused he would be liable to
               imprisonment.81

                The Supreme Court in Heller put the quote from Rawle in proper
          context.82 The Court also quoted Rawle about how the foundation of a militia
          is an armed populace: “In a people permitted and accustomed to bear arms,
          we have the rudiments of a militia, which properly consists of armed citizens,
          divided into military bands, and instructed at least in part, in the use of arms
          for the purposes of war.”83 Since 18-year-olds were part of the militia—in
          Rawle’s time and at present—they should be “permitted and accustomed to
          bear arms.”


          79
               David B. Kopel, The Second Amendment in the Nineteenth Century, 1998 BYU L. REV. 1359, 1384–
               88 (1998).
          80
               Nat’l Rifle Ass’n of Am., 700 F.3d at 212 n.12.
          81
               WILLIAM RAWLE, A VIEW OF THE CONSTITUTION OF THE UNITED STATES OF AMERICA 125–26
               (William S. Hein & Co. 2003) (2d ed. 1829). (“Surety of the peace” statutes could be used to require
               that individuals who had been proven to be acting in a threatening manner could be required to post
               bond for good behavior if they wanted to continue carrying arms.) See David B. Kopel, The First
               Century of Right to Arms Litigation, 14 GEO. J. L & PUB. POL’Y 127, 175–77 n.345 (2016).
          82
               District of Columbia v. Heller, 554 U.S. 570, 607–08 (2008) (quoting RAWLE, A VIEW OF
               THE CONSTITUTION OF THE UNITED STATES OF AMERICA at 123)(“Rawle further said that the
               Second Amendment right ought not ‘be abused to the disturbance of the public peace,’ such as by
               assembling with other armed individuals ‘for an unlawful purpose’—statements that make no sense
               if the right does not extend to any individual purpose.”).
          83
               Id., 554 U.S. at 607 (quoting WILLIAM RAWLE, A VIEW OF THE CONSTITUTION OF THE UNITED
               STATES OF AMERICA at 140).




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                Thus, Rawle’s treatise stands for the opposite of the point for which the
          Fifth Circuit cited the treatise. According to Rawle, law-abiding persons,
          including whoever would be in the militia, should be “permitted and
          accustomed to bearing arms.” Further, persons of any age who abused the
          right by disturbing the peace could be punished.
                Like the First Circuit in Rene E., the Fifth Circuit in NRA v. BATF was
          unable to cite even one Founding Era source for stripping young adults of
          civil rights.
                Like the Georgia Supreme Court in 1911, the Fifth Circuit resorted to
          the claim that minors lack constitutional rights. “The age of majority at
          common law was 21, and it was not until the 1970s that States enacted
          legislation to lower the age of majority to 18.”84 Therefore, “If a
          representative citizen of the founding era conceived of a ‘minor’ as an
          individual who was unworthy of the Second Amendment guarantee, and
          conceived of 18-to-20-year-olds as ‘minors,’ then it stands to reason that the
          citizen would have supported restricting an 18-to-20-yea-old’s right to keep
          and bear arms.”85
                The Fifth Circuit’s speculation is contrary to all the evidence. Persons
          under 21 were certainly minors under the common law of the Founding Era.
          Thus, their independent exercise of contract and property rights was limited.
                However, there is no evidence “a representative citizen” (or anyone
          else) in the Founding Era considered all minors “unworthy of the Second
          Amendment guarantee.” To the contrary, state and federal laws of the
          Founding Era are unanimous that minors aged 18-to-20 were considered
          worthy of the Second Amendment guarantee. As had been the case from the
          earliest colonial days, they were part of the militia and were required to
          possess their own arms.
                As Blackstone put it, age limits are “different for different purposes.”86
          For example, 14-year-olds were capable of discerning right from wrong and
          could be “capitally punished for any offense.”87 The principles of age limits
          on diverse matters will be discussed further in our forthcoming Article.
                We do not need to reason by analogy to know the Founding Era laws
          for age limits for capital punishment, marriage (universally allowed before
          age 18), conveying real estate (21), or being elected to the U.S. House of
          Representatives (25).88 Analogies are unnecessary because of the massive
          and uncontradicted evidence from the Founding Era—which also shows that

          84
                Nat’l Rifle Ass’n of Am., 700 F.3d at 201.
          85
                Id. at 202.
          86
                1 BLACKSTONE, COMMENTARIES 463 (discussing various ages at which male and female wards
                may consent to marriage, choose their guardian, be an executor of an estate; listing various
                exceptions to the general rule that minors may not alienate property or enter contracts).
          87
                Id. at 463-64; cf. Roper v. Simmons, 543 U.S. 551 (2005) (“Today, the Supreme Court has forbidden
                capital punishment for persons under 18.”).
          88
                U.S. CONST., art. I. § 2, cl. 2.




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          18-to-20-year-olds did have the right to keep and bear arms, and indeed were
          required by law to exercise that right.

          B. Late Nineteenth-Century State Statutes on Handguns for Minors

                The Fifth Circuit found better support from the nineteenth century. It
          accurately stated that “by the end of the 19th century, nineteen States and the
          District of Columbia had enacted laws expressly restricting the ability of
          persons under 21 to purchase or use particular firearms, or restricting the
          ability of ‘minors’ to purchase or use particular firearms while the state age
          of majority was set at age 21.”89 A string citation in a footnote listed the
          laws. Most of them date from around the last quarter of the century. These
          laws did not apply to long guns, but only to handguns, and sometimes to other
          arms that were considered especially disreputable, such as brass knuckles and
          bowie knives. Some were limits only on sales; some had exceptions for
          parental consent, for self-defense, or for hunting.
                The laws were:
                Alabama. 1856. No one may give a male minor a handgun or bowie
          knife.90
                Delaware. 1881. No one may sell to a minor a deadly weapon, other
          than a pocket knife.91
                District of Columbia. 1892. No one may give a minor a pistol, bowie
          knife, dagger, or brass knuckles.92
                Georgia. 1876. No one may give a minor a “pistol, dirk, bowie knife,
          or sword cane.” The law does not limit “the furnishing of such weapons
          under circumstances justifying their use in defending life, limb or
          property.”93

          89
               Nat’l Rifle Ass’n of Am., 700 F.3d at 202.
          90
               1856 Ala. Acts §17 (“That anyone who shall sell or give or lend, to any male minor, a bowie knife,
               or knife or instrument of the like kind or description, by whatever name called, or air gun or pistol,
               shall, on conviction be fined not less than three hundred, nor more than one thousand dollars.”).
          91
               16 Del. Laws 716, § 1 (1881): “That if any person shall carry concealed a deadly weapon upon or
               about his person other than an ordinary pocket knife, or shall knowingly sell a deadly weapon to a
               minor other than an ordinary pocket knife, such person shall, upon conviction thereof, be fined….”
          92
               27 Stat. 116–17, § 5 (1892) (District of Columbia)
               That any person or persons who shall, within the District of Columbia, sell, barter, hire, lend or give
               to any minor under the age of twenty-one years any such weapon as hereinbefore described [deadly
               or dangerous weapons, such as daggers, air-guns, pistols, bowie-knives, dirk knives or dirks,
               blackjacks, razors, razor blades, sword canes, slung shot, brass or other metal knuckles] shall be
               deemed guilty of a misdemeanor, and shall, upon conviction thereof, pay a fine or penalty of not
               less than twenty dollars nor more than one hundred dollars, or be imprisoned in the jail of the
               District of Columbia not more than three months.
          93
               1876 Ga. Laws 112, § 1
               That from and after the passage of this Act it shall not be lawful for any person or persons knowingly
               to sell, give, lend or furnish any minor or minors any pistol, dirk, bowie knife, or sword cane. Any
               person found guilty of a violation of this Act shall be guilty of a misdemeanor, and punished as




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                Illinois. 1873. Most people may not give a minor, “any pistol, revolver,
          derringer, bowie knife, dirk or other deadly weapon of like character, capable
          of being secreted upon the person.” Such arms may be given to a minor by
          the minor’s “father, guardian or employer.”94
                Indiana. 1875. No one may give a minor “any pistol, dirk, or bowie-
          knife, slung-shot, knucks, or other deadly weapon that can be worn, or
          carried, concealed upon or about the person.” The same restriction applies
          to handgun cartridges.95
                Iowa. 1884. No one may give “any pistol, revolver or toy pistol to any
          minor.”96
                Kansas. 1883. No one may give “any pistol, revolver or toy pistol, by
          which cartridges or caps may be exploded, or any dirk, bowie-knife, brass
          knuckles, slung shot, or other dangerous weapons to any minor, or to any
          person of notoriously unsound mind.”97 Minors in possession of such items
          are guilty of a misdemeanor, and may be fined up to ten dollars.98 As
          discussed supra, the Kansas Supreme Court held these restrictions did not
          apply to long guns.99
                Kentucky. 1873. The court cited 1873 Ky. Acts 359, but the citied
          material has nothing to do with arms.100 We did find the following restriction

                prescribed in section 4310 of the Code of 1873: Provided, that nothing herein contained shall be
                construed as forbidding the furnishing of such weapons under circumstances justifying their use in
                defending life, limb or property.
          94
                1881 Ill. Laws 73, § 2
                Whoever, not being the father, guardian or employer of the minor herein named, by himself or
                agent, shall sell, give, loan, hire or barter, or shall offer to sell, give, loan, hire or barter to any minor
                within this state, any pistol, revolver, derringer, bowie knife, dirk or other deadly weapon of like
                character, capable of being secreted upon the person, shall be guilty of a misdemeanor, and shall be
                fined in any sum not less than twenty-five dollars ($25) nor more than two hundred dollars ($200).
          95
                1875 Ind. Acts 86, § 1
                That it shall be unlawful for any person to sell, barter, or give to any other person, under the age of
                twenty-one years, any pistol, dirk, or bowie-knife, slung-shot, knucks, or other deadly weapon that
                can be worn, or carried, concealed upon or about the person, or to sell, barter, or give to any person,
                under the age of twenty-one years, any cartridges manufactured and designed for use in a pistol.
          96
                1884 Iowa Acts 86, § 1 (“That it shall be unlawful for any person to knowingly sell, present or give
                any pistol, revolver or toy pistol to any minor.”).
          97
                1883 Kan. Sess. Laws 159, § 1
                Any person who shall sell, trade, give, loan or otherwise furnish any pistol, revolver or toy pistol,
                by which cartridges or caps may be exploded, or any dirk, bowie-knife, brass knuckles, slung shot,
                or other dangerous weapons to any minor, or to any person of notoriously unsound mind, shall be
                deemed guilty of a misdemeanor, and shall, upon conviction before any court of competent
                jurisdiction, be fined not less than five nor more than one hundred dollars.
          98
                1883 Kan. Acts 159, § 2 (“Any minor who shall have in his possession any pistol, revolver or toy
                pistol, by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles, slung shot
                or other dangerous weapon, shall be deemed guilty of a misdemeanor, and upon conviction before
                any court of competent jurisdiction shall be fined not less than one nor more than ten dollars.”).
          99
                See supra text accompanying note 45.
          100
                1873 KY Law chapter 359 is an act to incorporate a banking and warehouse company. 1873
                Kentucky Law page 359 is part of an 1874 law (beginning on page 327) revising and amending the
                charter of the city of Newport. Heinonline’s Session Laws Library for Kentucky for 1873 contains




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          on minors passed in 1860: “If any person, other than the parent or guardian,
          shall sell, give, or loan, any pistol, dirk, bowie-knife, brass-knucks, slung-
          shot, colt, cane-gun, or other deadly weapon, which is carried concealed, to
          any minor, or slave, or free negro, he shall be fined fifty dollars.”101
                Louisiana. 1890. No one may give a minor “any pistol, dirk, bowie-
          knife or any other dangerous weapon, which may be carried concealed.”102
                Maryland. 1882. No one may give a minor “any firearm whatsoever or
          other deadly weapons, except shot gun, fowling pieces and rifles.”103
                Mississippi. 1878. It is unlawful to sell to a minor or an intoxicated
          person “any bowie knife, pistol, brass knuckles, slung shot or other deadly
          weapon of like kind or description” or to sell pistol cartridges to such persons.
          Concealed carry by anyone of such arms is prohibited, except while
          traveling.104 A father who knowingly allows “any minor son under the age
          of sixteen years to carry concealed” the above arms is guilty of a

                three books: “1873 (General Assembly, Public, Local, Private Acts, Regular Session pp. 1-570)”;
                “1873 vol. I (General Assembly, Public, Local, Private Acts, Adjourned Session pp. 1-694)”; and
                “1873 vol. II (General Assembly, Local, Private Acts, Adjourned Session pp. 1-644).” We could
                not locate a firearms law enactment about minors in any of them.
          101
                1860 Ky. Acts 245.
          102
                1890 La. Acts 39, § 1 (“That, hereafter, it shall be unlawful, for any person to sell, or lease or give
                through himself or any other person, any pistol, dirk, bowie-knife or any other dangerous weapon,
                which may be carried concealed to any person under the age of twenty-one years.”).
          103
                1882 Md. Laws 656, § 2
                That it shall be unlawful for any person, be he or she licensed dealer or not, to sell, barter or give
                away, to any person who is a minor under the age of twenty-one years. Any person or persons
                violating any of the provisions of this act shall, on conviction thereof, pay a fine of not less than
                fifty nor more than two hundred dollars, together with the cost of prosecution, and upon failure to
                pay said fine and cost, be committed to jail and confined therein until such fine and costs are paid,
                or for the period of sixty days, whichever shall first occur.
                “Fowling pieces” would today be considered a type of shotgun especially suitable for bird hunting.
          104
                1878 Miss. Laws 175–76, § 1
                SEC. 1. That any person, not being threatened with, or having good and sufficient reason to
                apprehend an attack, or traveling (not being a tramp) or setting out on a journey, or peace officers,
                or deputies in discharge of their duties, who carries concealed, in whole or in part, any bowie knife,
                pistol, brass knuckles, slung shot or other deadly weapon of like kind or description, shall be deemed
                guilty of a misdemeanor, and on conviction, shall be punished for the first offence by a fine of not
                less than five dollars nor more than one hundred dollars, and in the event the fine and cost are not
                paid shall be required to work at hard labor under the direction of the board of supervisors or of the
                court, not exceeding two months, and for the second or any subsequent offence, shall, on conviction,
                be fined not less than fifty nor more than two hundred dollars, and if the fine and costs are not paid,
                be condemned to hard labor not exceeding six months under the direction of the board of
                supervisors, or of the court. That in any proceeding under this section, it shall not be necessary for
                the State to allege or prove any of the exceptions herein contained, but the burden of proving such
                exception shall be on the accused.
                SEC. 2. Be it further enacted, That it shall not be lawful for any person to sell to any minor or person
                intoxicated, knowing him to be a minor or in a state of intoxication, any weapon of the kind or
                description in the first section of this Act described, or any pistol cartridge, and on conviction shall
                be punished by a fine not exceeding two hundred dollars, and if the fine and costs are not paid, be
                condemned to hard labor under the direction of the board of supervisors or of the court, not
                exceeding six months.




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          misdemeanor.105 Also guilty of a misdemeanor is “any student of any
          university, college or school, who shall carry concealed” as well as “any
          teacher, instructor, or professor” who knowingly permits student concealed
          carry.106
                 Missouri. 1879. Delivering arms to minors without parental consent is
          a misdemeanor.107
                 Nevada. 1885. Minors who carry concealed arms are guilty of a
          misdemeanor.108
                 North Carolina. 1893. It is illegal to sell or “dispose of to a minor any
          pistol or pistol cartridge, brass knucks, bowie-knife, dirk, loaded cane, or
          sling-shot.”109 Unlike some other states (e.g., Alabama 1856), North
          Carolina did not prohibit loaning such arms to minors.
                 Tennessee. 1856. It is unlawful “for any person to sell, loan, or give, to
          any minor a pistol, bowie-knife, dirk, or Arkansas tooth-pick, or hunter’s
          knife.” The law “shall not be construed so as to prevent the sale, loan, or
          gift, to any minor of a gun for hunting.” Since the act did not apply at all to

          105
                Id. § 3
                That any father, who shall knowingly suffer or permit any minor son under the age of sixteen years
                to carry concealed, in whole or in part, any weapon of the kind or description in the first section of
                this Act described, shall be deemed guilty of a misdemeanor, and on conviction, shall be fined not
                less than twenty dollars, nor more than two hundred dollars, and if the fine and costs are not paid,
                shall be continued to hard labor under the direction of the board of supervisors or of the court.
          106
                1878 Miss. Acts 175–176
                SEC. 4. Be it further enacted. That any student of any university, college or school, who shall carry
                concealed, in whole or in part, any weapon of the kind or description in the first section of this Act
                described, or any teacher, instructor, or professor who shall, knowingly, suffer or permit any such
                weapon to be carried by any student or pupil, shall be deemed guilty of a misdemeanor, and, on
                conviction, be fined not exceeding three hundred dollars, and if the fine and costs are not paid,
                condemned to hard labor under the direction of the board of supervisors or of the court.
          107
                1883 Mo. Acts 76 § 1274
                If any person shall carry concealed, upon or about his person, any deadly or dangerous weapon, or
                shall go into any church or place where people have assembled for religious worship, or into any
                school room or place where people are assembled for education, literary or social purposes, or to
                any election precinct on any election day, or into any court room during the sitting of court, or into
                any other public assemblage of persons met for any unlawful purpose other than for militia drill or
                meetings called under the militia law of this state, having upon or about his person any kind of fire
                arms, bowie knife, dirk, dagger, slung-shot, or other deadly weapon, or shall in the presence of one
                or more persons exhibit any such weapon in a rude, angry or threatening manner, or shall have or
                carry any such weapon upon or about his person when intoxicated or under the influence of
                intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to any minor any
                such weapon, without the consent of the parent or guardian of such minor, he shall, upon conviction,
                be punished by a fine of not less than twenty-five nor more than two hundred dollars, or by
                imprisonment in the county jail not exceeding six months, or by both such fine and imprisonment.
          108
                1885 Nev. Stat. 51, § 1 (approved March 4, 1881)
                Every person under the age of twenty-one (21) years who shall wear or carry any dirk, pistol, sword
                in case, slung shot, or other dangerous or deadly weapon concealed upon his person, shall be
                deemed guilty of a misdemeanor, and shall, upon conviction thereof, be fined not less than twenty
                nor more than two hundred ($200) dollars, or by imprisonment in the county jail not less than thirty
                days nor more than six months, or by both such fine and imprisonment.
          109
                1893 N.C. Sess. Laws 468–69, § 1.




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          long guns, the intent of the exemption was to allow minors to hunt with
          handguns.110
                Texas. 1897. In order to sell or give a minor, “any pistol, dirk, dagger,
          slung shot, sword-cane, spear, or knuckles made of any metal or hard
          substance,” the vendor or donor must have “the written consent of the parent
          or guardian of such minor, or of some one standing in lieu thereof.”111
                West Virginia. 1882. No one may “sell or furnish” to a minor “any
          revolver or other pistol, dirk, bowie knife, razor, slung shot, billy, metalic or
          other false knuckles, or any other dangerous or deadly weapon of like kind
          or character.” However, “nothing herein contained shall be so construed as
          to prevent any person from keeping or carrying about his dwelling house or
          premises any such revolver or other pistol,” or taking the handgun to or from
          a gunsmith for repair.112
                Besides the blanket exception for handguns in the home, there was also
          an exception for carrying outside the home if the minor could prove “that he

          110
                1856 Tenn. Pub. Acts 92, § 2
                That, hereafter, it shall be unlawful for any person to sell, loan, or give, to any minor a pistol, bowie-
                knife, dirk, or Arkansas tooth-pick, or hunter’s knife ; and whoever shall so sell, loan, or give, to
                any minor any such weapon, on conviction thereof, upon indictment or presentment, shall be fined
                not less than twenty-five dollars, and be liable to imprisonment, at the discretion of the Court :
                Provided, that this act shall not be construed so as to prevent the sale, loan, or gift, to any minor of
                a gun for hunting.
          111
                1897 Tex. Gen. Laws 221–22, § 1
                That if any person in this State shall knowingly sell, give or barter, or cause to be sold, given or
                bartered to any minor, any pistol, dirk, dagger, slung shot, sword-cane, spear, or knuckles made of
                any metal or hard-substance, bowie knife or any other knife manufactured or sold for the purpose
                of offense or defense, without the written consent of the parent or guardian of such minor, or of
                some one standing in lieu thereof, he shall be punished by fine of not less than twenty-five dollars
                nor more than two hundred dollars, or by imprisonment in the county jail not less than ten nor more
                than thirty days, or by both such fine and imprisonment. And during the time of such imprisonment
                such offender may be put to work upon any public work in the county in which such offense is
                committed.
          112
                1882 W. Va. Acts 421–22, § 7
                If a person carry about his person any revolver or other pistol, dirk, bowie knife, razor, slung shot,
                billy, metalic or other false knuckles, or any other dangerous or deadly weapon of like kind or
                character, he shall be guilty of a misdemeanor, and fined not less than twenty-five nor more than
                two hundred dollars, and may, at the discretion of the court, be confined in jail not less than one,
                nor more than twelve months; and if any person shall sell or furnish any such weapon as is
                hereinbefore mentioned to a person whom he knows, or has reason, from his appearance or
                otherwise, to believe to be under the age of twenty-one years, he shall be punished as hereinbefore
                provided; but nothing herein contained shall be so construed as to prevent any person from keeping
                or carrying about his dwelling house or premises any such revolver or other pistol, or from carrying
                the same from the place of purchase to his dwelling house, or from his dwelling house to any place
                where repairing is done, to have it repaired, and back again. And if upon the trial of an indictment
                for carrying any such pistol, dirk, razor or bowie knife, the defendant shall prove to the satisfaction
                of the jury that he is a quiet and peaceable citizen, of good character and standing in the community
                in which he lives, and at the time he was found with such pistol, dirk, razor or bowie knife, as
                charged in the indictment he had good cause to believe and did believe that he was in danger of
                death or great bodily harm at the hands of another person, and that he was, in good faith, carrying
                such weapon for self defense and for no other purpose, the jury shall find him not guilty.




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          is a quiet and peaceable citizen, of good character and standing in the
          community…and had good cause to believe…that he was in danger of death
          or great bodily harm at the hands of another person.”113
                Wisconsin. 1883. It is “unlawful for any minor…to go armed with any
          pistol or revolver.”114 It is also “unlawful for any dealer in pistols or
          revolvers, or any other person, to sell, loan, or give any pistol or revolver to
          any minor.”115
                Wyoming. 1890. It is unlawful “to sell, barter or give to any other person
          under the age of twenty-one years any pistol, dirk or bowie-knife, slung-shot,
          knucks or other deadly weapon that can be worn or carried concealed upon
          or about the person.” It is also unlawful to give “cartridges manufactured
          and designed for use in a pistol” to a person under 16.116
                Besides the state statutes, the Fifth Circuit also cited the cases of State
          v. Quail, State v. Allen, Tankersly v. Commonwealth, and Coleman v. State,
          all of which were cited by Rene E. and discussed supra.
                As of 1899, there were forty-six states in the Union. Nineteen of them
          had some sort of law involving handguns and minors and the other twenty-
          seven had no such laws. No state criminalized handgun possession by
          minors. Ten states generally prohibited handgun transfers to minors; four of
          those ten had exceptions for self-defense, hunting, or home possession, and
          Alabama’s law was only for males. Of these ten statutes, five expressly
          prohibited loans, while the other five were phrased in terms that could be
          construed to refer only to permanent dispositions. We do not know of caselaw
          for how those latter five statutes were applied, but we do note the 2006
          Maryland decision that a statute restricting the “transfer” of a regulated
          weapon did not apply to loans.117
                Three other states did not restrict transfers in general, but did restrict
          sales (Delaware, Mississippi) or dealer sales (Wisconsin). Five states



          113
                Id.
          114
                1883 Wis. Sess. Laws 290
                SECTION 1: It shall be unlawful for any minor, within this state, to go armed with any pistol or
                revolver, and it shall be the duty of all sheriffs, constables, or other public police officers, to take
                from any minor, any pistol or revolver, found in his possession.
                SECTION 2: It shall be unlawful for any dealer in pistols or revolvers, or any other person, to sell,
                loan, or give any pistol or revolver to any minor in this state.
          115
                Id.
          116
                1890 Wyo. Sess. Laws 1253
                It shall be unlawful for any person to sell, barter or give to any other person under the age of twenty-
                one years any pistol, dirk or bowie-knife, slung-shot, knucks or other deadly weapon that can be
                worn or carried concealed upon or about the person, or to sell, barter or give to any person under
                the age of sixteen years any cartridges manufactured and designed for use in a pistol; and any person
                who shall violate any of the provisions of this section shall be fined in any sum not more than fifty
                dollars.
          117
                State v. Chow, 903 A.2d 388, 406-07 (Md. 2006).




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          required parental consent for handgun transfers to minors (Illinois, Iowa,
          Kentucky, Missouri, Texas). Nevada simply prohibited concealed carry.

          C. Justice Cooley’s Commentary

                After the list of statutes, the Fifth Circuit turned to the most influential
          constitutional commentator of the latter nineteenth century, Michigan
          Supreme Court Justice Thomas Cooley. The court wrote that Cooley, in his
          “massively popular 1868 Treatise on Constitutional Limitations” relied on
          by Heller, “agreed that ‘the State may prohibit the sale of arms to minors’
          pursuant to the State’s police power.”118
                This is overstated in a section that analyzed the police power (and which
          was not analyzing the right to arms). Cooley cited State v. Callicutt in a
          footnote as holding “That the State may prohibit the sale of arms to
          minors.”119 Cooley was simply identifying Callicutt as a case related to his
          discussion, which is how he utilized footnotes to cite thousands of cases
          throughout the treatise.
                Callicutt, as explained supra, was based on an interpretation of the right
          to bear arms that was expressly denounced by Heller as “odd” and “not the
          one we adopt.”120 Heller aside, because Congress does not have a police
          power, Callicutt is no precedent for the permissibility of the congressional
          statute that was at issue in NRA v. BATF.
                In the section of Constitutional Limitations that did discuss the right to
          arms, Cooley set forth general rules, but expressly avoided discussing
          restrictions on the right: “how far it may be in the power of the legislature to
          regulate the right [to keep and bear arms] we shall not undertake to say.”121
          “Happily,” he added, “there neither has been, nor, we may hope, is likely to
          be, much occasion for an examination of that question by the courts.”122



          118
                Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185,
                203 (5th Cir. 2012).
          119
                THOMAS M. COOLEY, A TREATISE ON THE CONSTITUTIONAL LIMITATIONS WHICH REST UPON THE
                LEGISLATIVE POWER OF THE STATES OF THE AMERICAN UNION 740 (6th ed. 1890). The footnote
                followed a discussion of laws establishing wharf lines and penalizing the removal of stones, gravel,
                or sand from a beach. Cooley, quoting the Supreme Judicial Court of Massachusetts in upholding
                the latter law, explained that courts viewed such regulations as “a just restraint of an injurious use
                of property, which the legislature have authority to impose.” (citing, Commonwealth v. Tewksbury,
                11 Mass. (11 Tyng) 55 (1846) (a statute which prohibited the having in possession of game birds
                after a certain time, though killed within the lawful time, was sustained in Phelps v. Racey, 60 N.Y.
                10 (1875). But, such statute is held in Michigan not to cover a case where the birds were killed out
                of the State. People v. O’Neil, 39 N.W. 1 (Mich. 1888). That the State may prohibit the sale of arms
                to minors, see State v. Callicut, 69 Tenn. (1 Lea) 714 (1878).). Cooley, supra, at 739-40.
          120
                District of Columbia v. Heller, 554 U.S. 570, 613 (2008).
          121
                Cooley, supra note 121, at 427.
          122
                Id.




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               The Fifth Circuit did not discuss Cooley’s other major treatise, The
          General Principles of Constitutional Law, which was also quoted by Heller.
          The treatise does have application to arms rights of young adults. While
          emphasizing that the right to arms is not limited to persons in the militia,
          Cooley made clear that those in the militia certainly were protected:

                It might be supposed from the phraseology of [the Second Amendment] that
                the right to keep and bear arms was only guaranteed to the militia; but this
                would be an interpretation not warranted by the intent. The militia, as has
                been elsewhere explained, consists of those persons who, under the law, are
                liable to the performance of military duty, and are officered and enrolled
                for service when called upon. But the law may make provision for the
                enrolment of all who are fit to perform military duty, or of a small number
                only, or it may wholly omit to make any provision at all; and if the right
                were limited to those enrolled, the purpose of this guaranty might be
                defeated altogether by the action or neglect to act of the government it was
                meant to hold in check. The meaning of the provision undoubtedly is, that
                the people, from whom the militia must be taken, shall have the right to keep
                and bear arms; and they need no permission or regulation of law for the
                purpose. But this enables government to have a well-regulated militia; for
                to bear arms implies something more than the mere keeping; it implies the
                learning to handle and use them in a way that makes those who keep them
                ready for their efficient use; in other words, it implies the right to meet for
                voluntary discipline in arms, observing in doing so the laws of public
                order.123

               According to Cooley, although the right is not limited to militiamen,
          everyone in the militia is protected by the Second Amendment. That includes
          young adults.

          D. The Fifth’s Circuit’s Flawed Application of Intermediate scrutiny

                Determining that “there is considerable historical evidence of age- and
          safety-based restrictions on the ability to access arms,” the court concluded
          that “Modern restrictions on the ability of persons under 21 to purchase
          handguns—and the ability of persons under 18 to possess handguns—seem,
          to us, to be firmly historically rooted.”124 Nevertheless, in an abundance of
          caution, the court proceeded to apply heightened scrutiny.
                The court explained that “A law that burdens the core of the Second
          Amendment guarantee—for example, ‘the right of law-abiding, responsible

          123
                Heller, 554 U.S. at 617–18 (quoting Thomas M. Cooley, THE GENERAL PRINCIPLES OF
                CONSTITUTIONAL LAW IN THE UNITED STATES OF AMERICA 271 (1880) (emphasis added)).
          124
                Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185,
                204 (5th Cir. 2012).




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          citizens to use arms in defense of hearth and home,’ Heller, 554 U.S. at 635,
          128 S.Ct. 2783—would trigger strict scrutiny, while a less severe law would
          be proportionately easier to justify.”125
                Intermediate scrutiny was deemed appropriate because: (1) “this federal
          scheme is not a salient outlier in the historical landscape of gun control;”126
          (2) “The Second Amendment, at its core, protects ‘law-abiding, responsible’
          citizens;”127 (3) “Far from a total prohibition on handgun possession and use,
          these laws resemble ‘laws imposing conditions and qualifications on the
          commercial sale of arms,’ which Heller deemed ‘presumptively lawful;’”128
          (4) “these laws do not strike the core of the Second Amendment because they
          do not prevent 18-to-20-year-olds from possessing and using handguns ‘in
          defense of hearth and home;’”129 (5) “18-to-20-year-olds may possess and
          use handguns for self-defense, hunting, or any other lawful purpose . . . and
          they may possess, use, and purchase long-guns;”130 and (6) “they regulate
          commercial sales through an age qualification with temporary effect. Any
          18-to-20-year-old subject to the ban will soon grow up and out of its
          reach.”131 Each of these reasons, however, was flawed.

          1. The Federal Statute as an Outlier

                As discussed above, by the end of the nineteenth century, thirteen states
          restricted handgun sales to minors, while four more required parental
          permission. So the Fifth Circuit was right that an age-based handgun sales
          restriction for persons under 21, although a minority in historical context, is
          not a “salient” outlier.
                On the other hand, the federal scheme was “a salient outlier in the
          historical landscape of gun control” because no federal law had ever
          restricted handgun possession so severely. As the First Circuit recognized in
          Rene E., federal laws receive limited support from cases that upheld
          regulations under a state’s police power because “Congress does not have the
          police power. Its jurisdiction to regulate the juvenile possession of handguns
          must rest on a different basis.”132




          125
                Id. at 205.
          126
                Id.
          127
                Id. at 206 (quoting Heller, 554 U.S. at 635).
          128
                Id. (quoting Heller, 554 U.S. at 626–27 & n.26).
          129
                Id. (quoting Heller, 554 U.S. at 628–30, 635).
          130
                Id. at 207.
          131
                Id.
          132
                United States v. Rene E., 583 F.3d 8, 19 n.6 (1st Cir. 2009).




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          2. Young Adults were Improperly Equated with Felons and the Mentally Ill

                Second, the court inappropriately equated law-abiding young adults
          with felons and the mentally ill by claiming that they are all too
          “irresponsible” for Second Amendment protection: “as with felons and the
          mentally ill, categorically restricting the presumptive Second Amendment
          rights of 18-to-20-year–olds does not violate the central concern of the
          Second Amendment. The Second Amendment, at its core, protects ‘law-
          abiding, responsible’ citizens.”133 Such treatment contradicts the standing of
          young adults in American society, where they can vote, marry, contract, serve
          on juries, and serve in the military.
                It is true that persons 18-to-20 commit gun crimes at a higher rate than
          do older people. It has long been known that there is a relationship between
          age and criminal activity. For example, one of the founders of quantitative
          criminology, Adolphe Quetlet, observed in 1833 that the percentage of the
          population that perpetrates crime peaks in late adolescence and early
          adulthood, and then declines as people age. The age-crime relationship can
          be found in many different historical periods and nations, and for many
          diverse types of crime.134
                The age-crime relation persists as persons age. Persons 21-to-25
          commit crimes at a higher rate than do people over 25. Persons 60-to-65
          commit crimes at a higher rate than do persons over 65. By the Fifth Circuit’s
          rationale, the minimum age for gun ownership could be set at 100, since
          persons under 100 commit crimes at a much higher rate than persons over
          100.
                A similar prohibitory rationale could be applied to many groups that
          commit crimes disproportionately. For instance, African Americans commit
          murders at disproportionately high rates, but that cannot justify bans on all
          African Americans.135 If nineteenth century statutes are the basis for denial
          of the right to arms, one can find many more statutes for disarmament of
          persons of color, including free persons of color, than one can find for
          limiting handgun acquisition by minors. While the colonial and founding
          periods had no laws against guns for minors, some of the colonies and early
          states did restrict guns racially, such as in limits on arms possession by slaves
          (who were black or Indian). Limits on gun possession by free people of color
          became common in slave states during the nineteenth century. After the Civil

          133
                Nat’l Rifle Ass’n of Am., 700 F.3d at 206 (emphasis added by Fifth Circuit).
          134
                ADOLPHE QUETLET, OF THE DEVELOPMENT OF THE PROPENSITY TO CRIME (1833).
          135
                FBI, Uniform Crime Reports, 2016 Crime in the United States, Expanded Homicide Data Table 2,
                FBI, https://ucr.fbi.gov/crime-in-the-u.s/2016/crime-in-the-u.s.-2016/tables/expanded-homicide-
                data-table-2.xls. (last visited on Oct. 5, 2018) (For 2016, the FBI reported 5,004 “White” murder
                offenders, 6,095 “Black or African American” murder offenders, 291 “Other” (which “Includes
                American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander”), and
                5,574 “Unknown.”).




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          War and the Fourteenth Amendment, race-based limits continued, albeit in
          formally neutral gun control statutes that were enforced only against people
          of color.136
                Regardless of age or race, males commit far more murders and other
          gun crimes than females.137 That cannot justify an arms ban for all males—
          even though the 1856 Alabama statute is a precedent for sex discrimination
          in arms laws.
                As the Fifth Circuit acknowledged, law-abiding, responsible citizens
          are at the core of the Second Amendment right. Their rights should not be
          forfeited because of irresponsible behavior by other persons of the same age,
          race, or sex.

          3. “Conditions and Qualification on the Commercial Sale of Arms” Do Not
          Justify Prohibition

                The Fifth Circuit’s third rationale was that Heller allows “conditions
          and qualifications on the commercial sale of arms.” Legitimate conditions
          and qualifications could include, for example, the federal licensing system
          for persons who are “engaged in the business” of selling arms. They must
          obtain a federal license and allow federal inspections of their inventory
          records. To be issued a license, persons must meet certain “qualifications,”
          such as not having a felony conviction, and having a fixed place of business
          where sales will be conducted.138
                The permissibility of “conditions and qualifications on commercial
          sale” does not authorize prohibition. For example, before Heller, a lawful
          seller of arms in the District of Columbia could not sell a handgun to a person
          who was not a government employee. The “conditions and qualifications”
          language from Heller is not an exception that swallows the Heller rule
          against banning handgun possession by classes of law-abiding citizens.

          4. Long Guns are Not Acceptable Substitutes for Handguns, and Private
          Sales can be Inferior Substitutes for Store Sales

               The court’s fourth and fifth points were that the federal limit on
          commercial sales of handguns to young adults did not actually prevent young
          adults from obtaining handguns and from using those handguns for home
          defense, hunting, or other lawful activities. The young adults simply had to
          obtain the handguns someplace other than a licensed gun store—such as by

          136
                See David B. Kopel, The First Century of Right to Arms Litigation, 14 GEO. J. L & PUB. POL’Y 127
                (2016); David B. Kopel, Background Checks for Firearms Sales and Loans: Law, History, and
                Policy, 53 HARV. J. LEGIS. 303, 336–40 (2016).
          137
                FBI, supra note 137 (10,310 male murder offenders; 1,295 female offenders; and 5,359 unknown).
          138
                18 U.S.C. § 923; 27 C.F.R. § 478.41 et seq.




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          purchase from a private individual, or by gift or loan from friends or family.
          Moreover, young adults could buy long guns from gun stores.
                The long gun argument was directly contrary to Heller, which declares
          that long guns are not constitutionally adequate substitutes for handguns: “It
          is no answer to say, as petitioners do, that it is permissible to ban the
          possession of handguns so long as the possession of other firearms (i.e., long
          guns) is allowed.”139
                The point about private sales was true. Young adults in Texas could,
          and still can, buy a handgun from anyone who is not a federally licensed
          firearms dealer. However, there is no guarantee that a young adult will be
          able to find a private seller or somebody to gift them a handgun. This is
          particularly so for young adults who are living on their own and recently
          moved to Texas from elsewhere.
                Besides, as was pointed out by the briefs, but not addressed by the Fifth
          Circuit’s opinion, it is hard to find much of a government interest in requiring
          young adults to buy from private sellers only, and not from stores.
          Presumably stores would be superior for many buyers, as the stores would
          typically have greater expertise in helping the buyer choose a reliable
          handgun with good ergonomics (e.g., grip fit, controllable recoil) for the
          particular buyer. And stores are more likely to be able to guide buyers
          towards available safety training courses.
                Moreover, the Fifth Circuit’s point about the alternative of private sales,
          while valid in Texas, is not applicable in some other states, such as those that
          have adopted Michael Bloomberg’s “universal background check” laws.
          These laws require all private sales, all private loans of firearms, and all
          returns of loaned firearms, to take place at a gun store; the store must process
          the private sale (or the loan or return of a firearm) as if the store were selling
          a firearm out of its own inventory. Yet federal law prohibits the store from
          delivering a handgun to a person under 21.
                Suppose an uncle wishes to give his 20-year-old niece a handgun. Or
          he wishes to loan it to her for her week-long camping trip. In “universal
          background check” states, the handgun transfer may only take place at a gun
          store. But the gun store may not transfer the handgun, because the recipient
          is under 21.
                Thus, in Colorado, the Bloomberg law, adopted in 2013, has operated
          to terminate handgun acquisitions by young adults. This was never the intent
          of the Colorado legislature; the issue of blocking handguns for young adults
          was never mentioned during legislative debate or public testimony. The




          139
                District of Columbia v. Heller, 554 U.S. 570, 629 (2008).




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          prohibition was an unintended consequence. Or at least unintended by the
          legislature.140

          6. Unlike Illegal Drug Users, Young People have No Escape from Bans

                Finally, the Fifth Circuit pointed out the temporary nature of the ban on
          gun store handgun sales to young adults. The court compared the age ban to
          the temporary nature of bans on illegal drug users. As we have previously
          argued:

                First, that a severe burden will be lifted in a few years does not change the
                present severity of the burden. That a person will be able to protect herself
                with a handgun three years from now is cold comfort when she cannot
                protect herself with a handgun from an imminent threat today. Similarly,
                the fact that a now-pregnant woman would be eligible to get an abortion in
                three years would not bolster the constitutionality of a law preventing her
                from getting an abortion today. Second, the court’s comparison to unlawful
                drug users is misguided. As the court explained, the unlawful drug user can
                end the prohibition by simply ending his drug use—it is completely within
                the prohibited person’s control.141 In contrast, an age limitation is
                completely beyond the prohibited person’s control. 142

                       IV. NATIONAL RIFLE ASSOCIATION V. MCCRAW

                We have finished with history. The remainder of this Part will address
          the three other major post-Heller federal circuit cases involving young adults.
                NRA v. McCraw challenged Texas’s statute that prevented most 18-to-
          20-year-olds from applying for a license to carry handguns for lawful


          140
                David B. Kopel, Background Checks for Firearms Sales and Loans: Law, History, and Policy, 53
                HARV. J. LEGIS. 303 (2016) (the “background check” bills drafted by Mr. Bloomberg’s
                organizations are laden with prohibitions and consequences that go very far beyond simply
                requiring background checks on the private sales of guns. The Colorado law still allows transfers
                among some family members, without need for gun store processing. But many young adults in
                Colorado cannot take advantage of this. First, the permissible relatives may not live in Colorado.
                The out-of-state relatives cannot donate a gun, because federal law forbids private arms transfers
                across state lines. Or the young adult may be living independently from an abusive or otherwise
                dysfunctional family. Even for functional in-state families, a parent cannot purchase a handgun as
                an agent for a young adult, because the transaction would be a “straw purchase” under federal law.)
                See United States v. Moore, 109 F.3d 1456 (9th Cir. 1997) (en banc).
          141
                United States v. Carter (Carter I), 669 F.3d 411, 419 (4th Cir. 2012) (“[I]t is significant that §
                922(g)(3) enables a drug user who places a high value on the right to bear arms to regain that right
                by parting ways with illicit drug use.”); see also United States v. Yancey, 621 F.3d 681, 687 (7th
                Cir. 2010) (“[T]he gun ban extends only so long as Yancey abuses drugs. In that way, Yancey
                himself controls his right to possess a gun.”).
          142
                David B. Kopel & Joseph G.S. Greenlee, The Federal Circuits’ Second Amendment Doctrines, 61
                ST. LOUIS U. L.J. 193, 282 (2017).




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          protection in public places.143 Having recently decided NRA v. BATF, the
          Fifth Circuit provided little analysis, explaining that it was bound by BATF:
          “The Texas scheme restricts the same age group’s access to and use of
          handguns for the same reason [as the handgun sale restriction upheld in
          BATF]. Therefore, under circuit precedent, we conclude that the conduct
          burdened by the Texas scheme likely ‘falls outside the Second Amendment’s
          protection.’”144 In other words, young adults have no Second Amendment
          rights, or at least no Second Amendment handgun rights.
                Like the BATF court, the McCraw court applied intermediate scrutiny
          in an abundance of caution and upheld the law for similar reasons.
                However, the McCraw court made at least two mistakes in its
          application of intermediate scrutiny. Under the post-Heller doctrines
          adopted by the federal circuits, the level of Second Amendment scrutiny in a
          given case depends on the severity of the burden on Second Amendment
          rights. Severe burdens should have more rigorous scrutiny than lesser
          burdens. In BATF, the effect of the federal statute was to restrict where and
          how young adults could acquire handguns; they could acquire handguns from
          private persons, but not from stores. The federal law simply forced young
          adults to use less convenient means of buying handguns. So arguably,
          intermediate scrutiny was the correct standard of review in BATF.
                However, in McCraw, the effect of the law was to completely disable
          young adults from bearing handguns for lawful defense. Being a complete
          prohibition on the exercise of the right to bear handguns, the law at issue in
          McCraw should have been tested under strict scrutiny.145
                The Fifth Circuit also refused to apply all of the intermediate scrutiny
          tests. In strict scrutiny, the government must prove that there is no “less
          restrictive alternative.” Under the more relaxed standard of intermediate
          scrutiny, the government must prove that there is no “substantially less
          burdensome alternative.”146 The plaintiffs had argued that instead of banning
          licensed carry for young adults, Texas could have a more rigorous licensing
          system for young adults, compared to applicants over 21.
                The McCraw court dismissed that alternative and said that “less
          restrictive alternative” is not part of intermediate scrutiny. True enough, but
          “substantially less burdensome alternative” is part of intermediate scrutiny,
          and the court offered no explanation for refusing to consider it.




          143
                Nat’l Rifle Ass’n of Am. v. McCraw, 719 F.3d 338 (5th Cir. 2013).
          144
                Id. at 347 (quoting Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and
                Explosives, 700 F.3d 185, 203 (5th Cir. 2012)).
          145
                Id. (held categorically unconstitutional, as were the complete prohibitions on handguns and on home
                defense with any firearm in Heller.)
          146
                Kopel & Greenlee, supra note 144, at 309–12.




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                                          V. HORSLEY V. TRAME

                Illinois requires that residents obtain a firearm owner’s identification
          (FOID) card before acquiring or possessing a firearm. In Horsley v. Trame,
          the plaintiff challenged the requirement that FOID card applicants between
          18 and 21 obtain the consent of a parent or guardian.147 The Seventh Circuit
          determined that the requirement did not violate the Second Amendment
          because “Illinois does not impose a categorical ban on firearm possession for
          18-to-20-year-olds whose parents do not consent. Rather, when an applicant
          cannot obtain a parent or guardian signature, he or she may appeal to the
          Director for a FOID card, and the Director will make a determination.”148
                Specifically, “The Director may grant relief to a person who lacks a
          parent or guardian signature if the applicant establishes to the Director’s
          satisfaction that the applicant has not been convicted of a forcible felony
          within a certain number of years, the applicant will not be likely to act in a
          manner dangerous to public safety, and granting relief would not be contrary
          to the public interest or to federal law. A decision from the Director denying
          an appeal is subject to judicial review under Illinois's Administrative Review
          Law.”149
                The Illinois Attorney General argued “that the Second Amendment was
          not originally understood to include minors, and that minors during the
          founding era were understood to be persons under the age of 21. From there
          she reasons that persons who are presently under the age of 21 do not have a
          Second Amendment right to possess a firearm.”150
                Following this reasoning, the court acknowledged that “[a]ccording to
          Blackstone . . . ‘full age in male or female is twenty-one years,’ and ‘till that
          time is an infant, and so stiled in law.’”151 “So most right-to-bear-arms laws
          were passed while 18-to-20-year-olds were minors.”152 Moreover, “Thomas
          Cooley’s treatise that Heller called ‘massively popular’ [explains] that the




          147
                Horsley v. Trame, 808 F.3d 1126 (7th Cir. 2015). The law, 430 ILL. COMP. STAT. 65/4(a)(2)(i),
                requires an applicant to submit evidence that:
                       He or she is 21 years of age or over, or if he or she is under 21 years of age that he or
                       she has the written consent of his or her parent or legal guardian to possess and acquire
                       firearms and firearm ammunition and that he or she has never been convicted of a
                       misdemeanor other than a traffic offense or adjudged delinquent, provided, however,
                       that such parent or legal guardian is not an individual prohibited from having a Firearm
                       Owner's Identification Card
          148
                Trame, 808 F.3d at 1127.
          149
                Id. at 1128.
          150
                Id. at 1130.
          151
                Id. (quoting 1 COMMENTARIES ON THE LAWS OF ENGLAND 463 (St. George Tucker ed. 1803)).
          152
                Id. at 1130.




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          states ‘may prohibit the sale of arms to minors’ pursuant to their police
          power.”153 The problems with these arguments have been discussed above.154
                Horsley argued that even if the age of majority had once been 21, it is
          now 18. After all, nowadays 18-year-olds “can vote and serve in the military,
          get married without parental consent, and own land.”155 Moreover, she
          pointed out that the federal Uniform Militia Act of 1792 included 18-year-
          olds. “Because a minor could be a member of the militia and be armed, she
          reasons that the Second Amendment gives these persons a right to bear
          arms.”156
                After describing the pro/con arguments, the Seventh Circuit declared:
          “We need not decide today whether 18-, 19-, and 20-year-olds are within the
          scope of the Second Amendment.”157 Because regardless, the law would be
          constitutional. In deciding so, the court repeatedly emphasized that the law
          did not constitute a ban of any sort on 18-to-20-year-olds.158
                Since there was no blanket ban on 18-to-20-year-olds who could not get
          parent or guardian consent, this case was “much different from the blanket
          ban on firearm possession present in Heller.” The Illinois law was also
          different from the statute Planned Parenthood v. Danforth,159 where the
          Supreme Court struck down a blanket provision requiring the consent of a


          153
                Id. (quoting THOMAS M. COOLEY, TREATISE ON CONSTITUTIONAL LIMITATIONS 740 n.4 (5th ed.
                1883)); District of Columbia v. Heller, 554 U.S. 570, 616 (2008).
          154
                See supra notes 88 and 119.
          155
                Trame, 808 F.3d at 1131.
          156
                Id.
          157
                Id.; see People v. Mosley, 33 N.E.3d 137 (Ill. 2015); see also People v. Jordan G. (In re Jordan G.),
                33 N.E.3d 162 (Ill. 2015) (The court cited these two cases from the Supreme Court of Illinois
                upholding restrictions on 18-to-20-year-olds but was apparently not persuaded by either. Nor should
                it have been, as the Supreme Court of Illinois failed to conduct meaningful historical analysis in
                either case).
          158
                Trame, 808 F.3d at 1127 (“We disagree with Horsley that the Illinois statutory scheme violates her
                rights under the Second Amendment. Illinois does not impose a categorical ban on firearm
                possession for 18-to-20-year-olds whose parents do not consent.”); Id. at 1130 (“The question in
                our case is whether the Illinois statutory scheme that promulgates a different procedure for 18-to-
                20-year-olds to possess a firearm, but does not ban them from doing so, violates the Second
                Amendment.”); Id. at 1131–32 (“Significantly, although Horsley's arguments treat the challenged
                statute as a categorical ban on firearm possession, the FOID Card Act does not in fact ban persons
                under 21 from having firearms without parent or guardian consent.”); Id. at 1132 (“The absence of
                a blanket ban makes the Illinois FOID Card Act much different from the blanket ban on firearm
                possession present in Heller.”); Id. at 1132 (“So the lack of a parent signature does not bar Horsley
                from possessing a firearm, despite her arguments to the contrary. Nor does it impose a bar on gun
                possession on an 18-to-20-year-old whose parents have passed away or are disqualified from
                owning guns.”); Id. at 1132 (“The absence of a parent or guardian signature is not a ‘veto’ on the
                ability of a person between 18 and 21 to get a FOID card in Illinois. And the Illinois scheme is not
                a regulatory means that imposes severe burdens because it does not leave open ample alternative
                channels; rather it is a restriction that imposes only modest burdens because it does leave open
                ample alternative channels.”)(internal quotations, citations, footnote markers, and brackets
                omitted).
          159
                Planned Parenthood of Central Missouri v. Danforth, 428 U.S. 52 (1976).




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          parent or person in loco parentis for an abortion in certain circumstances.160
          Pursuant to Danforth, states that require parental consent for abortions for
          minors must have a safety valve, by which a minor can instead seek consent
          from a court.
                So “The question in our case is whether the Illinois statutory scheme
          that promulgates a different procedure for 18-to-20-year-olds to possess a
          firearm, but does not ban them from doing so, violates the Second
          Amendment.”161 Persuaded primarily by the relatively higher crime rate of
          18-to-20-year-olds, the court determined that a different—but not
          prohibitive—procedure for young adults was “substantially related to the
          state’s important interests.”162

                                    VI. EZELL V. CITY OF CHICAGO

                Ezell challenged a Chicago ordinance that prohibited anyone under 18
          from entering a shooting range.163
                Chicago argued that persons under 18 have no Second Amendment
          rights. “To support this sweeping claim, the City points to some nineteenth-
          century state laws prohibiting firearm possession by minors and prohibiting
          firearm sales to minors. Laws of this nature might properly inform the
          question whether minors have a general right, protected by the Second
          Amendment, to purchase or possess firearms. But, they have little relevance
          to the issue at hand.”164 As discussed above, in the nineteenth century, the
          majority of states imposed no age limits on the right to arms. Towards the
          end of the century, a minority of states did limit handgun acquisition. No
          state prohibited long gun acquisition by minors.
                The nineteenth century laws did not prohibit minors who were lawfully
          in possession of arms from practicing with those arms. As the Seventh
          Circuit observed, “There’s zero historical evidence that firearm training for
          this age group is categorically unprotected. At least the City hasn’t identified
          any, and we’ve found none ourselves.”165
                Moreover, the court found nothing from Heller that would justify the
          ban:

                To the contrary, Heller itself points in precisely the opposite direction. 554
                U.S. at 617–18, 128 S.Ct. 2783 (“[T]o bear arms implies something more
                than the mere keeping; it implies the learning to handle and use them ...; it


          160
                Trame, 808 F.3d at 1132.
          161
                Id. at 1130.
          162
                Id. at 1134.
          163
                Ezell v. City of Chicago, 846 F.3d 888 (7th Cir. 2017).
          164
                Id. at 896.
          165
                Id.




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                implies the right to meet for voluntary discipline in arms, observing in doing
                so the laws of public order.” (quoting Thomas McIntyre Cooley, A Treatise
                on the Constitutional Limitations 271 (1868))); see also id. at 619, 128
                S.Ct. 2783 (“No doubt, a citizen who keeps a gun or pistol under judicious
                precautions, practices in safe places the use of it, and in due time teaches
                his sons to do the same, exercises his individual right.” (quoting Benjamin
                Vaughan Abbott, Judge and Jury: A Popular Explanation of the Leading
                Topics in the Law of the Land 333 (1880))).166

                The court, having determined that the Second Amendment applies to
          minors at firing ranges, applied heightened scrutiny to the law.
                The government was “left to rely on generalized assertions about the
          developmental immaturity of children, the risk of lead poisoning by
          inhalation or ingestion, and a handful of tort cases involving the negligent
          supervision of children who were left to their own devices with loaded
          firearms.”167 Since the government could address these concerns with “a
          more closely tailored age restriction—one that does not completely
          extinguish the right of older adolescents and teens in Chicago to learn how to
          shoot in an appropriately supervised setting at a firing range,” the law
          violated the Second Amendment.168

                                           VII. CONCLUSION

                This Article has not attempted to fully analyze all the legal issues
          involving restrictions on firearms for persons under twenty-one-years-old.
          Examination of all relevant Supreme Court precedents, of the legal history of
          the colonial period and Early Republic, of all contemporary statutes on arms
          and young people, and of age limits for other rights or activities will be
          discussed in our forthcoming article in the Southern Illinois University Law
          Journal.
                In this Article, we have confined the analysis to the five major Circuit
          Court of Appeals cases on age restrictions for arms. We have closely
          examined how those cases used history and policy arguments. In short, there
          are no Founding Era sources that support restrictions on arms acquisition by
          young people. The first age restrictions appear in the South shortly before
          the Civil War; by the end of the nineteenth century, thirteen of the forty-six
          states had restricted handgun sales to minors; and five more required parental
          permission for such sales. Five states went so far as to prohibit handgun
          loans to minors. No state had restrictions on long gun sales or loans; a Kansas
          decision applying a vague statutory term to long guns was swiftly overturned.

          166
                Id.
          167
                Id. at 898.
          168
                Id.




                                        EXHIBIT 16
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               Modern policy arguments attempting to justify prohibitions on young
          adults 18-to-20 are thinly reasoned and rely on the unsupportable theory that
          law-abiding young adults are legally similar to convicted felons, illegal drug
          users, or wartime traitors.




                                      EXHIBIT 16
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